Case 1:25-cv-00039-JJM-PAS   Document 114-1   Filed 02/13/25   Page 1 of 77 PageID
                                   #: 7269




               Exhibit A
Case 1:25-cv-00039-JJM-PAS                  Document 114-1             Filed 02/13/25          Page 2 of 77 PageID
                                                  #: 7270




                             EXECUTIVE OFFICE OF THE PRESIDENT
                                  OFFICE OF MANAGEMENT AND BUDGET
                                              WASHINGTON, D.C. 20503


THE DIRECTOR
                                                  January 27, 2025

 M-25-13

 MEMORANDUM FOR HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES

 FROM:             Matthew J. Vaeth, Acting Director, Office of Management and Budget

 SUBJECT:          Temporary Pause of Agency Grant, Loan, and Other Financial Assistance
                   Programs


         The American people elected Donald J. Trump to be President of the United States and
 gave him a mandate to increase the impact of every federal taxpayer dollar. In Fiscal Year 2024,
 of the nearly $10 trillion that the Federal Government spent, more than $3 trillion was Federal
 financial assistance, such as grants and loans. Career and political appointees in the Executive
 Branch have a duty to align Federal spending and action with the will of the American people as
 expressed through Presidential priorities. Financial assistance should be dedicated to advancing
 Administration priorities, focusing taxpayer dollars to advance a stronger and safer America,
 eliminating the financial burden of inflation for citizens, unleashing American energy and
 manufacturing, ending “wokeness” and the weaponization of government, promoting efficiency
 in government, and Making America Healthy Again. The use of Federal resources to advance
 Marxist equity, transgenderism, and green new deal social engineering policies is a waste of
 taxpayer dollars that does not improve the day-to-day lives of those we serve.

         This memorandum requires Federal agencies to identify and review all Federal financial
 assistance1 programs and supporting activities consistent with the President’s policies and
 requirements.2 For example, during the initial days of his Administration, President Donald J.
 Trump issued a series of executive orders to protect the American people and safeguard valuable
 taxpayer resources, including Protecting the American People Against Invasion (Jan. 20, 2025),
 Reevaluating and Realigning United States Foreign Aid (Jan. 20, 2025), Putting America First in
 International Environmental Agreements (Jan. 20, 2025), Unleashing American Energy (Jan. 20,
 2025), Ending Radical and Wasteful Government DEI Programs and Preferencing (Jan. 20,

 1
   2 CFR 200.1 defines Federal financial assistance to mean “[a]ssistance that recipients or subrecipients receive or
 administer” in various forms, but this term does not include assistance provided directly to individuals. For the
 purposes of this memorandum, Federal financial assistance includes: (i) all forms of assistance listed in paragraphs
 (1) and (2) of the definition of this term at 2 CFR 200.1; and (ii) assistance received or administered by recipients or
 subrecipients of any type except for assistance received directly by individuals.
 2
   Nothing in this memo should be construed to impact Medicare or Social Security benefits.
Case 1:25-cv-00039-JJM-PAS           Document 114-1        Filed 02/13/25      Page 3 of 77 PageID
                                           #: 7271



 2025), Defending Women from Gender Ideology Extremism and Restoring Biological Truth to
 the Federal Government (Jan. 20, 2025), and Enforcing the Hyde Amendment (Jan. 24, 2025).
 These executive orders ensure that Federal funds are used to support hardworking American
 families.

         To implement these orders, each agency must complete a comprehensive analysis of all
 of their Federal financial assistance programs to identify programs, projects, and activities that
 may be implicated by any of the President’s executive orders. In the interim, to the extent
 permissible under applicable law, Federal agencies must temporarily pause all activities related
 to obligation or disbursement of all Federal financial assistance, and other relevant agency
 activities that may be implicated by the executive orders, including, but not limited to, financial
 assistance for foreign aid, nongovernmental organizations, DEI, woke gender ideology, and the
 green new deal.

         This temporary pause will provide the Administration time to review agency programs
 and determine the best uses of the funding for those programs consistent with the law and the
 President’s priorities. The temporary pause will become effective on January 28, 2025, at 5:00
 PM. Even before completing their comprehensive analysis, Federal agencies must immediately
 identify any legally mandated actions or deadlines for assistance programs arising while the
 pause remains in effect. Federal agencies must report this information to OMB along with an
 analysis of the requirement. OMB also directs Federal agencies to pause all activities associated
 with open NOFOs, such as conducting merit review panels.

        No later than February 10, 2025, agencies shall submit to OMB detailed information on
 any programs, projects or activities subject to this pause. Each agency must pause: (i) issuance of
 new awards; (ii) disbursement of Federal funds under all open awards; and (iii) other relevant
 agency actions that may be implicated by the executive orders, to the extent permissible by law,
 until OMB has reviewed and provided guidance to your agency with respect to the information
 submitted.

         OMB may grant exceptions allowing Federal agencies to issue new awards or take other
 actions on a case-by-case basis. To the extent required by law, Federal agencies may continue
 taking certain administrative actions, such as closeout of Federal awards (2 CFR 200.344), or
 recording obligations expressly required by law.

         Additionally, agencies must, for each Federal financial assistance program: (i) assign
 responsibility and oversight to a senior political appointee to ensure Federal financial assistance
 conforms to Administration priorities; (ii) review currently pending Federal financial assistance
 announcements to ensure Administration priorities are addressed, and, subject to program
 statutory authority, modify unpublished Federal financial assistance announcements, withdraw
 any announcements already published, and, to the extent permissible by law, cancel awards
 already awarded that are in conflict with Administration priorities, and; (iii) ensure adequate
 oversight of Federal financial assistance programs and initiate investigations when warranted to
 identify underperforming recipients, and address identified issues up to and including
 cancellation of awards.



                                                     2
Case 1:25-cv-00039-JJM-PAS   Document 114-1   Filed 02/13/25   Page 4 of 77 PageID
                                   #: 7272




               Exhibit B
Case 1:25-cv-00039-JJM-PAS               Document 114-1             Filed 02/13/25       Page 5 of 77 PageID
                                               #: 7273

                                    The Secretary of Energy
                                            Washington, DC 20585

                                              January 20, 2025

   MEMORANDUM FOR HEADS OF DEPARTMENTAL ELEMEN~

   FROM:                        INGRID C. KOLB
                                                                          -J (!. ~
                                                                         ""
                                ACTING SECRETAR

   SUBJECT:                     Agency-wide Review of Program and Administrative Activities


   As we navigate through this transition period for a new Administration within the
   Department of Energy (DOE), it is imperative to ensure a deliberate approach to the
   Administration's programmatic and administrative policies and priorities. To that end,
   effective immediately and until further notice, prior to any actions or decisions on all
   herein described activities, a review under varying criteria will be undertaken to ensure
   all such actions are consistent with current Administration policies and priorities,
   including budgetary priorities. 1 The broad spectrum of actions include but are not limited
   to: personnel actions; awarding of grants, loans, funding opp01tunities, and cost sharing
   agreements; contracting, procurement announcements, and actions; rulings, decisions or
   other actions on any applications, enforcement action, or settlements of any contested
   matter; submissions to the Federal Register for publication; and the publication or
   announcement of reports, studies, congressional co1Tespondence, and public statements.
   This includes all studies or reports that are either ongoing, set to be released, are already
   under review, or have not yet begun.

   The reviews are necessary to facilitate a comprehensive review of the Department's
   ongoing activities and to align these effo1ts with Congressional authorizations and the •
   Administration's priorities, to ensure that resources are allocated efficiently, and that the
   Depaitment's initiatives are in line with the statutory mission of DOE and the priorities of
   the Administration.

   As discussed below, a process will be in place for the submission of requests for action
   by the Secretary (acting) to ensure the impo1tant work of the Depaitment continues to
   serve the American people.

   Scope of Actions:

       1. Personnel Actions: All personnel actions, including appointments, promotions,
          arid transfers, are to be halted. This includes both internal staff movements and
          external hiring processes, unless expressly and unambiguously authorized with
          the prior approval of the acting Secretary, after the date of issuance of this order.


   1 With respect to NNSA, nothing herein is intended to contradict 50 USC Ch. 41 but to be construed
   broadly consistent with the Secretary's authority thereunder, include §2402(d).
Case 1:25-cv-00039-JJM-PAS        Document 114-1         Filed 02/13/25     Page 6 of 77 PageID
                                        #: 7274
                                                                                            2


      2. Procurement Announcements and Actions: Any announcements or awards
         regarding procurement opportunities and contracts are to be put on hold, other
         than for routine building operations and supplies for contracts with a value of less
         than $100,000. This includes, but is not limited to, requests for proposals (RFPs),
         requests for quotations (RFQs), and contract negotiations. Such approvals will be
         made in writing by the Secretary ( acting) or the Head of Departmental Element
         with the prior approval of the Secretary (acting).

      3. Funding Actions: All funding and financial assistance activities including loans,
         loan guarantees, grants, cost sharing agreements, funding opportunity
         announcements, and contracts shall not be announced, approved, finalized,
         modified, or provided until a review of such takes place to ensure compliance
         with Congressional authorization and Administration policy. Such approvals will
         be made in writing by the Secretary (acting) or the program head with the prior
         approval of the Secretary (acting).

      4. Release of Reports, Studies, Congressional Correspondence, and Public
         Announcements: Submission of actions to the Secretary (acting) for approval
         shall be completed through relevant program heads prior to continuation of
         development and dissemination of any reports, studies, requests for information
         (RFis) or congressional correspondence, including both finalized documents and
         those in draft form; conducting and scheduling public meetings related to any
         studies or reports. Relative to studies and reports being conducted by the National
         Laboratories, approvals must be obtained by the Head of Departmental Element
         with concurrence by the Administration designee within the Departmental
         Element. If reports or studies are subject to statutory or other requirements, a
         request for waiver -.from the reviews may be made to the Secretary (acting), who
         may grant the waiver. Submission of actions to the Secretary (acting) for
         approval shall be completed before publishing any Department social media
         posts, press releases, or other public announcements including website changes,
         even if previously scheduled and approved.

      5. Federal Register Notices: Nothing should be sent to the Federal Register (FR)
         for publication without written approval of the Secretary (acting) or designee.
         The Office of the General Counsel is directed to: (i) immediately withdraw all
         items that have been submitted to the FR but have not yet been published, and (ii)
         provide the Secretary (acting) by noon on January 23 a list of all items that have
         been published but have not yet reached the date by which any such item is
         considered final (including the date such item becomes final).

      6. Actions under the National Environmental Policy Act (NEPA): NEPA work
         may continue. However, the Secretary (acting) shall be informed of all NEPA
         work by January 24, 2025; or if new action is taken, at least 10 days before
         initiated. The scope of the NEPA reviews shall be reviewed by the Principal
         Deputy General Counsel or other person as designated by the Secretary (acting).
         Final Environmental Assessments and Environmental Impact Statements shall be
Case 1:25-cv-00039-JJM-PAS          Document 114-1        Filed 02/13/25      Page 7 of 77 PageID
                                          #: 7275                                             3


          reviewed and approved by the Principal Deputy General Counsel or other person
          as designated by the Secretary (acting).

   The reviews shall be conducted by all DOE offices, field offices, National Laboratories,
   and NNSA. There are no exemptions other than for routine building operations and
   supplies for contracts with a value of less than $100,000 without prior approval by the
   Secretary (acting).             •

   Rescinding of Signature Authority.

   To ensure compliance with this Directive, all signature authority for any of the actions
   provided herein are rescinded. Any actions requiring signature authority should not
   proceed until explicit authorization is provided in writing by the Secretary (acting) or
   designee.

   The heads or administrators of each of the program, administrative, and support offices,
   National Laboratory Directors, field offices, and NNSA shall immediately disseminate
   this memorandum within their respective organizations and ensure full compliance with
   the directives as applicable.

   Futther guidance regarding the full resumption of activities, results of the review process,
   additional changes in DOE ptiorities, interagency collaboration, and legal compliance
   guidance will be forthcoming. Yo-ur cooperation and understanding are greatly
   appreciated as we work to enhance the effectiveness and efficiency of the Deprutment.
Case 1:25-cv-00039-JJM-PAS   Document 114-1   Filed 02/13/25   Page 8 of 77 PageID
                                   #: 7276




               Exhibit C
           Case
2/12/25, 4:00 PM 1:25-cv-00039-JJM-PAS                  Document
                                                             OMB 114-1     Filed
                                                                 Memo M-25-11 – The02/13/25
                                                                                   White House   Page 9 of 77 PageID
                                                              #: 7277
     Menu                                                                                                              Search




                                                            BRIEFINGS & STATEMENTS




                        MEMORANDUM TO THE
                       HEADS OF DEPARTMENTS
                           AND AGENCIES
                                                       OFFICE OF MANAGEMENT AND BUDGET

                                                                  January 21, 2025




                       January 21, 2025
                       M-25-11
                       MEMORANDUM TO THE HEADS OF DEPARTMENTS AND AGENCIES
                       FROM: Matthew J. Vaeth, Acting Director, Office of Management and Budget
                       Kevin Hassett, Assistant to the President for Economic Policy and Director of the
                       National Economic Council
                       SUBJECT: Guidance Regarding Section 7 of the Executive Order Unleashing
                       American Energy
                       The directive in section 7 of the Executive Order entitled Unleashing American
                       Energy requires agencies to immediately pause disbursement of funds appropriated
                       under the Inflation Reduction Act of 2022 (Public Law 117-169) or the Infrastructure
                       Investment and Jobs Act (Public Law 117-58). This pause only applies to funds
                       supporting programs, projects, or activities that may be implicated by the policy
                       established in Section 2 of the order. This interpretation is consistent with section
                       7’s heading (“Terminating the Green New Deal”) and its reference to the “law and
                       the policy outlined in section 2 of th[e] order.”
                       For the purposes of implementing section 7 of the Order, funds supporting the
                       “Green New Deal” refer to any appropriations for objectives that contravene the
                       policies established in section 2. Agency heads may disburse funds as they deem
                       necessary after consulting with the Office of Management and Budget.




https://www.whitehouse.gov/briefings-statements/2025/01/omb-memo-m-25-11/                                                  1/2
          Case
2/12/25, 4:00 PM 1:25-cv-00039-JJM-PAS                 Document
                                                             OMB114-1     Filed
                                                                 Memo M-25-11 – The02/13/25
                                                                                    White House Page 10 of 77 PageID
                                                              #: 7278


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Case 1:25-cv-00039-JJM-PAS   Document 114-1   Filed 02/13/25   Page 11 of 77 PageID
                                    #: 7279




               Exhibit D
 Case 1:25-cv-00039-JJM-PAS            Document 114-1          Filed 02/13/25    Page 12 of 77 PageID
                                              #: 7280




                                  THE CHIEF FINANCIAL OFFICER
                                       WASHINGTON , D.C. 20460

                                             January 27, 2025


                                          CUI//SP-BUDG

MEMORANDUM

SUBJECT:       Inflation Reduction Act and Infrastructure Investment and Jobs Act Funding Action
               Pause

FROM:          Gregg Treml, Chief Financial Officer (Acting)        GREGG           Digitally signed by
                                                                                    GREGG TREML
                                                                                    Date: 2025.01.27
                                                                    TREML           16:59:02 -05'00'
TO:            Deputy Assistant Administrators
               Deputy Associate Administrators
               Deputy Regional Administrators

This message is being provided based on instruction from 0MB.

In accordance with the Executive Order Unleashing American EnerqY, unobligated funds (including
unobligated commitments) appropriated by the Inflation Reduction Act of 2022 (P.L. 117-169) and the
Infrastructure Investment and Jobs Act (P.L. 117-58) are paused . Pursuant to this pause, the Compass
financial system will temporarily not allow obligations to be made in these lines of accounting. EPA is in
discussions with the Office of Management and Budget on the continuation of payroll in IIJA and IRA.

Additionally, all disbursements for unliquidated obligations funded by any line of accounting including
funds appropriated by the Inflation Reduction Act of 2022 (P.L. 117-169) and the Infrastructure
Investment and Jobs Act (P.L. 117-58), are paused. Additional details on the pause in disbursements
will be provided separately by the Office of the Controller.

This pause will allow for the review of processes, policies and programs as required by Section 7 of the
Order.

All related actions, including new contract, grant, rebate and interagency actions, to include
drawdowns, for IIJA and IRA are paused. Offices are not to put IIJA or IRA lines of accounting on any
actions and all current actions are paused. Further, no IIJA or IRA funded travel is permissible at this
time and all upcoming travel funded from either should be cancelled.
Case 1:25-cv-00039-JJM-PAS          Document 114-1       Filed 02/13/25     Page 13 of 77 PageID
                                           #: 7281

A process has been established at 0MB for their review and approval of obligations and disbursements
based on the Order. We will continue to update the community. We appreciate your work to ensure
compliance with the Order.

cc : Lek Kadeli
     Meshell Jones-Peeler
     Paige Hanson
     Senior Resource Officials
     Senior Budget Officers
     Regional Comptrollers
     Funds Control Officers




             Controlled by U.S. Environmental Protection Agency




                                                 2
Case 1:25-cv-00039-JJM-PAS   Document 114-1   Filed 02/13/25   Page 14 of 77 PageID
                                    #: 7282




                Exhibit E
Case 1:25-cv-00039-JJM-PAS           Document 114-1        Filed 02/13/25      Page 15 of 77 PageID
                                            #: 7283



    Instructions for Federal Financial Assistance Program Analysis in Support of M-25-13


  All Federal agencies that provide Federal financial assistance are required by February 7, 2025
  to complete the attached spreadsheet and submit it to OMB. The information requested must be
  provided for any program that has funding or activities planned through March 15. Agencies are
  encouraged to complete this task for all their programs as soon as possible. OMB will be
  following up with additional deadlines for subsequent periods.

  Using the spreadsheet provided, locate or filter the spreadsheet to isolate the agency’s list of
  Federal programs (by Assistance Listing number) and complete the requested information for
  each program (represented in columns C-G). Agencies should add additional lines to the
  spreadsheet to include any programs not listed in the spreadsheet.

  Column B:          Sub-Agency or component.
  Column C-G:        These columns contain pre-populated information on each Assistance Listing
                     program.
  Column H:          Identify the email of the senior political appointee responsible for overseeing
                     this program.
  Column I:          Indicate if the program has any pending funding announcements.
  Column J:          Indicate if this program has any anticipated obligations or disbursement of
                     funds through 3/15/2025.
  Column K:          Indicate if this program has any statutory requirements mandating the
                     obligation or disbursement of funds through 3/15/2025.
  Column L:          Provide the estimated date of the next obligation or disbursement of funds.
  Column M-T:        Provide responses to each of the questions (Yes/No).
  Column U:          Provide any additional relevant information on program or project activities.

  Submit the spreadsheet no later than February 7, 2025 to: FFAPlans@omb.eop.gov.

  OMB will review each agency submission and will communicate additional information to each
  Federal agency through the agency Senior Financial Assistance Official and the Points of
  Contact provided.
                                                               Case 1:25-cv-00039-JJM-PAS                                                                                                                          Document 114-1                                                                                  Filed 02/13/25                                                                    Page 16 of 77 PageID
                                                                                                                                                                                                                          #: 7284

                                                                                                                                                                                                                                                                                                                                                                                                                               Does this program provide
                                                                                                                                                                                                                                                                                                                                                                                                                               funding that is implicated by
                                                                                                                                                                                                                                                                                                                                                                                                                               the directive to end
                                                                                                                                                                                                                                                                                                                                                                                                                               discriminatory programs,
                                                                                                                                                                                                                                                                                                                                                                                                                               including illegal DEI and
                                                                                                                                                                                                                                                                                                                                                                                                                               “diversity, equity, inclusion,                                                          If not covered in the
                                                                                                                                                                                                                                                                                                                                                                                                  Does this program include    and accessibility” (DEIA)                                                               preceding columns, does
                                                                                                                                                                                                                                                                                                                                                                                                  activities that impose an    mandates, policies,                                                                     this program support any
                                                                                                                                                                                                                                                                                                                                                                                                  undue burden on the          programs, preferences, and                                                              activities that must not be
                                                                                                                                                                                                                                                                                                          Does this program provide                                                               identification, development, activities, under whatever                                                              supported based on
                                                                                                                                                                                                                                                                                                          Federal funding to non-                                                                 or use of domestic energy    name they appear, or other                                                              executive orders issued on
                                                                                                                                                                                                                                                      Does this program have any    Provide the estimated governmental organizations                                Does this program provide resources (including             directives in the same EO,                               Does this program promote      or after January 20, 2025
                                                                                                                                                          USA Please identify the email of                               Does the program have any    statutory requirements        date of the next      supporting or providing      Is this program a foreign    funding that is implicated by through funding under the    including those related to                               or support in any way          (including executive orders
                                                                                                                                                          Spen the senior political          Does the program have any   anticipated obligations or   mandating the obligation or   obligation or         services, either directly or assistance program, or       the revocation and recission Inflation Reducing Act of     “environmental justice”                                  abortion or other related      released following the        Provide additional
                                                                                                                                                  SAM ding appointee responsible for         pending funding             disbursement of funds        disbursement of funds         disbursement of       indirectly, to removable or  provide funding or support   of the U.S. International     2022; and the Infrastructure programs or “equity-related” Does this program promote   activities identified in the   dissemination of this         information on program or
FEDERAL AGENCY                                                  SUB-AGENCY   ASSISTANCE LISTING
                                                                                           TITLENUMBER               OBJECTIVE                    Link Link       overseeing this program    announcements?              before 3/15/2025?            through 3/15/2025?            funds                 illegal aliens?              activities overseas?         Climate Finance Plan?         Investment and Jobs Act)? grants?                           gender ideology?          Hyde Amendment?                spreadsheet)?                 project activities
Agency for International Development                                         98.001        USAID Foreign             The Foreign Assistance       https:/ https:/
                                                                                           Assistance for            Program works to             /       /
                                                                                           Programs Overseas         support long-term and        sam.g www.
Agency for International Development                                         98.002         Cooperative              equitable
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                                                                                            Development Program      magnitude of support         /       /
                                                                                            (CDP)                    necessary for CDOs to        sam.g www.
                                                                                                                     attract the financial,       ov/fal/ usasp
Agency for International Development                                         98.003         Ocean Freight            Reimburses registered        https:/ https:/
                                                                                            Reimbursement            U.S. private voluntary       /       /
                                                                                            Program (OFR)            organizations (PVOs) to      sam.g www.
Agency for International Development                                         98.004         Non-Governmental         ship commodities
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                                                                                            Strengthening (NGO)      aims to help local           sam.g www.
                                                                                                                     indigenous non-              ov/fal/ usasp
Agency for International Development                                         98.005         Institutional Capacity   To strengthen the            https:/ https:/
                                                                                            Building (ICB)           capacity of new and          /       /
                                                                                                                     experienced Food for         sam.g www.
Agency for International Development                                         98.006         Foreign Assistance to    Peace  Title II of
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                                                                                                                                        the       ov/fal/
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                                                                                            Hospitals Abroad         Hospitals Abroad             sam.g www.
Agency for International Development                                         98.007         (ASHA)
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                                                                                                                        improve       is to
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                                                                                            Development              availability and             /       /
                                                                                            Assistance Program       utilization of food in       sam.g www.
                                                                                            (DAP)                    food insecure                ov/fal/ usasp
Agency for International Development                                         98.008         Food for Peace           To improve access,           https:/ https:/
                                                                                            Emergency Program        availability and             /       /
                                                                                            (EP)                     utilization of food in       sam.g www.
Agency for International Development                                         98.009         John Ogonowski           food  insecure
                                                                                                                     Improve   global food        ov/fal/
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                                                                                                                                                          https:/
                                                                                            Farmer-to-Farmer         production and               /       /
                                                                                            Program                  marketing by                 sam.g www.
Agency for International Development                                         98.010         Denton Program           transferring
                                                                                                                     To           technical
                                                                                                                        put the empty  space      ov/fal/ https:/
                                                                                                                                                  https:/ usasp
                                                                                                                     on U.S. Military             /       /
                                                                                                                     transport to good use        sam.g www.
Agency for International Development                                         98.011         Global Development       by
                                                                                                                     Theproviding
                                                                                                                          Global                  ov/fal/
                                                                                                                                                  https:/ usasp
                                                                                                                                                          https:/
                                                                                            Alliance                 Development Alliance         /       /
                                                                                                                     (GDA) business model         sam.g www.
Agency for International Development                                         98.012         USAID Development        provides
                                                                                                                     The      a framework
                                                                                                                         purpose   of the         ov/fal/ https:/
                                                                                                                                                  https:/ usasp
                                                                                            Partnerships for         program is to support        /       /
                                                                                            University Cooperation   and advance the              sam.g www.
                                                                                            and Development          achievement of               ov/fal/ usasp
Appalachian Regional Commission                                              23.001         Appalachian Regional     To help the regional         https:/ https:/
                                                                                            Development (See         economy become more          /       /
                                                                                            individual Appalachian   competitive by putting in    sam.g www.
Appalachian Regional Commission                                              23.002         Programs)
                                                                                            Appalachian Area         place the
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                                                                                                                             the regional         ov/fal/
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                                                                                            Development           economy become more /             /
                                                                                                                  competitive by putting in sam.g www.
Appalachian Regional Commission                                              23.003         Appalachian           place
                                                                                                                  To     the building
                                                                                                                      provide  a highway    ov/fal/ usasp
                                                                                                                                            https:/ https:/
                                                                                            Development Highway   system which, in          /       /
                                                                                            System                conjunction with other    sam.g www.
                                                                                                                  federally-aided           ov/fal/ usasp
Appalachian Regional Commission                                              23.009         Appalachian Local     To provide planning and https:/ https:/
                                                                                            Development District  development resources /           /
                                                                                            Assistance            in multicounty areas; to sam.g www.
Appalachian Regional Commission                                              23.011                               help
                                                                                            Appalachian Research, To    develop
                                                                                                                      expand   thethe       ov/fal/ https:/
                                                                                                                                            https:/ usasp
                                                                                            Technical Assistance, knowledge of the region /         /
                                                                                            and Demonstration     to the fullest extent     sam.g www.
                                                                                            Projects              possible by means of      ov/fal/ usasp
Barry Goldwater Scholarship and Excellence in Education Fund                 85.200         Barry M. Goldwater    To honor former           https:/ https:/
                                                                                            Scholarship Program   Senator Barry             /       /
                                                                                                                  Goldwater through the     sam.g www.
Consumer Product Safety Commission                                           87.002                               operation   of an
                                                                                            Virginia Graeme Baker To reduce the number      ov/fal/
                                                                                                                                            https:/ usasp
                                                                                                                                                    https:/
                                                                                            Pool and Spa Safety      of drowning and drain        /       /
                                                                                                                     entrapment-related           sam.g www.
Consumer Product Safety Commission                                           87.003         Nicholas and Zachary     injuries and
                                                                                                                     Promote   thedeaths   of
                                                                                                                                   installation   ov/fal/ https:/
                                                                                                                                                  https:/ usasp
                                                                                            Burt Memorial Carbon     of carbon monoxide           /       /
                                                                                            Monoxide Poisoning       alarms in residential        sam.g www.
                                                                                            Prevention Grants        homes and dwelling           ov/fal/ usasp
Corporation for National and Community Service                               94.002         AmeriCorps Seniors       RSVP provides grants         https:/ https:/
                                                                                            Retired and Senior       that support volunteers      /       /
                                                                                            Volunteer Program        55 years and older           sam.g www.
Corporation for National and Community Service                               94.003         (RSVP) 94.002
                                                                                            AmeriCorps  State        serving
                                                                                                                     To      in aadiverse
                                                                                                                        develop    State plan,    ov/fal/ https:/
                                                                                                                                                  https:/ usasp
                                                                                            Commissions Support      to assist States in the      /       /
                                                                                            Grant                    application process,         sam.g www.
                                                                                                                     and to provide oversight     ov/fal/ usasp
Corporation for National and Community Service                               94.006         AmeriCorps State and     AmeriCorps State and         https:/ https:/
                                                                                            National 94.006          National grants are          /       /
                                                                                                                     awarded to eligible          sam.g www.
Corporation for National and Community Service                               94.008         AmeriCorps               organizations
                                                                                                                     AmeriCorps isthat
                                                                                                                                     seeking      ov/fal/
                                                                                                                                                  https:/ usasp
                                                                                                                                                          https:/
                                                                                            Commission Investment to expand the capacity   /       /
                                                                                            Fund 94.008            (knowledge, skills, and sam.g www.
Corporation for National and Community Service                               94.011         AmeriCorps Seniors     resources)
                                                                                                                   The Foster of State
                                                                                                                               Grandparent ov/fal/ usasp
                                                                                                                                           https:/ https:/
                                                                                            Foster Grandparent     Program (FGP)           /       /
                                                                                            Program (FGP) 94.011 provides grants to        sam.g www.
                                                                                                                   qualified agencies and  ov/fal/ usasp
Corporation for National and Community Service                               94.012         AmeriCorps September The purpose of the        https:/ https:/
                                                                                            11th National Day of   September 11th          /       /
                                                                                            Service and            National Day of Service sam.g www.
Corporation for National and Community Service                               94.013         Remembrance
                                                                                            AmeriCorps     Grants AmeriCorps
                                                                                                        Volunteers and Remembrance         ov/fal/ https:/
                                                                                                                                Volunteers https:/ usasp
                                                                                            In Service to America    in Service to America        /       /
                                                                                            94.013                   (VISTA) is the national      sam.g www.
Corporation for National and Community Service                               94.014         AmeriCorps Martin        service program
                                                                                                                     The purpose       of
                                                                                                                                   of the         ov/fal/
                                                                                                                                                  https:/ usasp
                                                                                                                                                          https:/
                                                                                            Luther King Jr. Day ofMartin Luther King Jr.          /       /
                                                                                            Service Grants 94.014 Day of Service grant            sam.g www.
                                                                                                                  funding is to mobilize          ov/fal/ usasp
Corporation for National and Community Service                               94.016         AmeriCorps Seniors    The Senior Companion            https:/ https:/
                                                                                            Senior Companion      Program (SCP)                   /       /
                                                                                            Program (SCP) 94.016 provides grants to               sam.g www.
Corporation for National and Community Service                               94.017         AmeriCorps Seniors    qualified
                                                                                                                  To provide agencies
                                                                                                                               grants toand       ov/fal/ https:/
                                                                                                                                                  https:/ usasp
                                                                                            Senior Demonstration qualified agencies for           /       /
                                                                                            Program (FGP) 94.017 the purpose of                   sam.g www.
                                                                                                                  conducting innovative           ov/fal/ usasp
Corporation for National and Community Service                               94.020         AmeriCorps CNCS       The AmeriCorps                  https:/ https:/
                                                                                            Disaster Response     Disaster Response               /       /
                                                                                            Cooperative Agreement Cooperative Agreement           sam.g www.
Corporation for National and Community Service                               94.021         94.020
                                                                                            AmeriCorps            (DRCA)
                                                                                                        Volunteer The       is an initiative
                                                                                                                      Volunteer                   ov/fal/ https:/
                                                                                                                                                  https:/ usasp
                                                                                            Generation Fund          Generation Fund              /       /
                                                                                            94.021                   focuses on investments       sam.g www.
Corporation for National and Community Service                               94.026         AmeriCorps National      in
                                                                                                                     Tovolunteer
                                                                                                                        further achieve its       ov/fal/
                                                                                                                                                  https:/ usasp
                                                                                                                                                          https:/
                                                                                            Service and Civic        mission, AmeriCorps          /       /
                                                                                            Engagement Research has a strong belief in            sam.g www.
                                                                                            Competition 94.026       the importance of            ov/fal/ usasp
Delta Regional Authority                                                     90.200         Delta Regional Authority The Delta Regional           https:/ https:/
                                                                                                                     Authority (DRA) is a         /       /
                                                                                                                     federal-state                sam.g www.
Denali Commission                                                            90.003         Denali Commission        partnership
                                                                                                                     The          serving a
                                                                                                                          Denali Commission       ov/fal/ https:/
                                                                                                                                                  https:/ usasp
                                                                                            Program                  is a Federal agency          /       /
                                                                                                                     designed to provide          sam.g www.
                                                                                                                     funding and partner          ov/fal/ usasp
Denali Commission                                                            90.100         Denali Commission        The Denali Commission        https:/ https:/
                                                                                            Program                  is a Federal agency          /       /
                                                                                                                     designed to provide          sam.g www.
Denali Commission                                                            90.199         Shared Services          funding and
                                                                                                                     Delivery     partner of
                                                                                                                              of services         ov/fal/ https:/
                                                                                                                                                  https:/ usasp
                                                                                                                     the federal government       /       /
                                                                                                                     in the most cost-            sam.g www.
Department of Agriculture                                                    10.001         Agricultural Research    effective
                                                                                                                     There aremanner
                                                                                                                               over 600by         ov/fal/
                                                                                                                                                  https:/ usasp
                                                                                                                                                          https:/
                                                                                            Basic and Applied        research and                 /       /
                                                                                            Research                 development projects         sam.g www.
                                                                                                                     being conducted by           ov/fal/ usasp
Department of Agriculture                                                    10.025         Plant and Animal         To protect U.S.              https:/ https:/
                                                                                            Disease, Pest Control,   agriculture from             /       /
                                                                                            and Animal Care          economically injurious       sam.g www.
Department of Agriculture                                                    10.028         Wildlife Services        plant
                                                                                                                     To    and animal
                                                                                                                        reduce  damage            ov/fal/ https:/
                                                                                                                                                  https:/ usasp
                                                                                                                    caused by mammals             /       /
                                                                                                                    and birds and those           sam.g www.
                                                                                                                    mammal and bird               ov/fal/ usasp
Department of Agriculture                                                    10.030         Indemnity Program       Animal and Plant Health       https:/ https:/
                                                                                                                    Inspection Service            /       /
                                                                                                                    administers regulations       sam.g www.
Department of Agriculture                                                    10.047                                 at 9 CFR
                                                                                            Tribal Food Sovereignty The  USDA parts 50 to 56
                                                                                                                               Indigenous         ov/fal/ https:/
                                                                                                                                                  https:/ usasp
                                                                                                                  Food Sovereignty            /       /
                                                                                                                  Initiative promotes         sam.g www.
Department of Agriculture                                                    10.048         Tribal Agriculture    traditional foodTechnical
                                                                                                                  The Intertribal  ways,      ov/fal/
                                                                                                                                              https:/ usasp
                                                                                                                                                      https:/
                                                                                            Technical Assistance  Assistance Network          /       /
                                                                                                                  (ITAN) was established sam.g www.
                                                                                                                  to increase access and ov/fal/ usasp
Department of Agriculture                                                    10.049         Tribal Youth &        To increase the             https:/ https:/
                                                                                            Workforce Development engagement of tribal        /       /
                                                                                                                  members within the          sam.g www.
Department of Agriculture                                                    10.051         Commodity Loans and Tofood  and agricultural
                                                                                                                      improve                 ov/fal/ https:/
                                                                                                                                and stabilize https:/ usasp
                                                                                            Loan Deficiency          farm income, to assist       /       /
                                                                                            Payments                 in bringing about a          sam.g www.
Department of Agriculture                                                    10.053         Dairy Indemnity          better balance
                                                                                                                     To protect dairybetween      ov/fal/
                                                                                                                                                  https:/ usasp
                                                                                                                                                          https:/
                                                                                            Payment Program          operations and               /       /
                                                                                                                     manufacturers of dairy       sam.g www.
                                                                                                                     products who through         ov/fal/ usasp
Department of Agriculture                                                    10.054         Emergency                To enable farmers to         https:/ https:/
                                                                                            Conservation Program     perform emergency            /       /
                                                                                                                     conservation measures        sam.g www.
                                                                                                                     to control wind erosion      ov/fal/ usasp




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                            Case 1:25-cv-00039-JJM-PAS                                                            Document 114-1   Filed 02/13/25   Page 17 of 77 PageID
                                                                                                                         #: 7285
Department of Agriculture        10.056   Farm Storage Facility    The Farm Storage             https:/ https:/
                                          Loans                    Facility Loan (FSFL)         /       /
                                                                   Program provides low-        sam.g www.
Department of Agriculture        10.069   Conservation Reserve     interest
                                                                   CRP   is afinancing
                                                                               voluntaryfor     ov/fal/ https:/
                                                                                                https:/ usasp
                                          Program                  program which                /       /
                                                                   contracts directly with      sam.g www.
Department of Agriculture        10.072   Wetlands Reserve         agricultural producersin
                                                                   To assist landowners         ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                          Program                  restoring and protecting     /       /
                                                                   wetlands on eligible         sam.g www.
                                                                   lands on which they          ov/fal/ usasp
Department of Agriculture        10.087   Biomass Crop             The purpose of BCAP is       https:/ https:/
                                          Assistance Program       to encourage the             /       /
                                                                   production of biofuels.      sam.g www.
Department of Agriculture        10.089   Livestock Forage         BCAP
                                                                   The    accomplishes
                                                                        objective of LFP is     ov/fal/ https:/
                                                                                                https:/ usasp
                                          Disaster Program        to provide financial          /       /
                                                                  assistance from the           sam.g www.
Department of Agriculture        10.093   Voluntary Public Access Agricultural
                                                                  The primaryDisaster
                                                                                objective of    ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                          and Habitat Incentive   VPA-HIP is to                 /       /
                                          Program                 encourage owners and          sam.g www.
                                                                  operators of privately-       ov/fal/ usasp
Department of Agriculture        10.096   Marketing Assistance    MASC will provide             https:/ https:/
                                          for Specialty Crops     eligible specialty crop       /       /
                                                                  producers with                sam.g www.
Department of Agriculture        10.097   Water-Saving            marketing  assistance
                                                                  Water-Savings                 ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                          Commodities Grant        Conservation Grants          /       /
                                                                   (WSCG) provide               sam.g www.
                                                                   targeted financial           ov/fal/ usasp
Department of Agriculture        10.098   Reimbursement            The intended goal of         https:/ https:/
                                          Transportation Cost      the program is to            /       /
                                          Payment Program for      provide direct               sam.g www.
Department of Agriculture        10.099   Geographically
                                          Conservation Loans       reimbursement
                                                                   To provide access to         ov/fal/ https:/
                                                                                                https:/ usasp
                                                                 credit for farmers who    /       /
                                                                 need and want to          sam.g www.
Department of Agriculture        10.102   Emergency Forest       implement
                                                                 The object conservation
                                                                               of EFRP is  ov/fal/
                                                                                           https:/ usasp
                                                                                                   https:/
                                          Restoration Program    to make financial         /       /
                                                                 assistance available to sam.g www.
                                                                 eligible participants on  ov/fal/ usasp
Department of Agriculture        10.108   Livestock Indemnity    LIP provides benefits to https:/ https:/
                                          Program-2014 Farm Bill eligible livestock owners /       /
                                                                 or livestock contract     sam.g www.
Department of Agriculture        10.109   Livestock Forage       growers    for livestock
                                                                 LFP provides              ov/fal/
                                                                                           https:/ usasp
                                                                                                   https:/
                                          Disaster Program     compensation to eligible         /       /
                                                               livestock producers that         sam.g www.
                                                               have suffered grazing            ov/fal/ usasp
Department of Agriculture        10.110   Emergency Assistance ELAP provides financial          https:/ https:/
                                          for Livestock,       assistance to eligible           /       /
                                          Honeybees and Farm- producers of livestock,           sam.g www.
Department of Agriculture        10.111   Raised
                                          Tree    Fish Program
                                                Assistance     honeybees
                                                               TAP providesand  farm-
                                                                             financial          ov/fal/ https:/
                                                                                                https:/ usasp
                                          Program              assistance to eligible           /       /
                                                               orchardists and nursery          sam.g www.
Department of Agriculture        10.112   Price Loss Coverage  tree
                                                               The growers  to replant
                                                                    Price Loss                  ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                                                   Coverage program             /       /
                                                                   (PLC) is carried over        sam.g www.
                                                                   from the 2014 Farm Bill.     ov/fal/ usasp
Department of Agriculture        10.113   Agriculture Risk         The ARC program              https:/ https:/
                                          Coverage Program         carried over from the        /       /
                                                                   2014 Farm Bill. The          sam.g www.
Department of Agriculture        10.116   The Margin Protection    ARC   program
                                                                   MPP-Dairy      is an
                                                                               offers a         ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                          Program                  protection plan which        /       /
                                                                   provides payments to         sam.g www.
Department of Agriculture        10.120   2017 Wildfires and       dairy2017
                                                                   The   operations
                                                                             WHIP iswhen        ov/fal/ https:/
                                                                                                https:/ usasp
                                          Hurricanes Indemnity     directly reimbursing         /     /
                                          Program                  producers for crop           sam.g www.
Department of Agriculture        10.123   Market Facilitation      production
                                                                   MFP         losses in
                                                                         provides         ov/fal/ usasp
                                                                                          https:/ https:/
                                          Program               assistance to producers /         /
                                                                with commodities that     sam.g www.
Department of Agriculture        10.127   Dairy Margin Coverage have
                                                                DMC been
                                                                      offerssignificantly
                                                                             a dairy      ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                                                margin protection plan    /       /
                                                                which provides            sam.g www.
                                                                payments to dairy         ov/fal/ usasp
Department of Agriculture        10.128   Heirsâ€™ Property     As specified in 7 U.S.C. https:/ https:/
                                          Relending Program     1936c(c), HPRP            /       /
                                                                provides loan funds to    sam.g www.
Department of Agriculture        10.129   Wildfires and         intermediaries
                                                                The WHIP Pluswho is will ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                          Hurricanes Indemnity     directly reimbursing      /       /
                                          Program Plus             producers for crop, tree, sam.g www.
Department of Agriculture        10.130   Coronavirus Food         bush, and
                                                                   CFAP        vine losses
                                                                          provides   direct  ov/fal/ usasp
                                                                                             https:/ https:/
                                          Assistance Program 1     financial assistance to   /       /
                                                                   producers of eligible     sam.g www.
                                                                   agricultural              ov/fal/ usasp
Department of Agriculture        10.131   Seafood Trade Relief     STRP provides             https:/ https:/
                                          Program (STRP)           payments to eligible      /       /
                                                                   commercial fishermen      sam.g www.
Department of Agriculture        10.132   Coronavirus Food         of
                                                                   CFAP 2 provides direct https:/ usasp
                                                                      seafood   commodities  ov/fal/ https:/
                                          Assistance Program 2    financial assistance to       /       /
                                                                  producers of eligible         sam.g www.
                                                                  agricultural                  ov/fal/ usasp
Department of Agriculture        10.133   Quality Loss Adjustment The Quality Loss              https:/ https:/
                                          Program                 Adjustment (QLA)              /       /
                                                                  Program provides              sam.g www.
Department of Agriculture        10.134   Oriental Fruit Fly      assistance
                                                                  The purpose  to of
                                                                                  producers
                                                                                     the        ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                          Program                  Oriental Fruit Fly           /       /
                                                                   Program is to provide        sam.g www.
Department of Agriculture        10.135   Supplemental Dairy       direct payments
                                                                   Supplemental      to
                                                                                   Dairy        ov/fal/ https:/
                                                                                                https:/ usasp
                                          Margin Coverage          Margin Coverage              /       /
                                                                   (Supplemental DMC) is        sam.g www.
                                                                   a program                    ov/fal/ usasp
Department of Agriculture        10.138   Pandemic Livestock       The Pandemic                 https:/ https:/
                                          Indemnity Program        Livestock Indemnity          /       /
                                                                   Program (PLIP)               sam.g www.
Department of Agriculture        10.139   Organic and              provides direct financial
                                                                   OTECP provides     direct    ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                          Transitional Education   financial assistance to      /       /
                                          and Certification        certified organic and        sam.g www.
                                          Program                  transitional operations      ov/fal/ usasp
Department of Agriculture        10.142   Food Safety              FSCSC provides direct        https:/ https:/
                                          Certification for        financial assistance to      /       /
                                          Specialty Crops          eligible specialty crop      sam.g www.
Department of Agriculture        10.143   Program
                                          Pandemic Assistance      operations
                                                                   PARP providesthat incurred
                                                                                     direct     ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                          Revenue Program          financial support for        /       /
                                                                   eligible producers of        sam.g www.
Department of Agriculture        10.144   Spot Market Hog          agricultural
                                                                   SMHPP provides               ov/fal/ https:/
                                                                                                https:/ usasp
                                          Pandemic Program         assistance to producers      /       /
                                                                   that sold hogs through       sam.g www.
                                                                   a spot market sale from      ov/fal/ usasp
Department of Agriculture        10.146   Farm Service Agency      The American Rescue          https:/ https:/
                                          Taxpayer Outreach        Plan Act 2021, H.R.          /       /
                                          Education and            1319, signed into law        sam.g www.
Department of Agriculture        10.147   Technical Assistance
                                          Outreach Education       on March
                                                                   EOTA       11, 2021,
                                                                          provides  financial   ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                          and Technical            assistance to eligible       /       /
                                          Assistance               recipients to perform        sam.g www.
Department of Agriculture        10.148   Emergency Livestock      outreach
                                                                   The       and technical
                                                                        Emergency               ov/fal/ https:/
                                                                                                https:/ usasp
                                          Relief Program           Livestock Relief             /       /
                                                                   Program (ELRP)               sam.g www.
                                                                   provides direct financial    ov/fal/ usasp
Department of Agriculture        10.153   Market News              To provide timely and        https:/ https:/
                                                                   accurate information on      /       /
                                                                   prices, demand,              sam.g www.
Department of Agriculture        10.155   Marketing Agreements     movement,Agreements
                                                                   Marketing   volume, and      ov/fal/ https:/
                                                                                                https:/ usasp
                                          and Orders              and Orders are                /       /
                                                                  designed to stabilize         sam.g www.
                                                                  market conditions and         ov/fal/ usasp
Department of Agriculture        10.156   Federal-State Marketing To explore and identify       https:/ https:/
                                          Improvement Program new market                        /       /
                                                                  opportunities for U.S.        sam.g www.
Department of Agriculture        10.162   Inspection Grading and food  and agricultural
                                                                  To develop  and apply         ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                          Standardization         standards of quality and /         /
                                                                  condition for agricultural sam.g www.
Department of Agriculture        10.163   Market Protection and   commodities;
                                                                  The            to
                                                                       Federal Seed          ov/fal/ usasp
                                                                                             https:/ https:/
                                          Promotion               Program prevents           /       /
                                                                  mislabeled seed from       sam.g www.
                                                                  moving in interstate       ov/fal/ usasp
Department of Agriculture        10.164   Wholesale Farmers and Wholesale Farmers and https:/ https:/
                                          Alternative Market      Alternative Market         /       /
                                          Development             Development works to       sam.g www.
Department of Agriculture        10.165                           improve
                                          Perishable Agricultural To reducemarket
                                                                             unfairaccess
                                                                                    and      ov/fal/ https:/
                                                                                             https:/ usasp
                                          Commodities Act         fraudulent practices in       /       /
                                                                  the marketing of              sam.g www.
                                                                  perishable agricultural       ov/fal/ usasp
Department of Agriculture        10.167   Transportation Services The Transportation            https:/ https:/
                                                                  Services program              /       /
                                                                  develops and promotes         sam.g www.
Department of Agriculture        10.170   Specialty Crop Block    efficient
                                                                  The U.S.agriculture
                                                                            Department of       ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                          Grant Program - Farm     Agricultureâ€™s              /       /
                                          Bill                     (USDA) Agricultural          sam.g www.
Department of Agriculture        10.171   Organic Certification    Marketing
                                                                   The        Service
                                                                       objective of             ov/fal/ https:/
                                                                                                https:/ usasp
                                          Cost Share Programs      Organic Certification        /       /
                                                                   Cost Share Programs          sam.g www.
                                                                   (OCCSP) is to provide        ov/fal/ usasp
Department of Agriculture        10.173   Sheep Production and     To develop projects that     https:/ https:/
                                          Marketing Grant          strengthen and               /       /
                                          Program                  enhance the production       sam.g www.
Department of Agriculture        10.174   Acer Access              andsupport
                                                                   To   marketing
                                                                              the of sheep
                                                                                  efforts of    ov/fal/ https:/
                                                                                                https:/ usasp
                                          Development Program      such States, tribal          /       /
                                                                   governments, and             sam.g www.
Department of Agriculture        10.175   Farmers Market and       research institutions
                                                                   The Farmers   Market to      ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                          Local Food Promotion     and Local Food               /       /
                                          Program                  Promotion Program            sam.g www.
Department of Agriculture        10.176   Dairy Business           (FMLFPP)  is a
                                                                   The Dairy Business           ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                          Innovation Initiatives
                                                               Innovation (DBI)                 /       /
                                                               Initiatives connects the         sam.g www.
Department of Agriculture        10.177                        Agricultural
                                          Regional Food System RFSP           Marketing
                                                                        is a component          ov/fal/ https:/
                                                                                                https:/ usasp
                                          Partnerships         of the Local Agricultural        /       /
                                                               Marketing Program                sam.g www.
                                                               (LAMP). RFSP supports            ov/fal/ usasp




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                            Case 1:25-cv-00039-JJM-PAS                                                               Document 114-1   Filed 02/13/25   Page 18 of 77 PageID
                                                                                                                            #: 7286
Department of Agriculture        10.179   Micro-Grants for Food       Eligible agricultural        https:/ https:/
                                          Security Program            agencies or                  /       /
                                                                      departments                  sam.g www.
Department of Agriculture        10.180   Meat and Poultry         competitively
                                                                   To             distribute
                                                                      assist eligible meat         ov/fal/ https:/
                                                                                                   https:/ usasp
                                          Inspection Readiness     and poultry slaughter           /       /
                                          Grants â€                and processing facilities       sam.g www.
Department of Agriculture        10.181   “Pandemic
                                            Supplemental
                                                     ReliefFunding with costs incurred
                                                                   The purpose    of thisin        ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Activities: Farm and        program is to defray         /       /
                                          Food Worker Relief          worker expenses              sam.g www.
                                          Grant Program               incurred preparing for,      ov/fal/ usasp
Department of Agriculture        10.182   Pandemic Relief             1.       Provide an          https:/ https:/
                                          Activities: Local Food      opportunity for State,       /       /
                                          Purchase Agreements         Local and Tribal             sam.g www.
Department of Agriculture        10.183   with States,Market
                                          Pandemic      Tribes, and   governments to
                                                                      USDA-Agricultural            ov/fal/ https:/
                                                                                                   https:/ usasp
                                          Volatility Assistance       Marketing Service will       /       /
                                          Program (PMVAP)             make pandemic                sam.g www.
Department of Agriculture        10.184   Pandemic Relief        assistance
                                                                 This programpayments,             ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Activities: Meat and   establishes technical             /       /
                                          Poultry Processing     assistance to support             sam.g www.
                                          Capacity - Technical   the applicants and                ov/fal/ usasp
Department of Agriculture        10.185   Local Food for Schools 1.        Provide an              https:/ https:/
                                          Cooperative Agreement opportunity for States to          /       /
                                          Program                strengthen their local            sam.g www.
Department of Agriculture        10.186   Regional Food          and
                                                                 This regional
                                                                       programfood
                                                                                supports           ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Business Centers            regional food supply         /       /
                                                                      chains by creating           sam.g www.
                                                                      Regional Food                ov/fal/ usasp
Department of Agriculture        10.187   The Emergency Food          To support the               https:/ https:/
                                          Assistance Program          additional food              /       /
                                          (TEFAP) Commodity           purchases from the           sam.g www.
Department of Agriculture        10.188   Credit Corporation
                                          Organic Market              Commodity
                                                                      The  OrganicCredit
                                                                                    Market         ov/fal/ https:/
                                                                                                   https:/ usasp
                                          Development Grant           Development Grant            /       /
                                          (OMDG) Program              (OMDG) program will          sam.g www.
Department of Agriculture        10.189   Local Meat Capacity         support the of this
                                                                      The purpose                  ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Grants                      program is to build          /       /
                                                                      resilience in the meat       sam.g www.
                                                                      and poultry supply           ov/fal/ usasp
Department of Agriculture        10.190   Resilient Food System       This program will            https:/ https:/
                                          Infrastructure Program      provide funds to states      /       /
                                                                      and territories to           sam.g www.
Department of Agriculture        10.191   Pandemic Assistance         support  entities
                                                                      The Pandemic                 ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          for Cotton           Assistance for Cotton               /       /
                                          Merchandisers (PACM) Merchandisers (PACM)                sam.g www.
                                                               program, considering                ov/fal/ usasp
Department of Agriculture        10.193   Commodity Credit     Indian Tribal                       https:/ https:/
                                          Corporation (CCC)    Organizations (ITOs)                /       /
                                          Funding to Alleviate and State agencies                  sam.g www.
Department of Agriculture        10.194   Emergency Credit
                                          Commodity   Supply   operating the
                                                               Commodity     Food
                                                                           Credit                  ov/fal/ https:/
                                                                                                   https:/ usasp
                                          Corporation (CCC)           Corporation (CCC)            /       /
                                          Funding to Alleviate        Funding to Alleviate         sam.g www.
Department of Agriculture        10.195   Emergency   Supply
                                          Organic Dairy  Product      Emergency
                                                                      â€¢         Supply
                                                                              To increase          ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Promotion                   domestic consumption         /       /
                                                                      of organic dairy             sam.g www.
                                                                      products to children and     ov/fal/ usasp
Department of Agriculture        10.200   Grants for Agricultural     To carry out research,       https:/ https:/
                                          Research, Special           to facilitate or expand      /       /
                                          Research Grants             promising                    sam.g www.
Department of Agriculture        10.202   Cooperative Forestry        breakthroughs     in areas
                                                                      The goal of McIntire-        ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Research                Stennis Cooperative              /       /
                                                                  Forestry Research                sam.g www.
Department of Agriculture        10.203   Payments to             funding
                                                                  To assistisState
                                                                              to increase          ov/fal/ https:/
                                                                                                   https:/ usasp
                                          Agricultural Experiment Agricultural Experiment          /       /
                                          Stations Under the      Stations, the District of        sam.g www.
Department of Agriculture        10.205   Hatch Act to 1890
                                          Payments                Columbia,
                                                                  To support and    the U.S.
                                                                               continuing          ov/fal/ https:/
                                                                                                   https:/ usasp
                                          Land-Grant Colleges     agricultural research at         /       /
                                          and Tuskegee            colleges eligible to             sam.g www.
Department of Agriculture        10.207   University
                                          Animal Health and       receive  fundsof
                                                                  The purpose      under
                                                                                     this the      ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Disease Research            funding is to increase       /       /
                                                                      animal health and            sam.g www.
                                                                      disease research             ov/fal/ usasp
Department of Agriculture        10.210   Higher Education            The purpose of the NNF       https:/ https:/
                                          National Needs              Grants Program is to         /       /
                                          Graduate Fellowship         train students for           sam.g www.
Department of Agriculture        10.212   Grants
                                          Small Business              Masterâ€™s     and/or of
                                                                      The National Institute       ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Innovation Research     Food and Agriculture             /       /
                                          (SBIR) Program / Small (NIFA) administers the            sam.g www.
Department of Agriculture        10.215   Business Technology
                                          Sustainable             U.S. purpose
                                                      Agriculture The  Department   of
                                                                               of the              ov/fal/ https:/
                                                                                                   https:/ usasp
                                          Research and                SARE program, under          /       /
                                          Education                   assistance listing           sam.g www.
                                                                      10.215, is to encourage      ov/fal/ usasp
Department of Agriculture        10.216   1890 Institution            The Capacity Building        https:/ https:/
                                          Capacity Building           Grants (CBG) Program         /       /
                                          Grants                      is designed to build the     sam.g www.
Department of Agriculture        10.217   Higher Education -          institutional
                                                                      The purposeteaching,
                                                                                    of the         ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Institution Challenge       Higher Education             /       /
                                          Grants Program              Challenge Grants             sam.g www.
                                                                      Program, under               ov/fal/ usasp
Department of Agriculture        10.219   Biotechnology Risk          The purpose of the           https:/ https:/
                                          Assessment Research         BRAG program                 /       /
                                                                      Assistance Listing           sam.g www.
Department of Agriculture        10.220   Higher Education -          10.219, is tothe
                                                                      To increase   support
                                                                                       ethnicthe   ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Multicultural Scholars      and cultural diversity of /       /
                                          Grant Program               the food and agricultural sam.g www.
Department of Agriculture        10.221   Tribal Colleges             scientific
                                                                      The   Tribaland
                                                                                   Colleges     ov/fal/ usasp
                                                                                                https:/ https:/
                                          Education Equity            Education Equity          /       /
                                          Grants                      Grants (TCEG) program sam.g www.
                                                                      (assistance listing       ov/fal/ usasp
Department of Agriculture        10.222   Tribal Colleges             To enhance educational https:/ https:/
                                          Endowment Program           opportunities at the      /       /
                                                                      thirty-four (34) Land     sam.g www.
Department of Agriculture        10.223   Hispanic Serving            Grant   Institutions
                                                                      The objective of thisby   ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                          Institutions Education      program is to promote        /       /
                                          Grants                      and strengthen the           sam.g www.
                                                                      ability of Hispanic-         ov/fal/ usasp
Department of Agriculture        10.225   Community Food              The primary goals of         https:/ https:/
                                          Projects                    the Community Food           /       /
                                                                      Projects Competitive         sam.g www.
Department of Agriculture        10.226   Secondary Education,        Grant   Program
                                                                      The Secondary                ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Two-Year                    Education, Two-Year          /       /
                                          Postsecondary               Postsecondary                sam.g www.
Department of Agriculture        10.227   Education,
                                          1994        and
                                               Institutions           Education,
                                                                      The        and
                                                                          Tribal Colleges          ov/fal/ https:/
                                                                                                   https:/ usasp
                                          Research Grants         Research Grants                  /       /
                                                                  Program (TCRGP) (aka             sam.g www.
                                                                  1994 Institutions                ov/fal/ usasp
Department of Agriculture        10.228   Alaska Native Serving The purpose of this                https:/ https:/
                                          and Native Hawaiian     program is to promote            /       /
                                          Serving Institutions    and                              sam.g www.
Department of Agriculture        10.229   Education Grants        strengthen
                                          Extension Collaborative Funds       the abilityfor
                                                                         are provided      of      ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          on Immunization             support the Extension        /       /
                                          Teaching &                  Collaborative on             sam.g www.
Department of Agriculture        10.230   Engagement
                                          Farm of the Future          Immunization
                                                                      Farm          Teaching
                                                                            of the Future is a     ov/fal/ https:/
                                                                                                   https:/ usasp
                                                                      competitive grant            /       /
                                                                      program that                 sam.g www.
                                                                      establishes an               ov/fal/ usasp
Department of Agriculture        10.231   Agriculture Business        National Institute of        https:/ https:/
                                          Innovation Center at        Food and Agriculture         /       /
                                          HBCU                        issues a competitive         sam.g www.
Department of Agriculture        10.232   Blue Ribbon                 grantBlue-Ribbon
                                                                      The   to support the
                                                                                         Panel     ov/fal/ https:/
                                                                                                   https:/ usasp
                                                               on Land-grant                       /       /
                                                               Cooperation and                     sam.g www.
                                                               Collaboration (PLCC) is             ov/fal/ usasp
Department of Agriculture        10.233   Open Data Standards  This program will build             https:/ https:/
                                                               the framework needed                /       /
                                                               to create a neutral and             sam.g www.
Department of Agriculture        10.234   American Rescue Plan secure
                                                               The goaldata  repository
                                                                         of this                   ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Technical Assistance program is to fund                  /       /
                                          Investment Program   organizations, to be                sam.g www.
Department of Agriculture        10.236   Bioproduct Pilot     known
                                                               The    as Cooperators,
                                                                    Bioproduct   Pilot             ov/fal/ https:/
                                                                                                   https:/ usasp
                                          Program                  Program will advance            /       /
                                                                   development of cost-            sam.g www.
                                                                   competitive bioproducts         ov/fal/ usasp
Department of Agriculture        10.237   From Learning to         The Next Gen Program            https:/ https:/
                                          Leading: Cultivating the represents one part in a        /       /
                                          Next Generation of       series of efforts led by        sam.g www.
Department of Agriculture        10.238   Diverse Food
                                          Institute      and
                                                    of Rural       USDA to780
                                                                   Section   achieve
                                                                                 of the FY         ov/fal/ https:/
                                                                                                   https:/ usasp
                                          Partnership (GP 780)  2022 Consolidated                  /       /
                                                                Appropriations Act (P.L.           sam.g www.
                                                                117-103), appropriated             ov/fal/ usasp
Department of Agriculture        10.239   Human Health and Soil The Agriculture                    https:/ https:/
                                          Health Study          Subcommittee on                    /       /
                                                                Appropriations provides            sam.g www.
Department of Agriculture        10.241   Institute of Rural    $1,000,000
                                                                Section 778for  the FY
                                                                             of the                ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Partnerships (GP 778)       2022 Consolidated            /       /
                                                                      Appropriations Act (P.L.     sam.g www.
Department of Agriculture        10.243   American Rescue Plan        117-103),
                                                                      The MPPRI appropriated
                                                                                  Program is       ov/fal/ https:/
                                                                                                   https:/ usasp
                                          Centers of Excellence       part of the broader          /       /
                                          for Meat and Poultry        USDA investment to           sam.g www.
                                          Processing and Food         transform the food           ov/fal/ usasp
Department of Agriculture        10.244   Special Supplemental        The Special                  https:/ https:/
                                          Nutrition Program for       Supplemental Nutrition       /       /
                                          Women, Infants, and         Program for Women,           sam.g www.
Department of Agriculture        10.245   ChildrenHen
                                          Laying    â€“and
                                                        National
                                                           Turkey     Infants,
                                                                      The      andHen
                                                                           Laying   Children,
                                                                                        and        ov/fal/ https:/
                                                                                                   https:/ usasp
                                          Research Program        Turkey Research                  /       /
                                                                  program under                    sam.g www.
Department of Agriculture        10.246   Research Facilities Act assistance listing
                                                                  The Research    Facilities       ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Program                 Act Program seeks to             /       /
                                                                  strengthen the quality           sam.g www.
Department of Agriculture        10.247   Emergency Citrus        and  expand
                                                                  Section 12605theofscope
                                                                                     the           ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                          Disease Research and 2018 Farm Bill (Pub. L.             /     /
                                          Extension Program      115-334) also                     sam.g www.
Department of Agriculture        10.250                          established
                                          Agricultural and Rural To          the Citrus
                                                                    provide economic           ov/fal/ https:/
                                                                                               https:/ usasp
                                          Economic Research,          and other social science /       /
                                          Cooperative                 information and          sam.g www.
                                          Agreements and              analysis for public and  ov/fal/ usasp




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                            Case 1:25-cv-00039-JJM-PAS                                                              Document 114-1   Filed 02/13/25   Page 19 of 77 PageID
                                                                                                                           #: 7287
Department of Agriculture        10.253   Consumer Data and         To provide economic      https:/ https:/
                                          Nutrition Research        and other social science /       /
                                                                    information and          sam.g www.
Department of Agriculture        10.255   Research Innovation       analysis
                                                                    To       foreconomic
                                                                       provide   public and  ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                          and Development           and other social science /       /
                                          Grants in Economic        information and          sam.g www.
Department of Agriculture        10.290   (RIDGE)
                                          Agricultural Market and   analysis for cooperative
                                                                    To conduct   public and  ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                          Economic Research         economic research and         /       /
                                                                    analyses in support of        sam.g www.
                                                                    the Office of the Chief       ov/fal/ usasp
Department of Agriculture        10.291   Agricultural and Food     To conduct research           https:/ https:/
                                          Policy Research           and education                 /       /
                                          Centers                   programs that are             sam.g www.
Department of Agriculture        10.292   Food Loss and Waste       objective,
                                                                    To conductoperationally
                                                                                research          ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Reduction                 and related activities        /       /
                                                                    that support                  sam.g www.
Department of Agriculture        10.303   Integrated Programs       USDAâ€™s
                                                                    GENERAL: NIFAstrategy to      ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                                                    Integrated Programs           /       /
                                                                    provide support for           sam.g www.
                                                                    integrated research,          ov/fal/ usasp
Department of Agriculture        10.304   Food and Agriculture      To provide funding to         https:/ https:/
                                          Defense Initiative        protect the food supply       /       /
                                          (FADI)                    and agricultural              sam.g www.
Department of Agriculture        10.305   International Science     production.
                                                                    The purposeThis    is is to
                                                                                  of ISE          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          and Education Grants      support the                   /       /
                                                                    internationalization of       sam.g www.
                                                                    food, agriculture and         ov/fal/ usasp
Department of Agriculture        10.307   Organic Agriculture       The Organic Agriculture       https:/ https:/
                                          Research and              Research and                  /       /
                                          Extension Initiative      Extension Initiative          sam.g www.
Department of Agriculture        10.308   Resident Instruction,     (OREI)
                                                                    In      seeks
                                                                       General.    to solve
                                                                                -The              ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Agriculture, and Food     Secretary of Agriculture      /       /
                                          Science Facilities and    shall make competitive        sam.g www.
Department of Agriculture        10.309   Equipment   Grants
                                          Specialty Crop            grants to eligible
                                                                    The purpose    of the         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Research Initiative       SCRI program is to            /       /
                                                                    address the critical          sam.g www.
                                                                    needs of the specialty        ov/fal/ usasp
Department of Agriculture        10.310   Agriculture and Food      The Agriculture and           https:/ https:/
                                          Research Initiative       Food Research                 /       /
                                          (AFRI)                    Initiative (AFRI) awards      sam.g www.
Department of Agriculture        10.311   Beginning Farmer and      research,
                                                                    The primary education,
                                                                                  goal of         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Rancher Development    BFRDP is to help                 /       /
                                          Program                beginning farmers and            sam.g www.
                                                                 ranchers in the United           ov/fal/ usasp
Department of Agriculture        10.312   Biomass Research and To carry out research              https:/ https:/
                                          Development Initiative on and development               /       /
                                          Competitive Grants     and demonstration of:            sam.g www.
Department of Agriculture        10.313   Program (BRDI)
                                          Veterinary Medicine    The program responds             ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Loan Repayment         to the current shortage          /       /
                                          Program                of large animal                  sam.g www.
Department of Agriculture        10.318   Women and Minorities veterinarians
                                                                 The Women and in rural           ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          in Science, Technology, Minorities (WAMS) in            /       /
                                          Engineering, and        Science, Technology,            sam.g www.
                                          Mathematics Fields      Engineering and                 ov/fal/ usasp
Department of Agriculture        10.319   Farm Business           To establish a                  https:/ https:/
                                          Management and          competitive research            /       /
                                          Benchmarking            and extension grants            sam.g www.
Department of Agriculture        10.320   Competitive  Grants
                                          Sun Grant Program       program  for the
                                                                  This program     purpose
                                                                                 responds         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                                                     to the need to enhance       /       /
                                                                     national energy security     sam.g www.
Department of Agriculture        10.322   Distance Education         with purpose
                                                                     The  biobasedofenergy
                                                                                       the        ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Grants for Institutions of DEG program is to            /       /
                                          Higher Education in        strengthen the capacity      sam.g www.
Department of Agriculture        10.326   Insular Areas
                                          Capacity  Building for     of institutions
                                                                     To              of higher
                                                                         assist the NLGCA         ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Non-Land Grant            Institutions in               /       /
                                          Colleges of Agriculture   maintaining and               sam.g www.
Department of Agriculture        10.328   (NLGCA)
                                          Food Safety Outreach      expanding
                                                                    The Nationaltheir
                                                                                    Food          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Program                  Safety Training,               /       /
                                                                   Education, Extension,          sam.g www.
                                                                   Outreach, and Technical        ov/fal/ usasp
Department of Agriculture        10.329   Crop Protection and      The purpose of the             https:/ https:/
                                          Pest Management          Crop Protection and            /       /
                                          Competitive Grants       Pest Management                sam.g www.
Department of Agriculture        10.330   Program
                                          Alfalfa Seed and Alfalfa (CPPM)
                                                                   To improveprogram
                                                                                alfalfa and       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Forage Systems           forage yield and seed          /       /
                                          Program                  yield of crops grown for       sam.g www.
Department of Agriculture        10.331   Gus Schumacher           propagation,
                                                                   The            improve
                                                                        Gus Schumacher            ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Nutrition Incentive    Nutrition Incentive              /       /
                                          Program                Program (GusNIP)                 sam.g www.
                                                                 allows the Secretary to          ov/fal/ usasp
Department of Agriculture        10.332   Agricultural Genome to The National Institute of        https:/ https:/
                                          Phenome Initiative     Food and                         /       /
                                                                 Agricultureâ€™s                  sam.g www.
Department of Agriculture        10.333   Urban, Indoor, and     Agricultural Genome to
                                                                 To make competitive              ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Other Emerging            grants in support of          /       /
                                          Agricultural Production   research, education,          sam.g www.
                                          Research, Education,      and extension activities      ov/fal/ usasp
Department of Agriculture        10.334   Enhancing Agricultural    The Enhancing                 https:/ https:/
                                          Opportunities for         Agricultural                  /       /
                                          Military Veterans         Opportunities for             sam.g www.
Department of Agriculture        10.336   Competitive  Grants
                                          Veterinary Services       Military Veterans
                                                                    The purpose   of the          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Grant Program           Veterinary Services        /       /
                                                                  Grant Program (VSGP) sam.g www.
Department of Agriculture        10.342   Conservation and        is to relieve
                                                                  This  program veterinarian
                                                                                  has two    ov/fal/ usasp
                                                                                             https:/ https:/
                                          Urban Resources         parts:                     /       /
                                          Extension               1.) Capacity Assistance    sam.g   www.
                                                                  â€“ Urban Agriculture      ov/fal/ usasp
Department of Agriculture        10.350   Technical Assistance to To develop and             https:/ https:/
                                          Cooperatives            administer research,       /       /
                                                                  technical assistance,      sam.g www.
Department of Agriculture        10.351   Rural Business          statistical,
                                                                  To promote sustainable https:/ usasp
                                                                               and           ov/fal/ https:/
                                          Development Grant         economic development          /       /
                                                                    and facilitate the            sam.g www.
                                                                    development of small          ov/fal/ usasp
Department of Agriculture        10.352   Value-Added Producer      To help agricultural          https:/ https:/
                                          Grants                    producers enter into          /       /
                                                                    value-added activities        sam.g www.
Department of Agriculture        10.376   Biobased Market           related to the provides
                                                                    The program                   ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Development and        grants for domestic              /       /
                                          Access Grant Program Integrated                         sam.g www.
Department of Agriculture        10.377   (BDAP)
                                          Agriculture Innovation Demonstration
                                                                 The purpose of Units
                                                                                 this             ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Center Demonstration program is to establish            /       /
                                          Program                and operate Agriculture          sam.g www.
                                                                 Innovation Centers that          ov/fal/ usasp
Department of Agriculture        10.378   Biofuel Producer       The Biofuel Producer             https:/ https:/
                                          Program                Program will make                /       /
                                                                 payments to eligible             sam.g www.
Department of Agriculture        10.380   Food Supply Chain      biofuel
                                                                 The Foodproducers for
                                                                            Supply Chain          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Guaranteed Loan           Guaranteed Loan               /       /
                                          Program                   Program will make loan        sam.g www.
Department of Agriculture        10.381   Meat and Poultry          guarantees
                                                                    USDA       to lenders
                                                                          is making  grant        ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Processing Expansion      funding available to          /       /
                                          Program                   meat and poultry              sam.g www.
                                                                    processors for start-up       ov/fal/ usasp
Department of Agriculture        10.382   Meat and Poultry          Grants can be made to         https:/ https:/
                                          Intermediary Lending      intermediaries to             /       /
                                          Program                   facilitate financing to       sam.g www.
Department of Agriculture        10.383   Fertilizer Product        qualified
                                                                    The        ultimate
                                                                          purpose   of FPEP is    ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Expansion Program         to expand capacity,           /       /
                                                                    improve competition,          sam.g www.
                                                                    and increase supply           ov/fal/ usasp
Department of Agriculture        10.384   Indigenous Animals        This program will             https:/ https:/
                                          Harvesting and Meat       provide funds to Tribal       /       /
                                          Processing Grant          governments as defined        sam.g www.
Department of Agriculture        10.385   Program
                                          Timber Production         by
                                                                    Thethe Federally
                                                                         TPEP  will provide       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Expansion Guaranteed financial assistance               /       /
                                          Loans                through loan                       sam.g www.
Department of Agriculture        10.404   Emergency Loans      guarantees
                                                               FSA  providesto lenders            ov/fal/ https:/
                                                                                                  https:/ usasp
                                                                    emergency loans to            /       /
                                                                    help producers recover        sam.g www.
                                                                    from production and           ov/fal/ usasp
Department of Agriculture        10.405   Farm Labor Housing        To provide decent, safe,      https:/ https:/
                                          Loans and Grants          and sanitary low-rent         /       /
                                                                    housing and related           sam.g www.
Department of Agriculture        10.406   Farm Operating Loans      facilities
                                                                    The   FarmforService
                                                                                  domestic        ov/fal/ https:/
                                                                                                  https:/ usasp
                                          and Loan Guarantees  Agency (FSA) offers                /       /
                                                               direct and guaranteed              sam.g www.
                                                               loans to farmers and               ov/fal/ usasp
Department of Agriculture        10.407   Farm Ownership Loans To assist farmers and              https:/ https:/
                                          and Loan Guarantees ranchers become                     /       /
                                                               owner-operators of                 sam.g www.
Department of Agriculture        10.410   Very Low to Moderate family farms,
                                                               To assist veryimprove
                                                                              low, low-           ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Income Housing Loans income, and moderate-              /       /
                                          and Loan Guarantees income households to                sam.g www.
Department of Agriculture        10.411   Rural Housing Site   obtain
                                                               To     modest,
                                                                  assist public decent,
                                                                                or                ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Loans and Self Help       private nonprofit             /       /
                                          Housing Land              organizations interested      sam.g www.
                                          Development Loans         in providing sites for        ov/fal/ usasp
Department of Agriculture        10.415   Rural Rental Housing      To provide economically       https:/ https:/
                                          Loans                     designed and                  /       /
                                                                    constructed rental and        sam.g www.
Department of Agriculture        10.417   Very Low-Income           cooperative
                                                                    Section  504 housing
                                                                                 loans and        ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Housing Repair Loans     grants are intended to         /       /
                                          and Grants               help very low-income           sam.g www.
Department of Agriculture        10.420   Rural Self-Help Housing owner-occupants
                                                                   Self-Help Technical in         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Technical Assistance     Assistance Grants              /     /
                                                                   provide financial              sam.g www.
Department of Agriculture        10.421   Indian Tribes and Tribal assistance  to qualified
                                                                   To assist Indian         ov/fal/
                                                                                            https:/ usasp
                                                                                    tribes to       https:/
                                          Corporation Loans       become owners of          /       /
                                                                  additional property       sam.g www.
Department of Agriculture        10.427                           within
                                          Rural Rental Assistance To     the reservation
                                                                     reduce   the tenant to ov/fal/ usasp
                                                                                            https:/ https:/
                                          Payments                contribution paid by      /       /
                                                                  low-income families       sam.g www.
                                                                  occupying eligible Rural ov/fal/ usasp




                                                                                                                              4
                            Case 1:25-cv-00039-JJM-PAS                                                              Document 114-1   Filed 02/13/25   Page 20 of 77 PageID
                                                                                                                           #: 7288
Department of Agriculture        10.433   Rural Housing          To assist very low- and          https:/ https:/
                                          Preservation Grants    low-income rural                 /       /
                                                                 residents individual             sam.g www.
Department of Agriculture        10.435                          homeowners,
                                          State Mediation Grants To             rental
                                                                    assist States  in             ov/fal/ https:/
                                                                                                  https:/ usasp
                                                                 establishing and                 /       /
                                                                 administering mediation          sam.g www.
Department of Agriculture        10.438   Section 538 Rural      programs   andhas
                                                                 This program    services
                                                                                     been         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Rental Housing             designed to increase         /       /
                                          Guaranteed Loans           the supply of affordable     sam.g www.
                                                                     multifamily housing in       ov/fal/ usasp
Department of Agriculture        10.443   Outreach and               The overall goal of the      https:/ https:/
                                          Assistance for Socially    2501 Program is to           /       /
                                          Disadvantaged and          encourage and assist         sam.g www.
Department of Agriculture        10.446   Veteran
                                          Rural   Farmers and
                                                Community            socially
                                                                     To       disadvantaged
                                                                        develop   the capacity    ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Development Initiative     and ability of private,      /       /
                                                                     nonprofit community-         sam.g www.
Department of Agriculture        10.447   Rural Multi-Family      based  housing
                                                                  To preserve   andand            ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Housing Revitalization revitalize existing rural        /       /
                                          Demonstration Program rental housing and farm           sam.g www.
                                          (MPR)                   labor housing projects          ov/fal/ usasp
Department of Agriculture        10.448   Rural Development       The Rural Housing               https:/ https:/
                                          Multi-Family Housing    Voucher Demonstration           /       /
                                          Rural Housing Voucher program is designed to            sam.g www.
Department of Agriculture        10.449   Program
                                          Boll Weevil Eradication provide
                                                                  To assistrental housing
                                                                             producers and        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Loan Program               state government             /       /
                                                                     agencies in the              sam.g www.
                                                                     eradication of boll          ov/fal/ usasp
Department of Agriculture        10.450   Crop Insurance             Risk Management              https:/ https:/
                                                                     Agencyâ€™s (RMA)             /       /
                                                                     mission is serving           sam.g www.
Department of Agriculture        10.451   Noninsured Crop            Americaâ€™s
                                                                     To provide financial         ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Disaster Assistance    assistance to producers          /       /
                                          Program                of non-insurable crops           sam.g www.
Department of Agriculture        10.460   Risk Management        when  low yields,
                                                                 To deliver trainingloss
                                                                                      andof       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Education Partnerships information as well as           /       /
                                                                 outreach activities in the       sam.g www.
                                                                 management of                    ov/fal/ usasp
Department of Agriculture        10.461   Pandemic Cover Crop Agricultural producers              https:/ https:/
                                          Program                who have coverage                /       /
                                                                 under most crop                  sam.g www.
Department of Agriculture        10.462   Transitional and       insurance
                                                                 Agriculturepolicies  are
                                                                              producers           ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Organic Grower         who have crop                    /       /
                                          Assistance Program     insurance coverage on            sam.g www.
                                                                 crops in transition to           ov/fal/ usasp
Department of Agriculture        10.464   Socially Disadvantaged The Policy Research              https:/ https:/
                                          Farmers and Ranchers Center was established             /       /
                                          Policy Research Center to collect, analyze, and         sam.g www.
Department of Agriculture        10.466   Minority-Serving       evaluate
                                                                 The       data of
                                                                      objective  to this          ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Institutions Partnership program is to             /       /
                                                                   strengthen the            sam.g www.
Department of Agriculture        10.467   Student Internship       partnership
                                                                   To increase between   the ov/fal/
                                                                                 the number  https:/ usasp
                                                                                                     https:/
                                          Programs                 of students studying      /       /
                                                                   agriculture, food,        sam.g www.
                                                                   natural resources,        ov/fal/ usasp
Department of Agriculture        10.475   Cooperative              To supply Federal         https:/ https:/
                                          Agreements with States assistance to States        /       /
                                          for Intrastate Meat and desiring to operate a      sam.g www.
Department of Agriculture        10.477   Poultry  Inspection
                                          Meat, Poultry,  and Egg meat   and poultry
                                                                   To assure  that all meat, ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                          Products Inspection        poultry and egg          /       /
                                                                     products produced in     sam.g www.
Department of Agriculture        10.479   Food Safety                plants
                                                                     To     and the
                                                                         reduce  shipped  in
                                                                                    incidence ov/fal/ usasp
                                                                                              https:/ https:/
                                          Cooperative                of foodborne illnesses   /       /
                                          Agreements                 associated with meat,    sam.g www.
Department of Agriculture        10.494   Multi-Family Housing       poultry, and
                                                                     Provides     egg to
                                                                               grants         ov/fal/ https:/
                                                                                              https:/ usasp
                                          Non-Profit Transfer        qualified nonprofits (NP) /       /
                                          Technical Assistance       and public housing        sam.g www.
Department of Agriculture        10.495   Grants
                                          Farm Labor Housing         authorities (PHA)
                                                                     Provide grant      which
                                                                                    funds  to  ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                          Technical Assistance       qualified private and     /       /
                                          Grants                     public nonprofit (NP)     sam.g www.
                                                                     agencies to provide       ov/fal/ usasp
Department of Agriculture        10.500   Cooperative Extension      The Cooperative           https:/ https:/
                                          Service                    Extension Service         /       /
                                                                     (CES) has an important sam.g www.
Department of Agriculture        10.511   Smith-Lever Extension      role
                                                                     The in  reducing the
                                                                          Smith-Lever          ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                          Funding                    Special Needs                /       /
                                                                     Competitive Grants           sam.g www.
Department of Agriculture        10.512   Extension Services at      Program
                                                                     The      (SLSNCGP),
                                                                         purpose of this          ov/fal/ https:/
                                                                                                  https:/ usasp
                                          1890 Colleges and          funding is to support        /       /
                                          Tuskegee University,       agricultural and forestry    sam.g www.
                                          West Virginia State        extension activities at      ov/fal/ usasp
Department of Agriculture        10.513   Facility Improvements      1890 Facilities Grants       https:/ https:/
                                          at 1890 Facilities (Sec.   Program provides             /       /
                                          1447)                      funding for                  sam.g www.
Department of Agriculture        10.514   Expanded Food and          the acquisition
                                                                     The  purpose ofand
                                                                                      this        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Nutrition Education     funding is to increase          /       /
                                          Program                 the impact of nutrition         sam.g www.
                                                                  education disseminated          ov/fal/ usasp
Department of Agriculture        10.515   Renewable Resources     The goal of this                https:/ https:/
                                          Extension Act           program is to support           /       /
                                                                  extension activities            sam.g www.
Department of Agriculture        10.516   Rural Health and Safety designed
                                                                  The Ruralto  assistand
                                                                             Health               ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Education Competitive      Safety RHSE program          /       /
                                          Grants Program             addresses the health         sam.g www.
Department of Agriculture        10.517   Tribal Colleges            and well-being
                                                                     The             of rural
                                                                         Tribal College           ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Extension Programs         Extension Program            /       /
                                                                     supports the 1994            sam.g www.
                                                                     Land-Grants to create        ov/fal/ usasp
Department of Agriculture        10.518   Food Animal Residue        The purpose of the           https:/ https:/
                                          Avoidance Databank         FARAD is to provide          /       /
                                                                     livestock producers,         sam.g www.
Department of Agriculture        10.519   Equipment Grants           extension  specialists,
                                                                     The Equipment   Grants       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Program (EGP)        Program (EGP) serves               /       /
                                                               to increase access to              sam.g www.
                                                               shared-use special                 ov/fal/ usasp
Department of Agriculture        10.520   Agriculture Risk     To establish a                     https:/ https:/
                                          Management Education competitive grants                 /       /
                                          Partnerships         program for the purpose            sam.g www.
Department of Agriculture        10.521   Competitive  Grants
                                          Children, Youth and  of
                                                               To educating agricultural
                                                                   marshal resources  of          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Families At-Risk           the Land-grant               /       /
                                                                     Institutions (LGIs) and      sam.g www.
Department of Agriculture        10.522   Food and Agriculture       Cooperative
                                                                     The   purposesExtension
                                                                                     of the       ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Service Learning           Program are-                 /       /
                                          Program                    (1) to increase capacity     sam.g www.
                                                                     for food, garden, and        ov/fal/ usasp
Department of Agriculture        10.523   Centers of Excellence      The Centers of               https:/ https:/
                                          at 1890 Institutions       Excellence at 1890           /       /
                                                                     Institutions Program will    sam.g www.
Department of Agriculture        10.524   Scholarships for           establish  new federally-
                                                                     The Scholarships   for       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Students at 1890           students at 1890             /       /
                                          Institutions               Institutions program         sam.g www.
Department of Agriculture        10.525                         was purpose
                                          Farm and Ranch Stress The authorized of by
                                                                                  the             ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Assistance Network    Farm and Ranch Stress             /       /
                                          Competitive Grants    Assistance Network                sam.g www.
                                          Program               (FRSAN) Program is to             ov/fal/ usasp
Department of Agriculture        10.527   New Beginning for     The purpose of the                https:/ https:/
                                          Tribal Students       NBTS grant program,               /       /
                                                                Assistance Listing                sam.g www.
Department of Agriculture        10.528                         10.527,
                                          USDA WIC Telehealth The       is to increase
                                                                    purpose    of the             ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Evaluation                 Telehealth Intervention      /       /
                                          Collaborative              Strategies for WIC           sam.g www.
                                                                     (THIS-WIC) is to             ov/fal/ usasp
Department of Agriculture        10.529   Food Distribution          The Food and Nutrition       https:/ https:/
                                          Program on Indian          Service (FNS)                /       /
                                          Reservations (FDPIR)       administers 15 Federal       sam.g www.
Department of Agriculture        10.531   Nutrition
                                          State Agency: Farm to      nutrition
                                                                     The Farmassistance
                                                                               to School          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          School Program             Cooperative Agreement        /       /
                                          Training and Curricula     solicitation is open to      sam.g www.
Department of Agriculture        10.532   School Nutrition           organizations
                                                                     School           with
                                                                              Nutrition           ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Training Grants            Training Grant for Allied    /       /
                                                                     Professional                 sam.g www.
                                                                     Organizations funds will     ov/fal/ usasp
Department of Agriculture        10.533   SNAP-Ed Toolkit            The Supplemental             https:/ https:/
                                                                     Nutrition Education          /       /
                                                                     (SNAP-Ed) Toolkit:           sam.g www.
Department of Agriculture        10.535   SNAP Fraud                  - Hosts
                                                                     The      a database
                                                                          purpose  of the of      ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Framework              SNAP Fraud                       /       /
                                          Implementation Grant   Framework                        sam.g www.
                                                                 Implementation Grant             ov/fal/ usasp
Department of Agriculture        10.537   Supplemental Nutrition These grants provide             https:/ https:/
                                          Assistance Program     support to State                 /       /
                                          (SNAP) Employment      agencies in developing           sam.g www.
Department of Agriculture        10.539   and Training (E&T)
                                          CNMI Nutrition         the
                                                                 Thecapacity
                                                                     Nutritionto collect          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Assistance             Assistance Program               /       /
                                                                 (NAP) in the                     sam.g www.
Department of Agriculture        10.540   Participant Research   Commonwealth
                                                                 The objective of of the
                                                                                  this            ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Innovation Laboratory      opportunity was to           /       /
                                          for Enhancing WIC          announce the                 sam.g www.
                                          Services                   availability of funds to     ov/fal/ usasp
Department of Agriculture        10.541   Child Nutrition-           The purpose of the           https:/ https:/
                                          Technology Innovation      Child Nutrition Non-         /       /
                                          Grant                      Competitive Technology       sam.g www.
Department of Agriculture        10.542   Pandemic EBT Food          Innovation
                                                                     The          Grants
                                                                          objective   of the of   ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Benefits                   the Pandemic                 /     /
                                                                     Electronic Benefit           sam.g www.
Department of Agriculture        10.545   Farmersâ€™ Market          Transfer (P-EBT)
                                                                     These funds  are            ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Supplemental Nutrition     intended to support the /           /
                                          Assistance Program         participation of            sam.g www.
Department of Agriculture        10.551   Support GrantsNutrition
                                          Supplemental               farmersâ€™
                                                                     SNAP Benefits:  markets  in ov/fal/
                                                                                        Improve  https:/ usasp
                                                                                                         https:/
                                          Assistance Program         nutrition of eligible low- /        /
                                                                     income households by        sam.g www.
Department of Agriculture        10.553   School Breakfast           ensuring
                                                                     To assist access
                                                                                States into      ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Program                    implementing a               /       /
                                                                     nutritious nonprofit         sam.g www.
                                                                     breakfast service for        ov/fal/ usasp




                                                                                                                              5
                            Case 1:25-cv-00039-JJM-PAS                                                              Document 114-1   Filed 02/13/25   Page 21 of 77 PageID
                                                                                                                           #: 7289
Department of Agriculture        10.555   National School Lunch     To assist States,             https:/ https:/
                                          Program                   through cash grants           /       /
                                                                    and food donations, in        sam.g www.
Department of Agriculture        10.556   Special Milk Program      providing
                                                                    To provideasubsidies
                                                                                nutritious to     ov/fal/ https:/
                                                                                                  https:/ usasp
                                          for Children              schools and institutions      /       /
                                                                    to encourage the              sam.g www.
Department of Agriculture        10.557   WIC Special               consumption   of fluid
                                                                    To provide income-            ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Supplemental Nutrition    eligible pregnant,            /       /
                                          Program for Women,        breastfeeding and             sam.g www.
                                          Infants, and Children     postpartum women,             ov/fal/ usasp
Department of Agriculture        10.558   Child and Adult Care      To assist States,             https:/ https:/
                                          Food Program              through grants-in-aid         /       /
                                                                    and other means, to           sam.g www.
Department of Agriculture        10.559   Summer Food Service       initiate
                                                                    The      and maintain
                                                                          United States           ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Program for Children      Department of                 /       /
                                                                    Agriculture (USDA)            sam.g www.
Department of Agriculture        10.560   State Administrative      operates
                                                                    To provideSFSP
                                                                               eachinState        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Expenses for Child      agency with funds for its       /       /
                                          Nutrition               administrative expenses         sam.g www.
                                                                  in supervising and              ov/fal/ usasp
Department of Agriculture        10.561   State Administrative    SNAP State                      https:/ https:/
                                          Matching Grants for the Administrative                  /       /
                                          Supplemental Nutrition Expenses: Provide                sam.g www.
Department of Agriculture        10.565   Assistance
                                          Commodity  Program      Federal financial
                                                                  To improve  the health of       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Supplemental Food        low-income elderly             /       /
                                          Program                  persons at least 60            sam.g www.
                                                                   years of age by                ov/fal/ usasp
Department of Agriculture        10.566   Nutrition Assistance For An alternative to the          https:/ https:/
                                          Puerto Rico              Special Nutrition              /       /
                                                                   Assistance Program             sam.g www.
Department of Agriculture        10.567   Food Distribution        (SNAP)
                                                                   The     to Distribution
                                                                        Food  provide             ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Program on Indian         Program on Indian             /       /
                                          Reservations              Reservations (FDPIR)          sam.g www.
Department of Agriculture        10.568   Emergency Food            is
                                                                    Toahelp
                                                                        nutrition assistance
                                                                            supplement   the      ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Assistance Program        diets of low-income           /       /
                                          (Administrative Costs)    persons by making             sam.g www.
                                                                    funds available to            ov/fal/ usasp
Department of Agriculture        10.569   Emergency Food            To help supplement the        https:/ https:/
                                          Assistance Program        diets of low-income           /       /
                                          (Food Commodities)        persons by making             sam.g www.
Department of Agriculture        10.572   WIC Farmers' Market       USDA   Foods available
                                                                    The purposes    of the        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Nutrition Program         WIC Farmersâ€™                /       /
                                          (FMNP)                    Market Nutrition              sam.g www.
                                                                    Program (FMNP) are:           ov/fal/ usasp
Department of Agriculture        10.574   Team Nutrition Grants     The goal of the Fiscal        https:/ https:/
                                                                    Year(FY) 2024 Team            /       /
                                                                    Nutrition Training            sam.g www.
Department of Agriculture        10.575   Farm to School Grant      Grants
                                                                    The     for to
                                                                         Farm   Meal Pattern
                                                                                   School         ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Program               program exists in order           /       /
                                                                to assist eligible                sam.g www.
Department of Agriculture        10.576   Senior Farmers Market entities, through
                                                                The purposes     of grants
                                                                                    the           ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Nutrition Program     Senior Farmersâ€™                 /       /
                                                                Market Nutrition                  sam.g www.
                                                                Program (SFMNP) are               ov/fal/ usasp
Department of Agriculture        10.577   SNAP Partnership      The purpose of the                https:/ https:/
                                          Grant                 SNAP Partnership                  /       /
                                                                grants is to establish            sam.g www.
Department of Agriculture        10.578   WIC Grants To States interstate   data State
                                                                To assist WIC                     ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          (WGS)                     agencies, through             /       /
                                                                    grants and cooperative        sam.g www.
Department of Agriculture        10.579   Child Nutrition           agreements,
                                                                    National     in making
                                                                             School Lunch         ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Discretionary Grants   Program (NSLP)                   /       /
                                          Limited Availability   Equipment Assistance             sam.g www.
Department of Agriculture        10.580                          Grants
                                          Supplemental Nutrition The     are of these
                                                                      purpose                     ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Assistance Program,    grants is to support             /       /
                                          Process and            efforts by State                 sam.g www.
Department of Agriculture        10.582   Technology
                                          Fresh Fruit and        agencies   and their
                                                                 To assist States,                ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Vegetable Program         through cash grants, in       /       /
                                                                    providing free fresh          sam.g www.
                                                                    fruits and vegetables to      ov/fal/ usasp
Department of Agriculture        10.585   FNS Food Safety           The Food and Nutrition        https:/ https:/
                                          Grants                    Serviceâ€™s Food              /       /
                                                                    Safety Branch provides        sam.g www.
Department of Agriculture        10.587   National Food Service     funding  to support
                                                                    The Institute       its
                                                                                  of Child        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Management Institute      Nutrition (ICN), formerly /       /
                                          Administration and        known as the National     sam.g www.
Department of Agriculture        10.593   Staffing
                                          Bill     GrantNational
                                               Emerson              FoodBill
                                                                    The    Service
                                                                             Emerson          ov/fal/ usasp
                                                                                              https:/ https:/
                                          Hunger Fellows and        Hunger Fellowship         /       /
                                          Mickey Leland             Program is to address     sam.g www.
                                          International Hunger      hunger and poverty in     ov/fal/ usasp
Department of Agriculture        10.594   Food Distribution         The Food Distribution     https:/ https:/
                                          Program on Indian         Program Nutrition         /       /
                                          Reservations Nutrition    Education grant offered sam.g www.
Department of Agriculture        10.600   Education  Grants
                                          Foreign Market            funding  totaling
                                                                    FMD award recipients      ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                          Development           will implement various            /       /
                                          Cooperator Program    market development                sam.g www.
                                                                activities in foreign             ov/fal/ usasp
Department of Agriculture        10.601   Market Access Program MAP award recipients              https:/ https:/
                                                                will implement various            /       /
                                                                market development                sam.g www.
Department of Agriculture        10.603   Emerging Markets      activities
                                                                The primaryin foreign
                                                                               objective of       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Program                   the Emerging Markets          /       /
                                                                    Program is to promote,        sam.g www.
Department of Agriculture        10.604                            enhance,
                                          Technical Assistance for The  TASCorprogram
                                                                                expandisthe       ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Specialty Crops          designed to assist U.S.        /       /
                                          Program                  organizations by               sam.g www.
                                                                   providing funding for          ov/fal/ usasp
Department of Agriculture        10.605   Quality Samples          The Quality Samples            https:/ https:/
                                          Program                  Program is designed to         /       /
                                                                   encourage the                  sam.g www.
Department of Agriculture        10.606   Food for Progress        development
                                                                   In order to useand
                                                                                   the food       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                                                    resources of the United       /       /
                                                                    States more effectively       sam.g www.
                                                                    in support of developing      ov/fal/ usasp
Department of Agriculture        10.608   Food for Education        The key objective of the      https:/ https:/
                                                                    McGovern-Dole                 /       /
                                                                    Program is to reduce          sam.g www.
Department of Agriculture        10.610   Export Guarantee          hunger and
                                                                    The U.S.    improve of
                                                                             Department           ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Program                 Agriculture's (USDA)    /       /
                                                                  Export Credit guarantee sam.g www.
Department of Agriculture        10.612   USDA Local and          Program the
                                                                  Through   (GSM-102)
                                                                                Local and ov/fal/ usasp
                                                                                          https:/ https:/
                                          Regional Food Aid       Regional Food Aid       /       /
                                          Procurement Program     Procurement (LRP)       sam.g www.
                                                                  Program, FAS partners ov/fal/ usasp
Department of Agriculture        10.613   Faculty Exchange        The Faculty Exchange    https:/ https:/
                                          Program                 Program is intended to /        /
                                                                  improve the teaching    sam.g www.
Department of Agriculture        10.615                           and pedagogical
                                          Pima Agriculture Cotton The Pima Agriculture    ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                          Trust Fund            Cotton Trust Fund was             /       /
                                                                established to reduce             sam.g www.
Department of Agriculture        10.616   Agriculture Wool      the
                                                                Theinjury to domestic
                                                                    Agriculture  Wool             ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Apparel Manufacturers Apparel Manufacturers             /       /
                                          Trust Fund            Trust Fund was                    sam.g www.
                                                                established to reduce             ov/fal/ usasp
Department of Agriculture        10.617   PL-480 Market         Uses available foreign            https:/ https:/
                                          Development and       currencies repaid to the          /       /
                                          Technical Assistance  United States to provide          sam.g www.
Department of Agriculture        10.618   Regional Agricultural assistance
                                                                The         in the
                                                                     Regional                     ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Promotion Program          Agricultural Promotion       /       /
                                                                     Program (RAPP) is            sam.g www.
                                                                     available to nonprofit       ov/fal/ usasp
Department of Agriculture        10.619   International Agricultural The program provides         https:/ https:/
                                          Education Fellowship       fellowships to citizens of   /       /
                                          Program                    the United States to         sam.g www.
Department of Agriculture        10.620   Scientific Exchanges       assist eligible countries
                                                                     The Scientific  Exchange     ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Program                   Program promotes           /       /
                                                                    trade, trade policy, trade sam.g www.
Department of Agriculture        10.621   Assisting Specialty       capacity
                                                                    ASCE      building, and
                                                                            addresses          ov/fal/ usasp
                                                                                               https:/ https:/
                                          Crop Exports              barriers unique to         /       /
                                                                    specialty crops exports. sam.g www.
                                                                    It supports projects that ov/fal/ usasp
Department of Agriculture        10.622   Food for Opportunity      The objective of FFO is https:/ https:/
                                                                    to complement existing /           /
                                                                    food assistance            sam.g www.
Department of Agriculture        10.645   Farm to School State      programming,
                                                                    To              which
                                                                        provide funding  for   ov/fal/ https:/
                                                                                               https:/ usasp
                                          Formula Grant             state operated farm to        /       /
                                                                    school programs to            sam.g www.
                                                                    further strengthen food       ov/fal/ usasp
Department of Agriculture        10.646   Summer Electronic         Summer EBT is a               https:/ https:/
                                          Benefit Transfer          Federally-assisted            /       /
                                          Program for Children      program through which         sam.g www.
Department of Agriculture        10.649   Pandemic EBT              participating States and
                                                                    To provide Federal            ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Administrative Costs      financial participation to    /       /
                                                                    State agencies and            sam.g www.
Department of Agriculture        10.652   Forestry Research         localForestry
                                                                    The   entities for costs
                                                                                    Research      ov/fal/ https:/
                                                                                                  https:/ usasp
                                                                    program funds a wide          /       /
                                                                    range of research             sam.g www.
                                                                    activities aimed at           ov/fal/ usasp
Department of Agriculture        10.664   Cooperative Forestry      With respect to               https:/ https:/
                                          Assistance                nonfederal forest and         /       /
                                                                    other rural lands to          sam.g www.
Department of Agriculture        10.665   Schools and Roads -       assist
                                                                    To sharein the
                                                                                receipts from     ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Grants to States          the National Forests          /     /
                                                                    and supplemental              sam.g www.
Department of Agriculture        10.666   Schools and Roads -       mandatory
                                                                    To share receipts from    ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                          Grants to Counties        the National Grasslands /         /
                                                                    and Land Utilization      sam.g www.
Department of Agriculture        10.674   Wood Utilization          Projects  (LUP)technical
                                                                    Provide direct   with the ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                          Assistance                assistance to Forest      /       /
                                                                    Service, state foresters, sam.g www.
Department of Agriculture        10.675   Urban and Community       tribes,
                                                                    To  planpublic and
                                                                             for, establish,  ov/fal/ https:/
                                                                                              https:/ usasp
                                          Forestry Program          manage and protect            /       /
                                                                    trees, forests, green         sam.g www.
                                                                    spaces and related            ov/fal/ usasp




                                                                                                                              6
                            Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 22 of 77 PageID
                                                                                                                          #: 7290
Department of Agriculture        10.676   Forest Legacy Program To effectively identify          https:/ https:/
                                                                and protect                      /       /
                                                                environmentally                  sam.g www.
Department of Agriculture        10.678   Forest Stewardship    important
                                                                Using      forestState,
                                                                       existing   areas        ov/fal/ usasp
                                                                                               https:/ https:/
                                          Program                    Federal, and private      /       /
                                                                     sector forestry experts, sam.g www.
Department of Agriculture        10.679   Collaborative Forest       promote  and enable
                                                                     The purposes   of the the ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                          Restoration                grants are: to promote    /       /
                                                                     healthy watersheds and sam.g www.
                                                                     reduce the threat of      ov/fal/ usasp
Department of Agriculture        10.680   Forest Health              Protect and manage        https:/ https:/
                                          Protection                 non-Federal forest and /          /
                                                                     tree resources from       sam.g www.
Department of Agriculture        10.681   Wood Education and         damaging
                                                                     To provide forest
                                                                                 technical     ov/fal/ https:/
                                                                                               https:/ usasp
                                          Resource Center            assistance and funds,       /       /
                                          (WERC)                     on a cost-share basis,      sam.g www.
Department of Agriculture        10.682   National Forest            for
                                                                     Theprojects
                                                                         purposesthatof the      ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Foundation                 National Forest             /       /
                                                                     Foundation are to           sam.g www.
                                                                     encourage, accept, and      ov/fal/ usasp
Department of Agriculture        10.683   National Fish and          Created by Congress in      https:/ https:/
                                          Wildlife Foundation        1984, National Fish and     /       /
                                                                     Wildlife Foundation         sam.g www.
Department of Agriculture        10.684   International Forestry     (NFWF)
                                                                     To extend directs
                                                                                 Forestpublic    ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Programs              Service efforts to               /       /
                                                                improve forest policies          sam.g www.
                                                                and practices                    ov/fal/ usasp
Department of Agriculture        10.689   Community Forest and The Community Forest              https:/ https:/
                                          Open Space            Program (CFP) is a               /       /
                                          Conservation Program competitive grant                 sam.g www.
Department of Agriculture        10.690   (CFP)
                                          Lake Tahoe Erosion    program
                                                                To make that  provides
                                                                         annual                  ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Control Grant Program payments to the                  /       /
                                                                governing bodies of              sam.g www.
Department of Agriculture        10.691   Good Neighbor         each of the
                                                                To permit   political
                                                                          the head of            ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Authority                any state agency              /       /
                                                                   (including the                sam.g www.
                                                                   Commonwealth of               ov/fal/ usasp
Department of Agriculture        10.693   Watershed Restoration To enter into domestic           https:/ https:/
                                          and Enhancement          cooperative agreements        /       /
                                          Agreement Authority      with willing participants     sam.g www.
Department of Agriculture        10.694   Southwest Forest         for
                                                                   (1) the protection,
                                                                       To enhance    the         ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Health and Wildfire      capacity to develop,          /       /
                                          Prevention               transfer, apply, monitor,     sam.g www.
                                                                   and regularly update          ov/fal/ usasp
Department of Agriculture        10.697   State & Private Forestry Reduce the risk of            https:/ https:/
                                          Hazardous Fuel           catastrophic wildfire to      /       /
                                          Reduction Program        communities and the           sam.g www.
Department of Agriculture        10.698                            environment
                                          State & Private Forestry With  respect through
                                                                                 to              ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Cooperative Fire       nonfederal forest and           /       /
                                          Assistance             other rural lands to            sam.g www.
Department of Agriculture        10.699   Partnership Agreements assist in the control of
                                                                 To increase                     ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                                                 participation of non-           /       /
                                                                 federal cooperators in          sam.g www.
                                                                 all authorized Forest           ov/fal/ usasp
Department of Agriculture        10.700   National Agricultural  To serve as the Nation's        https:/ https:/
                                          Library                Chief Agricultural              /       /
                                                                 information resource by         sam.g www.
Department of Agriculture        10.701   Stewardship            providing
                                                                 Stewardshipagricultural
                                                                               End Result        ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Agreements                 Contracting authorizes      /       /
                                                                     use of contracts and        sam.g www.
Department of Agriculture        10.702                            agreements
                                          Alaska National Interest Through  a to help            ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Lands Conservation Act multidisciplinary               /       /
                                          (ANILCA) Agreements collaborative program,             sam.g www.
Department of Agriculture        10.703   Cooperative Fire         identify
                                                                   To allowand  provide
                                                                            reciprocal           ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Protection Agreement       agreements with fire        /       /
                                                                     organizations (as           sam.g www.
Department of Agriculture        10.704   Law Enforcement            defined in 42work
                                                                     Cooperative  USC            ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Agreements                 between the Forest          /       /
                                                                     Service with State and      sam.g www.
                                                                     local law enforcement       ov/fal/ usasp
Department of Agriculture        10.705   Cooperative Forest         Allows the Forest           https:/ https:/
                                          Road Agreements            Service to work             /       /
                                                                     cooperatively with          sam.g www.
Department of Agriculture        10.706   Grey Towers                State,  county,
                                                                     To promote   theor local    ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Cooperative Authorities recreational and               /       /
                                                                  educational resources          sam.g www.
Department of Agriculture        10.707                           of Milford,
                                          Research Joint Venture To  increase                    ov/fal/ https:/
                                                                                                 https:/ usasp
                                          and Cost Reimbursable participation by partners        /       /
                                          Agreements            in Agricultural rangeland        sam.g www.
                                                                and forestry research            ov/fal/ usasp
Department of Agriculture        10.708   Community Wood        Provide assistance to            https:/ https:/
                                          Energy and Wood       supplement the capital           /       /
                                          Innovation Program    costs 1) for installing a        sam.g www.
Department of Agriculture        10.711   Forest Service 638    wood   energy
                                                                The Forest     system
                                                                             Service             ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Authority for Tribes       received authority for      /       /
                                                                     demonstration projects      sam.g www.
                                                                     with tribes and tribal      ov/fal/ usasp
Department of Agriculture        10.712   Great American             The Great American          https:/ https:/
                                          Outdoors Act Deferred      Outdoors Act (GAOA)         /       /
                                          Maintenance Program        establishes a new fund      sam.g www.
Department of Agriculture        10.714   Infrastructure             for
                                                                     Thefive  years to address
                                                                          Infrastructure         ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Investment and Job Act Investment and Jobs             /       /
                                          Joint Fire Science       Act (IIJA) establishes        sam.g www.
Department of Agriculture        10.715   Program (Research & new
                                          Infrastructure                funds to address
                                                                   The Infrastructure            ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Investment and Jobs      Investment and Jobs           /       /
                                          Act Collaborative Forest Act (IIJA) establishes        sam.g www.
                                          Landscape Restoration new funds to address             ov/fal/ usasp
Department of Agriculture        10.716   Infrastructure           The Infrastructure            https:/ https:/
                                          Investment and Jobs      Investment and Jobs           /       /
                                          Act Prescribed Fire/Fire Act (IIJA) establishes        sam.g www.
Department of Agriculture        10.717   Recovery
                                          Infrastructure           new  funds to address
                                                                   The Infrastructure            ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Investment and Jobs        Investment and Jobs         /       /
                                          Act Restoration/           Act (IIJA) establishes      sam.g www.
                                          Revegetation               new funds to address        ov/fal/ usasp
Department of Agriculture        10.718   Infrastructure             The Infrastructure          https:/ https:/
                                          Investment and Jobs        Investment and Jobs         /       /
                                          Act Capital                Act (IIJA) establishes      sam.g www.
Department of Agriculture        10.719   Maintenance
                                          Infrastructure and         new  funds to
                                                                     To provide     address
                                                                                 financial       ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Investment and Jobs        assistance for the          /       /
                                          Act Firewood Bank          operation of firewood       sam.g www.
Department of Agriculture        10.720   Program
                                          Infrastructure         banks   and to to
                                                                 With respect    support         ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Investment and Jobs    nonfederal lands, to            /       /
                                          Act Community Wildfire develop community               sam.g www.
                                          Defense Grants         wildfire protection plans       ov/fal/ usasp
Department of Agriculture        10.721   Infrastructure         Provide direct federal          https:/ https:/
                                          Investment and Jobs    support to States and           /       /
                                          Act Temporary Bridge   Indian Tribes to                sam.g www.
Department of Agriculture        10.722   Program
                                          Forest Service Reverse establish  rental financial
                                                                 Provide federal                 ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          911 Grant Program          assistance for the          /       /
                                                                     establishment,              sam.g www.
Department of Agriculture        10.723   Community Project          implementation
                                                                     These            and
                                                                            are specific         ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Funds -                    projects selected by        /       /
                                          Congressionally            Congress for funding        sam.g www.
                                          Directed Spending          through the 2022            ov/fal/ usasp
Department of Agriculture        10.724   Wildfire Crisis Strategy   In 2022, the Forest         https:/ https:/
                                          Landscapes                 Service launched the        /       /
                                                                     Wildfire Crisis Strategy    sam.g www.
Department of Agriculture        10.725   Infrastructure and         to addresses
                                                                     Provide        wildfire
                                                                              financial          ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Investment Jobs Act        assistance to facilities    /       /
                                          Financial Assistance to    that purchase and           sam.g www.
                                          Facilities that Purchase   process byproducts          ov/fal/ usasp
Department of Agriculture        10.726   Opal Creek Wilderness      To provide funding to       https:/ https:/
                                          Economic Grant             the State of Oregon to      /       /
                                          Program                    establish an economic       sam.g www.
Department of Agriculture        10.727   Inflation Reduction Act    development    grant
                                                                     To plan for, establish,     ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Urban & Community         manage and protect           /       /
                                          Forestry Program          trees, forests, green        sam.g www.
Department of Agriculture        10.728                             spaces
                                          Inflation Reduction Act The        andofrelated
                                                                         focus     this          ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Hazardous Fuels           program is to support        /       /
                                          Transportation            the hauling of material      sam.g www.
                                          Assistance                removed to reduce            ov/fal/ usasp
Department of Agriculture        10.729   Inflation Reduction Act - The focus of this            https:/ https:/
                                          National Forest System program is for project          /       /
                                                                    work to be performed         sam.g www.
Department of Agriculture        10.730   Community Project         on National
                                                                    These         Forest
                                                                            are specific         ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Funds -                   projects selected by         /       /
                                          Congressionally           Congress for funding         sam.g www.
                                          Directed Spending         through the                  ov/fal/ usasp
Department of Agriculture        10.731   Inflation Reduction Act   To support competitive       https:/ https:/
                                          Landscape Scale           grant programs in the        /       /
                                          Restoration               following areas: 1)          sam.g www.
Department of Agriculture        10.732   Bipartisan Infrastructure Provide  cost share to
                                                                    The Infrastructure           ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Law State, Private &       Investment and Jobs         /       /
                                          Tribal Agreements          Act (IIJA) establishes      sam.g www.
Department of Agriculture        10.733                             new and
                                          Bipartisan Infrastructure This      supplemental
                                                                         funding  program        ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Law â€“ Removal and works with partners to             /       /
                                          Production of             better support long term     sam.g www.
                                          Flammable Vegetation operations focused on             ov/fal/ usasp
Department of Agriculture        10.734   Inflation Reduction Act - To effectively identify      https:/ https:/
                                          Forest Legacy Program and protect                      /       /
                                                                    environmentally              sam.g www.
Department of Agriculture        10.735   Reforestation of Non-     important forest
                                                                    Emphasis          areas
                                                                               on expanding      ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Federal Mined Land        existing partnerships        /       /
                                                                    and the creation of new      sam.g www.
Department of Agriculture        10.736   Bipartisan Infrastructure ones  to initiate
                                                                    The intent         the
                                                                                 for this        ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Act Nursery Vegetation program is to provide           /       /
                                                                    funding for state and        sam.g www.
Department of Agriculture        10.737   Forest and Grassland tribal     entities
                                                                    Provide  supportto help
                                                                                        for      ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                          Collaboratives             forest or grassland         /       /
                                                                     collaboratives in the       sam.g www.
Department of Agriculture        10.751   Rural Energy Savings       accomplishment
                                                                     The  Rural Energyof         ov/fal/ https:/
                                                                                                 https:/ usasp
                                          Program (RESP)             Savings Program             /       /
                                                                     (RESP) provides loans       sam.g www.
                                                                     to entities who provide     ov/fal/ usasp




                                                                                                                             7
                            Case 1:25-cv-00039-JJM-PAS                                                              Document 114-1   Filed 02/13/25   Page 23 of 77 PageID
                                                                                                                           #: 7291
Department of Agriculture        10.752   Rural eConnectivity      The ReConnect                  https:/ https:/
                                          Pilot Program            Program provides               /       /
                                                                   loans, grants, and loan/       sam.g www.
Department of Agriculture        10.754   Higher Blends            grantHigher
                                                                   The   combination
                                                                                Blends            ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Infrastructure Incentive Infrastructure Incentive       /       /
                                          Program                  Program (HBIIP) is a           sam.g www.
Department of Agriculture        10.755   Rural Innovation         new  program
                                                                   To help        that will
                                                                            struggling            ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Stronger Economy     communities by funding             /       /
                                                               job accelerators in low-           sam.g www.
                                                               income rural                       ov/fal/ usasp
Department of Agriculture        10.757   Powering Affordable  The Powering                       https:/ https:/
                                          Clean Energy (PACE) Affordable Clean                    /       /
                                          Program              Energy (PACE)                      sam.g www.
Department of Agriculture        10.758                        Program
                                          New Empowering Rural RUS       is intended
                                                                    will utilize      to
                                                                                 the New          ov/fal/ https:/
                                                                                                  https:/ usasp
                                          America (New ERA)         ERA funds to assist           /       /
                                          Program                   eligible entities to          sam.g www.
Department of Agriculture        10.759   Part 1774 Special         achieve
                                                                    To makethe greatest           ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Evaluation Assistance     predevelopment                /       /
                                          for Rural Communities     planning grants for           sam.g www.
                                          and Households            feasibility studies,          ov/fal/ usasp
Department of Agriculture        10.760   Water and Waste           Provide loan and grant        https:/ https:/
                                          Disposal Systems for      funds for water and           /       /
                                          Rural Communities         waste projects serving        sam.g www.
Department of Agriculture        10.761   Water and Waste           the mostTAT
                                                                    Annual     financially
                                                                                  - To identify   ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Technical Assistance and evaluate solutions             /       /
                                          and Training Grants  to water and waste                 sam.g www.
                                                               disposal problems in               ov/fal/ usasp
Department of Agriculture        10.762   Solid Waste          The objectives of the              https:/ https:/
                                          Management Grants    program are to reduce              /       /
                                                               or eliminate pollution of          sam.g www.
Department of Agriculture        10.763                        waterobjective
                                          Emergency Community The     resources  and
                                                                              of the              ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Water Assistance     ECWAG program is to                /       /
                                          Grants               assist the residents of            sam.g www.
Department of Agriculture        10.766   Community Facilities rural areas affordable
                                                               To provide  that have              ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Loans and Grants       funding either through           /       /
                                                                 loans or grants to               sam.g www.
                                                                 develop essential                ov/fal/ usasp
Department of Agriculture        10.767   Intermediary Relending Establish revolving loan         https:/ https:/
                                          Program                funds for the purpose of         /       /
                                                                 providing loans to               sam.g www.
Department of Agriculture        10.768   Business and Industry ultimate  recipients
                                                                 The purpose   of thetoB&I        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Guaranteed Loans       Guaranteed Loan                  /       /
                                                                 Program is to improve,           sam.g www.
                                                                 develop, or finance              ov/fal/ usasp
Department of Agriculture        10.770   Water and Waste        This program helps get           https:/ https:/
                                          Grants and Loans and safe reliable drinking             /       /
                                          Loan Guarantees        water and waste                  sam.g www.
Department of Agriculture        10.771   (Section
                                          Rural    306C)
                                                Cooperative      disposal
                                                                 To improveservices
                                                                             the to               ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Development Grants         economic condition of        /       /
                                                                     rural areas by assisting     sam.g www.
Department of Agriculture        10.777   Norman E. Borlaug          individuals
                                                                     Fellowshipsand
                                                                                  are             ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          International Agricultural intended to promote          /       /
                                          Science and                food security and            sam.g www.
                                          Technology Fellowship economic growth in                ov/fal/ usasp
Department of Agriculture        10.782   Appropriate Technology To provide diverse               https:/ https:/
                                          Transfer for Rural Areas technical information          /       /
                                                                     and educational              sam.g www.
Department of Agriculture        10.850   Rural Electrification      resources  about
                                                                     To assure that people in     ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Loans and Loan            eligible rural areas have /        /
                                          Guarantees                access to electric         sam.g www.
Department of Agriculture        10.851   Rural                     services
                                                                    This      comparable
                                                                          program   providesin ov/fal/ usasp
                                                                                               https:/ https:/
                                          Telecommunications        loans for the              /       /
                                          Loans                     construction,              sam.g www.
Department of Agriculture        10.854   Rural Economic            maintenance,
                                                                    The  Rural Economic        ov/fal/ https:/
                                                                                               https:/ usasp
                                          Development Loans         Development Loan and /            /
                                          and Grants                Grant Programs provide sam.g www.
Department of Agriculture        10.855   Distance Learning and     funding  for rural
                                                                    To encourage    and       ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                          Telemedicine Loans        improve the use of        /       /
                                          and Grants                telemedicine,             sam.g www.
                                                                    telecommunications,       ov/fal/ usasp
Department of Agriculture        10.858   Denali Commission         This program assists      https:/ https:/
                                          Grants and Loans          the Denali Commission /           /
                                                                    in lowering the cost of   sam.g www.
Department of Agriculture        10.859   Assistance to High        energy  for families
                                                                    The purpose    of thisand ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                          Energy Cost Rural         grant program is to           /       /
                                          Communities               assure access to              sam.g www.
Department of Agriculture        10.860   Rural Business            adequate
                                                                    To promoteand reliable
                                                                                economic          ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Investment Program        development and create        /       /
                                                                    wealth and job                sam.g www.
                                                                    opportunities among           ov/fal/ usasp
Department of Agriculture        10.862   Rural Decentralized       To make grants to             https:/ https:/
                                          Water Systems Grant       private, nonprofit            /       /
                                          Program                   organizations to finance      sam.g www.
Department of Agriculture        10.863   Community Connect         the construction,
                                                                    To encourage                  ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Grant Program             community-oriented            /       /
                                                                    connectivity by               sam.g www.
                                                                    providing grants to           ov/fal/ usasp
Department of Agriculture        10.864   Grant Program to          This program helps            https:/ https:/
                                          Establish a Fund for      qualified nonprofits          /       /
                                          Financing Water and       create revolving loan         sam.g www.
Department of Agriculture        10.865   Wastewater   Projects
                                          Biorefinery Assistance    funds  that canprovide
                                                                    The program     provide       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                                                    loan guarantees for the       /       /
                                                                    development,                  sam.g www.
Department of Agriculture        10.867   Bioenergy Program for     construction,
                                                                    The purpose ofand
                                                                                    this          ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Advanced Biofuels         subpart is to support         /       /
                                                                    and ensure an                 sam.g www.
                                                                    expanding production of       ov/fal/ usasp
Department of Agriculture        10.868   Rural Energy for          (1) Provision of grants       https:/ https:/
                                          America Program           and loan guarantees to        /       /
                                                                    agricultural producers        sam.g www.
Department of Agriculture        10.870   Rural                     and  ruralrural
                                                                    Provide    small              ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Microentrepreneur      microentrepreneurs with          /       /
                                          Assistance Program     the skills necessary to          sam.g www.
                                                                 establish new rural              ov/fal/ usasp
Department of Agriculture        10.871   Socially-Disadvantaged The primary objective of         https:/ https:/
                                          Groups Grant           the Socially                     /       /
                                                                 Disadvantaged Groups             sam.g www.
Department of Agriculture        10.872   Healthy Food Financing Grant program
                                                                 The Healthy     is to
                                                                               Food               ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Initiative             Financing Initiative             /       /
                                                                 (HFFI) is an inter-              sam.g www.
Department of Agriculture        10.874   Delta Health Care      Department
                                                                 To           initiative
                                                                    provide financial             ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Services Grant Program assistance to address            /       /
                                                                 the continued unmet              sam.g www.
                                                                 health needs in the              ov/fal/ usasp
Department of Agriculture        10.886   Rural Broadband        This program furnishes           https:/ https:/
                                          Access Loans and Loan loans and loan                    /       /
                                          Guarantees             guarantees to provide            sam.g www.
Department of Agriculture        10.890   Rural Development      funds
                                                                 USDAfor   the costs of
                                                                        Rural                     ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Cooperative Agreement Development                       /       /
                                          Program               Innovation Center in              sam.g www.
Department of Agriculture        10.902   Soil and Water        partnership
                                                                Provide     with Rural
                                                                        conservation              ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Conservation              technical assistance to       /       /
                                                                    private landowners,           sam.g www.
                                                                    conservation districts,       ov/fal/ usasp
Department of Agriculture        10.903   Soil Survey               To produce and                https:/ https:/
                                                                    maintain up to date soil      /       /
                                                                    survey information            sam.g www.
Department of Agriculture        10.904   Watershed Protection      (maps,
                                                                    To      datatechnical
                                                                       provide    sets, soil      ov/fal/ https:/
                                                                                                  https:/ usasp
                                          and Flood Prevention  and financial assistance          /       /
                                                                in carrying out works of          sam.g www.
                                                                improvement to protect,           ov/fal/ usasp
Department of Agriculture        10.905   Plant Materials for   To assemble, evaluate,            https:/ https:/
                                          Conservation          and promote the use of            /       /
                                                                new and improved plant            sam.g www.
Department of Agriculture        10.907   Snow Survey and Water materials
                                                                To providefor soil, water,
                                                                            reliable,             ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Supply Forecasting        accurate, and timely          /       /
                                                                    forecasts of surface          sam.g www.
Department of Agriculture        10.912   Environmental Quality     water promotes
                                                                    EQIP  supply to water         ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Incentives Program   agricultural production,           /       /
                                                               forest management,                 sam.g www.
                                                               and environmental                  ov/fal/ usasp
Department of Agriculture        10.913   Farm and Ranch Lands To provide funding to              https:/ https:/
                                          Protection Program   eligible entities to               /       /
                                                               purchase conservation              sam.g www.
Department of Agriculture        10.914   Wildlife Habitat     easements
                                                               To            to limit
                                                                   help participants              ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Incentive Program      protect, restore,                /       /
                                                                 develop or enhance               sam.g www.
                                                                 habitat for upland               ov/fal/ usasp
Department of Agriculture        10.916   Watershed              To provide technical             https:/ https:/
                                          Rehabilitation Program and financial assistance         /       /
                                                                 to rehabilitate dams             sam.g www.
Department of Agriculture        10.917   Agricultural           originally
                                                                 To provideconstructed
                                                                              financial           ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Management          assistance to producers /           /
                                          Assistance          on private lands through sam.g www.
Department of Agriculture        10.920   Grassland Reserve   contracts
                                                              To          to construct or ov/fal/
                                                                  assist landowners               usasp
                                                                                          https:/ https:/
                                          Program             and operators in            /       /
                                                              restoring and protecting sam.g www.
                                                              eligible grazing lands,     ov/fal/ usasp
Department of Agriculture        10.922   Healthy Forests     The purpose of the          https:/ https:/
                                          Reserve Program     Healthy Forests             /       /
                                          (HFRP)              Reserve Program             sam.g www.
Department of Agriculture        10.923                       (HFRP)
                                          Emergency Watershed The      is to assist
                                                                   objective   of the     ov/fal/ https:/
                                                                                          https:/ usasp
                                          Protection Program  EWP Program is to           /       /
                                                              assist sponsors,            sam.g www.
Department of Agriculture        10.924   Conservation        landowners,
                                                              Through CSP,   and
                                                                               NRCS       ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                          Stewardship Program       provides financial and        /       /
                                                                    technical assistance to       sam.g www.
Department of Agriculture        10.927   Emergency Watershed       eligible producers
                                                                    The objective       to
                                                                                   of the         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Protection Program -      EWP Program is to             /       /
                                          Disaster Relief           assist sponsors,              sam.g www.
Department of Agriculture        10.928   Appropriations
                                          Emergency       Act
                                                      Watershed     landowners,
                                                                    The         and
                                                                        Emergency                 ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Protection Program -      Watershed Protection -        /       /
                                          Floodplain Easements      Floodplain Easement           sam.g www.
                                          â€“ Disaster Relief       Program (EWPP-FPE)            ov/fal/ usasp




                                                                                                                              8
                            Case 1:25-cv-00039-JJM-PAS                                                              Document 114-1   Filed 02/13/25   Page 24 of 77 PageID
                                                                                                                           #: 7292
Department of Agriculture        10.929   Water Bank Program         To preserve and          https:/ https:/
                                                                     improve major wetlands /         /
                                                                     as habitat for migratory sam.g www.
Department of Agriculture        10.931   Agricultural          waterfowl  and
                                                                To establish  another         ov/fal/ https:/
                                                                                              https:/ usasp
                                          Conservation Easement agricultural                      /       /
                                          Program               conservation easement             sam.g www.
Department of Agriculture        10.932   Regional Conservation program
                                                                To furtherfor
                                                                           thethe                 ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Partnership Program     conservation,                   /       /
                                                                  protection, restoration,        sam.g www.
                                                                  and sustainable use of          ov/fal/ usasp
Department of Agriculture        10.933   Wetland Mitigation      The Wetland Mitigation          https:/ https:/
                                          Banking Program         Banking Program is              /       /
                                                                  used to help establish          sam.g www.
Department of Agriculture        10.934                           wetland
                                          Feral Swine Eradication The      mitigation
                                                                       Feral  Swine Pilot         ov/fal/ https:/
                                                                                                  https:/ usasp
                                          and Control Pilot          Program will allow           /       /
                                          Program                    NRCS and APHIS to            sam.g www.
Department of Agriculture        10.935   Urban Agriculture and      respond to theofthreat
                                                                     The objective     the        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Innovative Production      Urban Agriculture and        /       /
                                                                     Innovative Production        sam.g www.
                                                                     (UAIP) Competitive           ov/fal/ usasp
Department of Agriculture        10.936   Gulf Coast Ecosystem       The primary objective of     https:/ https:/
                                          Restoration Council        this program is to           /       /
                                          Comprehensive Plan         disburse funds to            sam.g www.
Department of Agriculture        10.937   Component
                                          PartnershipsProgram
                                                       for           eligible entities forfor
                                                                     The Partnerships      the    ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Climate-Smart           Climate-Smart                   /       /
                                          Commodities             Commodities aim to              sam.g www.
                                                                  achieve the following           ov/fal/ usasp
Department of Agriculture        10.938   Conservation Outreach, The overall goal of              https:/ https:/
                                          Education and           Conservation Outreach           /       /
                                          Technical Assistance    is to expand                    sam.g www.
Department of Agriculture        10.950   Agricultural Statistics conservation
                                                                  The   objectiveassistance
                                                                                  for NASS        ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Reports                    is to formulate, develop, /       /
                                                                     and administer            sam.g www.
Department of Agriculture        10.951   Census of Agriculture      programs   for collecting
                                                                     The objective   for NASS ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                                                     is to formulate, develop, /       /
                                                                     and administer            sam.g www.
                                                                     programs for collecting ov/fal/ usasp
Department of Agriculture        10.960   Technical Agricultural     To identify international https:/ https:/
                                          Assistance                 agricultural issues and   /       /
                                                                     problems and apply the sam.g www.
Department of Agriculture        10.961   Scientific Cooperation     most   appropriate
                                                                     The projects   address    ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                          and Research               specific issues related      /       /
                                                                     to agricultural trade and    sam.g www.
                                                                     market access, climate-      ov/fal/ usasp
Department of Agriculture        10.962   Cochran Fellowship         Awards will enhance          https:/ https:/
                                          Program                    knowledge and skills to      /       /
                                                                     assist eligible countries    sam.g www.
Department of Agriculture        10.964   Emergency Relief           to develop
                                                                     ERP  providesagricultural
                                                                                     financial    ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Program                    assistance to producers /         /
                                                                     for losses to crops,      sam.g www.
Department of Agriculture        10.965   Milk Loss Program          trees,
                                                                     The Milkbushes, and
                                                                               Loss program    ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                                                     will indemnify eligible   /       /
                                                                     dairy operations for milk sam.g www.
                                                                     that was dumped or        ov/fal/ usasp
Department of Agriculture        10.966   Commodity Container        CCAP provides             https:/ https:/
                                          Assistance Program         assistance to eligible    /       /
                                                                     owners or designated      sam.g www.
Department of Agriculture        10.968   Increasing Land,           marketing  agentsthe
                                                                     USDA launched       of    ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                          Capital, and Market        Increasing Land,             /       /
                                          Access Program             Capital, and Market          sam.g www.
Department of Agriculture        10.969   FSA Conservation           Access
                                                                     The     (Increasing
                                                                          objective of this       ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Reserve Program            program is to provide        /       /
                                          Transition Incentive       education on the CRP-        sam.g www.
Department of Agriculture        10.970   Program:
                                          Farm LoanOutreach,
                                                      Borrower       TIP program
                                                                     The Farm Loanand             ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Relief Program             Borrower Relief              /       /
                                                                     Program (FLBRP) is to        sam.g www.
Department of Agriculture        10.971   Urban Agriculture and      provide assistance
                                                                     Assistance from    to        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Urban County               USDAâ€™s Farm                /       /
                                          Committee Outreach,        Service Agency (FSA)         sam.g www.
                                          Technical Assistance,      to selected eligible         ov/fal/ usasp
Department of Agriculture        10.973   Emergency Grain            The Emergency Grain          https:/ https:/
                                          Storage Facility           Storage Facility             /       /
                                          Assistance Program         Assistance Program           sam.g www.
Department of Agriculture        10.974   DSA COVID Relief           (EGSFP)   will provide
                                                                     The DSA COVID      Relief    ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Program                    Program was                  /       /
                                                                     implemented to assist        sam.g www.
Department of Agriculture        10.975   Emergency Relief           distressed
                                                                     The        direct Relief
                                                                          Emergency    farm       ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Program Outreach           Program (ERP) is             /       /
                                          Education and              intended to help             sam.g www.
                                          Technical Assistance       agricultural producers       ov/fal/ usasp
Department of Agriculture        10.976   Rice Production            RPP provides                 https:/ https:/
                                          Program                    assistance to rice           /       /
                                                                     producers that planted       sam.g www.
Department of Agriculture        10.977   Organic Dairy              or
                                                                     Thewere  prevented
                                                                          Organic  Dairy from     ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Marketing Assistance       Marketing Assistance         /       /
                                          Program                    Program (ODMAP) was          sam.g www.
                                                                     established to help          ov/fal/ usasp
Department of Agriculture        10.978   Farm Labor                 USDA is offering a grant     https:/ https:/
                                          Stabilization and          program focused on           /       /
                                          Protection Pilot Grant     addressing labor             sam.g www.
Department of Agriculture        10.979   Program
                                          Emergency Relief           shortages
                                                                     ERP 2022 in  agriculture,
                                                                                provides          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Program 2022               financial assistance to      /       /
                                                                     producers for losses to      sam.g www.
Department of Agriculture        10.980   Emergency Livestock        crops and
                                                                     ELRP   2022trees due to
                                                                                  provides        ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Relief Program 2022       direct financial              /       /
                                                                    assistance to livestock       sam.g www.
                                                                    producers for losses          ov/fal/ usasp
Department of Agriculture        10.981   Commodity Storage         The Commodity                 https:/ https:/
                                          Assistance Program        Storage Assistance            /       /
                                                                    Program (CSAP) will           sam.g www.
Department of Agriculture        10.982   Testing, Mitigation, and provide
                                                                    Under the assistance
                                                                                authority to
                                                                                           of     ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Relief for Agricultural   the Fiscal Year 2023          /       /
                                          Contamination by Per- Consolidated                      sam.g www.
                                          and Polyfluoroalkyl       Appropriations Act,           ov/fal/ usasp
Department of Agriculture        10.983   Outreach Education        These cooperative             https:/ https:/
                                          and Technical             agreements require            /       /
                                          Assistance for Disaster recipients to work with         sam.g www.
Department of Agriculture        10.984   Assistance  Programs
                                          Discrimination  Financial producers   to evaluate of
                                                                    The U.S. Department           ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Assistance Program         Agriculture (USDA) is        /       /
                                                                     authorized by Section        sam.g www.
Department of Agriculture        10.996   Rural Development         22007 of theare
                                                                    Fellowships   Inflation       ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Policy Public Service     intended to improve the       /       /
                                          and Leadership            coordination and              sam.g www.
                                          Development Program effectiveness of Federal            ov/fal/ usasp
Department of Agriculture        10.997   U.S. Codex Office         The goal of this listing is   https:/ https:/
                                          Support for International to support agreements         /       /
                                          Activities                with organizations,           sam.g www.
Department of Commerce           11.008   NOAA Mission-Related institutions,    or of the
                                                                    The objectives                ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Education Awards           overall program are to       /       /
                                                                     facilitate educational       sam.g www.
Department of Commerce           11.011   Ocean Exploration          activities
                                                                     To explore related
                                                                                  the to          ov/fal/ https:/
                                                                                                  https:/ usasp
                                                                     Earthâ€™s largely            /       /
                                                                     unknown oceans in all        sam.g www.
                                                                     their dimensions for the     ov/fal/ usasp
Department of Commerce           11.012   Integrated Ocean           To support projects          https:/ https:/
                                          Observing System           aimed at the                 /       /
                                          (IOOS)                     development and              sam.g www.
Department of Commerce           11.013   Education Quality          sustainability
                                                                     Support        of a
                                                                              Malcolm             ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Award Ambassadorship Baldrige National                  /       /
                                                                 Quality Award Program            sam.g www.
                                                                 (MBNQA) winners in               ov/fal/ usasp
Department of Commerce           11.015   Broad Agency           This BAA is a                    https:/ https:/
                                          Announcement           mechanism to                     /       /
                                                                 encourage research,              sam.g www.
Department of Commerce           11.016   Statistical, Research, education and outreach,
                                                                 To make awards  to, or           ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          and Methodology            conclude cooperative         /       /
                                          Assistance                 agreements with              sam.g www.
Department of Commerce           11.017   Ocean Acidification        appropriate
                                                                     The         entities,
                                                                         OAP plays   an           ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Program (OAP)            integral role in               /       /
                                                                   maintaining long-term          sam.g www.
                                                                   monitoring; conducting         ov/fal/ usasp
Department of Commerce           11.021   NOAA Small Business The Small Business                  https:/ https:/
                                          Innovation Research      Innovation Research            /       /
                                          (SBIR) Program           (SBIR) seeks to                sam.g www.
Department of Commerce           11.022                            stimulate technological
                                          Bipartisan Budget Act of Identifying and                ov/fal/ https:/
                                                                                                  https:/ usasp
                                          2018                       documenting                  /       /
                                                                     incremental risks and        sam.g www.
                                                                     mitigating controls with     ov/fal/ usasp
Department of Commerce           11.023   Science, Technology,       The U.S Economic             https:/ https:/
                                          Engineering, and           Development                  /       /
                                          Mathematics (STEM)         Administrationâ€™s           sam.g www.
Department of Commerce           11.024   Talent
                                          BUILDChallenge
                                                 TO SCALE            STEM   Talent Challenge
                                                                     Entrepreneurs,               ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                                                     especially technology        /       /
                                                                     entrepreneurs, flourish      sam.g www.
Department of Commerce           11.028   Connecting Minority        in healthy
                                                                     The        ecosystems.
                                                                          Connecting              ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Communities Pilot          Minority Communities         /       /
                                          Program                    Pilot Program provides       sam.g www.
                                                                     grants to eligible           ov/fal/ usasp
Department of Commerce           11.029   Tribal Broadband           This program provides        https:/ https:/
                                          Connectivity Program       grants to eligible tribal    /       /
                                                                     or Native entities in the    sam.g www.
Department of Commerce           11.031   Broadband                  United
                                                                     The     States to expand
                                                                          Broadband               ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Infrastructure Program     Infrastructure Program       /       /
                                                                     provides federal grants      sam.g www.
Department of Commerce           11.032   State Digital Equity       for
                                                                     Thethe  deployment
                                                                          purpose  of the of      ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          Planning and Capacity      State Digital Equity         /       /
                                          Grant                      Planning and Capacity        sam.g www.
Department of Commerce           11.033   Middle Mile                Grant Programs
                                                                     The Middle  Mile is to       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                          (Broadband) Grant          (Broadband) Grant            /       /
                                          Program                    Program provides             sam.g www.
Department of Commerce           11.034   2023 MBDA Capital          funding
                                                                     The     for the
                                                                         Minority  Business       ov/fal/ https:/
                                                                                                  https:/ usasp
                                          Readiness Program          Development                  /       /
                                                                     Agencyâ€™s (MBDA)            sam.g www.
                                                                     Capital Readiness            ov/fal/ usasp




                                                                                                                              9
                         Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 25 of 77 PageID
                                                                                                                       #: 7293
Department of Commerce        11.035   Broadband Equity,         The Commerce                 https:/ https:/
                                       Access, and               Department's National        /       /
                                       Deployment Program        Telecommunications           sam.g www.
Department of Commerce        11.036   Digital Equity            and Information
                                                                 The purpose of the           ov/fal/ https:/
                                                                                              https:/ usasp
                                       Competitive Grant         Digital Equity               /       /
                                       Program                   Competitive Grant            sam.g www.
Department of Commerce        11.037   CHIPS Incentives          Program
                                                                 The CHIPS is to support
                                                                               Incentives     ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Program                Program aims to                 /       /
                                                              catalyze long-term              sam.g www.
                                                              economically                    ov/fal/ usasp
Department of Commerce        11.038   Public Wireless Supply The Innovation Fund is          https:/ https:/
                                       Chain Innovation Fund a ten-year, $1.5 billion         /       /
                                       Grant Program          grant program,                  sam.g www.
Department of Commerce        11.039   Regional Technology    advancing
                                                              Awards  madeopen
                                                                             under this       ov/fal/ https:/
                                                                                              https:/ usasp
                                       and Innovation Hubs    NOFO will seek to               /       /
                                                              strengthen U.S.                 sam.g www.
Department of Commerce        11.040   Distressed Area        economic   and national
                                                              The Distressed  Area            ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Recompete Pilot           Recompete Pilot              /       /
                                       Program                   Program (Recompete           sam.g www.
                                                                 Pilot Program) aims to       ov/fal/ usasp
Department of Commerce        11.041   U.S. and Foreign          The goals of the             https:/ https:/
                                       Commercial Service        fellowship program are       /       /
                                       Pilot Fellowship          to enhance                   sam.g www.
Department of Commerce        11.042   Program
                                       CHIPS Research and        studentsâ€™
                                                                 The CHIPS Research           ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Development               and Development Office       /       /
                                                                 (CHIPS R&D) aims to          sam.g www.
                                                                 accelerate the               ov/fal/ usasp
Department of Commerce        11.043   National Weather          The Office of Science        https:/ https:/
                                       Service Office of         and Technology               /       /
                                       Science and               Integration (OSTI)           sam.g www.
Department of Commerce        11.112   Technology
                                       Market      Integration
                                              Development        Modelingthe
                                                                 Through   Program
                                                                              Market          ov/fal/ https:/
                                                                                              https:/ usasp
                                       Cooperator Program        Development                  /       /
                                                                 Cooperator Program           sam.g www.
Department of Commerce        11.300   Investments for Public    (MDCP),
                                                                 EDAâ€™s thePublic            ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Works and Economic   Works program helps               /       /
                                       Development Facilities
                                                            distressed communities            sam.g www.
                                                            revitalize, expand, and           ov/fal/ usasp
Department of Commerce        11.302   Economic Development The Economic                      https:/ https:/
                                       Support for Planning Development Planning              /       /
                                       Organizations        Assistance program                sam.g www.
Department of Commerce        11.303   Economic Development provides  essentialthree
                                                            EDA administers                   ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Technical Assistance      Technical Assistance         /       /
                                                                 initiatives under this       sam.g www.
                                                                 assistance listing: the      ov/fal/ usasp
Department of Commerce        11.307   Economic Adjustment       The EAA program              https:/ https:/
                                       Assistance                provides a wide range        /       /
                                                                 of technical, planning,      sam.g www.
Department of Commerce        11.312   Research and              public works
                                                                 Through        and
                                                                            the R&E           ov/fal/ https:/
                                                                                              https:/ usasp
                                       Evaluation Program        program, EDA supports        /       /
                                                                 the development of           sam.g www.
Department of Commerce        11.313   Trade Adjustment          tools,
                                                                 The Trade Adjustment         ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Assistance for Firms  Assistance for Firms             /       /
                                                             (TAAF) program helps             sam.g www.
                                                             import-impacted U.S.             ov/fal/ usasp
Department of Commerce        11.400   Geodetic Surveys and Two programs exist in             https:/ https:/
                                       Services (Geodesy and this CFDA:                       /       /
                                       Applications of the   A.The National                   sam.g www.
Department of Commerce        11.405   National  Geodetic
                                       Cooperative Institute Geodetic
                                                             To increaseSurvey
                                                                           the (NGS)          ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       (Inter-Agency Funded effectiveness of                  /       /
                                       Activities)           research and develop             sam.g www.
Department of Commerce        11.407   Interjurisdictional   innovative
                                                             To          approaches
                                                                 assist States in             ov/fal/ https:/
                                                                                              https:/ usasp
                                       Fisheries Act of 1986     managing                     /       /
                                                                 interjurisdictional          sam.g www.
Department of Commerce        11.408   Fishermen's               fisheries
                                                                 To        resources.
                                                                     compensate    U.S.       ov/fal/ https:/
                                                                                              https:/ usasp
                                       Contingency Fund          commercial fishermen         /       /
                                                                 for damage/loss of           sam.g www.
Department of Commerce        11.413   Fishery Products          fishing gear
                                                                 To ensure    and
                                                                            that   50
                                                                                 the          ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Inspection and            hygienic aspects of          /       /
                                       Certification             seafood harvesting and       sam.g www.
                                                                 processing operations        ov/fal/ usasp
Department of Commerce        11.415   Fisheries Finance         Provides direct loans for    https:/ https:/
                                       Program                   certain fisheries costs.     /       /
                                                                 Vessel financing             sam.g www.
Department of Commerce        11.417   Sea Grant Support         available
                                                                 To supportforthe
                                                                                the           ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                                                 establishment and            /       /
                                                                 operation of major           sam.g www.
Department of Commerce        11.419   Coastal Zone              university
                                                                 To         centersinfor
                                                                    assist States             ov/fal/ https:/
                                                                                              https:/ usasp
                                       Management               implementing and              /       /
                                       Administration Awards    enhancing Coastal             sam.g www.
                                                                Zone Management and           ov/fal/ usasp
Department of Commerce        11.420   Coastal Zone             To assist States in the       https:/ https:/
                                       Management Estuarine development,                      /       /
                                       Research Reserves        acquisition, monitoring,      sam.g www.
Department of Commerce        11.426   Financial Assistance for research, education,
                                                                NCCOS provides                ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       National Centers for  research, scientific             /       /
                                       Coastal Ocean Science information and tools to         sam.g www.
                                                             help balance the                 ov/fal/ usasp
Department of Commerce        11.427   Fisheries Development To increase greatly the          https:/ https:/
                                       and Utilization       Nation's wealth and              /       /
                                       Research and          quality of life through          sam.g www.
Department of Commerce        11.429   Development    Grants
                                       Marine Sanctuary      sustainable
                                                             National marinefisheries         ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Program                 sanctuaries conduct            /       /
                                                               and support monitoring         sam.g www.
Department of Commerce        11.431   Climate and             programs    tailored to
                                                               Climate variability  andthe    ov/fal/ https:/
                                                                                              https:/ usasp
                                       Atmospheric Research change present society            /       /
                                                               with significant               sam.g www.
                                                               economic, health,              ov/fal/ usasp
Department of Commerce        11.432   National Oceanic and    To increase the                https:/ https:/
                                       Atmospheric             effectiveness of               /       /
                                       Administration (NOAA) research and develop             sam.g www.
Department of Commerce        11.433   Cooperative  Institutes innovative
                                       Marine Fisheries        To provide approaches
                                                                            financial         ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Initiative                assistance for research      /       /
                                                                 and development              sam.g www.
                                                                 projects that will provide   ov/fal/ usasp
Department of Commerce        11.434   Cooperative Fishery       To maintain a                https:/ https:/
                                       Statistics                cooperative State and        /       /
                                                                 Federal partnership to       sam.g www.
Department of Commerce        11.435   Southeast Area            provide a continuing
                                                                 To maintain  a               ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Monitoring and         cooperative program             /       /
                                       Assessment Program     which engages State             sam.g www.
Department of Commerce        11.436   Columbia River         and Federal
                                                              This  programagencies
                                                                             uses thein       ov/fal/ https:/
                                                                                              https:/ usasp
                                       Fisheries Development facilities and personnel         /       /
                                       Program                of State and Federal            sam.g www.
                                                              fisheries agencies and          ov/fal/ usasp
Department of Commerce        11.437   Pacific Fisheries Data This cooperative                https:/ https:/
                                       Program                program provides                /       /
                                                              support to State fishery        sam.g www.
Department of Commerce        11.438   Pacific Coast Salmon   agencies   to enhance
                                                              This is a cooperative           ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Recovery Pacific        program that assists the /       /
                                       Salmon Treaty Program States in salmon           sam.g www.
Department of Commerce        11.439   Marine Mammal Data      restoration and in
                                                               Nondiscretionary         ov/fal/ usasp
                                                                                        https:/ https:/
                                       Program                 funding under this       /       /
                                                               authorization provides   sam.g www.
                                                               support to State         ov/fal/ usasp
Department of Commerce        11.440   Environmental           To advance and           https:/ https:/
                                       Sciences, Applications, promote applied          /       /
                                       Data, and Education     research, data           sam.g www.
Department of Commerce        11.441   Regional Fishery        assimilation
                                                               The          andof the
                                                                    objectives          ov/fal/ https:/
                                                                                        https:/ usasp
                                       Management Councils       eight Regional Fishery       /       /
                                                                 Management Councils          sam.g www.
                                                                 are to prepare, monitor      ov/fal/ usasp
Department of Commerce        11.451   Gulf Coast Ecosystem      The mission of the           https:/ https:/
                                       Restoration Science,      National Oceanic and         /       /
                                       Observation,              Atmospheric                  sam.g www.
Department of Commerce        11.452   Monitoring, and
                                       Unallied Industry         Administrationâ€™s
                                                                 To provide grants and        ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Projects              cooperative agreements /          /
                                                             for biological, economic, sam.g www.
Department of Commerce        11.454   Unallied Management   sociological,
                                                             Projects       public
                                                                       provide         ov/fal/ usasp
                                                                                       https:/ https:/
                                       Projects              economic, sociological, /         /
                                                             public policy, and other sam.g www.
                                                             information needed by     ov/fal/ usasp
Department of Commerce        11.455   Cooperative Science   To support through        https:/ https:/
                                       and Education Program grants and cooperative /          /
                                                             agreements, enduring      sam.g www.
Department of Commerce        11.457   Chesapeake Bay        partnerships
                                                             To             between
                                                                 provide financial     ov/fal/ https:/
                                                                                       https:/ usasp
                                       Studies                 assistance for research        /       /
                                                               and development                sam.g www.
                                                               projects that will provide     ov/fal/ usasp
Department of Commerce        11.459   Weather and Air Quality Advance weather                https:/ https:/
                                       Research                research, development,         /       /
                                                               and transition to              sam.g www.
Department of Commerce        11.460   Special Oceanic and     improve  weather
                                                               To strengthen  the             ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Atmospheric Projects      communication and            /       /
                                                                 improve the impact of        sam.g www.
Department of Commerce        11.463   Habitat Conservation      hurricane,
                                                                 To provide flood,
                                                                             grantsand
                                                                                    and       ov/fal/ https:/
                                                                                              https:/ usasp
                                                              cooperative agreements          /       /
                                                              for habitat conservation        sam.g www.
                                                              activities including            ov/fal/ usasp
Department of Commerce        11.467   Meteorologic and       To maintain a                   https:/ https:/
                                       Hydrologic             cooperative university          /       /
                                       Modernization          and Federal                     sam.g www.
Department of Commerce        11.468   Development
                                       Applied                partnerships
                                               Meteorological The            to conduct
                                                                   Collaborative              ov/fal/ https:/
                                                                                              https:/ usasp
                                       Research               Science, Technology,            /       /
                                                              and Applied Research            sam.g www.
Department of Commerce        11.469   Congressionally        (CSTAR)     program
                                                              The objectives       from
                                                                               of the         ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                       Identified Awards and     overall program are to       /     /
                                       Projects                  facilitate education,        sam.g www.
Department of Commerce        11.472   Unallied Science          research
                                                                 To provideandgrants and  ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                       Program                   cooperative agreements /         /
                                                                 of biological, socio-    sam.g www.
Department of Commerce        11.473   Office for Coastal        economic
                                                                 To supportand   physical ov/fal/
                                                                             projects             usasp
                                                                                          https:/ https:/
                                       Management                aimed at developing a    /       /
                                                                 science-based, multi-    sam.g www.
                                                                 dimensional approach     ov/fal/ usasp




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                         Case 1:25-cv-00039-JJM-PAS                                                           Document 114-1   Filed 02/13/25   Page 26 of 77 PageID
                                                                                                                     #: 7294
Department of Commerce        11.474   Atlantic Coastal          To provide assistance to https:/ https:/
                                       Fisheries Cooperative     eligible States and the  /       /
                                       Management Act            Atlantic States Marine   sam.g www.
Department of Commerce        11.477   Fisheries Disaster        Fisheries
                                                                 To         Commission
                                                                     deal with commercial ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                       Relief                    fishery failures due to  /       /
                                                                 fishery resource         sam.g www.
Department of Commerce        11.478   Center for Sponsored      disasters.   Disaster
                                                                 The Competitive          ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                       Coastal Ocean           Research Program             /       /
                                       Research Coastal        (CRP), part of the           sam.g www.
                                       Ocean Program           National Oceanic and         ov/fal/ usasp
Department of Commerce        11.481   Educational Partnership To continue                  https:/ https:/
                                       Program                 development of               /       /
                                                               education, research,         sam.g www.
Department of Commerce        11.482   Coral Reef              policy
                                                               To     and natural
                                                                  provide matching          ov/fal/ https:/
                                                                                            https:/ usasp
                                       Conservation Program      grants of financial      /       /
                                                                 assistance in support of sam.g www.
Department of Commerce        11.483   NOAA Programs for         coral reef conservation
                                                                 1. Protect, Restore, and ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                       Disaster Relief           Manage the Use of        /       /
                                       Appropriations Act -      Coastal and Ocean        sam.g www.
                                       Non-construction and      Resources through an     ov/fal/ usasp
Department of Commerce        11.553   Special Projects          To assist various        https:/ https:/
                                                                 organizations identified /       /
                                                                 by Congress or through sam.g www.
Department of Commerce        11.601   Calibration Program       non-competitive  grants ov/fal/
                                                                 To provide a consistent  https:/ usasp
                                                                                                  https:/
                                                             system of physical             /       /
                                                             measurement in the             sam.g www.
                                                             United States of               ov/fal/ usasp
Department of Commerce        11.603   National Standard     To make evaluated              https:/ https:/
                                       Reference Data System scientific and technical       /       /
                                                             data readily available to      sam.g www.
Department of Commerce        11.604   Standard Reference    scientists,Reference
                                                             Standard    engineers,         ov/fal/ https:/
                                                                                            https:/ usasp
                                       Materials             Materials are certified        /       /
                                                             and issued by NIST to          sam.g www.
Department of Commerce        11.606   Weights and Measures develop   accurate
                                                             To provide leadership          ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                       Service               and technical resources        /       /
                                                             to assure the accuracy         sam.g www.
                                                             of the quantities and          ov/fal/ usasp
Department of Commerce        11.609   Measurement and       To provide scientific and      https:/ https:/
                                       Engineering Research engineering research            /       /
                                       and Standards         and technology transfer        sam.g www.
Department of Commerce        11.610   Standards Information for measurement
                                                             To serve           and
                                                                      as a standards        ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                       Center                    and conformity             /       /
                                                                 assessment information     sam.g www.
                                                                 center and referral        ov/fal/ usasp
Department of Commerce        11.611   Manufacturing             Enhance                    https:/ https:/
                                       Extension Partnership     competitiveness,           /       /
                                                                 productivity, and          sam.g www.
Department of Commerce        11.617   Congressionally-          technological
                                                                 To assist various          ov/fal/ https:/
                                                                                            https:/ usasp
                                       Identified Projects       organizations identified   /       /
                                                                 by Congress to achieve     sam.g www.
Department of Commerce        11.619   Arrangements for        objectives specified
                                                               To establish an       by     ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                       Interdisciplinary       strengthen new and/or        /       /
                                       Research Infrastructure existing centers,            sam.g www.
                                                               consortia, or other          ov/fal/ usasp
Department of Commerce        11.620   Science, Technology,    To evaluate the benefits     https:/ https:/
                                       Business and/or         and impacts of NIST          /       /
                                       Education Outreach      research and                 sam.g www.
Department of Commerce        11.802   Minority Business       development
                                                               The objectivesefforts
                                                                               of the       ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                       Resource Development overall program are to          /       /
                                                            1) provide financial            sam.g www.
Department of Commerce        11.804                        assistance
                                       MBDA Business Center The  purposeawards
                                                                          of the for        ov/fal/ https:/
                                                                                            https:/ usasp
                                       - American Indian andMBDA Business Center            /       /
                                       Alaska Native        - Native American               sam.g www.
Department of Commerce        11.805                        Business
                                       MBDA Business Center The       Enterprise
                                                                Minority Business           ov/fal/ https:/
                                                                                            https:/ usasp
                                                             Development Agency             /       /
                                                             (MBDA), a bureau of            sam.g www.
Department of Commerce        11.999   Marine Debris Program the U.S. Department
                                                             To provide  grants andof       ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                                             cooperative agreements         /       /
                                                             to help identify,              sam.g www.
                                                             determine sources of,          ov/fal/ usasp
Department of Defense         12.002   Procurement Technical Building a strong and          https:/ https:/
                                       Assistance For        sustainable U.S. supply        /       /
                                       Business Firms        chain and supporting a         sam.g www.
Department of Defense         12.003   Community Economic wide
                                                             Assistrange
                                                                    Stateofand
                                                                             diverse
                                                                                local       ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                       Adjustment Assistance governments to review          /       /
                                       for Responding to       existing capabilities        sam.g www.
Department of Defense         12.004   Threats
                                       Fort    to the Sentinel Objective
                                            Huachuca           supporting1:military
                                                                            Future          ov/fal/ https:/
                                                                                            https:/ usasp
                                       Landscapes for Military external encroachment        /       /
                                       Training                  mitigation through         sam.g www.
                                                                 conservation of open       ov/fal/ usasp
Department of Defense         12.005   Conservation and          The Sikes Act attempts     https:/ https:/
                                       Rehabilitation of Natural to ensure that fish,       /       /
                                       Resources on Military wildlife and other             sam.g www.
Department of Defense         12.006   Installations
                                       National Defense          natural resources
                                                                 To obtain          that
                                                                           support for      ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                       Education Program        the management,             /       /
                                                                development,                sam.g www.
                                                                implementation,             ov/fal/ usasp
Department of Defense         12.007   Military Health Services The Military Health         https:/ https:/
                                       Research (MHSR)          System Research             /       /
                                                                (MHSR) Program              sam.g www.
Department of Defense         12.008   Dredged Material         provides  intramural
                                                                inspect, ditch       and
                                                                               and drain    ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                       Containment Area          dredged material           /       /
                                                                 containment areas          sam.g www.
Department of Defense         12.010   Youth Conservation        related
                                                                 To      to dredging
                                                                    further training and    ov/fal/ https:/
                                                                                            https:/ usasp
                                       Services                educational                  /       /
                                                               opportunities at water       sam.g www.
                                                               resources development        ov/fal/ usasp
Department of Defense         12.012   Management of           The purpose of the           https:/ https:/
                                       Undersirable Plants on cooperative agreement         /       /
                                       Federal Lands, 7 U.S.C. is to manage                 sam.g www.
Department of Defense         12.014   2814
                                       OnRampII                undesirable
                                                               The purposeplants
                                                                             of theon       ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                                                 OnRamp II program is       /       /
                                                                 to foster educational      sam.g www.
                                                                 partnerships between       ov/fal/ usasp
Department of Defense         12.015   Past Conflict             The Secretary of           https:/ https:/
                                       Accounting - Vietnam      Defense, in                /       /
                                                                 coordination with the      sam.g www.
Department of Defense         12.016   Transportation - DASH     Secretary  of to
                                                                 Objective is   State, is
                                                                                  provide   ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                       102X and WMATA 7M         Transportation between     /       /
                                       Shuttles                  the Mark Center, the       sam.g www.
Department of Defense         12.017   Readiness and             Pentagon,
                                                                 The       and the
                                                                     Readiness   andCity    ov/fal/ https:/
                                                                                            https:/ usasp
                                       Environmental             Environmental              /       /
                                       Protection Integration    Protection Integration     sam.g www.
                                       (REPI) Program            (REPI) Program funds       ov/fal/ usasp
Department of Defense         12.019   Pacific Center Disaster   1. Enable PDC to           https:/ https:/
                                       (PDC) Program             stimulate research,        /       /
                                                                 development,               sam.g www.
Department of Defense         12.020   STARBASE Program          evaluation  and
                                                                 This is a non              ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                                                 discretionary award.       /       /
                                                                 1. STARBASE 2.0 is         sam.g www.
Department of Defense         12.021   Army National Guard       an afterschool,
                                                                 The             middle
                                                                      Army Compatible       ov/fal/ https:/
                                                                                            https:/ usasp
                                       Army Compatible Use       Use Buffer (ACUB)          /       /
                                       Buffer Program            program provides           sam.g www.
                                                                 assistance awards to       ov/fal/ usasp
Department of Defense         12.022   DoD Mentor-Protege        The Department of          https:/ https:/
                                       Program                   Defense (DoD), Mentor      /       /
                                                                 Protege Program was        sam.g www.
Department of Defense         12.024   Defense Security          established
                                                                 The DefenseinSecurity
                                                                               October      ov/fal/ https:/
                                                                                            https:/ usasp
                                       Cooperation University - Cooperation                 /       /
                                       Sponsored Research       Agencyâ€™s (DSCA)           sam.g www.
                                                                Defense Security            ov/fal/ usasp
Department of Defense         12.025   Native American          Work with Tribal            https:/ https:/
                                       Consultation to Identify representatives to          /       /
                                       Sacred Sites and         identify sacred sites and   sam.g www.
Department of Defense         12.026   Traditional
                                       Corps Water Cultural     traditional cultural
                                                                CWIFP enables     local     ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                       Infrastructure Financing investment in critical  /       /
                                       Program (CWIFP)          non-Federal dam safety sam.g www.
Department of Defense         12.027   Defense Community        projects
                                                                Assist    thatand
                                                                        state  enhance
                                                                                  local ov/fal/ usasp
                                                                                        https:/ https:/
                                       Infrastructure Program governments with          /       /
                                                                addressing deficiencies sam.g www.
                                                                in community            ov/fal/ usasp
Department of Defense         12.029   Community Noise          Assist state and local  https:/ https:/
                                       Mitigation Program       governments with        /       /
                                                                addressing military     sam.g www.
Department of Defense         12.113   State Memorandum of To   fixed-wing  aviation
                                                                    reimburse   each    ov/fal/ https:/
                                                                                        https:/ usasp
                                       Agreement Program for State and territory for        /       /
                                       the Reimbursement of their costs incurred by         sam.g www.
                                       Technical Services     providing technical           ov/fal/ usasp
Department of Defense         12.114   Collaborative Research To facilitate productivity-   https:/ https:/
                                       and Development        improving research and        /       /
                                                              development and               sam.g www.
Department of Defense         12.116   Department of Defense application   of advanced
                                                              For developing   a            ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                       Appropriation Act of      system for prioritization /       /
                                       2003                      of mitigation and cost to sam.g www.
Department of Defense         12.219   Ease 3.0                  complete
                                                                 1.         estimates
                                                                    Establish          for ov/fal/
                                                                              and ensure           usasp
                                                                                           https:/ https:/
                                                                 successful, sustainable, /        /
                                                                 and effective methods     sam.g www.
                                                                 to improve voting         ov/fal/ usasp
Department of Defense         12.225   Commercial                In partnership with       https:/ https:/
                                       Technologies for          industry, the goal of the /       /
                                       Maintenance Activities    CTMA program is to        sam.g www.
Department of Defense         12.300   Program
                                       Basic and Applied         leverage
                                                                 To        and
                                                                     support andadvance    ov/fal/ https:/
                                                                                           https:/ usasp
                                       Scientific Research       stimulate basic and        /     /
                                                                 applied research and       sam.g www.
Department of Defense         12.330   Science, Technology,      technology  at
                                                                 To support educational   ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                       Engineering &             programs in Science,     /       /
                                       Mathematics (STEM)        Technology,              sam.g www.
Department of Defense         12.333   Education,
                                       Advanced Outreach         Engineering
                                                                 OSD ManTech   and
                                                                                 provides ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                       Manufacturing             federal financial        /       /
                                       Technology - Office of    assistance for basic,    sam.g www.
Department of Defense         12.335   the Secretary
                                       Navy  Command,of          applied,
                                                                 To supportand advanced
                                                                             basic and    ov/fal/ https:/
                                                                                          https:/ usasp
                                       Control,                  applied research at        /       /
                                       Communications,           educational, nonprofit,    sam.g www.
                                       Computers,                or commercial research     ov/fal/ usasp




                                                                                                                       11
                          Case 1:25-cv-00039-JJM-PAS                                                               Document 114-1   Filed 02/13/25   Page 27 of 77 PageID
                                                                                                                          #: 7295
Department of Defense          12.340   Naval Medical         To enhance the health,             https:/ https:/
                                        Research and          safety, readiness, and             /       /
                                        Development           performance of Navy                sam.g www.
Department of Defense          12.350                         andtrain
                                        Department of Defense To   Marine
                                                                       and Corps
                                                                            assist               ov/fal/ https:/
                                                                                                 https:/ usasp
                                        HIV/AIDS Prevention   selected foreign                   /       /
                                        Program               militaries in establishing         sam.g www.
Department of Defense          12.351   Scientific Research - and  implementing
                                                              To support   and     HIV/          ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                        Combating Weapons of stimulate basic, applied            /       /
                                        Mass Destruction     and advanced research               sam.g www.
                                                             at educational or                   ov/fal/ usasp
Department of Defense          12.355   Pest Management and Research designed to                 https:/ https:/
                                        Vector Control       develop new                         /       /
                                        Research             interventions for                   sam.g www.
Department of Defense          12.357   ROTC Language and    protection
                                                             Project GOof(Global
                                                                          deployed               ov/fal/ https:/
                                                                                                 https:/ usasp
                                        Culture Training Grants Officers) is a DoD-              /       /
                                                                funded initiative that           sam.g www.
Department of Defense          12.360   Research on Chemical promotes
                                                                To further critical
                                                                           the capability        ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                        and Biological Defense to prevent, detect,               /       /
                                                               diagnose and treat the            sam.g www.
                                                               effects of chemical,              ov/fal/ usasp
Department of Defense          12.369   Marine Corps Systems To reduce the demand                https:/ https:/
                                        Command Federal        for illegal drugs among           /       /
                                        Assistance Program     Americaâ€™s youth by              sam.g www.
Department of Defense          12.400   Military Construction, providing   standardized
                                                               This is a non-                    ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                        National Guard          discretionary award. To          /       /
                                                                provide Congressionally          sam.g www.
                                                                mandated assistance to           ov/fal/ usasp
Department of Defense          12.401   National Guard Military This is a non-                   https:/ https:/
                                        Operations and          discretionary program.           /       /
                                        Maintenance (O&M)       The National Guard               sam.g www.
Department of Defense          12.404   Projects
                                        National Guard          Bureau
                                                                This is a(NGB)
                                                                          non enters             ov/fal/ https:/
                                                                                                 https:/ usasp
                                        ChalleNGe Program       discretionary program.           /       /
                                                                The Secretary of                 sam.g www.
Department of Defense          12.420   Military Medical        Defense,
                                                                Through theacting through
                                                                              support  of        ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                        Research and                basic, applied, and          /       /
                                        Development                 advanced biomedical          sam.g www.
                                                                    research: (1) to             ov/fal/ usasp
Department of Defense          12.431   Basic Scientific            To support basic             https:/ https:/
                                        Research                    research, and enhance        /       /
                                                                    fundamental knowledge        sam.g www.
Department of Defense          12.440   Dissertation Year           in
                                                                    ThetheU.S.
                                                                           chemical, life,
                                                                               Army Center       ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                        Fellowship                  of Military History          /       /
                                                                    Dissertation Year            sam.g www.
                                                                    Fellowship program is        ov/fal/ usasp
Department of Defense          12.460   Fisher House                To implement                 https:/ https:/
                                        Foundation                  Congressionally-             /       /
                                                                    directed assistance to       sam.g www.
Department of Defense          12.501   Training and Support        thesupport
                                                                    To  Fisher House
                                                                                 and             ov/fal/ https:/
                                                                                                 https:/ usasp
                                        â€“ Combating         stimulate training and             /       /
                                        Weapons of Mass       collaborative efforts for          sam.g www.
Department of Defense          12.550   Destruction
                                        The Language Flagship solutions to combat
                                                              (1) To establish      or
                                                                               centers           ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                        Grants to Institutions of for the teaching of            /       /
                                        Higher Education          critical languages that        sam.g www.
                                                                  enable students to             ov/fal/ usasp
Department of Defense          12.551   National Security         (1) To provide the             https:/ https:/
                                        Education Program         necessary resources,           /       /
                                        David L. Boren            accountability and             sam.g www.
Department of Defense          12.552   Scholarships
                                        National Security         flexibility to meet
                                                                  (1) To provide   thethe        ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                        Education Program           necessary resources,         /       /
                                        David L. Boren              accountability and           sam.g www.
Department of Defense          12.554   Fellowships
                                        English for Heritage        flexibility
                                                                    The  Englishto meet
                                                                                   for the       ov/fal/ https:/
                                                                                                 https:/ usasp
                                        Language Speakers           Heritage Language            /     /
                                        Grants to U.S.              Speakers (EHLS)              sam.g www.
Department of Defense          12.556   Institutions ofGrants:
                                        Competitive     Higher      program
                                                                    The      is designed to
                                                                         DoDEA              ov/fal/ usasp
                                                                                            https:/ https:/
                                        Promoting K-12 Student Educational Partnership /            /
                                        Achievement at Military- Grant Program provide sam.g www.
Department of Defense          12.558   Connected
                                        DepartmentSchools
                                                   of Defense resources     for local
                                                                 Reimbursement     to local ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                        Impact Aid               educational agencies       /       /
                                        (Supplement, CWSD,       (LEAs) for education       sam.g www.
                                        BRAC)                    related costs for military ov/fal/ usasp
Department of Defense          12.560   DOD, NDEP, DOTC-         To obtain support for      https:/ https:/
                                        STEM Education           the management,            /       /
                                        Outreach                 development, and           sam.g www.
Department of Defense          12.579   Implementation
                                        Language Training        furthering of new
                                                                 The Language       and
                                                                                  Training  ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                        Center                 Center Program is a      /       /
                                                               DOD-funded initiative    sam.g www.
Department of Defense          12.599   Congressionally        thatimplement
                                                               To   seeks to accelerate ov/fal/ usasp
                                                                                        https:/ https:/
                                        Directed Assistance    Congressionally          /       /
                                                               directed assistance for  sam.g www.
                                                               the purposes identified ov/fal/ usasp
Department of Defense          12.600   Community Investment To provide assistance      https:/ https:/
                                                               authorized by statute.   /       /
                                                                                        sam.g www.
Department of Defense          12.604   Community Economic To provide assistance to https:/ usasp
                                                                                        ov/fal/ https:/
                                        Adjustment Assistance State and local           /       /
                                        for Reductions in      governments affected     sam.g www.
                                        Defense Spending       by qualifying            ov/fal/ usasp
Department of Defense          12.607   Community Economic Assist States and local https:/ https:/
                                        Adjustment Assistance governments to: plan      /       /
                                        for Realignment or     and carry out            sam.g www.
Department of Defense          12.610   Closure
                                        Communityof aEconomic
                                                      Military adjustment  strategies;
                                                               Provide technical and    ov/fal/
                                                                                        https:/ usasp
                                                                                                https:/
                                        Adjustment Assistance financial assistance to            /       /
                                        for Compatible Use and state and local                   sam.g www.
Department of Defense          12.611   Joint Land Use
                                        Community      Studies Assist
                                                    Economic   governments   to plan
                                                                      States and  local          ov/fal/ https:/
                                                                                                 https:/ usasp
                                        Adjustment Assistance governments to plan                /       /
                                        for Reductions in      and carry out                     sam.g www.
                                        Defense Industry       community adjustment              ov/fal/ usasp
Department of Defense          12.614   Community Economic Assist State and local                https:/ https:/
                                        Adjustment Assistance governments to lessen              /       /
                                        for Advance Planning   an area's dependence              sam.g www.
Department of Defense          12.615   and
                                        Research and Technical on
                                             Economic             defense
                                                               To make  awards to, or            ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                        Assistance                  conclude cooperative         /       /
                                                                    agreements with States       sam.g www.
                                                                    or local governments, or     ov/fal/ usasp
Department of Defense          12.617   Economic Adjustment         To provide technical         https:/ https:/
                                        Assistance for State        and financial assistance     /       /
                                        Governments                 to a State, or an entity     sam.g www.
Department of Defense          12.618   Community Economic          of State
                                                                    Assist   government,
                                                                           States  and localto   ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                        Adjustment Assistance       governments to: plan         /       /
                                        for Establishment or        and carry out local          sam.g www.
Department of Defense          12.620   Expansion
                                        Troops      of a Military
                                                to Teachers         adjustments
                                                                    The goal is toinfacilitate
                                                                                     local       ov/fal/ https:/
                                                                                                 https:/ usasp
                                        Grant Program               employment of eligible       /       /
                                                                    members of the armed         sam.g www.
                                                                    forces in schools            ov/fal/ usasp
Department of Defense          12.630   Basic, Applied, and         To: (1) Support basic,       https:/ https:/
                                        Advanced Research in        applied, or advanced         /       /
                                        Science and                 research in                  sam.g www.
Department of Defense          12.631   Engineering
                                        Science, Technology,        mathematical,
                                                                    To partner withphysical,
                                                                                    like-        ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                        Engineering and             minded organizations in /            /
                                        Mathematics (STEM)          managing the SMART           sam.g www.
Department of Defense          12.632   Educational
                                        Legacy      Program:
                                               Resource             scholarship
                                                                    The   missionprogram
                                                                                   of the DoD ov/fal/    usasp
                                                                                                 https:/ https:/
                                        Management Program          Legacy Program is to         /       /
                                                                    provide coordinated,         sam.g www.
                                                                    Department-wide, and         ov/fal/ usasp
Department of Defense          12.740   Past Conflict               The United States has        https:/ https:/
                                        Accounting                  made a sacred promise /              /
                                                                    to its citizens that it will sam.g www.
Department of Defense          12.750   Uniformed Services          bringmission
                                                                    The    home with    dignity https:/
                                                                                   of the        ov/fal/ https:/
                                                                                                         usasp
                                        University Medical        Uniformed Services             /       /
                                        Research Projects         University of Health           sam.g www.
                                                                  Sciences is to educate,        ov/fal/ usasp
Department of Defense          12.777   Defense Production Act To create, maintain,              https:/ https:/
                                        Title III (DPA Title III) protect, expand, or            /       /
                                                                  restore domestic               sam.g www.
Department of Defense          12.800   Air Force Defense         industrial
                                                                  To maintainbase                ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                        Research Sciences        technological superiority /          /
                                        Program                  in the scientific areas      sam.g www.
Department of Defense          12.801   Air Force Academy        relevant
                                                                 To  operateto Air
                                                                               andForce
                                                                                    support ov/fal/   usasp
                                                                                              https:/ https:/
                                        Athletic Programs        the United States Air        /       /
                                                                 Force Academy athletic sam.g www.
                                                                 program.                     ov/fal/ usasp
Department of Defense          12.810   Air Force Medical        To enhance the health, https:/ https:/
                                        Research and             safety, readiness, and       /       /
                                        Development              performance of Air           sam.g www.
Department of Defense          12.840                            Force
                                        Civil Air Patrol Program The    personnel
                                                                       purposes    of the     ov/fal/ https:/
                                                                                              https:/ usasp
                                                                 Civil Air Patrol are: to     /       /
                                                                 encourage and aid            sam.g www.
                                                                 citizens of the United       ov/fal/ usasp
Department of Defense          12.900   Language Grant           STARTALK is a federal https:/ https:/
                                        Program                  grant program that           /       /
                                                                 provides funding and         sam.g www.
Department of Defense          12.901                            support   to institutions
                                        Mathematical Sciences 1. The NSA grants            to ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Grants                      program seeks to         /       /
                                                                    stimulate new and        sam.g www.
Department of Defense          12.902   Information Security        important
                                                                    The       developments
                                                                        DoD Cyber    Service ov/fal/ usasp
                                                                                             https:/ https:/
                                        Grants                      Academy; formerly the    /       /
                                                                    DoD Cyber Scholarship sam.g www.
                                                                    Program was              ov/fal/ usasp
Department of Defense          12.903   GenCyber Grants             The GenCyber Program https:/ https:/
                                        Program                     provides summer          /       /
                                                                    cybersecurity camp       sam.g www.
Department of Defense          12.905   CyberSecurity Core          experiences
                                                                    To           fornational https:/
                                                                       meet future           ov/fal/ https:/
                                                                                                     usasp
                                        Curriculum                  security challenges, the     /       /
                                                                    NSA (and other DoD           sam.g www.
Department of Defense          12.910   Research and                and Federaland
                                                                    To support   Agencies/       ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                        Technology                  stimulate basic              /       /
                                        Development                 research, applied            sam.g www.
Department of Defense          12.987   Upper San Pedro             research
                                                                    To assist and
                                                                              in theadvanced     ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                        Partnership Support     execution of the Upper           /       /
                                                                San Pedro                        sam.g www.
Department of Education        84.002   Adult Education - Basic Partnershipâ€™s
                                                                To fund local programs           ov/fal/ https:/
                                                                                                 https:/ usasp
                                        Grants to States        of adult education and           /       /
                                                                literacy services,               sam.g www.
                                                                including workplace              ov/fal/ usasp




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                                          Case 1:25-cv-00039-JJM-PAS                                                              Document 114-1   Filed 02/13/25   Page 28 of 77 PageID
                                                                                                                                         #: 7296
               Department of Education         84.004   Civil Rights Training      To provide technical         https:/ https:/
                                                        and Advisory Services      assistance and training      /       /
                                                        (also known as Equity      services to school           sam.g www.
               Department of Education         84.007   Assistance
                                                        Federal     Centers)
                                                                 Supplemental   districts
                                                                                To provideandneed-based
                                                                                              other             ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Educational Opportunity grant aid to eligible           /       /
                                                        Grants                  undergraduate                   sam.g www.
               Department of Education         84.010   Title I Grants to Local postsecondary
                                                                                To help local students          ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Educational Agencies    educational agencies            /       /
                                                                                (LEAs) improve                  sam.g www.
                                                                                teaching and learning in        ov/fal/ usasp
               Department of Education         84.011   Migrant Education State To assist States in             https:/ https:/
                                                        Grant Program           ensuring that migratory         /       /
                                                                                children have the               sam.g www.
               Department of Education         84.013   Title I State Agency    opportunity
                                                                                To          to meet the
                                                                                   help provide                 ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Program for Neglected educational continuity            /       /
                                                        and Delinquent Children for neglected and               sam.g www.
               Department of Education         84.015   and Youth
                                                        National Resource       delinquentTochildren
                                                                                Centers:     promote and        ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Centers Program for     instruction in modern           /       /
                                                        Foreign Language and foreign languages and              sam.g www.
                                                        Area Studies or Foreign area and international          ov/fal/ usasp
               Department of Education         84.016   Undergraduate           The Undergraduate               https:/ https:/
                                                        International Studies   International Studies           /       /
                                                        and Foreign Language and Foreign Language               sam.g www.
               Department of Education         84.017   Programs
                                                        International Research Program
                                                                                To improvesupports
                                                                                             foreign            ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        and Studies                language, area, and          /       /
                                                                                   other international          sam.g www.
                                                                                   studies training through     ov/fal/ usasp
               Department of Education         84.018   Overseas Programs          To increase mutual           https:/ https:/
                                                        Special Bilateral          understanding and            /       /
                                                        Projects                   knowledge between the        sam.g www.
               Department of Education         84.019   Overseas Programs -        people
                                                                                   To      of the to
                                                                                      contribute  United
                                                                                                     the        ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Faculty Research      development and                   /       /
                                                        Abroad                improvement of modern             sam.g www.
               Department of Education         84.021   Overseas Programs -   foreign
                                                                              To      language
                                                                                  contribute      and
                                                                                             to the             ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Group Projects Abroad development and                   /       /
                                                                              improvement of the                sam.g www.
                                                                              study of modern foreign           ov/fal/ usasp
               Department of Education         84.022   Overseas Programs -   To provide opportunities          https:/ https:/
                                                        Doctoral Dissertation for graduate students to          /       /
                                                        Research Abroad       engage in full-time               sam.g www.
               Department of Education         84.027   Special Education     dissertation research
                                                                              To provide grants   to            ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Grants to States           States to assist them in     /       /
                                                                                   providing special            sam.g www.
                                                                                   education and related        ov/fal/ usasp
               Department of Education         84.031   Higher Education           To help eligible colleges    https:/ https:/
                                                        Institutional Aid          and universities to          /       /
                                                                                   strengthen their             sam.g www.
               Department of Education         84.033   Federal Work-Study         management
                                                                                   To             and scal
                                                                                      provide part-time         ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Program                    employment to eligible   /       /
                                                                                   postsecondary students sam.g www.
               Department of Education         84.040   Impact Aid Facilities      to help
                                                                                   To       meetschool
                                                                                      maintain              ov/fal/ usasp
                                                                                                            https:/ https:/
                                                        Maintenance                facilities used to serve /       /
                                                                                   federally connected      sam.g www.
                                                                                   military dependent       ov/fal/ usasp
               Department of Education         84.041   Impact Aid                 To provide nancial       https:/ https:/
                                                                                   assistance to local      /       /
                                                                                   educational agencies     sam.g www.
               Department of Education         84.042   TRIO Student Support       (LEAs)    where affected
                                                                                   To provide supportive    ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                        Services                   services to                  /       /
                                                                                   disadvantaged college        sam.g www.
               Department of Education         84.044   TRIO Talent Search         students
                                                                                   To identifytoquali
                                                                                                 enhance
                                                                                                      ed        ov/fal/ https:/
                                                                                                                https:/ usasp
                                                                                   disadvantaged youths         /     /
                                                                                   with potential for           sam.g www.
               Department of Education         84.047   TRIO Upward Bound          postsecondary
                                                                                   To generate skills andov/fal/ usasp
                                                                                                         https:/ https:/
                                                                                motivation necessary     /       /
                                                                                for success in education sam.g www.
               Department of Education         84.048   Career and Technical    beyond
                                                                                To       highmore
                                                                                    develop    school
                                                                                                   fully ov/fal/ usasp
                                                                                                         https:/ https:/
                                                        Education -- Basic      the academic             /       /
                                                        Grants to States        knowledge and            sam.g www.
                                                                                technical and            ov/fal/ usasp
               Department of Education         84.051   Career and Technical    To provide support,      https:/ https:/
                                                        Education -- National   directly or through      /       /
                                                        Programs                grants, contracts, or    sam.g www.
               Department of Education         84.060                           cooperative
                                                        Indian Education Grants To address (1) the       ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                        to Local Educational       unique educational and       /       /
                                                        Agencies                   culturally related           sam.g www.
               Department of Education         84.063   Federal Pell Grant         academic
                                                                                   To provideneeds
                                                                                                eligibleof      ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Program                    undergraduate                /       /
                                                                                   postsecondary students       sam.g www.
                                                                                   who have demonstrated        ov/fal/ usasp
               Department of Education         84.066   TRIO Educational           To provide information       https:/ https:/
                                                        Opportunity Centers        on nancial and               /       /
                                                                                   academic assistance          sam.g www.
               Department of Education         84.101   Career and Technical       available
                                                                                   To        for quali ed
                                                                                      make grants,              ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Education - Grants to      cooperative                  /       /
                                                        Native Americans and       agreements, or enter         sam.g www.
                                                        Alaska Natives             into contracts with          ov/fal/ usasp
               Department of Education         84.103   TRIO Staff Training        To provide training for      https:/ https:/
                                                        Program                    staff and leadership         /       /
                                                                                   personnel employed in,       sam.g www.
               Department of Education         84.116   Fund for the               or
                                                                                   To preparing for
                                                                                      provide assistance   to   ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Improvement of             support institutional        /       /
                                                        Postsecondary              reforms and innovative       sam.g www.
               Department of Education         84.120   Education
                                                        Minority Science and       strategies
                                                                                   To         designed
                                                                                      (1) effect         to
                                                                                                 long-range     ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Engineering              improvement in science         /       /
                                                        Improvement              and engineering                sam.g www.
                                                                                 education at                   ov/fal/ usasp
               Department of Education         84.126   Rehabilitation Services To assist States in             https:/ https:/
                                                        Vocational               operating                      /       /
                                                        Rehabilitation Grants to comprehensive,                 sam.g www.
               Department of Education         84.129   States
                                                        Rehabilitation Long-     coordinated,
                                                                                 To           effective,
                                                                                    support projects  to        ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Term Training          provide academic                 /       /
                                                                               training in areas of             sam.g www.
                                                                               personnel shortages              ov/fal/ usasp
               Department of Education         84.141   Migrant Education High To assist students who           https:/ https:/
                                                        School Equivalency     are engaged, or whose            /       /
                                                        Program                immediate family is              sam.g www.
               Department of Education         84.144   Migrant Education      engaged,
                                                                               To providein nancial
                                                                                             migrant            ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Coordination Program       incentives to State          /       /
                                                                                   Educational Agencies         sam.g www.
               Department of Education         84.145   Federal Real Property      (SEAs)
                                                                                   To      to participate
                                                                                      convey  surplus in        ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Assistance Program         Federal Real Property        /       /
                                                                                   for educational              sam.g www.
                                                                                   purposes at fair market      ov/fal/ usasp
               Department of Education         84.149   Migrant Education          To assist students who       https:/ https:/
                                                        College Assistance         are engaged, or whose        /       /
                                                        Migrant Program            immediate family is          sam.g www.
               Department of Education         84.153   Business and               engaged,
                                                                                   To  promotein innovation
                                                                                                  migrant       ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        International Education and improvement in              /       /
                                                        Projects                  international business        sam.g www.
               Department of Education         84.160                             education
                                                        Training Interpreters for To supportcurricula
                                                                                             projects at
                                                                                                      that      ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Individuals who are        increase the numbers         /       /
                                                        Deaf and Individuals       and improve the skills of    sam.g www.
                                                        who are Deaf-Blind         manual, tactile, oral,       ov/fal/ usasp
               Department of Education         84.161   Rehabilitation Services    To establish and carry       https:/ https:/
                                                        Client Assistance          out client assistance        /       /
                                                        Program                    programs in each State       sam.g www.
               Department of Education         84.165   Magnet Schools             andprovide
                                                                                   To   at the protection
                                                                                               grants to        ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Assistance              eligible local                  /       /
                                                                                educational agencies            sam.g www.
                                                                                (LEAs) to establish and         ov/fal/ usasp
               Department of Education         84.173   Special Education       To provide grants to            https:/ https:/
                                                        Preschool Grants        States to assist them in        /       /
                                                                                providing special               sam.g www.
               Department of Education         84.177                           education
                                                        Rehabilitation Services To  provideand
                                                                                            any related         ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Independent Living      independent living              /       /
                                                        Services for Older      services that are               sam.g www.
               Department of Education         84.181   Individuals
                                                        Special     Who are
                                                                Education-      described
                                                                                To  providein  34 CFR
                                                                                            grants to           ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Grants for Infants and States to assist them to         /       /
                                                        Families               implement and maintain           sam.g www.
                                                                               a Statewide,                     ov/fal/ usasp
               Department of Education         84.184   School Safely National To improve students'             https:/ https:/
                                                        Activities             safety and well-being            /       /
                                                                               during and after the             sam.g www.
               Department of Education         84.187   Supported Employment Toschool day.
                                                                                  assist States in              ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Services for Individuals
                                                                               developing collaborative         /       /
                                                        with the Most          programs with                    sam.g www.
                                                        Signi cant Disabilitiesappropriate public and           ov/fal/ usasp
               Department of Education         84.191   Adult Education        To support applied               https:/ https:/
                                                        National Leadership    research, development,           /       /
                                                        Activities             demonstration,                   sam.g www.
               Department of Education         84.196                          dissemination,
                                                        Education for Homeless To ensure that all               ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Children and Youth     homeless children and            /       /
                                                                               youth have equal                 sam.g www.
               Department of Education         84.200                          access
                                                        Graduate Assistance in To      to the
                                                                                  provide      same
                                                                                           fellowships          ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Areas of National Need through graduate                 /       /
                                                                               academic departments,            sam.g www.
                                                                               programs, and units of           ov/fal/ usasp
               Department of Education         84.206   Javits Gifted and      To promote and initiate          https:/ https:/
                                                        Talented Students      a coordinated program            /       /
                                                        Education              of evidence-based                sam.g www.
               Department of Education         84.215                          research,
                                                        Innovative Approaches The   Innovative                  ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        to Literacy; Promise       Approaches to Literacy       /       /
                                                        Neighborhoods; Full-       program supports high-       sam.g www.
               Department of Education         84.217   Service  Community
                                                        TRIO McNair    Post-       quality programs
                                                                                   To provide grants for        ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Baccalaureate             institutions of higher        /       /
                                                        Achievement               education to prepare          sam.g www.
               Department of Education         84.220                             participants
                                                        Centers for International To provide afor doctoral      ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Business Education         comprehensive                /       /
                                                                                   university approach to       sam.g www.
               Department of Education         84.229   Language Resource          improve
                                                                                   To       thegrants
                                                                                      provide   teaching
                                                                                                      for of    ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Centers                    establishing,                /       /
                                                                                   strengthening, and           sam.g www.
                                                                                   operating centers that       ov/fal/ usasp




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                          Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 29 of 77 PageID
                                                                                                                        #: 7297
Department of Education        84.235   Rehabilitation Services To provide financial           https:/ https:/
                                        Demonstration and       assistance to projects         /       /
                                        Training Programs       and demonstrations for         sam.g www.
Department of Education        84.240   Program of Protection Toexpanding  and for
                                                                   provide grants              ov/fal/ https:/
                                                                                               https:/ usasp
                                        and Advocacy of           States, and to the           /       /
                                        Individual Rights         eligible system serving      sam.g www.
Department of Education        84.245   Tribally Controlled       the American
                                                                  To make       Indian
                                                                            grants to          ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        Postsecondary Career      eligible tribally            /       /
                                        and Technical             controlled                   sam.g www.
                                        Institutions              postsecondary career         ov/fal/ usasp
Department of Education        84.246   Rehabilitation Short-     To support special           https:/ https:/
                                        Term Training             seminars, institutes,        /       /
                                                                  workshops, and other         sam.g www.
Department of Education        84.250   American Indian           short-term
                                                                  To           courses
                                                                      make grants       in
                                                                                    to the     ov/fal/ https:/
                                                                                               https:/ usasp
                                        Vocational              governing bodies of            /       /
                                        Rehabilitation Services Indian tribes (and             sam.g www.
Department of Education        84.259   Native Hawaiian Career consortia   of suchto
                                                                To make grants                 ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        and Technical             community-based              /       /
                                        Education                 organizations primarily      sam.g www.
                                                                  serving and                  ov/fal/ usasp
Department of Education        84.263   Innovative                This program is              https:/ https:/
                                        Rehabilitation Training   designed to: (a)             /       /
                                                                  Develop new types of         sam.g www.
Department of Education        84.264   Rehabilitation Training   training programs
                                                                  To increase        for
                                                                               the number      ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        Technical Assistance      and quality of               /       /
                                        Centers                   employment outcomes          sam.g www.
                                                                  for individuals with         ov/fal/ usasp
Department of Education        84.268   Federal Direct Student    To provide loan capital      https:/ https:/
                                        Loans                     directly from the            /       /
                                                                  Federal government to        sam.g www.
Department of Education        84.274   American Overseas         vocational,
                                                                  To enable American           ov/fal/ https:/
                                                                                               https:/ usasp
                                        Research Centers          Overseas Research            /       /
                                                                  Centers, that are            sam.g www.
Department of Education        84.282   Charter Schools           consortia of higher
                                                                  The program   supports       ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                                                  startup of new charter       /       /
                                                                  schools and the              sam.g www.
                                                                  replication and              ov/fal/ usasp
Department of Education        84.283   Comprehensive             This program supports        https:/ https:/
                                        Centers                   no fewer than 20             /       /
                                                                  comprehensive centers        sam.g www.
Department of Education        84.287   Twenty-First Century      that provideopportunities
                                                                  To provide   training,       ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        Community Learning        for communities to           /       /
                                        Centers                   establish or expand          sam.g www.
                                                                  activities in community      ov/fal/ usasp
Department of Education        84.295   Ready-To-Learn            To facilitate student        https:/ https:/
                                        Television                academic achievement         /       /
                                                                  by developing                sam.g www.
Department of Education        84.299   Indian Education --       educational
                                                                  Funds support two            ov/fal/ https:/
                                                                                               https:/ usasp
                                        Special Programs for      grant programs, (1)          /       /
                                        Indian Children           Demonstration Grants         sam.g www.
Department of Education        84.305   Education Research,       for Indian Children
                                                                  To support  researchand      ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        Development and           activities that improve      /       /
                                        Dissemination             the quality of education     sam.g www.
                                                                  and, thereby, increase       ov/fal/ usasp
Department of Education        84.310   Statewide Family          To provide financial         https:/ https:/
                                        Engagement Centers        support to statewide         /       /
                                                                  organizations that           sam.g www.
Department of Education        84.315   Traditionally             conduct
                                                                  To makeparent
                                                                             awards to         ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        Underserved               minority entities and      /       /
                                        Populations               Indian tribes to carry out sam.g www.
Department of Education        84.323   Special Education -       activities
                                                                  To assist under
                                                                             State the       ov/fal/ usasp
                                                                                             https:/ https:/
                                        State Personnel           educational agencies in /          /
                                        Development               reforming and              sam.g www.
Department of Education        84.324   Research in Special       improving
                                                                  To supporttheir  systems https:/
                                                                              scientifically ov/fal/ https:/
                                                                                                     usasp
                                        Education                rigorous research             /       /
                                                                 contributing to the           sam.g www.
Department of Education        84.325   Special Education -      solution of specific
                                                                 The purposes         early
                                                                                of this        ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        Personnel Development program are to (1) help          /       /
                                        to Improve Services      address State-identified      sam.g www.
                                        and Results for Children needs for highly              ov/fal/ usasp
Department of Education        84.326   Special Education        The purpose of the            https:/ https:/
                                        Technical Assistance     Technical Assistance          /       /
                                        and Dissemination to     and Dissemination to          sam.g www.
Department of Education        84.327   Improve Services and Improve
                                        Special Education                 Services
                                                                 The purposes        and
                                                                                of the         ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        Educational Technology Educational Technology, /           /
                                        Media, and Materials for Media, and Materials for sam.g www.
Department of Education        84.328   Individuals
                                        Special     with
                                                Education        Individuals
                                                                 The  purpose with
                                                                                 of the    ov/fal/ usasp
                                                                                           https:/ https:/
                                        Parent Information       program is to ensure      /       /
                                        Centers                  that parents of children sam.g www.
                                                                 with disabilities receive ov/fal/ usasp
Department of Education        84.329   Special Education        To assess progress in     https:/ https:/
                                        Studies and Evaluations implementing the           /       /
                                                                 Individuals with          sam.g www.
Department of Education        84.334   Gaining Early            Disabilities Education
                                                                 Provides 6-or 7-year      ov/fal/
                                                                                           https:/ usasp
                                                                                                   https:/
                                        Awareness and             grants to States and         /       /
                                        Readiness for             Partnerships to provide      sam.g www.
                                        Undergraduate             support, and maintain a      ov/fal/ usasp
Department of Education        84.335   Child Care Access         To support the               https:/ https:/
                                        Means Parents in          participation of low-        /       /
                                        School                    income parents in            sam.g www.
Department of Education        84.336   Teacher Quality           postsecondary
                                                                  To improve student           ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        Partnership Grants     achievement; improve      /       /
                                                               the quality of new and    sam.g www.
Department of Education        84.351   Arts in Education      prospective
                                                               The           teachers by ov/fal/
                                                                    Arts in Education            usasp
                                                                                         https:/ https:/
                                                               program promotes arts /           /
                                                               education for students, sam.g www.
                                                               including disadvantaged ov/fal/ usasp
Department of Education        84.354   Credit Enhancement for To provide grants to      https:/ https:/
                                        Charter School         eligible entities to      /       /
                                        Facilities             leverage funds through sam.g www.
Department of Education        84.356   Alaska Native          credit
                                                               To support projects that https:/ usasp
                                                                      enhancement        ov/fal/ https:/
                                        Educational Programs      recognize and address        /       /
                                                                  the unique educational       sam.g www.
                                                                  needs of Alaska Native       ov/fal/ usasp
Department of Education        84.358   Rural Education           To provide financial         https:/ https:/
                                                                  assistance to rural          /       /
                                                                  districts to carry out       sam.g www.
Department of Education        84.362   Native Hawaiian           activities
                                                                  To develop to innovative
                                                                                help           ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        Education                educational programs to       /       /
                                                                 assist Native                 sam.g www.
Department of Education        84.365   English Language         Hawaiians,
                                                                 To           to that
                                                                    help ensure                ov/fal/ https:/
                                                                                               https:/ usasp
                                        Acquisition State Grants English learners (ELs),       /       /
                                                                 including immigrant           sam.g www.
                                                                 children and youth,           ov/fal/ usasp
Department of Education        84.367   Supporting Effective     To provide grants to          https:/ https:/
                                        Instruction State Grants State Educational             /       /
                                        (formerly Improving      Agencies (SEAs), and,         sam.g www.
Department of Education        84.368   Teacher   Quality
                                        Competitive       State
                                                     Grants  for through  the SEAs,
                                                                 The purpose   of theto        ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        State Assessments         program is to support        /       /
                                                                  efforts to: (1) improve      sam.g www.
Department of Education        84.369   Grants for State          the quality,
                                                                  The  purpose validity,
                                                                                 of thisand    ov/fal/ https:/
                                                                                               https:/ usasp
                                        Assessments and           program is: to pay the       /       /
                                        Related Activities        costs of developing the      sam.g www.
                                                                  standards and high-          ov/fal/ usasp
Department of Education        84.370   DC Opportunity            To provide low-income        https:/ https:/
                                        Scholarship Program       parents residing in the      /       /
                                                                  District of Columbia with    sam.g www.
Department of Education        84.371   Comprehensive             expanded
                                                                  The         options
                                                                       objective       for
                                                                                  of the       ov/fal/ https:/
                                                                                               https:/ usasp
                                        Literacy Development      Comprehensive                /       /
                                                                  Literacy Development         sam.g www.
                                                                  program is to advance        ov/fal/ usasp
Department of Education        84.372   Statewide Longitudinal    These grants are             https:/ https:/
                                        Data Systems              intended to enable           /       /
                                                                  State educational            sam.g www.
Department of Education        84.373   Special Education         agencies
                                                                  To providetotechnical
                                                                               design,         ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        Technical Assistance on assistance, where              /       /
                                        State Data Collection   needed, to improve the         sam.g www.
Department of Education        84.374   Teacher and School      capacity
                                                                To       of States
                                                                   help eligible    to
                                                                                 entities      ov/fal/ https:/
                                                                                               https:/ usasp
                                        Leader Incentive Grants develop, implement,            /       /
                                        (formerly the Teacher    improve, or expand            sam.g www.
                                        Incentive Fund)          human capital                 ov/fal/ usasp
Department of Education        84.379   Teacher Education        To provide annual             https:/ https:/
                                        Assistance for College grants of up to $4,000          /       /
                                        and Higher Education to eligible                       sam.g www.
Department of Education        84.380   Grants (TEACH
                                        Special EducationGrants)
                                                           -     undergraduate
                                                                 This           and
                                                                      program promotes         ov/fal/ https:/
                                                                                               https:/ usasp
                                        Special Olympics        the expansion of               /       /
                                        Education Programs      Special Olympics and           sam.g www.
                                                                the design and                 ov/fal/ usasp
Department of Education        84.382   Strengthening Minority- To strengthen                  https:/ https:/
                                        Serving Institutions    Predominantly Black            /       /
                                                                Institutions (PBI); Asian      sam.g www.
Department of Education        84.403   Consolidated Grant to American
                                                                To make an and  Native
                                                                              annual           ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        the Outlying Areas        consolidated grant to     /       /
                                                                  assist an Insular Area in sam.g www.
Department of Education        84.407                             carrying out
                                        Transition Programs for Funding         onethis
                                                                            under     or    ov/fal/ https:/
                                                                                            https:/ usasp
                                        Students with             program supports             /       /
                                        Intellectual Disabilities competitive grants to        sam.g www.
                                        into Higher Education     institutions of higher       ov/fal/ usasp
Department of Education        84.408   Postsecondary             To provide eligible          https:/ https:/
                                        Education Scholarships veteran's dependent             /       /
                                        for Veteran's             undergraduate                sam.g www.
Department of Education        84.411   Dependents
                                        Education   Innovation    postsecondary
                                                                  To                students
                                                                     support the creation,     ov/fal/ https:/
                                                                                               https:/ usasp
                                        and Research (formerly development,                    /       /
                                        Investing in Innovation implementation,                sam.g www.
Department of Education        84.415   (i3) Fund)
                                        Indian Education        replication, andofscaling
                                                                The objectives      the        ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        National Activities      State Tribal Education        /       /
                                        (State Tribal Education Partnership (STEP)             sam.g www.
Department of Education        84.417   Partnership  (STEP)
                                        Directed Grants   andand program  (CFDA
                                                                 Objectives of the             ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                        Awards                    programs vary based          /     /
                                                                  on the directed grant        sam.g www.
Department of Education        84.421   Disability Innovation     award.
                                                                  To      Awards
                                                                     support      are
                                                                             innovative  ov/fal/ https:/
                                                                                         https:/ usasp
                                        Fund (DIF)                activities aimed at    /       /
                                                                  improving the outcomes sam.g www.
                                                                  of individuals with    ov/fal/ usasp




                                                                                                                          14
                          Case 1:25-cv-00039-JJM-PAS                                                            Document 114-1   Filed 02/13/25   Page 30 of 77 PageID
                                                                                                                       #: 7298
Department of Education        84.422   American History and The program supports             https:/ https:/
                                        Civics Education     two types of grants:             /       /
                                                             American History and             sam.g www.
Department of Education        84.423   Supporting Effective Civics
                                                             The    Academies
                                                                  purpose  of the             ov/fal/ https:/
                                                                                              https:/ usasp
                                        Educator Development SEED program is to (1)           /       /
                                        Program              Support pathways that            sam.g www.
Department of Education        84.424   Student Support and  allow teachers,
                                                             To improve                       ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Academic Enrichment     studentâ€™s academic          /       /
                                        Program                 achievement by                sam.g www.
                                                                increasing the capacity       ov/fal/ usasp
Department of Education        84.425   Education Stabilization To prevent, prepare for,      https:/ https:/
                                        Fund                    and respond to the            /       /
                                                                coronavirus COVID-19          sam.g www.
Department of Education        84.426   Randolph-Sheppard â€ To disease  pandemic.
                                                                   provide financial          ov/fal/ https:/
                                                                                              https:/ usasp
                                        “ Financial Relief and    relief and restoration      /       /
                                        Restoration Payments      payments to offset          sam.g www.
Department of Education        84.428   Augustus F. Hawkins       losses  to blindfocuses
                                                                  This program     vendors    ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Centers of                on the various aspects      /       /
                                        Excellenceâ€”Teacher      of the teacher              sam.g www.
                                        Preparation and           preparation pipeline,       ov/fal/ usasp
Department of Education        84.429   Education Evaluation      To support education        https:/ https:/
                                        and Technical             evaluation and technical    /       /
                                        Assistance Grants         assistance related to       sam.g www.
Department of Energy           81.005   Environmental             the  education
                                                                  Provides       sciences
                                                                            technical and     ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Monitoring,               financial assistance to     /       /
                                        Independent Research,     State of New Mexico         sam.g www.
                                        Technical Analysis        Environment                 ov/fal/ usasp
Department of Energy           81.008   Cybersecurity, Energy     The Office of               https:/ https:/
                                        Security & Emergency      Cybersecurity, Energy       /       /
                                        Response (CESER)          Security, and               sam.g www.
Department of Energy           81.009   Molybdenum-99             Emergency
                                                                  In           Response
                                                                     2012, Congress           ov/fal/ https:/
                                                                                              https:/ usasp
                                        Program                   passed the American         /       /
                                                                  Medical Isotopes            sam.g www.
Department of Energy           81.010   Office of Technology      Production
                                                                  The MissionAct  of (AMIPA),
                                                                                     the      ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Transitions (OTT)-        Office of Technology        /       /
                                        Technology                Transitions (OTT) is to     sam.g www.
                                        Deployment,               expand the public           ov/fal/ usasp
Department of Energy           81.012   Artificial Intelligence   The mission of the          https:/ https:/
                                        and Technology Office     Artificial Intelligence &   /       /
                                        Financial Assistance      Technology Office           sam.g www.
Department of Energy           81.041   Program
                                        State Energy Program      (AITO)   is to transform
                                                                  The purpose      of this    ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                                                  program is to increase      /       /
                                                                  market transformation       sam.g www.
                                                                  of energy efficiency and    ov/fal/ usasp
Department of Energy           81.042   Weatherization            To improve home             https:/ https:/
                                        Assistance for Low-       energy efficiency for       /       /
                                        Income Persons            low-income families         sam.g www.
Department of Energy           81.049   Office of Science         through
                                                                  SC  is thethe most cost-
                                                                              Nationâ€™s      ov/fal/ https:/
                                                                                              https:/ usasp
                                        Financial Assistance  largest Federal sponsor /          /
                                        Program               of basic research in the sam.g www.
Department of Energy           81.057   University Coal       physical sciences
                                                              To educate          andthe ov/fal/
                                                                           and train     https:/ usasp
                                                                                                 https:/
                                        Research              next generation of         /       /
                                                              engineers and scientists sam.g www.
                                                              to help develop and        ov/fal/ usasp
Department of Energy           81.065   Nuclear Legacy        For nuclear waste          https:/ https:/
                                        Cleanup Program       disposal activities to     /       /
                                                              carry out the purposes     sam.g www.
Department of Energy           81.086   Conservation Research of
                                                              Thethe Nuclear
                                                                   goal of thisWaste     ov/fal/
                                                                                         https:/ usasp
                                                                                                 https:/
                                        and Development           program is to conduct a     /       /
                                                                  balanced, long-term         sam.g www.
Department of Energy           81.087   Renewable Energy          research
                                                                  The goal effort
                                                                           of thisin          ov/fal/ https:/
                                                                                              https:/ usasp
                                        Research and           program is to conduct          /       /
                                        Development            balanced research and          sam.g www.
Department of Energy           81.089                          development
                                        Fossil Energy Research The           efforts in
                                                                   Office of Fossil           ov/fal/ https:/
                                                                                              https:/ usasp
                                        and Development           Energy and Carbon           /       /
                                                                  Managementâ€™s              sam.g www.
Department of Energy           81.092   Remedial Action and       mission is to of
                                                                  An objective  minimize
                                                                                   the Oak    ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Waste Management        Ridge Office of               /       /
                                                                Environmental                 sam.g www.
                                                                Management is to              ov/fal/ usasp
Department of Energy           81.102   Student Driven          An objective of the Oak       https:/ https:/
                                        Research and Long       Ridge Office of               /       /
                                        Term Monitoring of      Environmental                 sam.g www.
Department of Energy           81.104   Selected Populations
                                        Environmental        in Management    (OREM)
                                                                The Environmental             ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Remediation and Waste Management Research             /       /
                                        Processing and        and Development                 sam.g www.
Department of Energy           81.106   Disposal of
                                        Transport             Program
                                                              To        provides for
                                                                 enlist cooperation           ov/fal/ https:/
                                                                                              https:/ usasp
                                        Transuranic Wastes to among the Tribal and            /       /
                                        the Waste Isolation Pilot the Southern, Western,      sam.g www.
                                        Plant: States and Tribal and Midwest state            ov/fal/ usasp
Department of Energy           81.108   Epidemiology and Other To provide financial           https:/ https:/
                                        Health Studies            support for research,       /       /
                                        Financial Assistance      education, conferences,     sam.g www.
Department of Energy           81.112   Program
                                        Stewardship Science       communication,  and
                                                                  (1) To grow the U.S.        ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Grant Program             scientific community        /       /
                                                                  through university          sam.g www.
                                                                  involvement in areas of     ov/fal/ usasp
Department of Energy           81.113   Defense Nuclear           To conduct basic and        https:/ https:/
                                        Nonproliferation          applied research and        /       /
                                        Research                  development that            sam.g www.
Department of Energy           81.117   Energy Efficiency and     enhances    U.S. national
                                                                  The Department    of        ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Renewable Energy          Energy (DOE) seeks to       /       /
                                        Information               provide financial           sam.g www.
Department of Energy           81.119   Dissemination,
                                        State Energy Program      assistance
                                                                  To          for to
                                                                     allow States             ov/fal/ https:/
                                                                                              https:/ usasp
                                        Special Projects      submit proposals to             /       /
                                                              implement specific              sam.g www.
                                                              Department of Energy            ov/fal/ usasp
Department of Energy           81.121   Nuclear Energy        The Department of               https:/ https:/
                                        Research, Development Energy (DOE) promotes           /       /
                                        and Demonstration     nuclear energy as a             sam.g www.
Department of Energy           81.122   Electricity Research, resource
                                                              The Officecapable of
                                                                         of Electricity       ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Development and           (OE) leads the              /       /
                                        Analysis                  Departmentâ€™s              sam.g www.
                                                                  research, development,      ov/fal/ usasp
Department of Energy           81.123   National Nuclear          The Minority Serving        https:/ https:/
                                        Security Administration   Institution Partnership     /       /
                                        (NNSA) Minority           Program's primary           sam.g www.
Department of Energy           81.124   Serving  Institutions
                                        Predictive Science        focus
                                                                  (1) To is to build
                                                                          focus on a          ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Academic Alliance         development and             /       /
                                        Program                   demonstration of            sam.g www.
Department of Energy           81.126   Federal Loan              modeling/simulation
                                                                  For Title XVII Loan         ov/fal/ https:/
                                                                                              https:/ usasp
                                        Guarantees for            Guarantee program           /       /
                                        Innovative Energy         under Section 1703 of       sam.g www.
                                        Technologies              the Energy Policy Act of    ov/fal/ usasp
Department of Energy           81.128   Energy Efficiency and     The program provides        https:/ https:/
                                        Conservation Block        financial and technical     /       /
                                        Grant Program             assistance to assist        sam.g www.
Department of Energy           81.135   (EECBG)
                                        Advanced Research         State and local
                                                                  To support  the             ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Projects Agency -         Presidentâ€™s               /       /
                                        Energy                    National Objectives for     sam.g www.
Department of Energy           81.136                          the Department
                                        Long-Term Surveillance The  objectives ofofthe        ov/fal/ https:/
                                                                                              https:/ usasp
                                        and Maintenance        Office of Legacy               /       /
                                                               Management are to              sam.g www.
                                                               manage the                     ov/fal/ usasp
Department of Energy           81.137   Minority Economic      The program objectives         https:/ https:/
                                        Impact                 are to enhance the             /       /
                                                               participation and              sam.g www.
Department of Energy           81.138   State Heating Oil and  sustainability
                                                               State  HeatingofOilMSIs
                                                                                   and        ov/fal/ https:/
                                                                                              https:/ usasp
                                        Propane Program          Propane Program              /       /
                                                                 (SHOPP) is a joint data      sam.g www.
                                                                 collection effort between    ov/fal/ usasp
Department of Energy           81.140   Los Alamos National      The general objective of     https:/ https:/
                                        Laboratory - Fire        this Cooperative             /       /
                                        Protection               Agreement is to provide      sam.g www.
Department of Energy           81.210   Global Material Security financial support
                                                                 The objective      for
                                                                                of the        ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                                                  Global Material Security /       /
                                                                  Program is to enhance sam.g www.
Department of Energy           81.214   Environmental             global security
                                                                  Provides        by and ov/fal/
                                                                            technical              usasp
                                                                                           https:/ https:/
                                        Monitoring/Cleanup,       financial assistance to  /       /
                                        Cultural and Resource     State and local          sam.g www.
                                        Mgmt., Emergency          government entities for ov/fal/ usasp
Department of Energy           81.250   Energy Policy and         The objective is to      https:/ https:/
                                        Systems Analysis          develop decision-        /       /
                                                                  relevant data and        sam.g www.
Department of Energy           81.251   National Laboratory       analysis
                                                                  The       on theProgram
                                                                       ACCESS      market  ov/fal/ https:/
                                                                                           https:/ usasp
                                        Jobs Apprenticeship for is a pre-apprenticeship       /       /
                                        Complete and            or apprenticeship             sam.g www.
                                        Committed Employment program thatâ€“                  ov/fal/ usasp
Department of Energy           81.252   Legally-directed        Academic Programs             https:/ https:/
                                        Academic Programs,      receives direction from       /       /
                                        Workforce Development Congress to send funds          sam.g www.
Department of Energy           81.253   and Community
                                        Manufacturing and       to universities
                                                                Strengthen   andand other
                                                                                 secure       ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Energy Supply Chain       domestic manufacturing /         /
                                        Demonstrations and        and energy supply        sam.g www.
Department of Energy           81.254   Commercial
                                        Grid Infrastructure       chains
                                                                  The     needed
                                                                       Grid       to
                                                                            Deployment     ov/fal/ usasp
                                                                                           https:/ https:/
                                        Deployment and            Office (GDO) works to    /       /
                                        Resilience                catalyze the             sam.g www.
                                                                  development of new       ov/fal/ usasp
Department of Energy           81.255   Clean Energy              The mission of the       https:/ https:/
                                        Demonstrations            Office of Clean Energy /         /
                                                                  Demonstrations           sam.g www.
Department of Energy           81.256   Environmental             (OCED) istechnical
                                                                  Provides   to deliverand https:/
                                                                                           ov/fal/ https:/
                                                                                                   usasp
                                        Monitoring/Cleanup,       financial assistance to     /       /
                                        Cultural and Resource     the State of Tennessee      sam.g www.
Department of Energy           81.258   Mgmt., Emergency
                                        Glovebox                  Department
                                                                  The objectiveofof the       ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        Manufacturing             Glovebox                    /       /
                                        Expansion Initiative      Manufacturing               sam.g www.
Department of Energy           81.260   County of Nye, Nye        Expansion  Initiative
                                                                  The objective  of the       ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                        County Sheriffâ€™s     County of Nye, Nye             /       /
                                        Office Law Enforcement County Sheriffâ€™s             sam.g www.
Department of Energy           81.279   Services
                                        Law  Enforcement       Office
                                                               The    Law Enforcement
                                                                    objective to provide      ov/fal/ https:/
                                                                                              https:/ usasp
                                        Support of Pantex Plant reasonable and                /       /
                                                                appropriate law               sam.g www.
                                                                enforcement                   ov/fal/ usasp




                                                                                                                         15
                                          Case 1:25-cv-00039-JJM-PAS                                                               Document 114-1   Filed 02/13/25   Page 31 of 77 PageID
                                                                                                                                          #: 7299
Department of Energy                           81.300   Grid Deployment Office The Grid Deployment               https:/ https:/
                                                        - Other Direct Funding Office (GDO) works to             /       /
                                                        Mechanisms/Identified catalyze the                       sam.g www.
Department of Energy                           81.302   Transactions
                                                        Inertial Confinement   development   of Inertial
                                                                               The goal of the   new             ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Fusion Program         Confinement Fusion                /       /
                                                        University Assistance  (ICF) program is to               sam.g www.
Department of Energy                           81.505   Nonproliferation and   create  nuclear weapons
                                                                               Nonproliferation  and             ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Arms Control                 Arms Control (NPAC):        /       /
                                                                                     NNSAâ€™s Office of          sam.g www.
                                                                                     Nonproliferation and        ov/fal/ usasp
Department of Energy                           81.884   Nuclear                      To assist nonprofit, non-   https:/ https:/
                                                        Counterterrorism and         government,                 /       /
                                                        Incident Response            professional                sam.g www.
Department of Health and Human Services        93.007   Program
                                                        Public Awareness             organizations,
                                                                                     To             through a
                                                                                        increase public          ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Campaigns on Embryo awareness of embryo                  /       /
                                                        Adoption              adoption and donation              sam.g www.
Department of Health and Human Services        93.008   Medical Reserve Corps as
                                                                              To a method
                                                                                 support   of family
                                                                                         the                     ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Small Grant Program      development of Medical          /       /
                                                                                 Reserve Corps (MRC)             sam.g www.
                                                                                 units in communities            ov/fal/ usasp
Department of Health and Human Services        93.011   National Organizations The purpose of the                https:/ https:/
                                                        for State and Local      HRSA National                   /       /
                                                        Officials                Organizations of State          sam.g www.
Department of Health and Human Services        93.019   Technical Assistance     and  Local Officials
                                                                                 To provide   support for a      ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        and Provision for        quality of care                 /       /
                                                        Foreign Hospitals and improvement project                sam.g www.
                                                        Health Organizations     based in a partner              ov/fal/ usasp
Department of Health and Human Services        93.041   Special Programs for     To support activities to        https:/ https:/
                                                        the Aging, Title VII,    develop, strengthen,            /       /
                                                        Chapter 3, Programs for and carry out programs           sam.g www.
Department of Health and Human Services        93.042   Prevention
                                                        Special      of Elderfor
                                                                  Programs       for the
                                                                                 The      prevention,
                                                                                       principal role of this    ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        the Aging, Title VII,        Ombudsman Program           /       /
                                                        Chapter 2, Long Term         is to investigate and       sam.g www.
Department of Health and Human Services        93.043   Care Ombudsman
                                                        Special Programs for       resolve complaints
                                                                                   To develop or                 ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        the Aging, Title III, Part strengthen preventive         /       /
                                                        D, Disease Prevention health service and                 sam.g www.
                                                        and Health Promotion health promotion                    ov/fal/ usasp
Department of Health and Human Services        93.044   Special Programs for       To encourage State            https:/ https:/
                                                        the Aging, Title III, Part Agencies on Aging and         /       /
                                                        B, Grants for Supportive Area Agencies on Aging          sam.g www.
Department of Health and Human Services        93.045   Services and Senior
                                                        Special Programs      for  to
                                                                                   To concentrate
                                                                                      provide grants to          ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        the Aging, Title III, Part States and U.S.               /       /
                                                        C, Nutrition Services      Territories to support        sam.g www.
                                                                                   nutrition services            ov/fal/ usasp
Department of Health and Human Services        93.047   Special Programs for       To promote the delivery       https:/ https:/
                                                        the Aging, Title VI, Part of supportive services,        /       /
                                                        A, Grants to Indian        including nutrition           sam.g www.
Department of Health and Human Services        93.048   Tribes, Part
                                                        Special      B, Grants
                                                                Programs    for to To
                                                                                   services,
                                                                                      supporttothe
                                                                                                 American        ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        the Aging, Title IV, and     development and             /       /
                                                        Title II, Discretionary      testing of innovative       sam.g www.
Department of Health and Human Services        93.051   Projects
                                                        Alzheimer's Disease          programs,
                                                                                     To expand services
                                                                                                  the     and    ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Demonstration Grants     availability of diagnostic      /       /
                                                        to States                and support services for        sam.g www.
                                                                                 persons with                    ov/fal/ usasp
Department of Health and Human Services        93.052   National Family          To assist States,               https:/ https:/
                                                        Caregiver Support, Title Territories in providing        /       /
                                                        III, Part E              multifaceted systems of         sam.g www.
Department of Health and Human Services        93.053   Nutrition Services       support
                                                                                 To reward services for: (1)
                                                                                             effective           ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Incentive Program        performance by States           /       /
                                                                                 and Tribes in the               sam.g www.
Department of Health and Human Services        93.054   National Family          efficient
                                                                                 To  assistdelivery of
                                                                                            Indian Tribal        ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Caregiver Support, Title and Native Hawaiian             /       /
                                                        VI, Part C, Grants To    Organizations in                sam.g www.
Department of Health and Human Services        93.059   Indian Tribes
                                                        Training      And
                                                                 in General,     providing
                                                                                 The         multifaceted
                                                                                       purpose  of the           ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Pediatric, and Public  Training in General,              /       /
                                                        Health Dentistry       Pediatric, and Public             sam.g www.
Department of Health and Human Services        93.060   Sexual Risk Avoidance Health  Dentistry
                                                                               The purpose       and
                                                                                             of this             ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Education              program is to promote             /       /
                                                                               sexual risk avoidance             sam.g www.
                                                                               education as defined by           ov/fal/ usasp
Department of Health and Human Services        93.061   Innovations in Applied To foster the new                 https:/ https:/
                                                        Public Health Research knowledge necessary to            /       /
                                                                               develop, enhance, and             sam.g www.
Department of Health and Human Services        93.065   Laboratory Leadership, disseminate
                                                                               This programeffective
                                                                                              will               ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Workforce Training and increase the capacity             /       /
                                                        Management             and capability of state           sam.g www.
Department of Health and Human Services        93.066   Development,
                                                        State Vital Statistics and  territorialthe
                                                                               To enhance        newborn         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Improvement Program performance of the                   /       /
                                                                               National Vital Statistics         sam.g www.
                                                                               System (NVSS) by                  ov/fal/ usasp
Department of Health and Human Services        93.067   Global AIDS            The U.S. President's              https:/ https:/
                                                                               Emergency Plan for                /       /
                                                                               AIDS Relief (PEPFAR)              sam.g www.
Department of Health and Human Services        93.068   Chronic Diseases:      is
                                                                               Tothe  U.S.State
                                                                                  assist    Government
                                                                                                  and            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Research, Control, and local health agencies,            /       /
                                                        Prevention             health related                    sam.g www.
                                                                               organizations, and other          ov/fal/ usasp
Department of Health and Human Services        93.069   Public Health          Public health                     https:/ https:/
                                                        Emergency              emergency                         /       /
                                                        Preparedness           preparedness and                  sam.g www.
Department of Health and Human Services        93.070   Environmental Public   response   capacity
                                                                               To bring public health            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Health and Emergency and epidemiologic                   /       /
                                                        Response             principles together to              sam.g www.
Department of Health and Human Services        93.071   Medicare Enrollment  identify,
                                                                             To provideclarify, and
                                                                                          enhanced               ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Assistance Program           outreach to eligible        /       /
                                                                                     Medicare beneficiaries      sam.g www.
                                                                                     regarding their             ov/fal/ usasp
Department of Health and Human Services        93.072   Lifespan Respite Care        To expand and enhance       https:/ https:/
                                                        Program                      respite care services to    /       /
                                                                                     family caregivers;          sam.g www.
Department of Health and Human Services        93.073   Birth Defects and            improve  the statewide
                                                                                     To work with  State         ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Developmental             health agencies,               /       /
                                                        Disabilities - Prevention universities, and public       sam.g www.
                                                        and Surveillance          and private nonprofit          ov/fal/ usasp
Department of Health and Human Services        93.077   Family Smoking            The Family Smoking             https:/ https:/
                                                        Prevention and Tobacco Prevention and Tobacco            /       /
                                                        Control Act Regulatory Control Act (TCA)                 sam.g www.
Department of Health and Human Services        93.078   Research
                                                        Strengthening             provides
                                                                                  To assist the authorityorto
                                                                                            in planning          ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Emergency Care               developing emergency        /       /
                                                        Delivery in the United       care health information     sam.g www.
Department of Health and Human Services        93.079   States Healthcare
                                                        Cooperative           and  promotion
                                                                              Funding  is to improve             ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Agreements to Promote the health and well-               /       /
                                                        Adolescent Health     being of our                       sam.g www.
                                                        through School-Based nationâ€™s youth by                 ov/fal/ usasp
Department of Health and Human Services        93.080   Blood Disorder        To work with State                 https:/ https:/
                                                        Program: Prevention,  health agencies and                /       /
                                                        Surveillance, and     other public, private,             sam.g www.
Department of Health and Human Services        93.081   Research
                                                        ASPR Science          and  nonprofit
                                                                              To conduct                         ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Preparedness and             preparedness and            /       /
                                                        Response Grants              response research that      sam.g www.
Department of Health and Human Services        93.083                            will inform
                                                        Prevention of Disease, The     purposetheofongoing
                                                                                                    this         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Disability, and Death    program is to                   /       /
                                                        through Immunization strengthen capacity to              sam.g www.
                                                        and Control of           prevent disease,                ov/fal/ usasp
Department of Health and Human Services        93.084   Prevention of Disease, The purpose of this               https:/ https:/
                                                        Disability, and Death by program is to prevent           /       /
                                                        Infectious Diseases      disease, disability and         sam.g www.
Department of Health and Human Services        93.085   Research on Research Thisdeathprogram
                                                                                         by infectious
                                                                                                 supports        ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Integrity                    projects, conferences,      /       /
                                                                                     and workshops that          sam.g www.
                                                                                     advance the evolving        ov/fal/ usasp
Department of Health and Human Services        93.086   Healthy Marriage             Under the Family,           https:/ https:/
                                                        Promotion and                Relationship, and           /       /
                                                        Responsible                  Marriage Education          sam.g www.
Department of Health and Human Services        93.087   Fatherhood Grants
                                                        Enhance Safety  of           Works  opportunity,
                                                                                     To provide, throughthe      ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Children Affected by         interagency                 /       /
                                                        Substance Abuse              collaboration, an           sam.g www.
Department of Health and Human Services        93.088   Advancing System        integration
                                                                                To promoteof   program
                                                                                             program             ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Improvements for Key and systems innovation,             /       /
                                                        Issues in Women's       policy and performance           sam.g www.
                                                        Health                  management, and                  ov/fal/ usasp
Department of Health and Human Services        93.089   Emergency System for To establish and                    https:/ https:/
                                                        Advance Registration of maintain a national              /       /
                                                        Volunteer Health        interoperable network of         sam.g www.
Department of Health and Human Services        93.090   Professionals
                                                        Guardianship            stateobjective
                                                                                The   systems.ofEach
                                                                                                  the            ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Assistance                   Guardianship                /       /
                                                                                     Assistance Program          sam.g www.
                                                                                     (GAP) is to provide         ov/fal/ usasp
Department of Health and Human Services        93.092   Affordable Care Act          The purpose of this         https:/ https:/
                                                        (ACA) Personal               program is to support       /       /
                                                        Responsibility               projects that educate       sam.g www.
Department of Health and Human Services        93.097   Education  Program
                                                        Strengthening  the           youth between
                                                                                     This project will10 and
                                                                                                       support   ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Nation's Public Health       the operations and          /       /
                                                        System through a             continuous                  sam.g www.
Department of Health and Human Services        93.099   National Voluntary
                                                        Collaboration With the       improvement
                                                                                     On  Septemberof19,
                                                                                                     a           ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        World Health                 2011, the Government        /       /
                                                        Organization and its         of the United States of     sam.g www.
                                                        Regional Offices for         America and the World       ov/fal/ usasp
Department of Health and Human Services        93.103   Food and Drug                To assist institutions      https:/ https:/
                                                        Administration               and organizations, to       /       /
                                                        Research                     establish, expand, and      sam.g www.
Department of Health and Human Services        93.104   Comprehensive                improve
                                                                                     To       research,
                                                                                         implement               ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Community Mental             community systems of        /       /
                                                        Health Services for          care to provide             sam.g www.
Department of Health and Human Services        93.107   Children withEducation
                                                        Area Health   Serious        comprehensive
                                                                                     The Area Healthmental       ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Centers                      Education Centers           /       /
                                                                                     (AHEC) Program              sam.g www.
Department of Health and Human Services        93.110   Maternal and Child           enhances  access
                                                                                     The Special      to of
                                                                                                 Projects        ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Health Federal        Regional and National              /     /
                                                        Consolidated Programs Significance Program               sam.g www.
Department of Health and Human Services        93.113   Environmental Health  (SPRANS)
                                                                              To          carries out
                                                                                 foster understanding        ov/fal/ https:/
                                                                                                             https:/ usasp
                                                                                     of human health effects /       /
                                                                                     of exposure to          sam.g www.
                                                                                     environmental agents in ov/fal/ usasp




                                                                                                                                            16
                                          Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 32 of 77 PageID
                                                                                                                                        #: 7300
Department of Health and Human Services        93.116   Project Grants and        This program assists         https:/ https:/
                                                        Cooperative               State, local health          /       /
                                                        Agreements for            agencies, political          sam.g www.
Department of Health and Human Services        93.117   Tuberculosis
                                                        Preventive   Control
                                                                   Medicine       subdivisions,
                                                                                  Grants         and other
                                                                                          are intended  to     ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Residency                 promote postgraduate         /       /
                                                                                  medical education in         sam.g www.
Department of Health and Human Services        93.118   Acquired                  the specialtyand
                                                                                  To develop    of             ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Immunodeficiency        implement HIV                  /       /
                                                        Syndrome (AIDS)         prevention programs of         sam.g www.
                                                        Activity                public information and         ov/fal/ usasp
Department of Health and Human Services        93.121   Oral Diseases and       NIDCR extramural               https:/ https:/
                                                        Disorders Research      research provides              /       /
                                                                                research funds to              sam.g www.
Department of Health and Human Services        93.123                           support
                                                        Health Professions Pre- To       basic,
                                                                                   provide  scholarships       ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        graduate Scholarship      to American Indians and /       /
                                                        Program for Indians       Alaska Natives for the  sam.g www.
Department of Health and Human Services        93.124   Nurse Anesthetist         purpose  of completing
                                                                                  The purpose   of the    ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                        Traineeship               Nurse Anesthetist       /       /
                                                                                  Traineeship (NAT)       sam.g www.
                                                                                  program is to increase  ov/fal/ usasp
Department of Health and Human Services        93.127   Emergency Medical         To support              https:/ https:/
                                                        Services for Children     demonstration projects /        /
                                                                                  for the expansion and   sam.g www.
Department of Health and Human Services        93.129   Technical and Non-        improvement   of
                                                                                  State and Regional      ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                        Financial Assistance to Primary Care                   /       /
                                                        Health Centers          Associations (PCAs)            sam.g www.
                                                                                provide training and           ov/fal/ usasp
Department of Health and Human Services        93.130   Cooperative             To coordinate the local,       https:/ https:/
                                                        Agreements to States/ State, and Federal               /       /
                                                        Territories for the     resources contributing         sam.g www.
Department of Health and Human Services        93.134   Coordination
                                                        Grants          and
                                                                 to Increase    to primary
                                                                                Living     care
                                                                                       Organ    service
                                                                                              Donation         ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Organ Donation            Reimbursement                /       /
                                                                                  Program: The goal of         sam.g www.
Department of Health and Human Services        93.135   Centers for Research      this
                                                                                  The program  is to
                                                                                       funded Prevention       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        and Demonstration for     Research Centers aims        /       /
                                                        Health Promotion and      are to: 1. Establish,        sam.g www.
                                                        Disease Prevention        maintain, and operate        ov/fal/ usasp
Department of Health and Human Services        93.136   Injury Prevention and     Through its programs,        https:/ https:/
                                                        Control Research and      the Injury Center works      /       /
                                                        State and Community       with national                sam.g www.
Department of Health and Human Services        93.137   Based   Programs
                                                        Community   Programs      organizations,
                                                                                  Support public state
                                                                                                  and          ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        to Improve Minority       private evidence-based       /       /
                                                        Health                    interventions and            sam.g www.
                                                                                  innovative models to         ov/fal/ usasp
Department of Health and Human Services        93.138   Protection and            To enable the                https:/ https:/
                                                        Advocacy for              expansion of the             /       /
                                                        Individuals with Mental   Protection and               sam.g www.
Department of Health and Human Services        93.140   Illness
                                                        Intramural Research       Advocacy
                                                                                  The        system
                                                                                       National Institutes     ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Training Award            of Health (NIH) IRTA         /       /
                                                                                  Traineeships/                sam.g www.
Department of Health and Human Services        93.142   NIEHS Hazardous           Fellowships  are
                                                                                  To provide cooperative       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Waste Worker Health       agreements and project       /       /
                                                        and Safety Training       grant support for the        sam.g www.
                                                                                  development and              ov/fal/ usasp
Department of Health and Human Services        93.143   NIEHS Superfund           To support innovate          https:/ https:/
                                                        Hazardous                 research and training        /       /
                                                        Substances_Basic          through multi-project,       sam.g www.
Department of Health and Human Services        93.145   Research and
                                                        HIV-Related Training      interdisciplinary
                                                                                  National Traininggrants;
                                                                                                     and       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        and Technical           Technical Assistance           /       /
                                                        Assistance              Cooperative                    sam.g www.
Department of Health and Human Services        93.150                           Agreements:
                                                        Projects for Assistance To            The
                                                                                   provide financial           ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        in Transition from      assistance to States to        /       /
                                                        Homelessness (PATH) support services for               sam.g www.
Department of Health and Human Services        93.153   Coordinated Services    individuals
                                                                                Part        whoThe
                                                                                     D (base):  are            ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        and Access to          purpose of this program         /       /
                                                        Research for Women, is to provide family-              sam.g www.
Department of Health and Human Services        93.155   Infants, Children,
                                                        Rural Health       and
                                                                      Research centered
                                                                               The Ruralcare  in the
                                                                                          Health               ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Centers                Research Center                 /       /
                                                                               program supports                sam.g www.
                                                                               policy-relevant research        ov/fal/ usasp
Department of Health and Human Services        93.157   Centers of Excellence The goal of this                 https:/ https:/
                                                                               program is to assist            /       /
                                                                               eligible schools in             sam.g www.
Department of Health and Human Services        93.161   Health Program for     supporting  programs
                                                                               To work closely  with of        ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Toxic Substances and      State, local, and other      /       /
                                                        Disease Registry          Federal agencies to          sam.g www.
Department of Health and Human Services        93.162                           reduce
                                                        National Health Service The     or eliminate
                                                                                     purpose   of the          ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Corps Loan Repayment National Health Service           /       /
                                                                                Corps (NHSC) Loan              sam.g www.
                                                                                Repayment Program              ov/fal/ usasp
Department of Health and Human Services        93.164   Indian Health Service   To ensure that the             https:/ https:/
                                                        Educational Loan        Indian Health Service          /       /
                                                        Repayment               (IHS) has an adequate          sam.g www.
Department of Health and Human Services        93.165   Grants to States for    supply of trained
                                                                                To increase   the health       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Loan Repayment            availability of primary      /       /
                                                                                  health care clinicians in    sam.g www.
                                                                                  Health Professional          ov/fal/ usasp
Department of Health and Human Services        93.172   Human Genome              NHGRI supports the           https:/ https:/
                                                        Research                  development of               /       /
                                                                                  methods, resources and       sam.g www.
Department of Health and Human Services        93.173   Research Related to       technologies
                                                                                  To investigatetosolutions
                                                                                                     improve   ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Deafness and              to problems directly         /       /
                                                        Communication             relevant to individuals      sam.g www.
Department of Health and Human Services        93.178   Disorders
                                                        Nursing Workforce         with objective
                                                                                  The  deafness ofor the       ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Diversity                 NWD program is to            /       /
                                                                                  increase the diversity of    sam.g www.
                                                                                  the nursing workforce        ov/fal/ usasp
Department of Health and Human Services        93.184   Disabilities Prevention   (1) Support National         https:/ https:/
                                                                                  Centers on Disability to     /       /
                                                                                  develop, implement,          sam.g www.
Department of Health and Human Services        93.185   Immunization              evaluate, and political
                                                                                  To assist states,            ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Research,                 subdivisions of states,      /       /
                                                        Demonstration, Public     and other public and         sam.g www.
                                                        Information and           private nonprofit entities   ov/fal/ usasp
Department of Health and Human Services        93.186   National Research         The purpose of the           https:/ https:/
                                                        Service Award in          Ruth L. Kirschstein          /       /
                                                        Primary Care Medicine     National Research            sam.g www.
Department of Health and Human Services        93.187   Undergraduate             Service  Award
                                                                                  To provide     (NRSA)
                                                                                             service-          ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Scholarship Program       conditioned                  /       /
                                                        for Individuals from      scholarships to              sam.g www.
Department of Health and Human Services        93.191   Disadvantaged
                                                        Graduate Psychology       individuals
                                                                                  The  purposefrom
                                                                                                 of the        ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Education                 Graduate Psychology          /       /
                                                                                  Education Program is         sam.g www.
                                                                                  program is to train          ov/fal/ usasp
Department of Health and Human Services        93.193   Urban Indian Health       Grants provide health-       https:/ https:/
                                                        Services                  related services to          /       /
                                                                                  Urban Indians including:     sam.g www.
Department of Health and Human Services        93.197   Childhood Lead            (1) Alcohol
                                                                                  To (1)      and and/or
                                                                                         Develop               ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Poisoning Prevention   enhance a surveillance          /       /
                                                        Projects, State and    system that monitors all        sam.g www.
Department of Health and Human Services        93.210   Local Childhood
                                                        Tribal           Lead To
                                                               Self-Governance blood  lead
                                                                                  allow     levels; (2)
                                                                                         Federally             ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Program: IHS           recognized Indian               /       /
                                                        Compacts/Funding       Tribes to enter into an         sam.g www.
                                                        Agreements             agreement with the              ov/fal/ usasp
Department of Health and Human Services        93.211   Telehealth Programs    The purpose of the              https:/ https:/
                                                                               Telehealth Network              /       /
                                                                               Program (TNGP) is to            sam.g www.
Department of Health and Human Services        93.213                          fund programs
                                                        Research and Training NCCIH              that
                                                                                        is the lead            ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        in Complementary and      Federal agency for           /       /
                                                        Integrative Health        scientific research on       sam.g www.
                                                                                  the fundamental              ov/fal/ usasp
Department of Health and Human Services        93.217   Family Planning           To establish and             https:/ https:/
                                                        Services                  operate voluntary family     /       /
                                                                                  planning services            sam.g www.
Department of Health and Human Services        93.220   National Institutes of    projects,
                                                                                  To recruitwhich  shall
                                                                                              and retain       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Health Intramural Loan health professionals            /       /
                                                        Repayment Program      performing research in          sam.g www.
Department of Health and Human Services        93.223   Development and        fieldspurpose
                                                                               The    requiredofby the
                                                                                                 this          ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Coordination of Rural   program is to serve as a       /       /
                                                        Health Services         national clearinghouse         sam.g www.
                                                                                for information on rural       ov/fal/ usasp
Department of Health and Human Services        93.224   Health Center Program To improve the health of         https:/ https:/
                                                        (Community Health       the Nation's                   /       /
                                                        Centers, Migrant Health underserved                    sam.g www.
Department of Health and Human Services        93.225   Centers, Research
                                                        National Health Care    communities
                                                                                To            by
                                                                                    provide predoctoral        ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Service Awards Health     and postdoctoral             /       /
                                                        Services Research         training opportunities in    sam.g www.
                                                        Training                  health services              ov/fal/ usasp
Department of Health and Human Services        93.226   Research on               To support research          https:/ https:/
                                                        Healthcare Costs,         and evaluations,             /       /
                                                        Quality and Outcomes      demonstration projects,      sam.g www.
Department of Health and Human Services        93.228   Indian Health Service,    research
                                                                                  To developnetworks,
                                                                                              and      and     ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Health Management    enhance management                /       /
                                                        Development Program  infrastructure of                 sam.g www.
Department of Health and Human Services        93.231                        Federally-recognized
                                                        Epidemiology Program The  purpose of this              ov/fal/ https:/
                                                                                                               https:/ usasp
                                                                             program is to fund                /       /
                                                                             Tribes, Tribal and urban          sam.g www.
                                                                             Indian organizations,             ov/fal/ usasp
Department of Health and Human Services        93.232   Loan Repayment       This listing is no longer         https:/ https:/
                                                        Program for General  in use. To recruit and            /       /
                                                        Research             retain health                     sam.g www.
Department of Health and Human Services        93.233   National Center on   professionals
                                                                             The  National Center on           ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Sleep Disorders           Sleep Disorders              /       /
                                                        Research                  Research (NCSDR)             sam.g www.
Department of Health and Human Services        93.234   Traumatic Brain Injury    supports
                                                                                  To createresearch
                                                                                            and     and        ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        State Demonstration       strengthen a system of       /       /
                                                        Grant Program             services and supports        sam.g www.
Department of Health and Human Services        93.235   Title V State Sexual      that
                                                                                  The maximizes
                                                                                       purpose of the
                                                                                                  the Title    ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Risk Avoidance           V State SRAE program          /       /
                                                        Education (Title V State is to provide messages        sam.g www.
Department of Health and Human Services        93.236   SRAE) to
                                                        Grants  Program
                                                                   States to     to youthtothat
                                                                                 Grants         normalizes
                                                                                            States to          ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Support Oral Health       Support Oral Health          /       /
                                                        Workforce Activities      Workforce Activities         sam.g www.
                                                                                  assists states to            ov/fal/ usasp




                                                                                                                                          17
                                          Case 1:25-cv-00039-JJM-PAS                                                               Document 114-1   Filed 02/13/25   Page 33 of 77 PageID
                                                                                                                                          #: 7301
Department of Health and Human Services        93.237   Special Diabetes        To promote improved              https:/ https:/
                                                        Program for Indians     health care among                /       /
                                                        Diabetes Prevention     American Indians/                sam.g www.
Department of Health and Human Services        93.239   and Treatment
                                                        Policy ResearchProjects
                                                                         and    Alaska
                                                                                The     Natives
                                                                                    goals  of thisthrough
                                                                                                    listing      ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Evaluation Grants       are to improve the               /       /
                                                                                effectiveness of public          sam.g www.
Department of Health and Human Services        93.240   State Capacity Building policies   thatmandated
                                                                                To fulfill the reduce            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                                                objectives of the                /       /
                                                                                Comprehensive                    sam.g www.
                                                                                Environmental                    ov/fal/ usasp
Department of Health and Human Services        93.241   State Rural Hospital    The Rural Hospital               https:/ https:/
                                                        Flexibility Program     Flexibility Program              /       /
                                                                                (Flex) enables state             sam.g www.
Department of Health and Human Services        93.242                           designated
                                                        Mental Health Research The   missionentities
                                                                                               of the to         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Grants                      National Institute of      /       /
                                                                                    Mental Health (NIMH) is sam.g www.
Department of Health and Human Services        93.243   Substance Abuse and         to transform
                                                                                    SAMHSA     wasthe
                                                                                                    given the ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Mental Health Services      authority to address       /       /
                                                        Projects of Regional        priority substance         sam.g www.
                                                        and National                abuse treatment,           ov/fal/ usasp
Department of Health and Human Services        93.247   Advanced Nursing            ANEW: The purpose of https:/ https:/
                                                        Education Workforce         the Advanced Nursing       /       /
                                                        Grant Program               Education Workforce        sam.g www.
Department of Health and Human Services        93.250   Geriatric Academic          (ANEW)    Program
                                                                                    The purpose    of theis to ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Career Awards           GACA program is to               /       /
                                                        Department of Health    support the career               sam.g www.
                                                        and Human Services      development of                   ov/fal/ usasp
Department of Health and Human Services        93.251   Early Hearing Detection The Early Hearing                https:/ https:/
                                                        and Intervention        Detection and                    /       /
                                                                                Intervention (EHDI)              sam.g www.
Department of Health and Human Services        93.253                           program
                                                        Poison Center Support The        supports
                                                                                     objectives are (1)          ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        and Enhancement             to support Poison            /       /
                                                        Grant                       Control Centers efforts      sam.g www.
Department of Health and Human Services        93.255   Children's Hospitals    to
                                                                                Theprevent,
                                                                                     purpose and
                                                                                               of provide
                                                                                                  the            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Graduate Medical        CHGME Payment                    /       /
                                                        Education Payment       Program is to                    sam.g www.
                                                        Program                 compensate for the               ov/fal/ usasp
Department of Health and Human Services        93.257   Grants for Education,   The Radiation Exposure           https:/ https:/
                                                        Prevention, and Early   Screening and                    /       /
                                                        Detection of Radiogenic Education Program                sam.g www.
Department of Health and Human Services        93.260   Cancers  and Diseases aims
                                                        Family Planning               to screen
                                                                                To provide  job specific         ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Personnel Training          training for personnel       /       /
                                                                                    working in Title X           sam.g www.
                                                                                    settings to improve the      ov/fal/ usasp
Department of Health and Human Services        93.262   Occupational Safety         To (1) recognize new         https:/ https:/
                                                        and Health Program          hazards; (2) define the      /       /
                                                                                    magnitude of the             sam.g www.
Department of Health and Human Services        93.264   Nurse Faculty Loan          problem;
                                                                                    The  Nurse (3)Faculty
                                                                                                   follow Loan   ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Program (NFLP)              Program (NFLP) seeks         /       /
                                                                                    to increase the number       sam.g www.
Department of Health and Human Services        93.266   Health Systems              of qualified
                                                                                    Fund   humannursing
                                                                                                  resources      ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Strengthening and HIV/for health, quality                /       /
                                                        AIDS Prevention, Care improvement and other              sam.g www.
                                                        and Treatment under   health system                      ov/fal/ usasp
Department of Health and Human Services        93.268   Immunization          To assist states and               https:/ https:/
                                                        Cooperative           communities in                     /       /
                                                        Agreements            establishing and                   sam.g www.
Department of Health and Human Services        93.269   Complex Humanitarian maintaining   preventive
                                                                              To bring public  health            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Emergency and War-    and epidemiologic                  /       /
                                                        Related Injury Public principles to the aid of           sam.g www.
Department of Health and Human Services        93.270   Health
                                                        Viral  Activities
                                                              Hepatitis       populations
                                                                              Program      affected by
                                                                                        activities               ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Prevention and Control support integrated viral          /     /
                                                                               hepatitis surveillance            sam.g www.
Department of Health and Human Services        93.273   Alcohol Research       anddevelop
                                                                               To  prevention
                                                                                           a sound         ov/fal/ usasp
                                                                                                           https:/ https:/
                                                        Programs               fundamental knowledge /             /
                                                                               base which can be           sam.g www.
Department of Health and Human Services        93.276   Drug-Free Communities applied    to theof the DFC ov/fal/
                                                                               The purpose                 https:/ usasp
                                                                                                                   https:/
                                                        Support Program        Support Program is to       /       /
                                                        Grants                 establish and               sam.g www.
                                                                               strengthen                  ov/fal/ usasp
Department of Health and Human Services        93.279   Drug Use and Addiction To support basic,           https:/ https:/
                                                        Research Programs      clinical, translational,    /       /
                                                                               and implementation          sam.g www.
Department of Health and Human Services        93.280   National Institutes of research
                                                                               To attract in
                                                                                           andtheretain
                                                                                                  field of ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                        Health Extramural Loan health professionals to           /       /
                                                        Repayment Program      research careers by               sam.g www.
Department of Health and Human Services        93.283   Centers for Disease    offering
                                                                               To assisteducational
                                                                                         State and               ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Control and Prevention      local health authorities     /       /
                                                        Investigations and          and other health related     sam.g www.
                                                        Technical Assistance        organizations in             ov/fal/ usasp
Department of Health and Human Services        93.284   Injury Prevention           To improve the quality       https:/ https:/
                                                        Program for American        of the health of             /       /
                                                        Indians and Alaskan         American Indians and         sam.g www.
Department of Health and Human Services        93.286   Natives
                                                        DiscoveryCooperative
                                                                   and Applied      Alaskan  Natives
                                                                                    To support       by
                                                                                                hypothesis-,     ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Research for            design-, technology-, or         /       /
                                                        Technological           device-driven research           sam.g www.
                                                        Innovations to Improve related to the discovery,         ov/fal/ usasp
Department of Health and Human Services        93.288   National Health Service The purpose of the               https:/ https:/
                                                        Corps Scholarship       NHSC SP is to enter              /       /
                                                        Program                 into contracts with              sam.g www.
Department of Health and Human Services        93.291   Surplus Property        students
                                                                                To conveywho   are in
                                                                                           or lease              ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Utilization                 surplus Federal real         /       /
                                                                                    properties made              sam.g www.
Department of Health and Human Services        93.297   Teenage Pregnancy           available
                                                                                    The       by the
                                                                                         purpose  of the         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Prevention Program     Teenage Pregnancy                 /       /
                                                                               Prevention (TPP)                  sam.g www.
                                                                               Program is to support             ov/fal/ usasp
Department of Health and Human Services        93.300   National Health Center To provide for the                https:/ https:/
                                                        for Health Workforce   development of                    /       /
                                                        Analysis               information describing            sam.g www.
Department of Health and Human Services        93.301   Small Rural Hospital   and
                                                                               The analyzing
                                                                                    Small Rural the              ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Improvement Grant      Hospital Improvement              /       /
                                                        Program                Program supports                  sam.g www.
                                                                               eligible small rural              ov/fal/ usasp
Department of Health and Human Services        93.303   Nurse Corps            The Nurse Corps                   https:/ https:/
                                                        Scholarship            Scholarship Program's             /       /
                                                                               objective is to increase          sam.g www.
Department of Health and Human Services        93.304   Racial and Ethnic      the
                                                                               Thesupply
                                                                                    purposeandof this            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Approaches to               program is to fund           /       /
                                                        Community Health            National Networks to         sam.g www.
Department of Health and Human Services        93.307   Minority Health and         fund,
                                                                                    To    manage,
                                                                                       support      support,
                                                                                               basic,            ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Health Disparities      clinical, social, and            /       /
                                                        Research                behavioral research;             sam.g www.
                                                                                promote research                 ov/fal/ usasp
Department of Health and Human Services        93.310   Trans-NIH Research      This listing covers              https:/ https:/
                                                        Support                 multiple offices in the          /       /
                                                                                NIH Office of the                sam.g www.
Department of Health and Human Services        93.313   NIH Office of Research Director
                                                                                ORWH will thatidentify
                                                                                                offer            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        on Women's Health       projects on women's              /       /
                                                                                health that should be            sam.g www.
Department of Health and Human Services        93.314                           conducted
                                                        Early Hearing Detection The          or supported
                                                                                      objective  of this         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        and Intervention        program is to assist             /       /
                                                        Information System      EHDI programs in                 sam.g www.
                                                        (EHDI-IS) Surveillance developing and                    ov/fal/ usasp
Department of Health and Human Services        93.315   Rare Disorders:         To (1) Promote public            https:/ https:/
                                                        Research, Surveillance, health capacity by               /       /
                                                        Health Promotion, and conducting research to             sam.g www.
Department of Health and Human Services        93.316   Education
                                                        Public Health           expand
                                                                                The     the goal
                                                                                     overall knowledge
                                                                                                 of this         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Preparedness and       program is to conduct             /       /
                                                        Response Science,      research and related              sam.g www.
                                                        Research, and Practice public health                     ov/fal/ usasp
Department of Health and Human Services        93.317   Emerging Infections    The purpose of the                https:/ https:/
                                                        Programs               Emerging Infections               /       /
                                                                               Programs (EIP) is to              sam.g www.
Department of Health and Human Services        93.318   Protecting and         assist
                                                                               CDCâ€™sin local, state,
                                                                                            global               ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Improving Health            health efforts are to        /       /
                                                        Globally: Building and      assist Ministries of         sam.g www.
Department of Health and Human Services        93.319   Strengthening
                                                        Outreach        Publicto
                                                                  Programs      Health  and other
                                                                                The purpose      of this         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Reduce the Prevalence listing is to assist Land-         /       /
                                                        of Obesity in High Risk Grant institutions               sam.g www.
                                                        Rural Areas             conduct pilot programs           ov/fal/ usasp
Department of Health and Human Services        93.321   Dietary Supplement      The NIH Office of                https:/ https:/
                                                        Research Program        Dietary Supplements              /       /
                                                                                will identify projects that      sam.g www.
Department of Health and Human Services        93.322   CDC Partnership:        should
                                                                                The      be conducted
                                                                                      activities         or
                                                                                                 under this      ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Strengthening Public    cooperative agreement            /       /
                                                        Health Laboratories     are aligned with the             sam.g www.
                                                                                following Healthy                ov/fal/ usasp
Department of Health and Human Services        93.323   Epidemiology and        The purpose of this              https:/ https:/
                                                        Laboratory Capacity for program is to protect            /       /
                                                        Infectious Diseases     the public health and            sam.g www.
Department of Health and Human Services        93.324   (ELC)
                                                        State Health Insurance safety  of the
                                                                                To provide    American
                                                                                            information,         ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Assistance Program      counseling, and                  /       /
                                                                                assistance relating to           sam.g www.
Department of Health and Human Services        93.325   Paralysis Resource      obtaining
                                                                                The        adequate
                                                                                     Paralysis       and
                                                                                                Resource         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Center                      Center (PRC) grant is        /       /
                                                                                    awarded to the               sam.g www.
                                                                                    Christopher & Dana           ov/fal/ usasp
Department of Health and Human Services        93.326   Strengthening Public        CDCâ€™s global               https:/ https:/
                                                        Health through              health efforts are to        /       /
                                                        Surveillance,               assist Ministries of         sam.g www.
Department of Health and Human Services        93.327   Epidemiologic
                                                        Demonstration Grants        Health
                                                                                    The    and on
                                                                                        Office  other            ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        for Domestic Victims of Trafficking in Persons           /       /
                                                        Human Trafficking       (OTIP) currently funds           sam.g www.
Department of Health and Human Services        93.332   Cooperative Agreement the
                                                                                Eachfollowing  three
                                                                                       year, the Centers         ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        to Support Navigators in for Medicare &                  /       /
                                                        Federally-facilitated    Medicaid Services               sam.g www.
Department of Health and Human Services        93.334   Exchanges
                                                        The Healthy Brain        (CMS)  awardsoffunding
                                                                                 The purpose     the             ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Initiative: Technical       listing is to implement      /       /
                                                        Assistance to               public health actions        sam.g www.
Department of Health and Human Services        93.336   Implement Public
                                                        Behavioral    Risk Factor   through
                                                                                    The       engagement
                                                                                          purpose   of this of   ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Surveillance System         program is to provide        /       /
                                                                                    assistance to State and      sam.g www.
                                                                                    Territorial Health           ov/fal/ usasp




                                                                                                                                            18
                                          Case 1:25-cv-00039-JJM-PAS                                                               Document 114-1   Filed 02/13/25   Page 34 of 77 PageID
                                                                                                                                          #: 7302
Department of Health and Human Services        93.341   Analyses, Research     To further CMSâ€™        https:/ https:/
                                                        and Studies to Address mission and goals        /       /
                                                        the Impact of CMSâ€™ related to providing high sam.g www.
Department of Health and Human Services        93.342   Programs
                                                        Health    on American To
                                                               Professions     quality health
                                                                                  increase    care to
                                                                                            educational ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                        Student Loans,         opportunities by         /       /
                                                        Including Primary Care providing long-term,     sam.g www.
Department of Health and Human Services        93.343   Loans  and Loans
                                                        Public Health     for
                                                                      Service  low-interest
                                                                               To evaluate loans  to
                                                                                            programs    ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                        Evaluation Funds           and services                  /       /
                                                                                   administered by public        sam.g www.
                                                                                   and private entities          ov/fal/ usasp
Department of Health and Human Services        93.344   Research, Monitoring       Enhance the work of           https:/ https:/
                                                        and Outcomes               local communities and         /       /
                                                        Definitions for Vaccine    their partnerships with       sam.g www.
Department of Health and Human Services        93.345   Safety
                                                        Leading Edge               immunization
                                                                                   Through this notice of        ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Acceleration Projects   funding opportunity              /       /
                                                        (LEAP) in Health        (NOFO) ONC seeks to              sam.g www.
Department of Health and Human Services        93.346   Information Technology
                                                        Enhancing the  Logical partner   withsource
                                                                                This single   innovative         ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Observation Identifiers cooperative agreement            /       /
                                                        Names and Codes         to Regenstrief, is being         sam.g www.
                                                        (LOINCÂ®) Standard to made in order to                   ov/fal/ usasp
Department of Health and Human Services        93.347   Trusted Exchange        The purpose of this              https:/ https:/
                                                        Framework and           program is to support            /       /
                                                        Common Agreement        efforts to advance the           sam.g www.
Department of Health and Human Services        93.348   (TEFCA)
                                                        Technical Recognized
                                                                  Assistance to establishment   of an
                                                                                To provide technical             ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Increase Tobacco           assistance to state           /       /
                                                        Cessation                  tobacco control               sam.g www.
                                                                                   programs and national         ov/fal/ usasp
Department of Health and Human Services        93.349   Packaging and              The purpose of this           https:/ https:/
                                                        Spreading Proven           program is to increase        /       /
                                                        Pediatric Weight           the availability and          sam.g www.
Department of Health and Human Services        93.350   Management
                                                        National Center for        number of
                                                                                   NCATS'     packaged
                                                                                            mission   is to      ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Advancing Translational turn research             /       /
                                                        Sciences                observations into health sam.g www.
Department of Health and Human Services        93.351   Research Infrastructure solutions
                                                                                The Officethrough
                                                                                             of Research ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                        Programs                Infrastructure Programs /         /
                                                                                (ORIP) is a program       sam.g www.
                                                                                office in the Division of ov/fal/ usasp
Department of Health and Human Services        93.352   Construction Support    To renovate existing      https:/ https:/
                                                                                research facilities and   /       /
                                                                                build new research        sam.g www.
Department of Health and Human Services        93.353   21st Century Cures Act facilities
                                                                                To provideto support
                                                                                             meet basic
                                                                                                     for  ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                        - Beau Biden Cancer   initiatives funded under           /       /
                                                        Moonshot              the 21st Century Cures             sam.g www.
                                                                              Act to support cancer              ov/fal/ usasp
Department of Health and Human Services        93.354   Public Health         The intent of this                 https:/ https:/
                                                        Emergency Response: program is to fund                   /       /
                                                        Cooperative Agreement state, local, and                  sam.g www.
Department of Health and Human Services        93.355   for Emergency
                                                        Public Health         territorial
                                                                              The   Officepublic
                                                                                           of thehealth          ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Informatics &              National Coordinator for /       /
                                                        Technology Workforce       Health Information       sam.g www.
Department of Health and Human Services        93.356   Development   Program
                                                        Head Start Disaster        Technology  (ONC) has ov/fal/
                                                                                   Head Start Disaster      https:/ usasp
                                                                                                                    https:/
                                                        Recovery                   Recovery provides        /       /
                                                                                   supplemental funding     sam.g www.
                                                                                   for Head Start programs ov/fal/ usasp
Department of Health and Human Services        93.359   Nurse Education,           Mobile Health Training   https:/ https:/
                                                        Practice Quality and       Program (NEPQR-          /       /
                                                        Retention Grants           MHTP): The purpose of sam.g www.
Department of Health and Human Services        93.360   Biomedical Advanced        this
                                                                                   The program
                                                                                        purpose is
                                                                                                of to
                                                                                                    this    ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                        Research and               program is to                 /       /
                                                        Development Authority      coordinate the                sam.g www.
Department of Health and Human Services        93.361   (BARDA),
                                                        Nursing  Biodefense
                                                                Research           acceleration
                                                                                   Nurses       of
                                                                                          understand that        ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                                              improving health and               /       /
                                                                              well-being means                   sam.g www.
Department of Health and Human Services        93.364                         addressing
                                                        Nursing Student Loans To increase educational            ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                                              opportunities by                   /       /
                                                                              providing long-term,               sam.g www.
Department of Health and Human Services        93.365   Sickle Cell Treatment low-interest loans
                                                                              The objectives      to
                                                                                              of this            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Demonstration Program project is to support the          /       /
                                                                                development and                  sam.g www.
                                                                                establishment of                 ov/fal/ usasp
Department of Health and Human Services        93.366   State Actions to        To establish oral health         https:/ https:/
                                                        Improve Oral Health     leadership and program           /       /
                                                        Outcomes and Partner guidance, oral health               sam.g www.
Department of Health and Human Services        93.367   Actions
                                                        Flexible Funding Model data
                                                                to Improve Oral      collection
                                                                                Advance   effortsand
                                                                                                  for a          ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        - Infrastructure          nationally integrated          /       /
                                                        Development and           food safety system             sam.g www.
Department of Health and Human Services        93.368   Maintenance
                                                        21st           for State
                                                              Century Cures       (IFSS)
                                                                              Act To       by supporting
                                                                                      provide  support for       ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        - Precision Medicine      initiatives funded under       /       /
                                                        Initiative                the 21st Century Cures         sam.g www.
                                                                                  Act, the All of Us             ov/fal/ usasp
Department of Health and Human Services        93.369   ACL Independent Living To provide financial              https:/ https:/
                                                        State Grants              assistance to States for       /       /
                                                                                  expanding and                  sam.g www.
Department of Health and Human Services        93.370   21st Century Cures Act: improving
                                                                                  To providethe   provision
                                                                                               support for       ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Regenerative Medicine initiatives funded under           /       /
                                                        Initiative              the 21st Century Cures           sam.g www.
                                                                                Act to support the               ov/fal/ usasp
Department of Health and Human Services        93.372   21st Century Cures Act To provide extramural             https:/ https:/
                                                        -          Brain        research support for the         /       /
                                                        Research through        Brain Research                   sam.g www.
Department of Health and Human Services        93.376   Advancing    Innovative
                                                        Title: Multiple         Through  Advancing
                                                                                Goals resulting from             ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Approaches to Support providing support to               /       /
                                                        Young Breast Cancer      young breast cancer             sam.g www.
Department of Health and Human Services        93.377   Survivors and
                                                        Prevention  and Control survivors
                                                                                 The purpose andof this five-    ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        of Chronic Disease and year program is to                /       /
                                                        Associated Risk Factors reduce the rates of              sam.g www.
                                                        in the U.S. Affiliated   disability and death            ov/fal/ usasp
Department of Health and Human Services        93.378   Integrated Care for Kids The purpose of this             https:/ https:/
                                                        Model                    cooperative agreement           /       /
                                                                                 funding opportunity is to       sam.g www.
Department of Health and Human Services        93.382   Indian Health Service    support
                                                                                 The IndiantheHealth             ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Community Health Aide Service (IHS)                      /       /
                                                        Program               Community Health Aide              sam.g www.
                                                                              Program (CHAP)                     ov/fal/ usasp
Department of Health and Human Services        93.383   Public Health Nursing Public Health Nursing              https:/ https:/
                                                                              (PHN) patient care                 /       /
                                                                              coordination activities            sam.g www.
Department of Health and Human Services        93.384   ADVANCED              aim
                                                                              The to serve the
                                                                                  purpose       patient
                                                                                            of this              ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        RESEARCH               program is to                     /       /
                                                        PROJECTS AGENCY coordinate the                           sam.g www.
Department of Health and Human Services        93.386   for HEALTH
                                                        Medical     (ARPA-H)
                                                                Reserve  Corps acceleration of
                                                                               To support the                    ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Small Grant Program    development of Medical            /       /
                                                                               Reserve Corps (MRC)               sam.g www.
                                                                               units in communities              ov/fal/ usasp
Department of Health and Human Services        93.387   National and State     The Centers for                   https:/ https:/
                                                        Tobacco Control        Disease Control and               /       /
                                                        Program                Prevention (CDC),                 sam.g www.
Department of Health and Human Services        93.388   Biomedical Advanced    National  Center
                                                                               The purpose       for
                                                                                             of this             ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Research and               program is to                 /       /
                                                        Development Authority      coordinate the                sam.g www.
Department of Health and Human Services        93.391   (BARDA),toBiodefense
                                                        Activities Support        acceleration  of
                                                                                  CDC will strengthen    the     ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        State, Tribal, Local and U.S. public health              /       /
                                                        Territorial (STLT) Health systemâ€™s response            sam.g www.
                                                        Department Response to public health or                  ov/fal/ usasp
Department of Health and Human Services        93.393   Cancer Cause and          To identify cancer risks       https:/ https:/
                                                        Prevention Research       and risk reduction             /       /
                                                                                  strategies, to identify        sam.g www.
Department of Health and Human Services        93.394   Cancer Detection and To   factors that screening
                                                                                     improve   cause             ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Diagnosis Research         and early detection           /       /
                                                                                   strategies and to             sam.g www.
                                                                                   develop accurate              ov/fal/ usasp
Department of Health and Human Services        93.395   Cancer Treatment           To develop the means          https:/ https:/
                                                        Research                   to cure as many cancer        /       /
                                                                                   patients as possible and      sam.g www.
Department of Health and Human Services        93.396   Cancer Biology             to
                                                                                   To control
                                                                                      providethe  disease in
                                                                                               fundamental       ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Research                   information on the            /       /
                                                                                   cause and nature of           sam.g www.
Department of Health and Human Services        93.397   Cancer Centers             cancer
                                                                                   To     in people,
                                                                                      provide an     with        ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Support Grants             organizational focus          /       /
                                                                                   and stimulus for the          sam.g www.
                                                                                   highest quality cancer        ov/fal/ usasp
Department of Health and Human Services        93.398   Cancer Research            To make available             https:/ https:/
                                                        Manpower                   support to nonprofit and      /       /
                                                                                   for-profit institutions       sam.g www.
Department of Health and Human Services        93.399   Cancer Control             interested
                                                                                   To           in providing
                                                                                       reduce cancer     risk,   ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                                                   incidence, morbidity,         /       /
                                                                                   and mortality and             sam.g www.
                                                                                   enhance quality of life in    ov/fal/ usasp
Department of Health and Human Services        93.413   The State Flexibility to   The State Flexibility to      https:/ https:/
                                                        Stabilize the Market       Stabilize the Market          /       /
                                                        Grant Program              Cycle I and II Grant          sam.g www.
Department of Health and Human Services        93.421   Strengthening Public       Programs
                                                                                   The goal iswill
                                                                                               to provide
                                                                                                   fund    a     ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Health Systems and        nongovernmental            /       /
                                                        Services through          organizations with         sam.g www.
Department of Health and Human Services        93.422   National Partnerships
                                                        National  Partnerships to
                                                                               to The
                                                                                  demonstrated
                                                                                       purpose ofcapability,
                                                                                                  this       ov/fal/ usasp
                                                                                                             https:/ https:/
                                                        promote cancer            program is to enhance      /       /
                                                        surveillance standards the data quality and          sam.g www.
                                                        and support data quality operational efficiency of ov/fal/ usasp
Department of Health and Human Services        93.423   1332 State Innovation Under Section 1332 of          https:/ https:/
                                                        Waivers                   the ACA, states can        /       /
                                                                                  apply for State            sam.g www.
Department of Health and Human Services        93.426   The National              Innovation
                                                                                  This       Waivers
                                                                                       program  supports     ov/fal/ https:/
                                                                                                             https:/ usasp
                                                        Cardiovascular Health    extensive scientific            /       /
                                                        Program                  evidence, links                 sam.g www.
Department of Health and Human Services        93.427   Provision of Technical nonmedical
                                                                                 The purposefactors,
                                                                                                of this          ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Assistance and Training program is to fund               /       /
                                                        Activities to Assure     recipients with proven          sam.g www.
Department of Health and Human Services        93.428   Comprehensive
                                                        Strengthening     Cancer capacities
                                                                                 To assist inand  expertise
                                                                                              planning  or       ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Emergency Care             developing emergency          /       /
                                                        Delivery in the United     care health information       sam.g www.
Department of Health and Human Services        93.429   States Science
                                                        ASPR   Healthcare          andconduct
                                                                                   To  promotion                 ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Preparedness and           preparedness and              /       /
                                                        Response Grants            response research that        sam.g www.
                                                                                   will inform the ongoing       ov/fal/ usasp




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                                          Case 1:25-cv-00039-JJM-PAS                                                              Document 114-1   Filed 02/13/25   Page 35 of 77 PageID
                                                                                                                                         #: 7303
Department of Health and Human Services        93.431   Networking2Saveâ€         The Office on Smoking https:/ https:/
                                                                                  and Health and Division /       /
                                                                                  of Cancer Prevention    sam.g www.
Department of Health and Human Services        93.432   ACL Centers for           andsupport
                                                                                  To  Controlaseek  to
                                                                                               Statewide  ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                        Independent Living        network of centers for  /       /
                                                                                  independent living      sam.g www.
Department of Health and Human Services        93.433   ACL National Institute    (centers or and
                                                                                  To support  CILs) and   ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                        on Disability,          coordinate research             /       /
                                                        Independent Living, and and its utilization in          sam.g www.
                                                        Rehabilitation Research order to improve the            ov/fal/ usasp
Department of Health and Human Services        93.434   Every Student           Section 9212 of the             https:/ https:/
                                                        Succeeds Act/           Every Student                   /       /
                                                        Preschool Development Succeeds Act (ESSA),              sam.g www.
Department of Health and Human Services        93.436   Grants
                                                        WELL-INTEGRATED         PL 114-95
                                                                                The purpose  establishes
                                                                                               of this          ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        SCREENING AND       competitive five-year               /       /
                                                        EVALUATION FOR      program is to fund state            sam.g www.
Department of Health and Human Services        93.438   WOMEN  ACROSS
                                                        Emergency SystemTHE
                                                                        for health departments
                                                                            To establish and    and             ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Advance Registration of maintain a national             /       /
                                                        Volunteer Health        interoperable network of        sam.g www.
                                                        Professionals           state systems. Each             ov/fal/ usasp
Department of Health and Human Services        93.439   State Physical Activity This program supports           https:/ https:/
                                                        and Nutrition (SPAN     recipients to implement         /       /
                                                                                state and local nutrition       sam.g www.
Department of Health and Human Services        93.441   Indian Self-            and  physical
                                                                                To enable      activity
                                                                                           Indian  tribes       ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Determination           to assume the                   /       /
                                                                                management and                  sam.g www.
                                                                                operation of programs,          ov/fal/ usasp
Department of Health and Human Services        93.444   Tribal Self-Governance To enable Federally              https:/ https:/
                                                        Program: Planning and recognized Indian tribes          /       /
                                                        Negotiation Cooperative to enter into                   sam.g www.
Department of Health and Human Services        93.445   Agreement
                                                        Indian Health Service   agreements
                                                                                To            that would
                                                                                   provide essential            ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Sanitation Facilities     sanitation facilities,        /       /
                                                        Construction Program      such as safe drinking         sam.g www.
Department of Health and Human Services        93.446   Partner Actions to        water and adequate
                                                                                  To establish oral health      ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Improve Oral Health     leadership and program          /       /
                                                        Outcomes                guidance, oral health           sam.g www.
                                                                                data collection and             ov/fal/ usasp
Department of Health and Human Services        93.450   Ebola Healthcare        To enable select public         https:/ https:/
                                                        Preparedness and        health departments              /       /
                                                        Response for Select     serving regions where           sam.g www.
Department of Health and Human Services        93.454   Cities
                                                        Hospital Preparedness enhanced
                                                               with Enhanced               airport
                                                                                This program   covers           ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Program (HPP) Ebola two separate, but                   /       /
                                                        Preparedness and        related projects: Part A        sam.g www.
                                                        Response Activities     â€“ Health Care                 ov/fal/ usasp
Department of Health and Human Services        93.455   National Ebola Training CDC, will increase the          https:/ https:/
                                                        and Education Center competency of health               /       /
                                                        (NETEC)                 care and public health          sam.g www.
Department of Health and Human Services        93.456   CDC Undergraduate       workers
                                                                                The      and the
                                                                                     purpose  of this           ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Public Health Scholars    funding opportunity is to /         /
                                                        Program (CUPS): A         implement a national        sam.g www.
Department of Health and Human Services        93.457   Public Health
                                                        Planning Grant for        summer
                                                                                  The first training
                                                                                            objective of      ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                        Healthcare and Public     this award is to gain an /          /
                                                        Health Sector             understanding of the        sam.g www.
                                                        Cybersecurity             cybersecurity threat        ov/fal/ usasp
Department of Health and Human Services        93.458   Enhance the Ability of    Enhance state and local https:/ https:/
                                                        Emergency Medical         level emergency             /       /
                                                        Services (EMS) to         medical services            sam.g www.
Department of Health and Human Services        93.459   transport patients with
                                                        National Bioterrorism     operational   plans for
                                                                                  To ready hospitals   andthe ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                        Hospital Preparedness other healthcare                  /       /
                                                        Program               systems, in                       sam.g www.
Department of Health and Human Services        93.461   HRSA COVID-19         collaboration
                                                                              The  COVID-19 with other
                                                                                              Claims            ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Claims Reimbursement Reimbursement to                   /       /
                                                        for the Uninsured     Health Care Providers             sam.g www.
Department of Health and Human Services        93.462   Program and the
                                                        Strengthening  the    and
                                                                              This Facilities
                                                                                   program forprovides          ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Technical Advancement an opportunity to                 /       /
                                                        & Readiness of Public strengthen and expand             sam.g www.
Department of Health and Human Services        93.464   Health  via Health
                                                        ACL Assistive         the
                                                                              Theability
                                                                                   2004 of   Health
                                                                                          amendments            ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Technology              to the Assistive                /       /
                                                                                Technology Act of 1998          sam.g www.
                                                                                supports State efforts to       ov/fal/ usasp
Department of Health and Human Services        93.465   Tobacco Prevention and The awardee will                 https:/ https:/
                                                        Control Legal Technical provide legal technical         /       /
                                                        Assistance              assistance and                  sam.g www.
Department of Health and Human Services        93.469   Assistive Technology    consultation
                                                                                The purposeto  ofOffice
                                                                                                 the on         ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Alternative Financing     Assistive Technology          /       /
                                                        Program                   (AT) Alternative              sam.g www.
Department of Health and Human Services        93.470   Alzheimerâ€™s             Financing
                                                                                  The        Program
                                                                                       purpose  of the          ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Disease Program           Alzheimerâ€™s                 /       /
                                                        Initiative (ADPI)         Disease Program               sam.g www.
                                                                                  Initiative (ADPI) is to       ov/fal/ usasp
Department of Health and Human Services        93.471   Title IV-E Kinship        The title IV-E Kinship        https:/ https:/
                                                        Navigator Program         Navigator program             /       /
                                                                                  helps states, Indian          sam.g www.
Department of Health and Human Services        93.472   Title IV-E Prevention     tribes,
                                                                                  The Titletribal
                                                                                               IV-E             ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Program                   Prevention Program            /       /
                                                                                  provides funding for          sam.g www.
                                                                                  time-limited prevention       ov/fal/ usasp
Department of Health and Human Services        93.478   Preventing Maternal       This funding will support     https:/ https:/
                                                        Deaths: Supporting        existing Maternal             /       /
                                                        Maternal Mortality        Mortality Review              sam.g www.
Department of Health and Human Services        93.479   Review Committees
                                                        Good Health and           Committees
                                                                                  The purposeto ofidentify
                                                                                                   this         ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Wellness in Indian        Assistance Listing (AL)       /       /
                                                        Country                   is to reduce rates of         sam.g www.
Department of Health and Human Services        93.488   National Harm          death
                                                                               The   and disability
                                                                                    purpose  of this            ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Reduction Technical    program is to                    /       /
                                                        Assistance and Syringe strengthen harm                  sam.g www.
                                                        Services Program       reduction programs in            ov/fal/ usasp
Department of Health and Human Services        93.489   Child Care Disaster    Hurricanes Fiona and             https:/ https:/
                                                        Relief                 Ian were powerful                /       /
                                                                               storms that impacted             sam.g www.
Department of Health and Human Services        93.493   Congressional          several states,special
                                                                               To implement    Tribal           ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Directives              Congressionally                 /       /
                                                                                directed projects or            sam.g www.
                                                                                programs identified in          ov/fal/ usasp
Department of Health and Human Services        93.494   Global                  CDCâ€™s global                  https:/ https:/
                                                        Tuberculosis:Developin health priorities include        /       /
                                                        g,Evaluating,Implementi efforts towards ending          sam.g www.
Department of Health and Human Services        93.495   ng Evidence-based
                                                        Community Health   and  the globaluptuberculosis
                                                                                To scale      Community         ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Workers for Public        Health Worker (CHW)           /       /
                                                        Health Response and       activities across the         sam.g www.
Department of Health and Human Services        93.496   Resilient
                                                        Family Violence           nation
                                                                                  The     related of
                                                                                       objective  to this
                                                                                                     public     ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Prevention and            program is to fund a          /       /
                                                        Services/Culturally       wide range of                 sam.g www.
                                                        Specific Domestic         discretionary activities      ov/fal/ usasp
Department of Health and Human Services        93.497   Family Violence           This funding will support     https:/ https:/
                                                        Prevention and            allowable activities to       /       /
                                                        Services/ Sexual          assist states, territories,   sam.g www.
Department of Health and Human Services        93.498   Assault/Rape
                                                        Provider ReliefCrisis
                                                                        Fund      tribal governments,
                                                                                  The Provider   Relief and     ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        and American Rescue Fund supported eligible             /       /
                                                        Plan (ARP) Rural     health care providers in           sam.g www.
Department of Health and Human Services        93.499   Distribution         the battle
                                                        Low Income Household The        against
                                                                                  objective      the
                                                                                            of the              ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Water Assistance        Low Income Household            /       /
                                                        Program                 Water Assistance                sam.g www.
                                                                                program is to meet              ov/fal/ usasp
Department of Health and Human Services        93.504   Family to Family Health To develop and support          https:/ https:/
                                                        Information Centers     Family-to-Family Health         /       /
                                                                                Information Centers             sam.g www.
Department of Health and Human Services        93.516                           (F2FRegional
                                                        Public Health Training The   HICs) which
                                                                                              Public            ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Centers Program       Health Training Center            /       /
                                                                              program improves the              sam.g www.
                                                                              Nation's public health            ov/fal/ usasp
Department of Health and Human Services        93.526   Grants for Capital    To award Health Center            https:/ https:/
                                                        Development in Health Capital Development               /       /
                                                        Centers               Grants for (1)                    sam.g www.
Department of Health and Human Services        93.527   Grants for New and    immediate
                                                                              To provide facility
                                                                                          for expanded          ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Expanded Services       and/or sustained                /       /
                                                        under the Health Center national investment in          sam.g www.
Department of Health and Human Services        93.530   Program Health Center The
                                                        Teaching                health centersof
                                                                                     objective funded
                                                                                                 the            ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Graduate Medical          THCGME program is to          /       /
                                                        Education Payment         expand primary care           sam.g www.
                                                                                  medical and dental            ov/fal/ usasp
Department of Health and Human Services        93.534   Affordable Care Act       The overall goals of this     https:/ https:/
                                                        Program for Early         program are for Early         /       /
                                                        Detection of Certain      Detection of Certain          sam.g www.
Department of Health and Human Services        93.550   Medical Conditions
                                                        Transitional Living for   Medical
                                                                                  The     Conditions
                                                                                      Transitional Living       ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Homeless Youth            Program (TLP) and             /       /
                                                                                  Maternity Group Home          sam.g www.
                                                                                  (MGH) Programs help           ov/fal/ usasp
Department of Health and Human Services        93.556   MaryLee Allen             The objectives of the         https:/ https:/
                                                        Promoting Safe and        MaryLee Allen                 /       /
                                                        Stable Families           Promoting Safe and            sam.g www.
Department of Health and Human Services        93.557   Program
                                                        Education and             Stable Families
                                                                                  The Service Connection        ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Prevention Grants to    for Youth on the Streets,       /       /
                                                        Reduce Sexual Abuse also referred to as the             sam.g www.
Department of Health and Human Services        93.558   of Runaway,
                                                        Temporary   Homeless Street
                                                                   Assistance          Outreach
                                                                                To provide  grants to           ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        for Needy Families      States and the District         /       /
                                                                                of Columbia, Territories,       sam.g www.
                                                                                and Indian Tribes to            ov/fal/ usasp
Department of Health and Human Services        93.560   Payments to Territories To provide aid in the           https:/ https:/
                                                        â€“ Adults              form of cash benefits for       /       /
                                                                                food, clothing, shelter,        sam.g www.
Department of Health and Human Services        93.563                           and/or
                                                        Child Support Services The      other essentials
                                                                                     purpose  of this           ov/fal/ https:/
                                                                                                                https:/ usasp
                                                                               program is to enforce            /       /
                                                                               the support obligations          sam.g www.
Department of Health and Human Services        93.564   Child Support Services owed  by absent
                                                                               This program      parents
                                                                                             provides           ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Research               federal funds for                /       /
                                                                               experimental, pilot, or          sam.g www.
Department of Health and Human Services        93.566   Refugee and Entrant    demonstration  projects
                                                                               The Refugee Cash     and         ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Assistance State/     Medical Assistance                /     /
                                                        Replacement Designee (CMA) Program                      sam.g www.
Department of Health and Human Services        93.567   Administered
                                                        Refugee      Programs The
                                                                 and Entrant  reimburses States
                                                                                  Matching      and
                                                                                            Grant        ov/fal/ https:/
                                                                                                         https:/ usasp
                                                        Assistance Voluntary      Program was created in /       /
                                                        Agency Programs           1979 as an intensive   sam.g www.
                                                                                  case management        ov/fal/ usasp




                                                                                                                                           20
                                          Case 1:25-cv-00039-JJM-PAS                                                               Document 114-1   Filed 02/13/25   Page 36 of 77 PageID
                                                                                                                                          #: 7304
Department of Health and Human Services        93.568   Low-Income Home            The objective of the          https:/ https:/
                                                        Energy Assistance          Low Income Home               /       /
                                                                                   Energy Assistance             sam.g www.
Department of Health and Human Services        93.569   Community Services         Program
                                                                                   The     (LIHEAP)
                                                                                       objectives      is to
                                                                                                  of the    ov/fal/ usasp
                                                                                                            https:/ https:/
                                                        Block Grant                Community Services       /       /
                                                                                   Block Grant (CSBG) are sam.g www.
Department of Health and Human Services        93.570   Community Services         to provide assistance
                                                                                   Community    Services to ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                        Block Grant                Block Grant              /       /
                                                        Discretionary Awards       Discretionary Awards     sam.g www.
                                                                                   includes three           ov/fal/ usasp
Department of Health and Human Services        93.575   Child Care and             The Child Care and       https:/ https:/
                                                        Development Block          Development Fund         /       /
                                                        Grant                      (CCDF) is the primary    sam.g www.
Department of Health and Human Services        93.576   Refugee and Entrant        federal
                                                                                   The     funding of
                                                                                        objectives source   ov/fal/ https:/
                                                                                                      these https:/ usasp
                                                        Assistance               discretionary programs /           /
                                                        Discretionary Grants     are: (1) build capacity    sam.g www.
Department of Health and Human Services        93.579   U.S. Repatriation        for
                                                                                 Therefugees   in locations ov/fal/
                                                                                      U.S. Repatriation     https:/ usasp
                                                                                                                    https:/
                                                                                 Program was                /       /
                                                                                 established to provide     sam.g www.
                                                                                 temporary assistance to ov/fal/ usasp
Department of Health and Human Services        93.581   Improving the Capability The purpose of the         https:/ https:/
                                                        of Indian Tribal         Environmental              /       /
                                                        Governments to           Regulatory                 sam.g www.
Department of Health and Human Services        93.583   Regulate  Environmental
                                                        Refugee and   Entrant    Enhancement
                                                                                 The objective of(ERE)
                                                                                                    the     ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                        Assistance Wilson/Fish Wilson Fish                       /       /
                                                        Program                demonstration program             sam.g www.
                                                                               is to develop innovative          ov/fal/ usasp
Department of Health and Human Services        93.586   State Court            This program provides             https:/ https:/
                                                        Improvement Program funding to state and                 /       /
                                                                               tribal courts to improve          sam.g www.
Department of Health and Human Services        93.587   Promote the Survival   the quality
                                                                               The         of court
                                                                                     P&M program                 ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        and Continuing Vitality    provides funding for          /       /
                                                        of Native American         projects designed to          sam.g www.
Department of Health and Human Services        93.590   Languages
                                                        Community-Based        ensure continuing
                                                                               The objectives  of the            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Child Abuse Prevention Community-Based                   /       /
                                                        Grants                 Child Abuse Prevention            sam.g www.
                                                                               Grants are (1) to                 ov/fal/ usasp
Department of Health and Human Services        93.591   Family Violence        The purpose of this               https:/ https:/
                                                        Prevention and         program is to provide             /       /
                                                        Services/State         funding for State                 sam.g www.
Department of Health and Human Services        93.592   Domestic  Violence
                                                        Family Violence        Domestic  Violence
                                                                               The purpose   of this             ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Prevention and             program is to fund a          /       /
                                                        Services/Discretionary     wide range of                 sam.g www.
                                                                                   discretionary activities      ov/fal/ usasp
Department of Health and Human Services        93.594   Tribal Work Grants         The Native Employment         https:/ https:/
                                                                                   Works (NEW) grant             /       /
                                                                                   enables eligible Indian       sam.g www.
Department of Health and Human Services        93.595   Welfare Reform             tribes and
                                                                                   Welfare    Alaska Native
                                                                                            Research   (WR)      ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Research, Evaluations      funds were authorized         /       /
                                                        and National Studies       as a set-aside of the         sam.g www.
Department of Health and Human Services        93.596   Child Care Mandatory       Temporary  Assistance
                                                                                   The Mandatory   and           ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        and Matching Funds of    Matching portion (or            /       /
                                                        the Child Care and       Child Care Entitlement          sam.g www.
                                                        Development Fund         or CCE) of the Child            ov/fal/ usasp
Department of Health and Human Services        93.597   Grants to States for     The purpose of this             https:/ https:/
                                                        Access and Visitation    program is to enable            /       /
                                                        Programs                 States to create                sam.g www.
Department of Health and Human Services        93.598   Services to Victims of a programs
                                                                                 Under the which   support
                                                                                            Services  to         ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Severe Form of           Victims of a Severe             /       /
                                                        Trafficking              Form of Trafficking, the        sam.g www.
Department of Health and Human Services        93.599   Chafee Education and To  Office on Trafficking
                                                                                    provide  resourcesinto       ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Training Vouchers          states and eligible           /     /
                                                        Program (ETV)              Indian tribes to make         sam.g www.
Department of Health and Human Services        93.600   Head Start                 available
                                                                                   Head  Startvouchers for
                                                                                                programs   ov/fal/ usasp
                                                                                                           https:/ https:/
                                                                                 promote school            /       /
                                                                                 readiness by enhancing sam.g www.
Department of Health and Human Services        93.603   Adoption and Legal       the
                                                                                 Thecognitive,
                                                                                      objective physical,
                                                                                                  of the   ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                        Guardianship Incentive Adoption and Legal          /       /
                                                        Payments Program         Guardianship Incentive sam.g www.
                                                                                 Payments Program is to ov/fal/ usasp
Department of Health and Human Services        93.604   Assistance for Torture The Office of Refugee       https:/ https:/
                                                        Victims                  Resettlement (ORR)        /       /
                                                                                 provides funding to the sam.g www.
Department of Health and Human Services        93.605   Family Connection        Services   for Survivors
                                                                                 This program     provides ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                        Grants                   awards for the purpose /          /
                                                                                 of helping children who sam.g www.
Department of Health and Human Services        93.610                            are in,
                                                        Innovation In Behavioral The  CMSor at risk of
                                                                                             Innovation    ov/fal/ https:/
                                                                                                           https:/ usasp
                                                        Health                     Center is announcing a        /       /
                                                                                   new NOFO focusing on          sam.g www.
                                                                                   improving the quality of      ov/fal/ usasp
Department of Health and Human Services        93.612   Native American            The purpose of the            https:/ https:/
                                                        Programs                   Social and Economic           /       /
                                                                                   Development Strategies        sam.g www.
Department of Health and Human Services        93.618   Voting Access for          (SEDS)  program
                                                                                   Section 291      is to
                                                                                               of HAVA           ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Individuals with           provides that funds be        /       /
                                                        Disabilities-Grants for    made available to             sam.g www.
                                                        Protection and             Protection and                ov/fal/ usasp
Department of Health and Human Services        93.623   Basic Center Grant         The purpose of the            https:/ https:/
                                                                                   Basic Center Program          /       /
                                                                                   is to establish or            sam.g www.
Department of Health and Human Services        93.630   Developmental              strengthen
                                                                                   Developmentalthe capacity     ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Disabilities Basic         Disabilities Basic            /       /
                                                        Support and Advocacy       Support and Advocacy          sam.g www.
Department of Health and Human Services        93.631   Grants
                                                        Developmental              Grants:
                                                                                   To       To enable
                                                                                      provide  for grants,       ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Disabilities Projects of   contracts and                 /       /
                                                        National Significance      cooperative agreements        sam.g www.
                                                                                   for projects of national      ov/fal/ usasp
Department of Health and Human Services        93.632   University Centers for     To pay the Federal            https:/ https:/
                                                        Excellence in              share of the cost of          /       /
                                                        Developmental              administration and            sam.g www.
Department of Health and Human Services        93.634   Disabilities
                                                        Support for Education,     operation  of
                                                                                   CMS is presenting    this     ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Ombudsman and              Funding Opportunity           /       /
                                                        Beneficiary Counseling     Announcement (FOA)            sam.g www.
                                                        Programs for States        to ensure that the            ov/fal/ usasp
Department of Health and Human Services        93.640   Basic Health Program       Section 1331 of the           https:/ https:/
                                                        (Affordable Care Act)      Affordable Care Act           /       /
                                                                                   gives states the option       sam.g www.
Department of Health and Human Services        93.643   Children's Justice         of
                                                                                   To creating
                                                                                      encouragea Basic
                                                                                                  states to      ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Grants to States           enact reforms which are /       /
                                                                                   designed to improve (1) sam.g www.
Department of Health and Human Services        93.645                          the assessment
                                                        Stephanie Tubbs Jones The               and
                                                                                    purpose of the         ov/fal/ https:/
                                                                                                           https:/ usasp
                                                        Child Welfare Services Stephanie Tubbs Jones             /       /
                                                        Program                Child Welfare Services            sam.g www.
                                                                               program is to promote             ov/fal/ usasp
Department of Health and Human Services        93.647   Social Services        The Social Services               https:/ https:/
                                                        Research and           Research and                      /       /
                                                        Demonstration          Demonstration program             sam.g www.
Department of Health and Human Services        93.648   Child Welfare Research (SSRD)  was authorized
                                                                               This program  supports            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Training or                research and                  /       /
                                                        Demonstration              demonstration projects        sam.g www.
Department of Health and Human Services        93.649   Nutrition and Physical     which
                                                                                   The   are of national
                                                                                       purpose  of this or       ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Activity Programs      program is to achieve             /       /
                                                                               three goals related to            sam.g www.
                                                                               risk factors for illness,         ov/fal/ usasp
Department of Health and Human Services        93.652   Adoption Opportunities The purpose of this               https:/ https:/
                                                                               program is to eliminate           /       /
                                                                               barriers, including               sam.g www.
Department of Health and Human Services        93.653   Indian Health Service  geographic
                                                                               The           barriers,
                                                                                     objective of the to         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Domestic Violence      Domestic Violence                 /       /
                                                        Prevention Programs    Prevention (DVP)                  sam.g www.
                                                                               Program is to promote             ov/fal/ usasp
Department of Health and Human Services        93.654   Indian Health Service  The Indian Health                 https:/ https:/
                                                        Behavioral Health      Service Behavioral                /       /
                                                        Programs               Health Programs                   sam.g www.
Department of Health and Human Services        93.658   Foster Care Title IV-E consists
                                                                               The Title of several
                                                                                          IV-E Foster            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                                                   Care program helps            /       /
                                                                                   states, Indian tribes,        sam.g www.
Department of Health and Human Services        93.659   Adoption Assistance        tribalprogram
                                                                                   This  organizations  and
                                                                                                  provides       ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                                                   Federal Financial             /       /
                                                                                   Participation (FFP) to        sam.g www.
                                                                                   states, Indian tribes,        ov/fal/ usasp
Department of Health and Human Services        93.661   Extramural Research        As written in the             https:/ https:/
                                                        Restoration Program:       Consolidated                  /       /
                                                        Hurricanes Fiona and       Appropriations Act,           sam.g www.
Department of Health and Human Services        93.665   Ian
                                                        Emergency Grants to        2023program
                                                                                   This  (Public Law
                                                                                                  is to          ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Address Mental and         provide mental and            /       /
                                                        Substance Use              substance use disorder        sam.g www.
                                                        Disorders During           treatment, crisis             ov/fal/ usasp
Department of Health and Human Services        93.667   Social Services Block      The objective is to           https:/ https:/
                                                        Grant                      enable each state and         /       /
                                                                                   territory to furnish social   sam.g www.
Department of Health and Human Services        93.669   Child Abuse and            services
                                                                                   To assist best  suited
                                                                                              States       to
                                                                                                      in the     ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Neglect State Grants       support and                 /       /
                                                                                   improvement of their        sam.g www.
Department of Health and Human Services        93.670   Child Abuse and            child
                                                                                   To    protective
                                                                                      improve         services ov/fal/
                                                                                                 the national,         usasp
                                                                                                               https:/ https:/
                                                        Neglect Discretionary      state, and community        /       /
                                                        Activities                 activities for the          sam.g www.
                                                                                   prevention,                 ov/fal/ usasp
Department of Health and Human Services        93.671   Family Violence            The purpose of this         https:/ https:/
                                                        Prevention and             program is to assist        /       /
                                                        Services/Domestic          States and Native           sam.g www.
Department of Health and Human Services        93.674   Violence
                                                        John     ShelterFoster
                                                             H. Chafee   and       American
                                                                                   To          Tribesand
                                                                                      assist states            ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Care Program for         eligible Indian tribes in       /       /
                                                        Successful Transition to establishing and                sam.g www.
Department of Health and Human Services        93.676   Adulthood
                                                        Unaccompanied            carrying  out programs
                                                                                 The Unaccompanied               ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Children Program           Children Bureau (UCB)         /       /
                                                                                   provides for the care         sam.g www.
Department of Health and Human Services        93.679   EHB-Benchmark Plan         and placement of Plan
                                                                                   EHB-Benchmark                 ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Modernization Grant for Modernization Grant for          /       /
                                                        States with a Federally- States with a Federally-        sam.g www.
Department of Health and Human Services        93.680   facilitated
                                                        Medical     Exchange
                                                                  Student        facilitated
                                                                                 The         Exchange
                                                                                       MSE Program               ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Education                  provides grants to            /       /
                                                                                   public institutions of        sam.g www.
                                                                                   higher education to           ov/fal/ usasp




                                                                                                                                            21
                                          Case 1:25-cv-00039-JJM-PAS                                                               Document 114-1   Filed 02/13/25   Page 37 of 77 PageID
                                                                                                                                          #: 7305
Department of Health and Human Services        93.684   Engaging State and      The purpose of this              https:/ https:/
                                                        Local Emergency         program is to prepare            /       /
                                                        Management Agencies the nationâ€™s public                sam.g www.
Department of Health and Human Services        93.686   to Improve
                                                        Ending  the Ability
                                                                    HIV to      health   systems
                                                                                In February       to the
                                                                                              2019,              ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Epidemic: A Plan for    Administration                   /       /
                                                        America â€” Ryan        announced a new                  sam.g www.
Department of Health and Human Services        93.687   White HIV/AIDS
                                                        Maternal  Opioid Misuse initiative,
                                                                                The Centers Ending
                                                                                               for the           ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Model                      Medicare & Medicaid           /       /
                                                                                   Services (CMS),               sam.g www.
                                                                                   through its Center for        ov/fal/ usasp
Department of Health and Human Services        93.691   Integrating the            The Office of the             https:/ https:/
                                                        Healthcare Enterprise      National Coordinator for      /       /
                                                        FHIR Cooperative           Health Information            sam.g www.
Department of Health and Human Services        93.693   Agreement
                                                        Nursing  HomeProgram
                                                                        Staffing   Technology
                                                                                   The  Centers(ONC)
                                                                                                for    is        ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Campaign                   Medicare & Medicaid           /       /
                                                                                   Services (CMS) is             sam.g www.
Department of Health and Human Services        93.694   Section 206                committed
                                                                                   The Centersto for
                                                                                                  improving      ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Consolidated               Medicare & Medicaid           /       /
                                                        Appropriations Act,        Services (CMS) is             sam.g www.
                                                        2024: State Planning       making available              ov/fal/ usasp
Department of Health and Human Services        93.695   Health Equity Data         Through the HEDAP,            https:/ https:/
                                                        Access Program             CMS OMH provides              /       /
                                                                                   grant funding to support      sam.g www.
Department of Health and Human Services        93.696   Certified Community        three seats inofthe
                                                                                   The purpose         CMS
                                                                                                     this        ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Behavioral Health Clinic program is to help              /       /
                                                        Expansion Grants         transform community             sam.g www.
                                                                                 behavioral health               ov/fal/ usasp
Department of Health and Human Services        93.698   Elder Justice Act â€     To enhance and                  https:/ https:/
                                                        “ Adult Protective       improve coordinated             /       /
                                                        Services                 systems of adult                sam.g www.
Department of Health and Human Services        93.714   ARRA â€“ Emergency This  protective services
                                                                                      funding was to             ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Contingency Fund for       provide economic              /       /
                                                        Temporary Assistance       stimulus to the nation        sam.g www.
Department of Health and Human Services        93.732   for Needy
                                                        Mental andFamilies
                                                                   Behavioral      while furthering
                                                                                   The purpose      the
                                                                                                 of the          ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Health Education and    behavioral health                /       /
                                                        Training Grants         programs is to develop           sam.g www.
                                                                                and expand the                   ov/fal/ usasp
Department of Health and Human Services        93.734   Empowering Older        The cooperative                  https:/ https:/
                                                        Adults and Adults with agreements are                    /       /
                                                        Disabilities through    intended to increase the         sam.g www.
Department of Health and Human Services        93.747   Chronic
                                                        Elder Abuse Prevention number
                                                                  Disease Self-         of chronic
                                                                                To develop,  implement,          ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Interventions Program      and evaluate successful       /       /
                                                                                   or promising                  sam.g www.
                                                                                   interventions, practices,     ov/fal/ usasp
Department of Health and Human Services        93.761   Evidence-Based Falls       These cooperative             https:/ https:/
                                                        Prevention Programs        agreements are                /       /
                                                        Financed Solely by         intended to increase the      sam.g www.
Department of Health and Human Services        93.762   Prevention
                                                        A          and Public
                                                          Comprehensive            number
                                                                                   The     of evidence-
                                                                                        program  supports        ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Approach to Good       initiatives and public            /       /
                                                        Health and Wellness in health capacity to                sam.g www.
Department of Health and Human Services        93.763   Indian County â€
                                                        Alzheimerâ€™s          prevent   heartof
                                                                               The purpose      disease,
                                                                                                  the            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Disease Initiative:    Alzheimerâ€™s                     /       /
                                                        Specialized Supportive Disease Initiative:               sam.g www.
                                                        Services Project (ADI- Specialized Supportive            ov/fal/ usasp
Department of Health and Human Services        93.767   Children's Health      The objective of the              https:/ https:/
                                                        Insurance Program      Childrenâ€™s Health               /       /
                                                                               Insurance Program                 sam.g www.
Department of Health and Human Services        93.770   Medicare Prescription (CHIP)    is toprescription
                                                                               To provide     provide            ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Drug Coverage              drugs to Medicare             /       /
                                                                                   beneficiaries through         sam.g www.
Department of Health and Human Services        93.771   State Grants for the       their Bipartisan
                                                                                   The   voluntary Safer         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Implementation,            Communities Act               /       /
                                                        Enhancement, and           (BSCA) provided               sam.g www.
Department of Health and Human Services        93.772   Expansion
                                                        Tribal      ofHealth
                                                               Public Medicaid     $50,000,000
                                                                                   This        to ultimate
                                                                                        program's States         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Capacity Building and      outcomes are 1)               /       /
                                                        Quality Improvement        decreased morbidity           sam.g www.
Department of Health and Human Services        93.773   Umbrella
                                                        Medicare Cooperative
                                                                  Hospital         and mortality
                                                                                   To provide    among
                                                                                              hospital           ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Insurance             insurance protection for           /       /
                                                                              covered services to                sam.g www.
                                                                              persons age 65 or                  ov/fal/ usasp
Department of Health and Human Services        93.774   Medicare              To provide medical                 https:/ https:/
                                                        Supplementary Medical insurance protection for           /       /
                                                        Insurance             covered services to                sam.g www.
Department of Health and Human Services        93.775   State Medicaid Fraud  persons  age 65
                                                                              To investigate  or over,
                                                                                             and                 ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Control Units              prosecute Medicaid            /       /
                                                                                   provider fraud as well        sam.g www.
Department of Health and Human Services        93.777   State Survey and           as provide
                                                                                   To patient abuse  or
                                                                                               financial         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Certification of Health    assistance to any State       /       /
                                                        Care Providers and         which is able and willing     sam.g www.
                                                        Suppliers (Title XVIII)    to determine through its      ov/fal/ usasp
Department of Health and Human Services        93.778   Medical Assistance         To provide financial          https:/ https:/
                                                        Program                    assistance to States for      /       /
                                                                                   payments of medical           sam.g www.
Department of Health and Human Services        93.779   Centers for Medicare       assistance
                                                                                   The Centersonfor
                                                                                                  behalf of      ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        and Medicaid Services      Medicare & Medicaid           /       /
                                                        (CMS) Research,            Services (CMS)                sam.g www.
                                                        Demonstrations and         conducts research,            ov/fal/ usasp
Department of Health and Human Services        93.787   Title V Sexual Risk        The purpose of the Title      https:/ https:/
                                                        Avoidance Education        V Competitive SRAE            /       /
                                                        Program (Discretionary     Program is to fund            sam.g www.
Department of Health and Human Services        93.788   Grants)
                                                        Opioid STR                 projects to implement
                                                                                   Addressing   the opioid       ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                                                   crisis within such            /       /
                                                                                   States, used for              sam.g www.
Department of Health and Human Services        93.791   Money Follows the          carrying
                                                                                   The  Moneyout Follows
                                                                                                 activitiesthe   ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Person Rebalancing         Person (MFP)                  /       /
                                                        Demonstration              Rebalancing                   sam.g www.
                                                                                   Demonstration,                ov/fal/ usasp
Department of Health and Human Services        93.796   State Survey               To provide (Medicaid)         https:/ https:/
                                                        Certification of Health    financial assistance to       /       /
                                                        Care Providers and         any State which is able       sam.g www.
Department of Health and Human Services        93.797   Suppliers
                                                        Expanding(Title  XIX)to
                                                                    Access         and
                                                                                   The willing to determine
                                                                                        Expanding   Access       ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Womenâ€™s Health       to Womenâ€™s Health               /       /
                                                        Grant                  Grant Program will                sam.g www.
                                                                               provide a funding                 ov/fal/ usasp
Department of Health and Human Services        93.799   CARA Act â€            The purpose of this               https:/ https:/
                                                        “ Comprehensive        program is to prevent             /       /
                                                        Addiction and Recovery and reduce the abuse              sam.g www.
Department of Health and Human Services        93.800   Act
                                                        Organized Approaches of
                                                            of 2016            Theopioids or of the
                                                                                    purpose                      ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        to Increase Colorectal  program is to increase           /       /
                                                        Cancer Screening        colorectal cancer (CRC)          sam.g www.
Department of Health and Human Services        93.801   Ebola Healthcare        screening
                                                                                To enable rates
                                                                                           selectamong
                                                                                                  public         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Preparedness and        health departments               /       /
                                                        Response for Select     serving regions where            sam.g www.
                                                        Cities with Enhanced    enhanced airport                 ov/fal/ usasp
Department of Health and Human Services        93.809   National Organizations The purpose of the                https:/ https:/
                                                        for Chronic Disease     funding is to develop            /       /
                                                        Prevention and Health effective state chronic            sam.g www.
Department of Health and Human Services        93.810   Promotion
                                                        Paul Coverdell National disease  prevention
                                                                                To improve           and
                                                                                             the quality         ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Acute Stroke Program    of acute stroke care and /        /
                                                        National Center for     health outcomes for       sam.g www.
Department of Health and Human Services        93.816   Chronic Disease
                                                        Preventing Heart        acutepurpose
                                                                                The    stroke patients.
                                                                                               of program ov/fal/ usasp
                                                                                                          https:/ https:/
                                                        Attacks and Strokes in  is to support             /       /
                                                        High Need Areas         implementation of         sam.g www.
                                                                                population-wide and       ov/fal/ usasp
Department of Health and Human Services        93.817   Hospital Preparedness This program covers         https:/ https:/
                                                        Program (HPP) Ebola two separate, but             /       /
                                                        Preparedness and        related projects: Part A sam.g www.
Department of Health and Human Services        93.822   Response
                                                        Health     Activities
                                                               Careers          â€“ Health
                                                                                The   Health Care
                                                                                             Careers      ov/fal/ https:/
                                                                                                          https:/ usasp
                                                        Opportunity Program     Opportunity Program       /       /
                                                        (HCOP)                  (HCOP), also known as sam.g www.
                                                                                the National HCOP         ov/fal/ usasp
Department of Health and Human Services        93.823   Public Health           In order to advance       https:/ https:/
                                                        Response, Forecasting, U.S. public health         /       /
                                                        and Analytic Capacities response, forecasting,    sam.g www.
Department of Health and Human Services        93.825   Related to Disease      and  analytic capacities
                                                        National Ebola Training CDC, will increase the    ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                        and Education Center       competency of health          /       /
                                                        (NETEC)                    care and public health        sam.g www.
Department of Health and Human Services        93.826   Closing the Gap            workers
                                                                                   To      and athe
                                                                                      establish                  ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Between Standards          mechanism for ongoing         /       /
                                                        Development and            long-term collaborative       sam.g www.
                                                        Implementation             engagement with               ov/fal/ usasp
Department of Health and Human Services        93.829   Section 223                Funding to support            https:/ https:/
                                                        Demonstration              development of                /       /
                                                        Programs to Improve        proposals to participate      sam.g www.
Department of Health and Human Services        93.832   Communitythe
                                                        Promoting   Mental
                                                                      Cancer       in time-limited
                                                                                   The   purpose of this         ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Surveillance Workforce, program is to expand             /       /
                                                        Education and Data      the capacity of CDC-             sam.g www.
                                                        Use                     funded National                  ov/fal/ usasp
Department of Health and Human Services        93.833   Supporting and          This program will build          https:/ https:/
                                                        Maintaining a           upon previous work to            /       /
                                                        Surveillance System for continue developing,             sam.g www.
Department of Health and Human Services        93.834   Chronic  Kidney Disease
                                                        Capacity Building       supporting and
                                                                                To reduce morbidity and          ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Assistance (CBA) for       mortality by preventing       /       /
                                                        High-Impact HIV            cases and                     sam.g www.
Department of Health and Human Services        93.835   Prevention
                                                        Planning Grant for         complications
                                                                                   The            of HIV
                                                                                       first objective of        ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Healthcare and Public      this award is to gain an      /       /
                                                        Health Sector              understanding of the          sam.g www.
                                                        Cybersecurity              cybersecurity threat          ov/fal/ usasp
Department of Health and Human Services        93.837   Cardiovascular             To foster heart and           https:/ https:/
                                                        Diseases Research          vascular research in the      /       /
                                                                                   basic, translational,         sam.g www.
Department of Health and Human Services        93.838   Lung Diseases              clinical
                                                                                   The      and population
                                                                                         Division of Lung        ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Research                   Diseases supports             /       /
                                                                                   research and research         sam.g www.
Department of Health and Human Services        93.839   Blood Diseases and         training
                                                                                   To fosteron the causes,
                                                                                             research and        ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Resources Research         research training on the      /       /
                                                                                   pathophysiology,              sam.g www.
Department of Health and Human Services        93.840   Translation and            diagnosis,
                                                                                   The Centertreatment,
                                                                                               for               ov/fal/
                                                                                                                 https:/ usasp
                                                                                                                         https:/
                                                        Implementation Science Translation Research              /       /
                                                        Research for Heart,    and Implementation                sam.g www.
Department of Health and Human Services        93.843   Lung,Assistive
                                                        ACL   Blood Diseases, To
                                                                               Science  (CTRIS)
                                                                                  support       plans,
                                                                                          protection             ov/fal/ https:/
                                                                                                                 https:/ usasp
                                                        Technology State           and advocacy services         /       /
                                                        Grants for Protection      through the systems           sam.g www.
                                                        and Advocacy               established to provide        ov/fal/ usasp




                                                                                                                                            22
                                          Case 1:25-cv-00039-JJM-PAS                                                              Document 114-1   Filed 02/13/25   Page 38 of 77 PageID
                                                                                                                                         #: 7306
Department of Health and Human Services        93.845   Promoting Population       The purpose of this        https:/ https:/
                                                        Health through             program is to support      /       /
                                                        Increased Capacity in      the building of capacity sam.g www.
Department of Health and Human Services        93.846   Alcohol Epidemiology
                                                        Arthritis,                 in alcohol
                                                                                   The        epidemiology
                                                                                        National Institute of ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                        Musculoskeletal and        and Musculoskeletal        /       /
                                                        Skin Diseases              and Skin Diseases          sam.g www.
Department of Health and Human Services        93.847   Research
                                                        Diabetes, Digestive,       (NIAMS)   mission is to
                                                                                   (1) To promote             ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                        and Kidney Diseases   extramural basic and              /       /
                                                        Extramural Research   clinical biomedical               sam.g www.
                                                                              research that improves            ov/fal/ usasp
Department of Health and Human Services        93.850   Improving Epilepsy    The purpose of this               https:/ https:/
                                                        Programs, Services,   program is to:                    /       /
                                                        and Outcomes through                                    sam.g www.
Department of Health and Human Services        93.851   National Partnerships
                                                        Tracking Electronic   â€¢
                                                                              SignificantReduce
                                                                                          federalthe            ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Health Record Adoption investments to                   /       /
                                                        and Capturing Related accelerate the adoption           sam.g www.
Department of Health and Human Services        93.853   Insights in U.S.
                                                        Extramural  Research   of
                                                                               (1)electronic
                                                                                   To supporthealth             ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Programs in the            extramural research          /       /
                                                        Neurosciences and          funded by the National       sam.g www.
                                                        Neurological Disorders     Institute of Neurological    ov/fal/ usasp
Department of Health and Human Services        93.855   Allergy and Infectious     To assist public and         https:/ https:/
                                                        Diseases Research          private nonprofit            /       /
                                                                                   institutions and             sam.g www.
Department of Health and Human Services        93.858   National Collaboration     individuals
                                                                                   The purpose  to of
                                                                                                   establish,
                                                                                                      this      ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        to Support Health,     announcement is to               /       /
                                                        Wellness and Academic fund applicants to                sam.g www.
                                                        Success of School-Age improve the health of             ov/fal/ usasp
Department of Health and Human Services        93.859   Biomedical Research    The National Institute of        https:/ https:/
                                                        and Research Training General Medical                   /       /
                                                                               Sciences (NIGMS)                 sam.g www.
Department of Health and Human Services        93.860   Emerging Infections    supports
                                                                               In        basic
                                                                                  its 1994     research
                                                                                           monograph,           ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Sentinel Networks          Addressing Emerging          /       /
                                                                                   Infectious Disease           sam.g www.
Department of Health and Human Services        93.865   Child Health and           Threats  â€“and
                                                                                   To conduct   A support       ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Human Development          laboratory research,         /       /
                                                        Extramural Research        clinical trials, and         sam.g www.
                                                                                   studies with people that     ov/fal/ usasp
Department of Health and Human Services        93.866   Aging Research             To encourage                 https:/ https:/
                                                                                   biomedical, social, and      /       /
                                                                                   behavioral research and      sam.g www.
Department of Health and Human Services        93.867   Vision Research            research    training
                                                                                   1) To support    eye and     ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                                                   vision research projects     /       /
                                                                                   that address the leading     sam.g www.
                                                                                   causes of blindness and      ov/fal/ usasp
Department of Health and Human Services        93.869   Transforming Maternal      The Transforming             https:/ https:/
                                                        Health (TMaH) Model        Maternal Heath (TMaH)        /       /
                                                                                   Model is a voluntary,        sam.g www.
Department of Health and Human Services        93.870   Maternal, Infant and       10-year
                                                                                   The      service
                                                                                        goals of thedelivery    ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Early Childhood Home       Maternal, Infant, and        /       /
                                                        Visiting Grant             Early Childhood Home         sam.g www.
Department of Health and Human Services        93.872   Tribal Maternal, Infant,   Visiting Program
                                                                                   The Tribal Maternal,         ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        and Early Childhood        Infant, and Early            /       /
                                                        Home Visiting              Childhood Home               sam.g www.
                                                                                   Visiting Program (Tribal     ov/fal/ usasp
Department of Health and Human Services        93.873   State Grants for           To make grants to            https:/ https:/
                                                        Protection and             Protection and               /       /
                                                        Advocacy Services          Advocacy systems as          sam.g www.
Department of Health and Human Services        93.874   Strengthening the          established
                                                                                   The purposeinofeach
                                                                                                   this         ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Public Health System in funding initiative to           /       /
                                                        US-affiliated Pacific   ensure provision of             sam.g www.
Department of Health and Human Services        93.876   Islands
                                                        Antimicrobial           capacity
                                                                                The      building
                                                                                    National                    ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Resistance Surveillance Antimicrobial                   /     /
                                                        in Retail Food          Resistance Monitoring           sam.g www.
Department of Health and Human Services        93.877   Specimens
                                                        Autism  Collaboration,  System
                                                                                This    (NARMS)
                                                                                     Program     is a
                                                                                              supports      ov/fal/ usasp
                                                                                                            https:/ https:/
                                                        Accountability,         activities to: provide      /       /
                                                        Research, Education,    information and             sam.g www.
Department of Health and Human Services        93.878   and Support
                                                        Enhance the Ability of  education   on autism
                                                                                Enhance state     and local ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                        Emergency Medical       level emergency             /       /
                                                        Services (EMS) to       medical services            sam.g www.
                                                        transport patients with operational plans for the ov/fal/ usasp
Department of Health and Human Services        93.879   Medical Library         To meet a growing need https:/ https:/
                                                        Assistance              for investigators trained /         /
                                                                                in biomedical               sam.g www.
Department of Health and Human Services        93.881   The Reduction of Issuer informatics
                                                                                The Reduction research
                                                                                                  of Issuer ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                        Burden Through             Burden Through               /       /
                                                        Technology Grant           Technology Grant will        sam.g www.
Department of Health and Human Services        93.884   ProgramCare
                                                        Primary and The
                                                                    Training       provide
                                                                                   The     funding to the
                                                                                       overarching              ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        and Enhancement         purpose of the PCTE             /       /
                                                                                Program is to                   sam.g www.
                                                                                strengthen the primary          ov/fal/ usasp
Department of Health and Human Services        93.885   Cell and Gene Therapy The Cell and Gene                 https:/ https:/
                                                        (CGT) Access Model      Therapy (CGT) Access            /       /
                                                                                Model aims to improve           sam.g www.
Department of Health and Human Services        93.889   National Bioterrorism   the  lives of
                                                                                To ready      people and
                                                                                            hospitals  with     ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Hospital Preparedness other healthcare                  /       /
                                                        Program                 systems, in                     sam.g www.
                                                                                collaboration with other        ov/fal/ usasp
Department of Health and Human Services        93.893   Health Care and Public The purpose of this              https:/ https:/
                                                        Health (HPH) Sector     cooperative agreement           /       /
                                                        Information Sharing and is to build the capacity        sam.g www.
Department of Health and Human Services        93.898   Analysis Organization
                                                        Cancer Prevention   and of
                                                                                Theanpurpose
                                                                                        information
                                                                                                of this         ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Control Programs for   program is to transition         /       /
                                                        State, Territorial and this highly-functional           sam.g www.
Department of Health and Human Services        93.899   Tribal Organizations
                                                        Minority               public
                                                                 HIV/AIDS Fund The     health AIDS
                                                                                    Minority                    ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        (MHAF)                     Initiative (MAI)â€™s         /       /
                                                                                   principal goals are to       sam.g www.
                                                                                   improve HIV-related          ov/fal/ usasp
Department of Health and Human Services        93.908   Nurse Corps Loan           The Nurse Corps Loan         https:/ https:/
                                                        Repayment Program          Repayment Program            /       /
                                                                                   (Nurse Corps LRP)            sam.g www.
Department of Health and Human Services        93.912   Rural Health Care          provides
                                                                                   The Deltaloan
                                                                                               Region           ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Services Outreach,      Community Health                /       /
                                                        Rural Health Network    Systems Development             sam.g www.
                                                        Development and Small Program aims to                   ov/fal/ usasp
Department of Health and Human Services        93.913   Grants to States for    The purpose of the              https:/ https:/
                                                        Operation of State      State Offices of Rural          /       /
                                                        Offices of Rural Health Health (SORH) grant             sam.g www.
Department of Health and Human Services        93.914   HIV Emergency Relief program     is direct
                                                                                To provide  to assist           ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Project Grants             financial assistance to      /       /
                                                                                   Eligible Metropolitan        sam.g www.
Department of Health and Human Services        93.917   HIV Care Formula           Areas
                                                                                   To     (EMAs)
                                                                                      enable       andand
                                                                                              States            ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Grants                     Territories to improve       /       /
                                                                                   the quality, availability,   sam.g www.
                                                                                   and organization of a        ov/fal/ usasp
Department of Health and Human Services        93.918   Grants to Provide          The purpose of the           https:/ https:/
                                                        Outpatient Early           RWHAP Part C Early           /       /
                                                        Intervention Services      Intervention Services        sam.g www.
Department of Health and Human Services        93.923   with Respect to Health
                                                        Disadvantaged   HIV        (EIS)Program
                                                                                   The Faculty Loanfunding is   ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Professions Faculty        Repayment Program            /       /
                                                        Loan Repayment             (FLRP) provides loan         sam.g www.
Department of Health and Human Services        93.924   Program
                                                        Ryan     (FLRP)
                                                             White  HIV/AIDS       repayment
                                                                                   Dental    assistance
                                                                                          Reimbursement         ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Dental Reimbursement       Program (DRP): To            /       /
                                                        and Community Based        partially compensate         sam.g www.
                                                        Dental Partnership         accredited dental            ov/fal/ usasp
Department of Health and Human Services        93.925   Scholarships for Health    The Scholarships for         https:/ https:/
                                                        Professions Students       Disadvantaged                /       /
                                                        from Disadvantaged         Students (SDS)               sam.g www.
Department of Health and Human Services        93.926   Backgrounds
                                                        Healthy Start Initiative   program
                                                                                   The        increases
                                                                                        purpose    of the       ov/fal/ https:/
                                                                                                                https:/ usasp
                                                                               Healthy Start (HS)               /       /
                                                                               program is to improve            sam.g www.
                                                                               health outcomes before,          ov/fal/ usasp
Department of Health and Human Services        93.928   Special Projects of    To quickly respond to            https:/ https:/
                                                        National Significance  the care and treatment           /       /
                                                                               needs of individuals             sam.g www.
Department of Health and Human Services        93.932   Native Hawaiian Health receiving assistance
                                                                               To raise the  health             ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Care Systems           status of Native                 /       /
                                                                               Hawaiians to the                 sam.g www.
Department of Health and Human Services        93.933                          highest
                                                        Demonstration Projects To      possible
                                                                                  promote        level
                                                                                            improved            ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        for Indian Health          health care among            /       /
                                                                                   American Indians and         sam.g www.
                                                                                   Alaska Natives through       ov/fal/ usasp
Department of Health and Human Services        93.939   HIV Prevention             To provide assistance to     https:/ https:/
                                                        Activities Non-            local, regional and,         /       /
                                                        Governmental               national nonprofit           sam.g www.
Department of Health and Human Services        93.940   Organization
                                                        HIV           Based
                                                             Prevention            organizations
                                                                                   To             to:and
                                                                                      assist States   (a)       ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Activities Health      political subdivisions of        /       /
                                                        Department Based       States in meeting the            sam.g www.
                                                                               cost of establishing and         ov/fal/ usasp
Department of Health and Human Services        93.941   HIV Demonstration,     To develop, test, and            https:/ https:/
                                                        Research, Public and   disseminate improved             /       /
                                                        Professional Education human                            sam.g www.
Department of Health and Human Services        93.943   Projects
                                                        Epidemiologic          immunodeficiency
                                                                               To support promisingvirus        ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Research Studies of    epidemiologic and                /       /
                                                        Acquired               implementation of                sam.g www.
Department of Health and Human Services        93.944   Immunodeficiency
                                                        Human                  science
                                                                               To        research
                                                                                  continue   and in             ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Immunodeficiency Virus strengthen effective             /       /
                                                        (HIV)/Acquired         human                            sam.g www.
                                                        Immunodeficiency Virus immunodeficiency virus           ov/fal/ usasp
Department of Health and Human Services        93.945   Assistance Programs    To work with State               https:/ https:/
                                                        for Chronic Disease    health agencies and              /       /
                                                        Prevention and Control other public and private         sam.g www.
Department of Health and Human Services        93.946   Cooperative            nonprofit
                                                                               To promoteorganizations
                                                                                           optimal and          ov/fal/ https:/
                                                                                                                https:/ usasp
                                                        Agreements to Support equitable health in               /       /
                                                        State-Based Safe       women and infants                sam.g www.
Department of Health and Human Services        93.947   Motherhood
                                                        Tuberculosisand Infant through
                                                                               To assistpublic  health
                                                                                          States,               ov/fal/
                                                                                                                https:/ usasp
                                                                                                                        https:/
                                                        Demonstration,         political subdivisions of        /     /
                                                        Research, Public and   States, and other public         sam.g www.
Department of Health and Human Services        93.958   Professional Education
                                                        Block Grants for       and   nonprofit
                                                                               To provide      private
                                                                                           financial     ov/fal/
                                                                                                         https:/ usasp
                                                                                                                 https:/
                                                        Community Mental       assistance to States      /       /
                                                        Health Services        and Territories to enable sam.g www.
Department of Health and Human Services        93.959   Block Grants for       them
                                                                               To    to carry
                                                                                  provide     out the
                                                                                           financial     ov/fal/ usasp
                                                                                                         https:/ https:/
                                                        Prevention and         assistance to States      /       /
                                                        Treatment of Substance and Territories to        sam.g www.
                                                        Abuse                  support projects for the ov/fal/ usasp




                                                                                                                                           23
                                          Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 39 of 77 PageID
                                                                                                                                        #: 7307
Department of Health and Human Services        93.965   Coal Miners Respiratory The Black Lung Clinics https:/ https:/
                                                        Impairment Treatment Program aims to reduce /              /
                                                        Clinics and Services     the morbidity and         sam.g www.
Department of Health and Human Services        93.967   Centers for Disease      mortality
                                                                                 This       associated
                                                                                       program  seeks to   ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                        Control and Prevention catalyze innovative         /       /
                                                        Collaboration with       efforts to provide public sam.g www.
Department of Health and Human Services        93.968   Academia   to Strengthen
                                                        States Advancing   All-  health
                                                                                 States professionals,
                                                                                         Advancing         ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                        Payer Health Equity       AHEAD aims to                /       /
                                                        Approaches and            address unsustainable        sam.g www.
                                                        Development (AHEAD)       health care cost growth,     ov/fal/ usasp
Department of Health and Human Services        93.969   PPHF Geriatric            The purpose of this          https:/ https:/
                                                        Education Centers         program is to educate        /       /
                                                                                  and train the health         sam.g www.
Department of Health and Human Services        93.970   Health Professions        careToand
                                                                                  (1)       supportive
                                                                                         identify American     ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Recruitment Program     Indians and Alaska             /       /
                                                        for Indians             Natives with a potential       sam.g www.
Department of Health and Human Services        93.971   Health Professions      for education
                                                                                To provide    or training
                                                                                           scholarships        ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Preparatory Scholarship to American Indians and        /       /
                                                        Program for Indians     Alaska Natives for the         sam.g www.
                                                                                purpose of completing          ov/fal/ usasp
Department of Health and Human Services        93.972   Health Professions      To provide scholarships        https:/ https:/
                                                        Scholarship Program     to American Indians and        /       /
                                                                                Alaska Natives at health       sam.g www.
Department of Health and Human Services        93.974   Family Planning Service professions
                                                                                Awarded fundschools
                                                                                               supportin       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Delivery Improvement    projects to conduct            /       /
                                                        Research                research or analyses to        sam.g www.
                                                                                generate information           ov/fal/ usasp
Department of Health and Human Services        93.976   Primary Care Medicine The goal of the career           https:/ https:/
                                                        and Dentistry Clinician development awards is          /       /
                                                        Educator Career         to support the                 sam.g www.
Department of Health and Human Services        93.977   Development
                                                        Sexually      Awards
                                                                 Transmitted    development
                                                                                The           and
                                                                                     purpose of  the           ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Diseases (STD)          assistance is to               /       /
                                                        Prevention and Control strengthen STD                  sam.g www.
Department of Health and Human Services        93.978   Grants
                                                        Sexually Transmitted    prevention
                                                                                The purpose programs
                                                                                              of the in        ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Diseases (STD)            assistance is to fund        /       /
                                                        Provider Education        academic institutions        sam.g www.
                                                        Grants                    and clinical and public      ov/fal/ usasp
Department of Health and Human Services        93.981   Improving Student         This program supports        https:/ https:/
                                                        Health and Academic       evidence-based               /       /
                                                        Achievement through       strategies and activities    sam.g www.
Department of Health and Human Services        93.982   Nutrition, Physical
                                                        Mental Health  Disaster   to
                                                                                  To reduce
                                                                                      providethe risk of       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Assistance and            supplemental                 /       /
                                                        Emergency Mental          emergency mental             sam.g www.
                                                        Health                    health counseling to         ov/fal/ usasp
Department of Health and Human Services        93.983   Market Transparency       The purpose of this          https:/ https:/
                                                        Project for Health IT     program is to increase       /       /
                                                        Interoperability Services market awareness and         sam.g www.
Department of Health and Human Services        93.988   Cooperative Agreement Diabetes
                                                        Cooperative               transparency
                                                                                           Prevention          ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Agreements for            and Control Programs         /       /
                                                        Diabetes Control          (DPCPs) are funded by        sam.g www.
Department of Health and Human Services        93.989   Programs
                                                        International Research    the
                                                                                  TheCDC's  Division
                                                                                      John E. Fogartyof        ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        and Research Training     International Center         /       /
                                                                                  (FIC) supports research      sam.g www.
                                                                                  and research training to     ov/fal/ usasp
Department of Health and Human Services        93.990   National Health           Activities as may be         https:/ https:/
                                                        Promotion                 required to make             /       /
                                                                                  information respecting       sam.g www.
Department of Health and Human Services        93.991   Preventive Health and     health  information
                                                                                  To provide          and
                                                                                               States with     ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Health Services Block     the resources to             /       /
                                                        Grant                     improve the health           sam.g www.
Department of Health and Human Services        93.994   Maternal and Child        status
                                                                                  To     of the
                                                                                     enable     population
                                                                                              States to        ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Health Services Block     improve the health and       /       /
                                                        Grant to the States       well-being of the            sam.g www.
Department of Health and Human Services        93.997   Assisted Outpatient       Nation's
                                                                                  In April ofmothers,
                                                                                              2014,            ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Treatment                 Congress passed the          /       /
                                                                                  Protecting Access to         sam.g www.
Department of Health and Human Services        93.998   Autism and Other          Medicare  Actsupports
                                                                                  This funding  of 2014        ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Developmental           State health agencies,         /       /
                                                        Disabilities,           universities, and public       sam.g www.
                                                        Surveillance, Research, and private nonprofit          ov/fal/ usasp
Department of Homeland Security                97.005   State and Local         National Domestic              https:/ https:/
                                                        Homeland Security       Preparedness                   /       /
                                                        National Training       Consortium: Through            sam.g www.
Department of Homeland Security                97.007   Program
                                                        Homeland Security       the
                                                                                TheNational
                                                                                    Homeland  Domestic
                                                                                                Security       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Preparedness Technical Technical Assistance            /       /
                                                        Assistance Program     Program (HSPTAP) is             sam.g www.
Department of Homeland Security                97.008   Non-Profit Security    established
                                                                               The FY 2023toNonprofit
                                                                                             build             ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Program                   Security Grant Program       /       /
                                                                                  (NSGP) provides              sam.g www.
                                                                                  funding support for          ov/fal/ usasp
Department of Homeland Security                97.009   FY 2022 Operation         To reimburse airport         https:/ https:/
                                                        Allies Welcome Airport    authorities for services     /       /
                                                        Assistance Grant          provided and expenses        sam.g www.
Department of Homeland Security                97.010   Citizenship Education     incurred
                                                                                  The Officewhile
                                                                                              of serving       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        and Training              Citizenship, Partnership     /       /
                                                                                  and Engagement               sam.g www.
                                                                                  (OCPE), within US.           ov/fal/ usasp
Department of Homeland Security                97.012   Boating Safety            The mission of the           https:/ https:/
                                                        Financial Assistance      National RBS Program         /       /
                                                                                  is to ensure the public      sam.g www.
Department of Homeland Security                97.018   National Fire Academy     has  a safe,travel
                                                                                  To provide   secure, and     ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Training Assistance       stipends (up to 75           /       /
                                                                                  percent of the expense       sam.g www.
Department of Homeland Security                97.022   Flood Insurance           of attendance)
                                                                                  To              to fireand
                                                                                      enable personal          ov/fal/ https:/
                                                                                                               https:/ usasp
                                                                               business property               /       /
                                                                               owners and renters to           sam.g www.
                                                                               purchase flood                  ov/fal/ usasp
Department of Homeland Security                97.023   Community Assistance The Community                     https:/ https:/
                                                        Program State Support Assistance Program â€            /       /
                                                        Services Element       “ State Support                 sam.g www.
Department of Homeland Security                97.024   (CAP-SSSE)
                                                        Emergency Food and     Services   Element
                                                                               This program   does not         ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Shelter National Board accept unsolicited              /       /
                                                        Program                proposals; the only             sam.g www.
                                                                               eligible applicant to           ov/fal/ usasp
Department of Homeland Security                97.025   National Urban Search The National Urban               https:/ https:/
                                                        and Rescue (US&R)      Search and Rescue               /       /
                                                        Response System        (US&R) Response                 sam.g www.
Department of Homeland Security                97.029   Flood Mitigation       System   (the System)
                                                                               Objectives                      ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Assistance                                        /       /
                                                                                The Flood Mitigation      sam.g www.
Department of Homeland Security                97.030   Community Disaster      Assistance
                                                                                To           (FMA)subject
                                                                                   provide loans          ov/fal/ usasp
                                                                                                    grant https:/ https:/
                                                        Loans                   to congressional loan     /       /
                                                                                authority to any local    sam.g www.
                                                                                government that has       ov/fal/ usasp
Department of Homeland Security                97.032   Crisis Counseling       The Crisis Counseling     https:/ https:/
                                                                                Assistance and Training /         /
                                                                                Program (CCP)             sam.g www.
Department of Homeland Security                97.033                           supports  the  Recovery
                                                        Disaster Legal Services The Disaster Legal        ov/fal/
                                                                                                          https:/ usasp
                                                                                                                  https:/
                                                                                  Services Program             /       /
                                                                                  (DLS) supports the           sam.g www.
Department of Homeland Security                97.034   Disaster Unemployment TheNational   Preparedness
                                                                                       Disaster                ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Assistance               Unemployment                  /       /
                                                                                 Assistance (DUA)              sam.g www.
                                                                                 Program supports the          ov/fal/ usasp
Department of Homeland Security                97.036   Disaster Grants - Public To assist state, local,       https:/ https:/
                                                        Assistance               territorial , and tribal      /       /
                                                        (Presidentially Declared (SLTT) governments            sam.g www.
Department of Homeland Security                97.039   Disasters)
                                                        Hazard                   and eligible
                                                                Mitigation Grant The   objectiveprivate
                                                                                                  of thenon-   ov/fal/ https:/
                                                                                                               https:/ usasp
                                                                             program is to provide             /       /
                                                                             funding support to                sam.g www.
                                                                             states, Indian tribal             ov/fal/ usasp
Department of Homeland Security                97.040   Chemical Stockpile   The objective is to               https:/ https:/
                                                        Emergency            enhance emergency                 /       /
                                                        Preparedness Program preparedness                      sam.g www.
Department of Homeland Security                97.041   National Dam Safety  capabilities of the Dam
                                                                             Both the National                 ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Program                   Safety Program (NDSP) /          /
                                                                                  state assistance grant   sam.g www.
Department of Homeland Security                97.042   Emergency                 and the
                                                                                  The     Rehabilitation
                                                                                       Emergency           ov/fal/ usasp
                                                                                                           https:/ https:/
                                                        Management                Management               /       /
                                                        Performance Grants        Performance Grant        sam.g www.
                                                                                  (EMPG) Program is a      ov/fal/ usasp
Department of Homeland Security                97.043   State Fire Training       In accordance with the   https:/ https:/
                                                        Systems Grants            Federal Fire Prevention /        /
                                                                                  and Control Act of 1974, sam.g www.
Department of Homeland Security                97.044   Assistance to             the National
                                                                                  The           Fire
                                                                                       goal of the         ov/fal/ https:/
                                                                                                           https:/ usasp
                                                        Firefighters Grant        Assistance to                /       /
                                                                                  Firefighters Grant           sam.g www.
                                                                                  (AFG) and Fire               ov/fal/ usasp
Department of Homeland Security                97.045   Cooperating Technical     The Cooperating              https:/ https:/
                                                        Partners                  Technical Partners           /       /
                                                                                  (CTP) Program exists to      sam.g www.
Department of Homeland Security                97.046   Fire Management           strengthen  and
                                                                                  The Fire Management          ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Assistance Grant          Assistance Grant             /       /
                                                                                  (FMAG) Program is            sam.g www.
Department of Homeland Security                97.047                            authorized
                                                        BRIC: Building Resilient The         byResilient
                                                                                      Building   the           ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Infrastructure and       Infrastructure and            /       /
                                                        Communities              Communities (BRIC)            sam.g www.
                                                                                 program makes federal         ov/fal/ usasp
Department of Homeland Security                97.048   Federal Disaster         To provide financial          https:/ https:/
                                                        Assistance to            assistance, and if            /       /
                                                        Individuals and          necessary, direct             sam.g www.
Department of Homeland Security                97.050   Households Declared
                                                        Presidential in          services
                                                                                 This typetoofindividuals
                                                                                               assistance      ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Disaster Assistance to supports disaster               /       /
                                                        Individuals and        recovery by providing           sam.g www.
Department of Homeland Security                97.052   Households   - Other
                                                        Emergency Operations   financial assistance
                                                                               The purpose    of the for       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Center                 Emergency Operations            /       /
                                                                               Center (EOC) Grant              sam.g www.
Department of Homeland Security                97.056   Port Security Grant    Program   is to Grant
                                                                               Port Security   improve         ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                        Program                   Program (PSGP) is one        /       /
                                                                                  of four grant programs       sam.g www.
Department of Homeland Security                97.057   Intercity Bus Security    that constitute
                                                                                  The             DHS/
                                                                                       objective of the FY     ov/fal/ https:/
                                                                                                               https:/ usasp
                                                        Grants                    2023 IBSGP is to             /       /
                                                                                  provide funds to eligible    sam.g www.
                                                                                  private operators of         ov/fal/ usasp




                                                                                                                                          24
                                              Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 40 of 77 PageID
                                                                                                                                            #: 7308
Department of Homeland Security                    97.061   Centers for Homeland      DHS S&T seeks to             https:/ https:/
                                                            Security                  establish a university-      /       /
                                                                                      led consortium that          sam.g www.
Department of Homeland Security                    97.062   Scientific Leadership     work
                                                                                      In   closely
                                                                                         support of with
                                                                                                    the DHS        ov/fal/ https:/
                                                                                                                   https:/ usasp
                                                            Awards                    Science and                  /       /
                                                                                      Technology                   sam.g www.
Department of Homeland Security                    97.067   Homeland Security         Directorate's
                                                                                      The objectivemission  to
                                                                                                    of the FY      ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Grant Program          2023 HSGP is to fund            /       /
                                                                                   SLTT efforts to prevent         sam.g www.
                                                                                   terrorism                       ov/fal/ usasp
Department of Homeland Security                    97.075   Rail and Transit       The objective of the FY         https:/ https:/
                                                            Security Grant Program 2023 TSGP is to                 /       /
                                                                                   provide funds to eligible       sam.g www.
Department of Homeland Security                    97.076   CyberTipline           publicprogramâ€™s
                                                                                   This    transportation          ov/fal/ https:/
                                                                                                                   https:/ usasp
                                                                                      objectives are to            /       /
                                                                                      promote public               sam.g www.
Department of Homeland Security                    97.077   Homeland Security         awareness
                                                                                      Support theofPPD-8
                                                                                                    the            ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Research,                 objective of prevention      /       /
                                                            Development, Testing,     related to terrorist acts    sam.g www.
                                                            Evaluation and            involving nuclear or         ov/fal/ usasp
Department of Homeland Security                    97.082   Earthquake State          The National                 https:/ https:/
                                                            Assistance                Earthquake Hazards           /       /
                                                                                      Reduction Program            sam.g www.
Department of Homeland Security                    97.083   Staffing for Adequate     (NEHRP)
                                                                                      The goal ofis the
                                                                                                     the SAFER
                                                                                                         Federal   ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Fire and Emergency        Grant Program is to          /       /
                                                            Response (SAFER)          assist local fire            sam.g www.
                                                                                      departments with             ov/fal/ usasp
Department of Homeland Security                    97.088   Disaster Assistance       This category is not for     https:/ https:/
                                                            Projects                  unsolicited proposals.       /       /
                                                                                      Provides funding that        sam.g www.
Department of Homeland Security                    97.089   Driver's License          has been
                                                                                      This       designated
                                                                                           program    providesby   ov/fal/ https:/
                                                                                                                   https:/ usasp
                                                            Security Grant Program funding to prevent              /       /
                                                                                   terrorism, reduce fraud         sam.g www.
Department of Homeland Security                    97.091   Homeland Security      and
                                                                                   The improve
                                                                                        BioWatchthe
                                                                                                  program          ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Biowatch Program      is a federally managed,          /       /
                                                                                  locally operated early           sam.g www.
                                                                                  warning system that is           ov/fal/ usasp
Department of Homeland Security                    97.102   Case Management Pilot The objective of the             https:/ https:/
                                                            Program               Case Management Pilot            /       /
                                                                                  Program (CMPP) is to             sam.g www.
Department of Homeland Security                    97.106   Securing the Cities   ensure
                                                                                  The DHS  that noncitizens
                                                                                             Secretary             ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Program                   established the STC          /       /
                                                                                      Program, managed             sam.g www.
                                                                                      through the Assistant        ov/fal/ usasp
Department of Homeland Security                    97.107   National Incident         The purpose of the           https:/ https:/
                                                            Management System         Fiscal Year (FY) 2023        /       /
                                                            (NIMS)                    National incident            sam.g www.
Department of Homeland Security                    97.108   Public Safety and         Management
                                                                                      S&T  seeks to System
                                                                                                    support        ov/fal/ https:/
                                                                                                                   https:/ usasp
                                                            Violence Prevention       foundational research        /       /
                                                            Research, Evaluation,     that contributes to          sam.g www.
Department of Homeland Security                    97.111   and  Implementation
                                                            Regional  Catastrophic    advancing
                                                                                      The goal ofthe
                                                                                                   thestate
                                                                                                       RCPGPof     ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Preparedness Grant       is to build regional          /       /
                                                            Program (RCPGP)          capacity and enhance          sam.g www.
                                                                                     community resilience in       ov/fal/ usasp
Department of Homeland Security                    97.120   Rural Emergency          The Homeland Security         https:/ https:/
                                                            Medical                  Act of 2002 (HSA)             /       /
                                                            Communications           assigns CISA with the         sam.g www.
Department of Homeland Security                    97.123   Demonstration
                                                            State, Local, Tribal and responsibilities
                                                                            Project                   of
                                                                                     The mission of CISA   is      ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Territorial Security     to lead the national          /       /
                                                            Operations Center/       effort to understand and      sam.g www.
Department of Homeland Security                    97.127   Information Sharing and Section
                                                            Cybersecurity            manage2220cyberofand
                                                                                                       the         ov/fal/ https:/
                                                                                                                   https:/ usasp
                                                            Education and Training Homeland Security Act           /       /
                                                                                   of 2002 (codified as            sam.g www.
Department of Homeland Security                    97.128   CISA Cyber Security    amended at mission
                                                                                   CISAâ€™s    6 U.S.C.is          ov/fal/ https:/
                                                                                                                   https:/ usasp
                                                            Awareness Campaign        to lead the national         /       /
                                                                                      effort to understand,        sam.g www.
Department of Homeland Security                    97.130   National Nuclear          manage,    and reduce
                                                                                      The objectives  of this      ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Forensics Expertise      program are: (1) to           /       /
                                                            Development Program      provide a stable              sam.g www.
                                                                                     foundation from which         ov/fal/ usasp
Department of Homeland Security                    97.131   Emergency                The purpose of the FY         https:/ https:/
                                                            Management Baseline 2023 EMBAG                         /       /
                                                            Assessments Grant        cooperative agreement         sam.g www.
Department of Homeland Security                    97.132   (EMBAG)
                                                            Financial Assistance for is
                                                                                     Theto TVTP
                                                                                           support the use of
                                                                                                Grant              ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Targeted Violence and  Program has six                 /       /
                                                            Terrorism Prevention   objectives:                     sam.g www.
Department of Homeland Security                    97.133                          â€¢ FY 2016
                                                            Preparing for Emerging The      The local
                                                                                                 Program           ov/fal/ https:/
                                                                                                                   https:/ usasp
                                                            Threats and Hazards    to Prepare                      /       /
                                                                                   Communities for                 sam.g www.
                                                                                   Complex Coordinated             ov/fal/ usasp
Department of Homeland Security                    97.134   Presidential Residence The purpose of FEMA's           https:/ https:/
                                                            Protection Security    PRPA grant program is           /       /
                                                            Grant                  to provide assistance           sam.g www.
Department of Homeland Security                    97.135   National Nonprofit     and
                                                                                   The support
                                                                                        mission for the
                                                                                                of the             ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Organization              National RBS Program         /       /
                                                            Recreational Boating      is to ensure the public      sam.g www.
                                                            Safety Grant Program      has a safe, secure, and      ov/fal/ usasp
Department of Homeland Security                    97.136   Boating Safety Data       The Boating Safety           https:/ https:/
                                                            Collection and Analysis   Data Collection and          /       /
                                                            Grant Program             Analysis Grant is            sam.g www.
Department of Homeland Security                    97.137   State and Local           designed  to the
                                                                                      The goal of   collect data
                                                                                                        State      ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Cybersecurity Grant   and Local Cybersecurity /        /
                                                            Program Tribal        Grant Program            sam.g www.
Department of Homeland Security                    97.138   Cybersecurity
                                                            Next          Grant
                                                                 Generation       (SLCGP) and the Tribal ov/fal/
                                                                                  Objectives                       usasp
                                                                                                           https:/ https:/
                                                            Warning System Grant  To have in place a       /       /
                                                            Program               public alert and warning sam.g www.
                                                                                  system that provides     ov/fal/ usasp
Department of Homeland Security                    97.139   Safeguarding Tomorrow The Safeguarding         https:/ https:/
                                                            Revolving Loan Fund   Tomorrow Revolving       /       /
                                                            Program               Loan Fund (RLF)          sam.g www.
Department of Homeland Security                    97.140                         Program   provides
                                                            National Coast Guard The U.S. Coast Guard      ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                            Museum Construction       (USCG) will award a          /       /
                                                                                      Congressionally              sam.g www.
                                                                                      directed $50 million         ov/fal/ usasp
Department of Homeland Security                    97.141   Shelter and Services      â€¢       To provide         https:/ https:/
                                                            Program                   funding to non-federal       /       /
                                                                                      entities that serve          sam.g www.
Department of Homeland Security                    97.142   National Computer         noncitizen  migrants
                                                                                      The objective   is the       ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Forensics Institute     expansion of the               /       /
                                                            Facility Expansion      National Computer              sam.g www.
Department of Homeland Security                    97.143   Grant Program
                                                            Pre-Disaster Mitigation Forensics Institute's
                                                                                    The Pre-Disaster               ov/fal/ https:/
                                                                                                                   https:/ usasp
                                                            (PDM) Congressionally Mitigation (PDM)                 /       /
                                                            Directed Spending       Congressionally                sam.g www.
                                                            (CDS)                   Directed Spending              ov/fal/ usasp
Department of Homeland Security                    97.144   Flood Mitigation        The Flood Mitigation           https:/ https:/
                                                            Assistance (FMA) Swift Assistance (FMA) Swift          /       /
                                                            Current                 Current grant program          sam.g www.
Department of Homeland Security                    97.145   National Domestic       makes  federal
                                                                                    The goal       funds of
                                                                                             and mission           ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Preparedness              the NDPC is to enable  /       /
                                                            Consortium                communities to address sam.g www.
Department of Homeland Security                    97.146   Alliance for System      specific
                                                                                     The      evolving
                                                                                          mission  and and
                                                                                                       goal  ov/fal/ https:/
                                                                                                             https:/ usasp
                                                            Safety of Unmanned       of the CTG ASSURE             /       /
                                                            Aircraft Systems         program is to enable          sam.g www.
                                                            through Research         communities to address        ov/fal/ usasp
Department of Homeland Security                    97.147   National Earthquake      The National                  https:/ https:/
                                                            Hazards Reduction        Earthquake Hazards            /       /
                                                            Program (NEHRP)          Reduction Program             sam.g www.
Department of Homeland Security                    97.148   Multi-State
                                                            National    and National The
                                                                      Cybersecurity  (NEHRP)    Multi-State
                                                                                          National                 ov/fal/ https:/
                                                                                                                   https:/ usasp
                                                            Preparedness              Cybersecurity                /       /
                                                            Consortium                Preparedness                 sam.g www.
                                                                                      Consortium program           ov/fal/ usasp
Department of Homeland Security                    97.149   Shelter and Services      SSP provides funding to      https:/ https:/
                                                            Program â€                non-federal entities that    /       /
                                                            “ Competitive             serve noncitizen             sam.g www.
Department of Homeland Security                    97.150   Tribal Homeland           migrants recently
                                                                                      The objective of the FY      ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Security Grant Program 2024 Tribal Homeland            /       /
                                                                                   Security Grant Program          sam.g www.
Department of Homeland Security                    97.151   Fire Prevention &      (THSGP)
                                                                                   The       is the
                                                                                       goal of  to provide
                                                                                                    Fire           ov/fal/ https:/
                                                                                                                   https:/ usasp
                                                            Safety                  Prevention and Safety          /       /
                                                                                    (FP&S) Program is to           sam.g www.
                                                                                    enhance the safety of          ov/fal/ usasp
Department of Homeland Security                    97.152   Rehabilitation of High  Rehabilitation of High         https:/ https:/
                                                            Hazard Potential Dams Hazard Potential Dams            /       /
                                                            Grant Program           (HHPD) Grant Program:          sam.g www.
Department of Homeland Security                    97.154                           The Office
                                                            Citizenship Integration The  HHPD ofgrant              ov/fal/ https:/
                                                                                                                   https:/ usasp
                                                            Training Academy        Citizenship, Partnership       /       /
                                                                                    and Engagement                 sam.g www.
                                                                                    (OCPE), within US.             ov/fal/ usasp
Department of Homeland Security                    97.155   Cybersecurity           The goals of the CWD           https:/ https:/
                                                            Workforce Development Program are to                   /       /
                                                            and Training for        decrease the                   sam.g www.
Department of Homeland Security                    97.156   Underserved
                                                            Tribal Cybersecurity    cybersecurity workforce
                                                                                    The goal of the Tribal         ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                            Grant Program             Cybersecurity Grant          /       /
                                                                                      Program (TCGP) is to         sam.g www.
Department of Housing and Urban Development        14.021   Green and Resilient       assist
                                                                                      The    tribal and
                                                                                          Green                    ov/fal/ https:/
                                                                                                                   https:/ usasp
                                                            Retrofit Program          Resilient Retrofit           /       /
                                                                                      Program offers loans         sam.g www.
                                                                                      and grants for HUD-          ov/fal/ usasp
Department of Housing and Urban Development        14.022   Housing Counseling        The Homeownership            https:/ https:/
                                                            Program                   Initiative (HI) helps to     /       /
                                                            Homeownership             bridge the                   sam.g www.
Department of Housing and Urban Development        14.023   Initiative
                                                            Community                 homeownership
                                                                                      PRO    (Pathways gap
                                                                                                         to by     ov/fal/ https:/
                                                                                                                   https:/ usasp
                                                            Development Block         Removing Obstacles) to /       /
                                                            Grant- PRO Housing        Housing provides       sam.g www.
Department of Housing and Urban Development        14.024   Competition
                                                            Community               competitive grant funds
                                                                                    The Community            ov/fal/
                                                                                                             https:/ usasp
                                                                                                                     https:/
                                                            Development Block       Development Block              /     /
                                                            Grant- PRICE            Grant - Preservation           sam.g www.
Department of Housing and Urban Development        14.108   Competition
                                                            Rehabilitation Mortgage and Reinvestment
                                                                                    FHA's  203(k)             ov/fal/
                                                                                                              https:/ usasp
                                                                                                                      https:/
                                                            Insurance                Rehabilitation Mortgage /        /
                                                                                     program is HUD's         sam.g www.
Department of Housing and Urban Development        14.110   Manufactured Home        primary
                                                                                     To       program for the ov/fal/
                                                                                         help people                  usasp
                                                                                                              https:/ https:/
                                                            Loan Insurance (Title I) purchase a               /       /
                                                                                     manufactured home or sam.g www.
                                                                                     refinance an existing    ov/fal/ usasp




                                                                                                                                              25
                                              Case 1:25-cv-00039-JJM-PAS                                                            Document 114-1   Filed 02/13/25   Page 41 of 77 PageID
                                                                                                                                           #: 7309
Department of Housing and Urban Development        14.117   Mortgage Insurance       Helps enable people to       https:/ https:/
                                                            Homes                    purchase a home or           /       /
                                                                                     refinance an existing        sam.g www.
Department of Housing and Urban Development        14.119   Mortgage Insurance       mortgage.
                                                                                     To help victims of a         ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Homes for Disaster       Presidentially-declared      /       /
                                                            Victims                  disaster whose home          sam.g www.
Department of Housing and Urban Development        14.122   Mortgage Insurance       was destroyed
                                                                                     To help eligible entities    ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Homes in Urban           to purchase and/or           /       /
                                                            Renewal Areas            rehabilitate homes in        sam.g www.
                                                                                     urban renewal areas.         ov/fal/ usasp
Department of Housing and Urban Development        14.126   Mortgage Insurance       Enables nonprofit            https:/ https:/
                                                            Cooperative Projects     cooperative ownership        /       /
                                                                                     housing corporations or      sam.g www.
Department of Housing and Urban Development        14.128   Mortgage Insurance       trusts
                                                                                     To     to develop
                                                                                        facilitate the or         ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Hospitals                affordable financing of      /       /
                                                                                     hospitals for the care       sam.g www.
Department of Housing and Urban Development        14.129   Mortgage Insurance       and  treatment
                                                                                     To provide      of
                                                                                                 mortgage         ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Nursing Homes,           insurance to HUD-            /       /
                                                            Intermediate Care        approved lenders to          sam.g www.
                                                            Facilities, Board and    facilitate the               ov/fal/ usasp
Department of Housing and Urban Development        14.133   Mortgage Insurance       To enable individuals        https:/ https:/
                                                            Purchase of Units in     and families to              /       /
                                                            Condominiums             purchase or refinance        sam.g www.
Department of Housing and Urban Development        14.134   Mortgage Insurance       eligible  units in
                                                                                     HUD insures      mortgage    ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Rental Housing         loans to finance the           /       /
                                                                                   construction or                sam.g www.
                                                                                   rehabilitation of a broad      ov/fal/ usasp
Department of Housing and Urban Development        14.135   Mortgage Insurance     Section 221(d)(4)              https:/ https:/
                                                            Rental and Cooperative insures mortgage loans         /       /
                                                            Housing for Moderate to facilitate the new            sam.g www.
Department of Housing and Urban Development        14.138   Income Families
                                                            Mortgage        and
                                                                     Insurance     construction
                                                                                   To            or
                                                                                      provide quality  rental     ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Rental Housing for the   housing for the elderly.     /       /
                                                            Elderly                                               sam.g www.
Department of Housing and Urban Development        14.139   Mortgage Insurance      To provide quality rental     ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Rental Housing in       housing in urban              /       /
                                                            Urban Renewal Areas     renewal areas, code           sam.g www.
                                                                                    enforcement areas, and        ov/fal/ usasp
Department of Housing and Urban Development        14.142   Property Improvement To facilitate the                https:/ https:/
                                                            Loan Insurance for      financing of                  /       /
                                                            Improving All Existing  improvements to homes         sam.g www.
Department of Housing and Urban Development        14.151   Structures and Building
                                                            Supplemental Loan       and  other
                                                                                    Section    property
                                                                                            241(a)   insures      ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Insurance Multifamily   lenders against loss on       /       /
                                                            Rental Housing          mortgage defaults on          sam.g www.
                                                                                    projects already insured      ov/fal/ usasp
Department of Housing and Urban Development        14.155   Mortgage Insurance for To provide mortgage            https:/ https:/
                                                            the Purchase or         insurance to HUD-             /       /
                                                            Refinancing of Existing approved lenders for          sam.g www.
Department of Housing and Urban Development        14.157   Multifamily Housing
                                                            Supportive              theexpand
                                                                        Housing for To  purchasetheorsupply of    ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            the Elderly           multifamily housing with        /       /
                                                                                  supportive services for         sam.g www.
Department of Housing and Urban Development        14.162   Mortgage Insurance    very low income
                                                                                  To make   possibleelderly       ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Combination and       reasonable financing for        /       /
                                                            Manufactured Home Lot the purchase of a               sam.g www.
                                                            Loans                 manufactured home               ov/fal/ usasp
Department of Housing and Urban Development        14.169   Housing Counseling    Provide funds to HUD-           https:/ https:/
                                                            Assistance Program    approved housing                /       /
                                                                                  counseling agencies             sam.g www.
Department of Housing and Urban Development        14.171   Manufactured Housing that  provide the
                                                                                  Administers  counseling         ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                                                     National Manufactured        /     /
                                                                                     Housing Construction         sam.g www.
Department of Housing and Urban Development        14.175   Adjustable Rate          andprovide
                                                                                     To  Safety mortgage
                                                                                                Standards  ov/fal/ usasp
                                                                                                           https:/ https:/
                                                            Mortgages              insurance for an        /       /
                                                                                   adjustable rate         sam.g www.
Department of Housing and Urban Development        14.181                          mortgage
                                                            Supportive Housing for To expandwhich   may of https:/
                                                                                              the supply   ov/fal/ https:/
                                                                                                                   usasp
                                                            Persons with           supportive housing for  /       /
                                                            Disabilities           very low-income         sam.g www.
Department of Housing and Urban Development        14.183   Home Equity            persons  with
                                                                                   To enable elderly       ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                            Conversion Mortgages     homeowners to convert        /       /
                                                                                     equity in their homes to     sam.g www.
                                                                                     monthly streams of           ov/fal/ usasp
Department of Housing and Urban Development        14.188   Housing Finance          Under Section 542(c),        https:/ https:/
                                                            Agencies (HFA) Risk      HUD provides credit          /       /
                                                            Sharing                  enhancement for              sam.g www.
Department of Housing and Urban Development        14.191   Multifamily Housing      mortgages   for
                                                                                     To link elderly,             ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Service Coordinators     especially frail and         /       /
                                                                                     disabled, or disabled        sam.g www.
Department of Housing and Urban Development        14.195   Project-Based Rental     non-elderly
                                                                                     To           assisted
                                                                                        provide rental            ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Assistance (PBRA)        assistance to very low       /       /
                                                                                     income individuals and       sam.g www.
                                                                                     families enabling them       ov/fal/ usasp
Department of Housing and Urban Development        14.198   Good Neighbor Next       The purpose of the           https:/ https:/
                                                            Door Sales Program       Good Neighbor Next           /       /
                                                                                     Door Sales Program is        sam.g www.
Department of Housing and Urban Development        14.218   Community                to
                                                                                     To improve
                                                                                         develop the quality
                                                                                                  viable     of
                                                                                                         urban    ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Development Block      communities by                 /       /
                                                            Grants/Entitlement     providing decent               sam.g www.
                                                            Grants                 housing, a suitable            ov/fal/ usasp
Department of Housing and Urban Development        14.225   Community              To provide community           https:/ https:/
                                                            Development Block      development assistance         /       /
                                                            Grants/Special Purpose to the Pacific Islands of      sam.g www.
Department of Housing and Urban Development        14.228   Grants/Insular
                                                            Community      Areas   American  Samoa,
                                                                                   The primary   objective of     ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Development Block      this program is the            /       /
                                                            Grants/State's program development of viable          sam.g www.
Department of Housing and Urban Development        14.231   and Non-Entitlement
                                                            Emergency  Solutions   urban
                                                                                   The    communities
                                                                                        ESG   program by          ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Grant Program          provides funding to: (1)       /       /
                                                                                   engage homeless                sam.g www.
                                                                                   individuals and families       ov/fal/ usasp
Department of Housing and Urban Development        14.239   Home Investment        To expand the supply of        https:/ https:/
                                                            Partnerships Program affordable housing,              /       /
                                                                                   particularly rental            sam.g www.
Department of Housing and Urban Development        14.241   Housing Opportunities housing,
                                                                                   To provideforStates,
                                                                                                 low andunits     ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            for Persons with AIDS    of local government, or      /       /
                                                                                     nonprofit organizations      sam.g www.
                                                                                     with the resources and       ov/fal/ usasp
Department of Housing and Urban Development        14.247   Self-Help                To facilitate and            https:/ https:/
                                                            Homeownership            encourage innovative         /       /
                                                            Opportunity Program      homeownership                sam.g www.
Department of Housing and Urban Development        14.248   Community                opportunities  through
                                                                                     To provide communities       ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Development Block     with a source of         /       /
                                                            Grants Section 108    financing for economic   sam.g www.
Department of Housing and Urban Development        14.249   Loan Guarantees
                                                            Section 8 Moderate    development,
                                                                                  The   Section 8 housing
                                                                                                  Moderate ov/fal/ usasp
                                                                                                           https:/ https:/
                                                            Rehabilitation Single Rehabilitation Single    /       /
                                                            Room Occupancy        Room Occupancy           sam.g www.
                                                                                  Program provides rental ov/fal/ usasp
Department of Housing and Urban Development        14.251   Economic Development The annual                https:/ https:/
                                                            Initiative, Community appropriation of funds   /       /
                                                            Project Funding, and  to the Department and    sam.g www.
Department of Housing and Urban Development        14.252   Miscellaneous  grants
                                                            Section 4 Capacity    the
                                                                                  The Section 4 program https:/ usasp
                                                                                       accompanying        ov/fal/ https:/
                                                            Building for Community builds the capacity of         /       /
                                                            Development and        Community                      sam.g www.
Department of Housing and Urban Development        14.256   Affordable Housing
                                                            Neighborhood           Development
                                                                                   Neighborhood                   ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Stabilization Program  stabilization through          /       /
                                                            (Recovery Act Funded) acquisition and                 sam.g www.
                                                                                   rehabilitation, land           ov/fal/ usasp
Department of Housing and Urban Development        14.259   Community Compass      Community Compass              https:/ https:/
                                                            Technical Assistance   brings together                /       /
                                                            and Capacity Building technical assistance            sam.g www.
Department of Housing and Urban Development        14.261   National Homeless      funding appropriations
                                                                                   National  Homeless             ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Data Analysis Project   Data Analysis Project         /       /
                                                            (NHDAP)                 (NHDAP) provides              sam.g www.
                                                                                    critical resources to         ov/fal/ usasp
Department of Housing and Urban Development        14.265   Rural Capacity Building The Rural Capacity            https:/ https:/
                                                            for Community           Building program              /       /
                                                            Development and         enhances the capacity         sam.g www.
Department of Housing and Urban Development        14.267   Affordable Housing
                                                            Continuum of Care       and
                                                                                    The ability
                                                                                          programof rural
                                                                                                    is            ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Program                 designed to promote           /       /
                                                                                    community-wide                sam.g www.
Department of Housing and Urban Development        14.269   Hurricane Sandy         commitment
                                                                                    The            to the goal
                                                                                          overall CDBG            ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Community              program objective is to        /       /
                                                            Development Block      develop viable urban           sam.g www.
                                                            Grant Disaster         communities, by                ov/fal/ usasp
Department of Housing and Urban Development        14.272   National Disaster      The overall CDBG               https:/ https:/
                                                            Resilience Competition program objective is to        /       /
                                                                                   develop viable urban           sam.g www.
Department of Housing and Urban Development        14.275   Housing Trust Fund     communities,
                                                                                   To expand andbypreserve        ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                                                  the supply of affordable        /       /
                                                                                  housing, particularly           sam.g www.
                                                                                  rental housing, for             ov/fal/ usasp
Department of Housing and Urban Development        14.276   Youth Homelessness    The goal of the Youth           https:/ https:/
                                                            Demonstration Program Homeless                        /       /
                                                                                  Demonstration Program           sam.g www.
Department of Housing and Urban Development        14.277   Youth Homeless        (YHDP)   is to support
                                                                                  The objectives   of the         ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            System Improvement       Youth Homeless               /       /
                                                            Grants                   System Improvement           sam.g www.
Department of Housing and Urban Development        14.278   Veterans Housing         Grants
                                                                                     The    (YHSIG),
                                                                                         purpose      HUD
                                                                                                 of the           ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Rehabilitation and       Veterans Housing             /       /
                                                            Modification Program     Rehabilitation and           sam.g www.
                                                                                     Modification Program is      ov/fal/ usasp
Department of Housing and Urban Development        14.311   Single Family Property   To sell HUD single           https:/ https:/
                                                            Disposition              family Real Estate           /       /
                                                                                     Owned (REO)                  sam.g www.
Department of Housing and Urban Development        14.313   Dollar Home Sales        properties
                                                                                     To expand in a manner
                                                                                                 HUD's            ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                                                     partnership with local       /       /
                                                                                     governments in helping       sam.g www.
Department of Housing and Urban Development        14.316   Housing Counseling       to foster
                                                                                     This      housing
                                                                                          program  supports,      ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Training Program         under cooperative            /       /
                                                                                     agreements with HUD,         sam.g www.
Department of Housing and Urban Development        14.322   Tenant Education and     the
                                                                                     Thedelivery
                                                                                         purposeofofathe
                                                                                                      broad       ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Outreach Program         Tenant Education and         /       /
                                                                                     Outreach (TEO)               sam.g www.
Department of Housing and Urban Development        14.326   Project Rental           Program
                                                                                     The      is to
                                                                                         Project    support
                                                                                                  Rental          ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Assistance               Assistance (PRA)             /       /
                                                            Demonstration (PRA       provides funding to          sam.g www.
                                                            Demo) Program of         state housing agencies       ov/fal/ usasp




                                                                                                                                             26
                                              Case 1:25-cv-00039-JJM-PAS                                                            Document 114-1   Filed 02/13/25   Page 42 of 77 PageID
                                                                                                                                           #: 7310
Department of Housing and Urban Development        14.327   Performance Based         It is the policy of the     https:/ https:/
                                                            Contract Administrator    United States to            /       /
                                                            Program                   promote the general         sam.g www.
Department of Housing and Urban Development        14.401                            welfare of
                                                            Fair Housing Assistance Provide     the Nation
                                                                                             assistance   toby    ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Program                  State and local fair         /       /
                                                                                     housing enforcement          sam.g www.
Department of Housing and Urban Development        14.408   Fair Housing Initiatives agencies  forimplement,
                                                                                     To develop,   complaint      ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Program                   carry out, or coordinate    /       /
                                                                                      programs and/or             sam.g www.
                                                                                      activities to educate the   ov/fal/ usasp
Department of Housing and Urban Development        14.416   Education and             To assist organizations     https:/ https:/
                                                            Outreach Initiatives      that are regional and       /       /
                                                                                      local, community based      sam.g www.
Department of Housing and Urban Development        14.417   Fair Housing              andassist
                                                                                      To   National  programs,
                                                                                                 organizations    ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Organization Initiatives that are regional and        /       /
                                                                                     local, community based       sam.g www.
Department of Housing and Urban Development        14.418   Private Enforcement      and  National
                                                                                     To assist     programs,
                                                                                               private non-       ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Initiatives               profit fair housing         /       /
                                                                                      enforcement                 sam.g www.
                                                                                      organizations in the        ov/fal/ usasp
Department of Housing and Urban Development        14.506   General Research and      What all funding does       https:/ https:/
                                                            Technology Activity       this listing include? All   /       /
                                                                                      Core R&T activities (per    sam.g www.
Department of Housing and Urban Development        14.536   Research, Evaluation,     the
                                                                                      ThisPDR     Congressional
                                                                                             is a Notice of       ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            and Demonstrations        Funding Availability        /       /
                                                                                      (NOFA) from the             sam.g www.
                                                                                      Department of Housing       ov/fal/ usasp
Department of Housing and Urban Development        14.537   Eviction Protection       The overall purpose of      https:/ https:/
                                                            Grant Program             the Eviction Protection     /       /
                                                                                      Grant Program is to         sam.g www.
Department of Housing and Urban Development        14.850   Public Housing            support
                                                                                      To      experienced
                                                                                         provide  and operate     ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Operating Fund            cost-effective, decent,     /       /
                                                                                      safe and affordable         sam.g www.
Department of Housing and Urban Development        14.856   Lower Income Housing      dwellings for lower
                                                                                      The Moderate                ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Assistance Program        Rehabilitation (Mod         /       /
                                                            Section 8 Moderate        Rehab) program was          sam.g www.
                                                            Rehabilitation            designed in 1978 to be      ov/fal/ usasp
Department of Housing and Urban Development        14.862   Indian Community          The purpose of the          https:/ https:/
                                                            Development Block         Indian Community            /       /
                                                            Grant Program             Development Block           sam.g www.
Department of Housing and Urban Development        14.865   Public and Indian         Grant (ICDBG)
                                                                                      To provide      program
                                                                                                  access to       ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Housing Indian Loan       sources of private          /       /
                                                            Guarantee Program         financing so Native         sam.g www.
                                                                                      American families can       ov/fal/ usasp
Department of Housing and Urban Development        14.866   Demolition and            Revitalization Grants       https:/ https:/
                                                            Revitalization of         enable PHAs to              /       /
                                                            Severely Distressed       improve the living          sam.g www.
Department of Housing and Urban Development        14.867   Public Housing
                                                            Indian Housing Block      environment
                                                                                      The           for public
                                                                                           Indian Housing         ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Grants                    Block Grants (IHBG)         /       /
                                                                                      program is authorized       sam.g www.
Department of Housing and Urban Development        14.869   Title VI Federal          under the Native
                                                                                      To provide access to        ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Guarantees for            sources of private          /       /
                                                            Financing Tribal          financing to Indian         sam.g www.
                                                            Housing Activities        Housing Block Grant         ov/fal/ usasp
Department of Housing and Urban Development        14.870   Resident Opportunity      To address the              https:/ https:/
                                                            and Supportive            economic and housing        /       /
                                                            Services - Service        self-sufficiency needs of   sam.g www.
Department of Housing and Urban Development        14.871   Coordinators
                                                            Section 8 Housing         public and Indian
                                                                                      The housing   choice        ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Choice Vouchers           voucher program is the      /       /
                                                                                      federal government's        sam.g www.
Department of Housing and Urban Development        14.872   Public Housing Capital    majorCapital
                                                                                      The   program  for
                                                                                                   Fund           ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Fund                      provides funds annually     /       /
                                                                                      to Public Housing           sam.g www.
Department of Housing and Urban Development        14.873   Native Hawaiian           Agencies
                                                                                      To provide(PHAs)  for
                                                                                                 funds to         ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Housing Block Grants      carry out affordable        /       /
                                                                                      housing activities,         sam.g www.
Department of Housing and Urban Development        14.874   Loan Guarantees for       including
                                                                                      To providerental
                                                                                                  access to       ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Native Hawaiian           sources of private          /       /
                                                            Housing                   financing on Hawaiian       sam.g www.
                                                                                      home lands.                 ov/fal/ usasp
Department of Housing and Urban Development        14.878   Affordable Housing        To assist small             https:/ https:/
                                                            Development in Main       communities with            /       /
                                                            Street Rejuvenation       populations of 50,000 or    sam.g www.
Department of Housing and Urban Development        14.879   Projects
                                                            Mainstream Vouchers       less and 100 Public
                                                                                      The Mainstream              ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                                                      Vouchers (previously        /       /
                                                                                      referred to as the          sam.g www.
Department of Housing and Urban Development        14.880   Family Unification        Mainstream
                                                                                      To           5-Year for
                                                                                         aid: (1) Families        ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Program (FUP)         whom the lack of                /       /
                                                                                  adequate housing is a           sam.g www.
                                                                                  primary factor in: a. The       ov/fal/ usasp
Department of Housing and Urban Development        14.881   Moving to Work        Moving to Work (MTW)            https:/ https:/
                                                            Demonstration Program is a demonstration              /       /
                                                                                  program for public              sam.g www.
Department of Housing and Urban Development        14.888   Lead-Based Paint      housing  authorities
                                                                                  The Lead-Based     Paint        ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Capital Fund Program  and Housing-Related             /       /
                                                                                  Hazards are for Public          sam.g www.
                                                                                  Housing Authorities             ov/fal/ usasp
Department of Housing and Urban Development        14.889   Choice Neighborhoods Choice Neighborhoods             https:/ https:/
                                                            Implementation Grants Implementation Grants           /       /
                                                                                  provide funds to                sam.g www.
Department of Housing and Urban Development        14.892   Choice Neighborhoods implement
                                                                                  Choice Neighborhoods            ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Planning Grants           Planning Grants             /       /
                                                                                      support the                 sam.g www.
Department of Housing and Urban Development        14.893   Office of Native           development
                                                                                       To             of
                                                                                           provide technical      ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            American Programs          assistance for Indian      /       /
                                                            Training and Technical tribes, Alaska Native          sam.g www.
                                                            Assistance for Indian      villages, and Tribally     ov/fal/ usasp
Department of Housing and Urban Development        14.895   Jobs-Plus Pilot Initiative The Jobs Plus program      https:/ https:/
                                                                                       develops locally based,    /       /
                                                                                       job-driven approaches      sam.g www.
Department of Housing and Urban Development        14.896   Family Self-Sufficiency that    increasethe
                                                                                       To promote     earnings    ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Program               development of local            /       /
                                                                                  strategies to coordinate        sam.g www.
                                                                                  the use of assistance           ov/fal/ usasp
Department of Housing and Urban Development        14.899   Tribal HUD-VA         The Tribal HUD-VASH             https:/ https:/
                                                            Supportive Housing    program combines                /       /
                                                            Program               rental assistance from          sam.g www.
Department of Housing and Urban Development        14.900   Lead Hazard Reduction the Department
                                                                                  Lead-Based       of
                                                                                                Paint             ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Grant Program             Hazard Control grants       /       /
                                                                                      assist State, Tribal, and   sam.g www.
Department of Housing and Urban Development        14.901   Healthy Homes             local governments
                                                                                      HUD,   through this to      ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Weatherization        Healthy Homes and               /       /
                                                            Cooperation           Weatherization                  sam.g www.
                                                            Demonstration Grants  Cooperation                     ov/fal/ usasp
Department of Housing and Urban Development        14.902   Lead Technical StudiesTo fund technical               https:/ https:/
                                                            Grants                studies to improve              /       /
                                                                                  methods for detecting           sam.g www.
Department of Housing and Urban Development        14.905   Lead Hazard Reduction and
                                                                                  Leadcontrolling lead-
                                                                                        Hazard Reduction          ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Demonstration Grant       Demonstration Grant         /       /
                                                            Program                   assist State, Tribal, and   sam.g www.
Department of Housing and Urban Development        14.906   Healthy Homes             local
                                                                                      To    governments
                                                                                         fund technical to        ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Technical Studies         studies to improve          /       /
                                                            Grants                    methods for detecting       sam.g www.
                                                                                      and controlling housing-    ov/fal/ usasp
Department of Housing and Urban Development        14.912   Lead Hazard Control       The purpose of the          https:/ https:/
                                                            Capacity Building         Lead Hazard Reduction       /       /
                                                                                      Capacity Building Grant     sam.g www.
Department of Housing and Urban Development        14.913   Healthy Homes             Program
                                                                                      The       is toof
                                                                                           purpose    assist
                                                                                                        the       ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Production Program        Healthy Homes               /       /
                                                                                      Production Program is       sam.g www.
                                                                                      to comprehensively          ov/fal/ usasp
Department of Housing and Urban Development        14.914   Radon Interventions in    None. The program is        https:/ https:/
                                                            Public and Assisted       defunct                     /       /
                                                            Multifamily Housing                                   sam.g www.
Department of Housing and Urban Development        14.920   Lead Hazard Control for This funding will be          ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            High Risk Areas         made available to public /       /
                                                                                    housing agencies that    sam.g www.
Department of Housing and Urban Development        14.921   Older Adults Home       operate
                                                                                    The     the housing
                                                                                         purpose of the      ov/fal/ usasp
                                                                                                             https:/ https:/
                                                            Modification Grant      Older Adults Home        /       /
                                                            Program                 Modification Grant       sam.g www.
                                                                                    Program is to enhance ov/fal/ usasp
Department of Justice                              16.001   Law Enforcement         To provide technical     https:/ https:/
                                                            Assistance Narcotics    assistance to dully      /       /
                                                            and Dangerous Drugs constituted state,           sam.g www.
Department of Justice                              16.003   Laboratory
                                                            Law        Analysis
                                                                Enforcement         county,
                                                                                    To      and municipal
                                                                                       disseminate           ov/fal/ https:/
                                                                                                             https:/ usasp
                                                            Assistance Narcotics      scientific information on   /       /
                                                            and Dangerous Drugs       the detection and           sam.g www.
                                                            Technical Laboratory      analysis of narcotics       ov/fal/ usasp
Department of Justice                              16.004   Law Enforcement           To acquaint appropriate     https:/ https:/
                                                            Assistance Narcotics      professional and            /       /
                                                            and Dangerous Drugs       enforcement personnel       sam.g www.
Department of Justice                              16.015   Training
                                                            Missing Alzheimer's       with (1) techniques
                                                                                      The goal             in
                                                                                                 of the program   ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Disease Patient         is to support local       /       /
                                                            Assistance Program      jurisdictionsâ€™ efforts sam.g www.
Department of Justice                              16.016   Culturally and          to reduce
                                                                                    To  enhance theculturally
                                                                                                    number of ov/fal/ usasp
                                                                                                              https:/ https:/
                                                            Linguistically Specific specific services for     /       /
                                                            Services Program        victims of domestic       sam.g www.
                                                                                    violence, dating          ov/fal/ usasp
Department of Justice                              16.017   Sexual Assault Services To increase               https:/ https:/
                                                            Formula Program         intervention, advocacy, /         /
                                                                                    accompaniment,            sam.g www.
Department of Justice                              16.019   Tribal Registry         support
                                                                                    To        services,
                                                                                        develop   and and     ov/fal/ https:/
                                                                                                              https:/ usasp
                                                                                      maintain a national         /       /
                                                                                      tribal sex offender         sam.g www.
Department of Justice                              16.021   Justice Systems           registry and to
                                                                                      The Grants    a tribal
                                                                                                      Support     ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Response to Families    Families in the Justice       /       /
                                                                                    System program                sam.g www.
Department of Justice                              16.023   Sexual Assault Services (referred to as
                                                                                    To increase     Justice
                                                                                                 culturally       ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                            Culturally Specific       specific intervention,      /       /
                                                            Program                   advocacy,                   sam.g www.
Department of Justice                              16.024   Tribal Sexual Assault     accompaniment,
                                                                                      To support programs or      ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                            Services Program          projects in Indian tribal   /       /
                                                                                      lands and Alaska native     sam.g www.
                                                                                      villages that increase      ov/fal/ usasp




                                                                                                                                             27
                        Case 1:25-cv-00039-JJM-PAS                                                              Document 114-1   Filed 02/13/25   Page 43 of 77 PageID
                                                                                                                       #: 7311
Department of Justice        16.025   Special Domestic          To assist tribal              https:/ https:/
                                      Violence Criminal         governments in                /       /
                                      Jurisdiction              implementing the              sam.g www.
Department of Justice        16.026   Implementation
                                      OVW Research and          Special
                                                                The     TribalofCriminal
                                                                    purpose      the          ov/fal/ https:/
                                                                                              https:/ usasp
                                      Evaluation Program      Research and                    /       /
                                                              Evaluation (R&E)                sam.g www.
Department of Justice        16.027   National Clearinghouse Program
                                                              To provideis training
                                                                            to further
                                                                                     and      ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                      on Sexual Assault of    technical assistance on         /       /
                                      American Indian and     issues relating to sexual       sam.g www.
                                      Alaska Native Women assault of American                 ov/fal/ usasp
Department of Justice        16.028   Resource Center on      To provide for                  https:/ https:/
                                      Workplace Response to establishment and                 /       /
                                      Domestic Violence,      operation of a national         sam.g www.
Department of Justice        16.029   Datingon
                                      Office Violence,
                                               ViolenceSexual To
                                                              resource
                                                                 promotecenter    on
                                                                             promising        ov/fal/ https:/
                                                                                              https:/ usasp
                                      Against Women Special or innovative practices           /       /
                                      Projects              to respond to violence            sam.g www.
Department of Justice        16.030   National Center on    against
                                                            Goal(s):women,
                                                                     The primary              ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                      Restorative Justice    goals of the National            /       /
                                                             Center on Restorative            sam.g www.
                                                             Justice are to: (1)              ov/fal/ usasp
Department of Justice        16.031   Emmett Till Cold Case The Emmett Till                   https:/ https:/
                                      Investigations Program Program provides                 /       /
                                                             support to state, local          sam.g www.
Department of Justice        16.032   Academic-based Drug andNote:tribal law is
                                                                     Program                  ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                      Field Testing and      inactive and pending        /       /
                                      Training Initiative    archival.                   sam.g www.
                                                                                         ov/fal/ usasp
Department of Justice        16.034   Coronavirus Emergency The program is no            https:/ https:/
                                      Supplemental Funding longer funded. This was /             /
                                      Program                   a one-time funding       sam.g www.
Department of Justice        16.035                             opportunity
                                      Preventing Trafficking of The  purposeawarded
                                                                              of this in ov/fal/
                                                                                         https:/ usasp
                                                                                                 https:/
                                      Girls                     program is to support    /       /
                                                                the prevention and early sam.g www.
Department of Justice        16.036   Comprehensive             intervention services,
                                                                The goals of this        ov/fal/
                                                                                         https:/ usasp
                                                                                                 https:/
                                      Forensic DNA Analysis comprehensive                     /       /
                                      Grant Program            program are to assist          sam.g www.
                                                               eligible states and units      ov/fal/ usasp
Department of Justice        16.037   Strengthening the        The goals of the               https:/ https:/
                                      Medical Examiner -       Strengthening the              /       /
                                      Coroner System           Medical Examiner-              sam.g www.
Department of Justice        16.038   National Decertification Coroner   System
                                                               The purpose    of this         ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                      Index                     funding is to assist with     /       /
                                                                the implementation of         sam.g www.
                                                                the â€œExecutive              ov/fal/ usasp
Department of Justice        16.039   Rural Violent Crime       The goal of Rural             https:/ https:/
                                      Initiative                Violent Crime Reduction       /       /
                                                                Initiative (RVCRI)            sam.g www.
Department of Justice        16.040   Matthew Shepard and       program
                                                                The   goalsisof
                                                                              tothe
                                                                                 assist and   ov/fal/ https:/
                                                                                              https:/ usasp
                                      James Byrd, Jr. Hate      Matthew Shepard and           /       /
                                      Crimes Education,         James Byrd, Jr. Hate          sam.g www.
Department of Justice        16.041   Investigation andAlert
                                      National Ashanti          Crimes  Program
                                                                This program  is are to       ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                      Network Training and      specifically directed         /       /
                                      Technical Assistance      toward the                    sam.g www.
                                      Program                   development,                  ov/fal/ usasp
Department of Justice        16.042   Security Assistance       The purpose of the            https:/ https:/
                                      Reimbursement Grant       Security Assistance           /       /
                                      Program                   Reimbursement Grant           sam.g www.
Department of Justice        16.043   Veterans Treatment        Program
                                                                Goal: To is  to reimburse
                                                                           provide            ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                      Court Discretionary    veterans treatment               /       /
                                      Grant Program          courts and criminal              sam.g www.
Department of Justice        16.044                          justice
                                      Forensics Training and The     professionals
                                                                  goal of the                 ov/fal/ https:/
                                                                                              https:/ usasp
                                      Technical Assistance   Forensic Science                 /     /
                                      Program                Federal, State, and              sam.g www.
Department of Justice        16.045   Community-Based        Local The
                                                             Goal:  Projects
                                                                        mainisgoal
                                                                               to of      ov/fal/ usasp
                                                                                          https:/ https:/
                                      Violence Intervention     CVIPI is the prevention /         /
                                      and Prevention Initiative and reduction of violent sam.g www.
Department of Justice        16.046   Drug Data Research        crime in communities
                                                                The goal  of the Drug by ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                      Center to Combat the      Data Research Center      /       /
                                      Opioid Crisis             (DDRC) to Combat the sam.g www.
                                                                Opioid Crisis program     ov/fal/ usasp
Department of Justice        16.047   Community-Based           Goal(s): The goals of     https:/ https:/
                                      Approaches to             the Community-based       /       /
                                      Advancing Justice         Approaches to Prevent sam.g www.
Department of Justice        16.048   Khalid Jabara and         and
                                                                The Address    Hateis for
                                                                    primary goal          ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                      Heather Heyer NO          state agencies to          /       /
                                      HATE Act                  establish and run state- sam.g www.
Department of Justice        16.049   Supporting Vulnerable     run hate
                                                                The   goal crime
                                                                           of thereporting
                                                                                   program ov/fal/ usasp
                                                                                           https:/ https:/
                                      and At-Risk Youth         is to promote positive     /       /
                                      Transitioning out of      youth outcomes and         sam.g www.
                                      Foster Care               public safety for at-risk  ov/fal/ usasp
Department of Justice        16.050   Missing and               Administered by the        https:/ https:/
                                      Unidentified Human        Office of Justice          /       /
                                      Remains (MUHR)            Programsâ€™ (OJP)          sam.g www.
Department of Justice        16.051   Program
                                      Crime Gun Intelligence    Bureau
                                                                Goal: To develop leads https:/ usasp
                                                                         of  Justice       ov/fal/ https:/
                                      Training and Education to swiftly identify              /       /
                                                               unlawfully used firearms       sam.g www.
                                                               and their sources and to       ov/fal/ usasp
Department of Justice        16.052   Restorative Practices to The restorative                https:/ https:/
                                      Address Domestic         Practices Program is           /       /
                                      Violence, Dating         designed to assist             sam.g www.
Department of Justice        16.053   Violence,
                                      Sexual Assault Forensic eligible
                                                Sexual                 entities to
                                                               This program                   ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                      Examinations              establishes or expands        /       /
                                                                sexual assault                sam.g www.
Department of Justice        16.054   Virtual Reality De-       examination
                                                                Goal:        programs,
                                                                       To prepare             ov/fal/ https:/
                                                                                              https:/ usasp
                                      escalation Training      officers to safely and         /       /
                                                               effectively respond to         sam.g www.
                                                               the range of situations        ov/fal/ usasp
Department of Justice        16.055   Tribal Special Assistant Tribal SAUSA is an             https:/ https:/
                                      United States Attorneys initiative to support           /       /
                                                               cross-designation of           sam.g www.
Department of Justice        16.056   National Deaf Services tribal  prosecutors
                                                               To provide   remoteas          ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                      Line                  services to Deaf victims          /       /
                                                            of domestic violence,             sam.g www.
                                                            dating violence, sexual           ov/fal/ usasp
Department of Justice        16.057   OVW LGBT Specific     (A) The maintenance               https:/ https:/
                                      Services Program      and replication of                /       /
                                                            existing successful               sam.g www.
Department of Justice        16.058   Demonstration Program LGBT   specificGeneral
                                                            The Attorney    domestic          ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                      on Trauma-Informed,       shall award grants on a       /       /
                                      Victim Centered           competitive basis to          sam.g www.
Department of Justice        16.059   Training
                                      Tribal   for Law
                                             Special Criminal   eligible
                                                                The      entities
                                                                     purpose    of to
                                                                                    this      ov/fal/ https:/
                                                                                              https:/ usasp
                                      Jurisdiction           program is to reimburse          /       /
                                      Reimbursement          Tribal governments for           sam.g www.
                                                             expenses incurred in             ov/fal/ usasp
Department of Justice        16.060   Local Law Enforcement To assist law                     https:/ https:/
                                      Grants for Enforcement enforcement with the             /       /
                                      of Cybercrimes         prevention, prosecution,         sam.g www.
Department of Justice        16.061   National Resource      and
                                                             The enforcement
                                                                  establishmentofand          ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                      Center on Cybercrimes maintenance of a                  /       /
                                      Against Individuals   National Resource                 sam.g www.
Department of Justice        16.062   Grants to State and   Center
                                                            An      on Cybercrimes
                                                               eligible entity that           ov/fal/ https:/
                                                                                              https:/ usasp
                                      Tribal Courts to          receives a grant under        /       /
                                      Implement Protection      this section shall use        sam.g www.
                                      Order Pilot Programs      the grant funds, in           ov/fal/ usasp
Department of Justice        16.063   Financial Assistance to The objective of the            https:/ https:/
                                      Victims of Domestic       program is to provide         /       /
                                      Violence, Dating          financial assistance to       sam.g www.
Department of Justice        16.064   Violence,
                                      Sexual    Sexual
                                              Assault           victims
                                                       Forensic By      of domestic
                                                                    statute, grants are       ov/fal/ https:/
                                                                                              https:/ usasp
                                      Exam Training and         for the following             /       /
                                      Services                  purposes:                     sam.g www.
                                                                (A) To establish              ov/fal/ usasp
Department of Justice        16.065   Training to Improve       The Training to Improve       https:/ https:/
                                      Police-Based              Police-Based                  /       /
                                      Responses to the          Responses to People           sam.g www.
Department of Justice        16.066   People
                                      Officer Robert Wilson III with
                                              with Mental             Mental Illness
                                                                The VALOR     Initiative      ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                      Preventing Violence       uses a multifaceted           /       /
                                      Against Law               approach to address           sam.g www.
Department of Justice        16.067   Enforcement Officers
                                      Family-Based              officer
                                                                The     safety
                                                                     goal is toand
                                                                                establish     ov/fal/ https:/
                                                                                              https:/ usasp
                                      Alternative Justice       new and enhance               /       /
                                      Program                   existing family-based         sam.g www.
                                                                alternative justice           ov/fal/ usasp
Department of Justice        16.123   Community-Based           Goals: To eliminate           https:/ https:/
                                      Violence Prevention       youth gun and gang            /       /
                                      Program                   violence                      sam.g www.
Department of Justice        16.300   Law Enforcement           To provide advanced           ov/fal/ https:/
                                                                                              https:/ usasp
                                      Assistance FBI            training to experienced       /       /
                                      Advanced Police           personnel of local,           sam.g www.
                                      Training                  county, State, and            ov/fal/ usasp
Department of Justice        16.301   Law Enforcement           To provide forensic           https:/ https:/
                                      Assistance FBI Crime      services to the FBI and       /       /
                                      Laboratory Support        any other duly                sam.g www.
Department of Justice        16.302   Law Enforcement           constituted
                                                                To develop law
                                                                             the              ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                      Assistance FBI Field      professional skills of        /       /
                                      Police Training           criminal justice              sam.g www.
Department of Justice        16.303   Law Enforcement            personnel.
                                                                 To provide fingerprint       ov/fal/ https:/
                                                                                              https:/ usasp
                                      Assistance FBI             and arrest-record            /       /
                                      Fingerprint Identification services to U.S.             sam.g www.
                                                                 Government and               ov/fal/ usasp
Department of Justice        16.304   Law Enforcement            The FBI National Crime       https:/ https:/
                                      Assistance National        Information Center           /       /
                                      Crime Information          (NCIC) is designed to        sam.g www.
Department of Justice        16.305   Center
                                      Law Enforcement            complement
                                                                 To            thewhich
                                                                    furnish data              ov/fal/ https:/
                                                                                              https:/ usasp
                                      Assistance Uniform        will assist heads of law      /     /
                                      Crime Reports             enforcement agencies          sam.g www.
Department of Justice        16.307   Combined DNA Index        in
                                                                Toadministration  and
                                                                    develop or improve     ov/fal/
                                                                                           https:/ usasp
                                                                                                   https:/
                                      System                    forensic DNA analysis      /       /
                                                                capabilities in State and sam.g www.
Department of Justice        16.308   Indian Country            local crime training
                                                                To provide   laboratories.
                                                                                     to    ov/fal/
                                                                                           https:/ usasp
                                                                                                   https:/
                                      Investigations            the Bureau of Indian       /       /
                                                                Affairs (BIA) and Tribal   sam.g www.
Department of Justice        16.309   Law Enforcement           Law
                                                                To    Enforcement
                                                                   provide                 ov/fal/ https:/
                                                                            a system so https:/    usasp
                                      Assistance National       that any Federal              /       /
                                      Instant Criminal          Firearm Licensee (FFL)        sam.g www.
                                      Background Check          could receive an              ov/fal/ usasp




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                        Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 44 of 77 PageID
                                                                                                                      #: 7312
Department of Justice        16.320   Services for Trafficking Specific goals vary by        https:/ https:/
                                      Victims                  solicitation, but the         /       /
                                                               overarching goal of the       sam.g www.
Department of Justice        16.321   Antiterrorism            Services
                                                               To support foreligible
                                                                              Victims of  ov/fal/ usasp
                                                                                          https:/ https:/
                                      Emergency Reserve        victims of criminal mass /         /
                                                               violence and terrorism     sam.g www.
Department of Justice        16.524   Legal Assistance for     with
                                                               Theseappropriate
                                                                      grants are for      ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                      Victims                  increasing the             /       /
                                                               availability of            sam.g www.
                                                               comprehensive civil and ov/fal/ usasp
Department of Justice        16.525   Grants to Reduce         To develop and             https:/ https:/
                                      Domestic Violence,       strengthen effective       /       /
                                      Dating Violence, Sexual security and                sam.g www.
Department of Justice        16.526   Assault,
                                      OVW      and Stalking on To
                                            Technical          investigation   strategies https:/
                                                                  provide communities     ov/fal/ https:/
                                                                                                  usasp
                                      Assistance Initiative      with critical resources     /       /
                                                                 that help them forge        sam.g www.
Department of Justice        16.528   Enhanced Training and partnerships      across
                                                              To provide training,           ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Services to End         services, and                  /       /
                                      Violence and Abuse of collaboration to address         sam.g www.
                                      Women Later in Life     the needs of victims of        ov/fal/ usasp
Department of Justice        16.529   Education, Training,    To provide training,           https:/ https:/
                                      and Enhanced Services consultation, and                /       /
                                      to End Violence Against information on domestic        sam.g www.
Department of Justice        16.540   and Abuse
                                      Juvenile   of Women
                                               Justice and    violence,
                                                              The Title IIdating
                                                                           Formula           ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Delinquency Prevention Grants Program                  /       /
                                                             provides funding to             sam.g www.
                                                             support state and local         ov/fal/ usasp
Department of Justice        16.543   Missing Children's     1)         Goal(s): To          https:/ https:/
                                      Assistance             support research,               /       /
                                                             training, technical             sam.g www.
Department of Justice        16.548                          assistance,
                                      Delinquency Prevention Provide      and to
                                                                      funding                ov/fal/ https:/
                                                                                             https:/ usasp
                                      Program                    implement evidence-         /       /
                                                                 based strategies to         sam.g www.
Department of Justice        16.550   State Justice Statistics   combat  youth
                                                                 Goal: This program          ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Program for Statistical    provides funds to each      /       /
                                      Analysis Centers           state to coordinate         sam.g www.
                                                                 statistical activities      ov/fal/ usasp
Department of Justice        16.554   National Criminal          GOAL(S): Ensuring the       https:/ https:/
                                      History Improvement        quality and                 /       /
                                      Program (NCHIP)            completeness of the         sam.g www.
Department of Justice        16.556   State Domestic             nationâ€™s
                                                                 To coordinatecriminal
                                                                                  State      ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Violence and Sexual      victim services activities    /       /
                                      Assault Coalitions       and collaborate and           sam.g www.
                                                               coordinate with Federal,      ov/fal/ usasp
Department of Justice        16.557   Tribal Domestic          To increase awareness         https:/ https:/
                                      Violence and Sexual      of domestic violence          /       /
                                      Assault Coalitions Grant and sexual assault            sam.g www.
Department of Justice        16.560   Program Institute of
                                      National                 against Foster
                                                               GOAL:   American
                                                                              the Indian     ov/fal/ https:/
                                                                                             https:/ usasp
                                      Justice Research,          development of new          /       /
                                      Evaluation, and            knowledge and tools         sam.g www.
Department of Justice        16.571   Development   Project
                                      Public Safety Officers'    that can bedeath
                                                                 To provide  applied to      ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Benefits Program        benefits to the eligible       /       /
                                                              survivors of federal,          sam.g www.
                                                              state, or local public         ov/fal/ usasp
Department of Justice        16.575   Crime Victim Assistance The Office for Victims of      https:/ https:/
                                                              Crime provides an              /       /
                                                              annual grant from the          sam.g www.
Department of Justice        16.576   Crime Victim            Crime  Victims
                                                              The primary     Fund toof
                                                                            purpose          ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Compensation               these grants is to         /       /
                                                                 supplement state efforts sam.g www.
Department of Justice        16.578   Public Benefit             to provideThe
                                                                 Goal(s):   financial
                                                                                 effective  ov/fal/ usasp
                                                                                            https:/ https:/
                                      Conveyance Program         use of real property       /       /
                                                                 owned by the federal       sam.g www.
Department of Justice        16.582   Crime Victim               government
                                                                 The  Office forand  the of https:/
                                                                                 Victims    ov/fal/ https:/
                                                                                                    usasp
                                      Assistance/                Crime (OVC)                 /       /
                                      Discretionary Grants       administers a               sam.g www.
Department of Justice        16.583   Children's Justice Act     discretionary grant
                                                                 The goal of the             ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Partnerships for Indian    Childrenâ€™s Justice        /       /
                                      Communities                Act Partnerships for        sam.g www.
                                                                 Indian Communities          ov/fal/ usasp
Department of Justice        16.585   Treatment Court            Goal(s): To provide         https:/ https:/
                                      Discretionary Grant        adult treatment courts      /       /
                                      Program                    and professionals in the    sam.g www.
Department of Justice        16.587   Violence Against           criminal justice
                                                                 To increase       system
                                                                               tribal        ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Women Discretionary      capacity to respond to        /       /
                                      Grants for Indian Tribal violent crimes against        sam.g www.
Department of Justice        16.588   Governments
                                      Violence Against         Indian
                                                               To      women,
                                                                   assist States,and  to
                                                                                  Indian     ov/fal/ https:/
                                                                                             https:/ usasp
                                      Women Formula Grants tribal governments,               /       /
                                                               tribal courts, State and      sam.g www.
                                                               local courts, and units       ov/fal/ usasp
Department of Justice        16.589   Rural Domestic           (1) to identify, assess,      https:/ https:/
                                      Violence, Dating         and appropriately             /       /
                                      Violence, Sexual         respond to child, youth,      sam.g www.
Department of Justice        16.590   Assault,
                                      Grants toand Stalking
                                                Encourage      and  adult States,
                                                               To assist  victims Indian
                                                                                   of        ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Arrest Policies and        Tribal governments,         /       /
                                      Enforcement of             State and local courts      sam.g www.
                                      Protection Orders          (including juvenile         ov/fal/ usasp
Department of Justice        16.593   Residential Substance      The goal of the RSAT        https:/ https:/
                                      Abuse Treatment for        for State Prisoners         /       /
                                      State Prisoners            Program is to assist        sam.g www.
Department of Justice        16.596   Trible Justice             state, local,overall
                                                                 Goal: The     and tribal
                                                                                      goal   ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Assistance            of BJAâ€™s Tribal                /       /
                                                            Justice Assistance               sam.g www.
Department of Justice        16.601   Corrections Training  Program
                                                            To deviseisand
                                                                        to conduct           ov/fal/ https:/
                                                                                             https:/ usasp
                                      and Staff Development in various geographical          /       /
                                                            locations, seminars,             sam.g www.
                                                            workshops, and training          ov/fal/ usasp
Department of Justice        16.602   Corrections Research To conduct, encourage,            https:/ https:/
                                      and Evaluation and    and coordinate                   /       /
                                      Policy Formulation    research relating to             sam.g www.
Department of Justice        16.603   Corrections Technical corrections
                                                            To encourageincluding
                                                                           and               ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Assistance/                assist Federal, State,      /       /
                                      Clearinghouse              and local government        sam.g www.
                                                                 programs and services,      ov/fal/ usasp
Department of Justice        16.606   State Criminal Alien       The State Criminal Alien    https:/ https:/
                                      Assistance Program         Assistance Program          /       /
                                                                 (SCAAP) is a payment        sam.g www.
Department of Justice        16.607   Bulletproof Vest           program  designed
                                                                 The objective of theto      ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Partnership Program        Patrick Leahy               /       /
                                                                 Bulletproof Vest            sam.g www.
Department of Justice        16.608   Tribal Justice Systems     Partnership
                                                                 Program  now (BVP)
                                                                                funded       ov/fal/ https:/
                                                                                             https:/ usasp
                                                                 under Assistance            /       /
                                                                 Listing 16.596 and          sam.g www.
                                                                 Assistance Listing is       ov/fal/ usasp
Department of Justice        16.609   Project Safe               The Project Safe            https:/ https:/
                                      Neighborhoods              Neighborhood (PSN)          /       /
                                                                 formula grant program       sam.g www.
Department of Justice        16.610   Regional Information       awards   funds
                                                                 Goals: The     to is to
                                                                             goal            ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Sharing Systems            assist agencies in          /       /
                                                                 reducing violent crime      sam.g www.
Department of Justice        16.614   State and Local Anti-      and support
                                                                 The          lawState
                                                                     goal of the             ov/fal/ https:/
                                                                                             https:/ usasp
                                      Terrorism Training      and Local Anti-                /       /
                                                              Terrorism Training             sam.g www.
                                                              (SLATT) initiative is to       ov/fal/ usasp
Department of Justice        16.615   Public Safety Officers' The PSOEA Program,             https:/ https:/
                                      Educational Assistance an expansion of the             /       /
                                                              Federal Law                    sam.g www.
Department of Justice        16.710   Public Safety           Enforcement
                                                              The COPS Office was            ov/fal/ https:/
                                                                                             https:/ usasp
                                      Partnership and         established in 1994 to         /       /
                                      Community Policing      assist state, local and        sam.g www.
                                      Grants                  tribal law enforcement         ov/fal/ usasp
Department of Justice        16.726   Juvenile Mentoring      To improve outcomes            https:/ https:/
                                      Program                 for at-risk and high-risk      /       /
                                                              youth, and reduce              sam.g www.
Department of Justice        16.731   Tribal Youth Program    negative   outcomes
                                                              Through this   program,        ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                                                 the Department seeks        /       /
                                                                 to assist tribes in         sam.g www.
Department of Justice        16.734   Special Data               responding
                                                                 GOAL:         to myriad
                                                                         To produce    and   ov/fal/ https:/
                                                                                             https:/ usasp
                                      Collections and            disseminate relevant,       /       /
                                      Statistical Studies        accurate, timely,           sam.g www.
                                                                 reliable, and objective     ov/fal/ usasp
Department of Justice        16.735   PREA Program:              The goal of this            https:/ https:/
                                      Strategic Support for      program is to support       /       /
                                      PREA Implementation        efforts in the              sam.g www.
Department of Justice        16.736   Transitional Housing       confinement
                                                                 To             facilities
                                                                     provide transitional    ov/fal/ https:/
                                                                                             https:/ usasp
                                      Assistance for Victims housing assistance and          /       /
                                      of Domestic Violence, related support services         sam.g www.
                                      Dating Violence,       to minors, adults, and          ov/fal/ usasp
Department of Justice        16.738   Edward Byrne Memorial Goal: Provide states,            https:/ https:/
                                      Justice Assistance     tribes, and units of local      /       /
                                      Grant Program          government with                 sam.g www.
Department of Justice        16.739   National Prison Rape   additional
                                                             GOAL(S): personnel,
                                                                        Deliver              ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Statistics Program         comprehensive               /       /
                                                                 statistical reviews and     sam.g www.
Department of Justice        16.741                         analyses now
                                      DNA Backlog Reduction Program   of the
                                                                           funded            ov/fal/ https:/
                                                                                             https:/ usasp
                                      Program               under Assistance                 /       /
                                                            Listing 16.036.                  sam.g www.
                                                                                             ov/fal/ usasp
Department of Justice        16.742   Paul Coverdell Forensic Goal(s): The Paul              https:/ https:/
                                      Sciences Improvement Coverdell Forensic                /       /
                                      Grant Program           Science Improvement            sam.g www.
Department of Justice        16.745   Criminal and Juvenile   Grants Program
                                                              Goal(s):        (the
                                                                       The Justice           ov/fal/ https:/
                                                                                             https:/ usasp
                                      Justice and Mental         and Mental Health           /       /
                                      Health Collaboration       Collaboration Program       sam.g www.
Department of Justice        16.746   Program
                                      Capital Case Litigation    (JMHCP)
                                                                 Goals: supports             ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Initiative                                             /       /
                                                            Capital Case Litigation          sam.g www.
Department of Justice        16.750   Support for Adam      Initiative
                                                            Goals: To(CCLI)
                                                                        assist states,       ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                      Walsh Act             the District of Columbia,        /       /
                                      Implementation Grant principal U.S. territories,       sam.g www.
Department of Justice        16.751   ProgramByrne Memorial To
                                      Edward                andimprove
                                                                  Tribes with
                                                                         the                 ov/fal/ https:/
                                                                                             https:/ usasp
                                      Competitive Grant          functioning of the          /       /
                                      Program                    criminal justice system,    sam.g www.
                                                                 such as activities          ov/fal/ usasp




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                        Case 1:25-cv-00039-JJM-PAS                                                            Document 114-1   Filed 02/13/25   Page 45 of 77 PageID
                                                                                                                     #: 7313
Department of Justice        16.752   Economic, High-Tech,
                                                         Goals:                             https:/ https:/
                                      and Cyber Crime    The Economic, High-                /       /
                                      Prevention         Technology, White                  sam.g www.
Department of Justice        16.753   Congressionally    Collar,
                                                         To      and assistance
                                                            provide  Internet in            ov/fal/ https:/
                                                                                            https:/ usasp
                                      Recommended Awards improving the                      /       /
                                                         functioning of the                 sam.g www.
Department of Justice        16.754   Harold Rogers      criminal
                                                         Goals: justice system,             ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                      Prescription Drug       To enhance the                /       /
                                      Monitoring Program      capacity of regulatory        sam.g www.
                                                              and law enforcement           ov/fal/ usasp
Department of Justice        16.756   Court Appointed Special The goals of the CASA         https:/ https:/
                                      Advocates               program are to serve          /       /
                                                              and improve outcomes          sam.g www.
Department of Justice        16.757   Judicial Training on    for improve
                                                              To  children the
                                                                           in the
                                                                                judicial    ov/fal/ https:/
                                                                                            https:/ usasp
                                      Child Maltreatment for    systemâ€™s handling         /       /
                                      Court Personnel           of child abuse, neglect,    sam.g www.
Department of Justice        16.758   Juvenile
                                      ImprovingJustice
                                                 the         and related
                                                             Improve   thecases,            ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                      Investigation and      investigation and              /       /
                                      Prosecution of Child   prosecution of child           sam.g www.
                                      Abuse and the Regional abuse cases and                ov/fal/ usasp
Department of Justice        16.812   Second Chance Act      There are currently over       https:/ https:/
                                      Reentry Initiative     2.2 million individuals        /       /
                                                             serving time in federal        sam.g www.
Department of Justice        16.813   NICS Act Record        and state prisons,
                                                             GOAL(S):            and
                                                                         To improve         ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                      Improvement Program       the FBIâ€™s National        /       /
                                                                Instant Criminal            sam.g www.
                                                                Background Check            ov/fal/ usasp
Department of Justice        16.815   Tribal Civil and Criminal Goal: The goal of this      https:/ https:/
                                      Legal Assistance          program is to build and     /       /
                                      Grants, Training and      enhance capacity and        sam.g www.
Department of Justice        16.816   Technical
                                      John       Assistance
                                            R. Justice          improve
                                                                Goal: Fordelivery  of and
                                                                           all states       ov/fal/ https:/
                                                                                            https:/ usasp
                                      Prosecutors and         territories to encourage      /       /
                                      Defenders Incentive Act qualified individuals to      sam.g www.
Department of Justice        16.817   Byrne Criminal Justice enter
                                                              Goals:and continue            ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                      Innovation Program        The goal of the BCJI is     /       /
                                                                to reduce crime and         sam.g www.
                                                                improve community           ov/fal/ usasp
Department of Justice        16.818   Children Exposed to       The overall goal of the     https:/ https:/
                                      Violence                  program is to build the     /       /
                                                                capacity of families and    sam.g www.
Department of Justice        16.820   Postconviction Testing    communities   to help
                                                                This programâ€™s            ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                      of DNA Evidence        primary goal is to assist      /       /
                                                             states and units of local      sam.g www.
                                                             government with                ov/fal/ usasp
Department of Justice        16.823   Emergency Planning for The purpose of this            https:/ https:/
                                      Juvenile Justice       project is to provide          /       /
                                      Facilities             funding to States to           sam.g www.
Department of Justice        16.824   Emergency Law          develop
                                                             Goal:  Thecomprehensive
                                                                          Emergency         ov/fal/ https:/
                                                                                            https:/ usasp
                                      Enforcement Assistance Federal Law               /       /
                                      Grant                    Enforcement Assistance sam.g www.
Department of Justice        16.825   Smart Prosecution        (EFLEA)
                                                               Goal(s): Program        ov/fal/
                                                                                       https:/ usasp
                                                                                               https:/
                                      Initiative                                       /       /
                                                               The purpose of the      sam.g www.
                                                               Innovative Prosecution ov/fal/ usasp
Department of Justice        16.827   Justice Reinvestment     Goal:                   https:/ https:/
                                      Initiative               Under the enacted       /       /
                                                               appropriations          sam.g www.
Department of Justice        16.828   Swift, Certain, and Fair language,
                                                               The purposetheofJustice
                                                                                the    ov/fal/
                                                                                       https:/ usasp
                                                                                               https:/
                                      Supervision Program: Swift, Certain, and Fair         /       /
                                      Applying the Principles (SCF) Supervision             sam.g www.
Department of Justice        16.830   Behind
                                      Girls    Project
                                            in the     HOPE Program
                                                   Juvenile    Increase is  to provide
                                                                         protective         ov/fal/ https:/
                                                                                            https:/ usasp
                                      Justice System           factors to prevent           /     /
                                                               further delinquent           sam.g www.
Department of Justice        16.831                            behavior
                                      Children of Incarcerated The  goal by  girls
                                                                         of this          ov/fal/ usasp
                                                                                          https:/ https:/
                                      Parents                 program is to assist        /       /
                                                              states and localities in    sam.g www.
Department of Justice        16.833   National Sexual Assault developing    or
                                                              Goal(s): Funding      under ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                      Kit Initiative          this initiative is intended /       /
                                                              to help law enforcement sam.g www.
                                                              and prosecutors             ov/fal/ usasp
Department of Justice        16.834   Domestic Trafficking    Under the Domestic          https:/ https:/
                                      Victim Program          Trafficking Victim          /       /
                                                              Program, OVC has            sam.g www.
Department of Justice        16.835   Body Worn Camera        established
                                                              Goal: Funding  the under    ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                      Policy and                the program is intended     /       /
                                      Implementation            to support law              sam.g www.
Department of Justice        16.836   Indigent Defense          enforcement,
                                                                This program supports       ov/fal/ https:/
                                                                                            https:/ usasp
                                                            states and localities in        /       /
                                                            developing and                  sam.g www.
                                                            implementing strategies         ov/fal/ usasp
Department of Justice        16.838   Comprehensive Opioid, Goal: The                       https:/ https:/
                                      Stimulant, and other  Comprehensive Opioid,           /       /
                                      Substances Use        Stimulant, and other            sam.g www.
Department of Justice        16.839   Program
                                      STOP School Violence Substances    UseSTOP
                                                            The goal of the                 ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                                                School Violence             /       /
                                                                Program is to improve       sam.g www.
                                                                school security by          ov/fal/ usasp
Department of Justice        16.840   Keep Young Athletes       Goals: To support           https:/ https:/
                                      Safe                      oversight of the U.S.       /       /
                                                                Olympic & Paralympic        sam.g www.
Department of Justice        16.841   VOCA Tribal Victim        Committee   and each
                                                                OVC administers   the       ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                      Services Set-Aside        Tribal Victim Services      /       /
                                      Program                   Set-Aside to provide        sam.g www.
Department of Justice        16.842   Opioid Affected Youth     support to AI/AN
                                                                Objectives  include         ov/fal/ https:/
                                                                                            https:/ usasp
                                      Initiative            implementing programs           /       /
                                                            and services that               sam.g www.
                                                            address public safety           ov/fal/ usasp
Department of Justice        16.844   Combatting Contraband Program inactive and            https:/ https:/
                                      Cell Phone Use in     pending archival.               /       /
                                      Prisons                                               sam.g www.
Department of Justice        16.888   Consolidated And      Goals:
                                                            The Consolidated Youth          ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                      Technical Assistance      Program supports            /       /
                                      Grant Program to          comprehensive,              sam.g www.
                                      Address Children and      community-based             ov/fal/ usasp
Department of Justice        16.889   Grants for Outreach       To develop and              https:/ https:/
                                      and Services to           implement outreach          /       /
                                      Underserved               strategies targeted at      sam.g www.
Department of Justice        16.922   Populations
                                      Equitable Sharing         adult or youth victims
                                                                The Department    of of     ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                      Program                   Justice Asset Forfeiture /        /
                                                                Program is a nationwide sam.g www.
Department of Labor          17.002   Labor Force Statistics    lawprovide,
                                                                To  enforcement
                                                                            analyze,      ov/fal/ usasp
                                                                                          https:/ https:/
                                                                and publish statistical   /       /
                                                                data on payroll           sam.g www.
                                                                employment and the        ov/fal/ usasp
Department of Labor          17.003   Prices and Cost of        To provide, analyze,      https:/ https:/
                                      Living Data               and publish statistical   /       /
                                                                data for assisting in the sam.g www.
Department of Labor          17.004   Productivity and          evaluation of consumer,
                                                                To provide, analyze,      ov/fal/
                                                                                          https:/ usasp
                                                                                                  https:/
                                      Technology Data           and publish data on         /       /
                                                                productivity trends in      sam.g www.
Department of Labor          17.005   Compensation and          theprovide,
                                                                To  U.S. economy,
                                                                            analyze,as      ov/fal/ https:/
                                                                                            https:/ usasp
                                      Working Conditions      and publish a diverse         /       /
                                                              set of measures of            sam.g www.
                                                              employee                      ov/fal/ usasp
Department of Labor          17.150   Employee Benefits       The Employee Benefits         https:/ https:/
                                      Security Administration Security Administration       /       /
                                                              (EBSA) is responsible         sam.g www.
Department of Labor          17.207   Employment Service/     for the
                                                              The      administration
                                                                    Employment              ov/fal/ https:/
                                                                                            https:/ usasp
                                      Wagner-Peyser Funded Service (ES) program             /       /
                                      Activities              brings together               sam.g www.
                                                              individuals looking for       ov/fal/ usasp
Department of Labor          17.225   Unemployment            To implement and              https:/ https:/
                                      Insurance               oversee unemployment          /       /
                                                              insurance programs for        sam.g www.
Department of Labor          17.235   Senior Community        eligible workers
                                                              The Senior        through
                                                                           Community        ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                      Service Employment        Service Employment          /       /
                                      Program                   Program (SCSEP) is a        sam.g www.
Department of Labor          17.245   Trade Adjustment          community
                                                                The       service and
                                                                    Trade Adjustment        ov/fal/ https:/
                                                                                            https:/ usasp
                                      Assistance                Assistance (TAA) for        /       /
                                                                Workers Program is a        sam.g www.
                                                                federal entitlement         ov/fal/ usasp
Department of Labor          17.258   WIOA Adult Program        Title I of the Workforce    https:/ https:/
                                                                Innovation and              /       /
                                                                Opportunity Act (WIOA)      sam.g www.
Department of Labor          17.259   WIOA Youth Activities     authorized
                                                                To  help lowthree of the
                                                                              income        ov/fal/ https:/
                                                                                            https:/ usasp
                                                             youth, between the             /       /
                                                             ages of 14 and 24,             sam.g www.
                                                             acquire the educational        ov/fal/ usasp
Department of Labor          17.261   Workforce Data Quality Address national               https:/ https:/
                                      Initiative (WDQI)      employment and                 /       /
                                                             training issues through        sam.g www.
Department of Labor          17.264   National Farmworker    demonstrations,
                                                             To help low-incomepilot        ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                      Jobs Program              individuals who are         /       /
                                                                primarily employed in       sam.g www.
Department of Labor          17.265   Native American           agricultural
                                                                To           and fish
                                                                   support employment       ov/fal/ https:/
                                                                                            https:/ usasp
                                      Employment and            and training services for   /       /
                                      Training                  Native Americans,           sam.g www.
                                                                Alaska Natives, and         ov/fal/ usasp
Department of Labor          17.268   H-1B Job Training         The H-1B Skills Training    https:/ https:/
                                      Grants                    Grants provide training     /       /
                                                                and related activities to   sam.g www.
Department of Labor          17.270   Reentry Employment        workers
                                                                This     to assist
                                                                     program       them
                                                                              includes      ov/fal/ https:/
                                                                                            https:/ usasp
                                      Opportunities             both reentry grants         /       /
                                                                focused on serving          sam.g www.
Department of Labor          17.271   Work Opportunity Tax      returning adults
                                                                This federal     and
                                                                             tax credit     ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                      Credit Program            was designed to help        /       /
                                      (WOTC)                    individuals from certain    sam.g www.
Department of Labor          17.272   Permanent Labor           targeted
                                                                To ensuregroups   who
                                                                           that the         ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                      Certification for Foreign admission of foreign        /     /
                                      Workers                   workers into the United     sam.g www.
Department of Labor          17.273   Temporary Labor           States
                                                                To     does
                                                                   assure    notthe
                                                                          that            ov/fal/ https:/
                                                                                          https:/ usasp
                                      Certification for Foreign admission of foreign      /       /
                                      Workers                   workers into the United sam.g www.
                                                                States will not adversely ov/fal/ usasp




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                      Case 1:25-cv-00039-JJM-PAS                                                              Document 114-1   Filed 02/13/25   Page 46 of 77 PageID
                                                                                                                     #: 7314
Department of Labor        17.274   YouthBuild                Grant funds will be used https:/ https:/
                                                              to equip underserved      /       /
                                                              youth with the            sam.g www.
Department of Labor        17.277   WIOA National             education
                                                              DWGs     areand           ov/fal/
                                                                                        https:/ usasp
                                                                                                https:/
                                    Dislocated Worker         supplemental, time-       /       /
                                    Grants / WIA National     limited funding           sam.g www.
Department of Labor        17.278   Emergency  Grants
                                    WIOA Dislocated           assistance
                                                              Title I of theprovided in
                                                                             Workforce  ov/fal/
                                                                                        https:/ usasp
                                                                                                https:/
                                    Worker Formula Grants Innovation and                    /       /
                                                          Opportunity Act (WIOA)            sam.g www.
                                                          authorized three of the           ov/fal/ usasp
Department of Labor        17.280   WIOA Dislocated       To carry out                      https:/ https:/
                                    Worker National       demonstration and pilot           /       /
                                    Reserve Demonstration projects for the purpose          sam.g www.
Department of Labor        17.281   GrantsDislocated
                                    WIOA                  of developing
                                                          To support theand                 ov/fal/ https:/
                                                                                            https:/ usasp
                                    Worker National         coordination,                   /       /
                                    Reserve Technical       development, and                sam.g www.
Department of Labor        17.285   Assistance
                                    Registered and Training provision
                                                            The Officeofofappropriate       ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    Apprenticeship         Apprenticeship                   /       /
                                                           promotes, engages and            sam.g www.
                                                           assists industry in the          ov/fal/ usasp
Department of Labor        17.287   Job Corps Experimental The goal of the                  https:/ https:/
                                    Projects and Technical demonstration is to              /       /
                                    Assistance             focus on creating IT-            sam.g www.
Department of Labor        17.289   Community Project      based  training
                                                           The goal  is to fund             ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    Funding/                  projects in the amounts       /       /
                                    Congressionally           specified in the table        sam.g www.
                                    Directed Spending         titled â€œCommunity           ov/fal/ usasp
Department of Labor        17.290   WIOA Adult, Dislocated    The WIOA Adult,               https:/ https:/
                                    Worker and Youth          Dislocated Worker and         /       /
                                    Outlying Areas            Youth Outlying Areas          sam.g www.
Department of Labor        17.302   Consolidated
                                    Longshore    Grants
                                               and Harbor     Consolidated
                                                              To   provide   Grants,        ov/fal/ https:/
                                                                                            https:/ usasp
                                    Workers' Compensation compensation for                  /       /
                                                          disability or death               sam.g www.
Department of Labor        17.307   Coal Mine Workers'    resulting
                                                          To provide from injury,to
                                                                       benefits             ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    Compensation              coal miners who have          /       /
                                                              become totally disabled       sam.g www.
                                                              due to coal workers'          ov/fal/ usasp
Department of Labor        17.310   Energy Employees          Part B provides lump-         https:/ https:/
                                    Occupational Illness      sum monetary                  /       /
                                    Compensation              payments and medical          sam.g www.
Department of Labor        17.401   International Labor       benefits to covered
                                                              The Bureau   of               ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    Programs                  International Labor           /       /
                                                              Affairs (ILAB) promotes       sam.g www.
                                                              a fair global playing field   ov/fal/ usasp
Department of Labor        17.502   Occupational Safety       To provide occupational       https:/ https:/
                                    and Health Susan          safety and health             /       /
                                    Harwood Training          training and education        sam.g www.
Department of Labor        17.503   Grants
                                    Occupational Safety       to employees
                                                              To              and
                                                                  fund federally            ov/fal/ https:/
                                                                                            https:/ usasp
                                    and Health State          approved                      /       /
                                    Program                   comprehensive State           sam.g www.
Department of Labor        17.504   Consultation              occupational safety and
                                                              To fund consultative          ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    Agreements             workplace safety and             /       /
                                                           health services,                 sam.g www.
                                                           targeting smaller                ov/fal/ usasp
Department of Labor        17.600   Mine Health and Safety To assist States in              https:/ https:/
                                    Grants                 providing safety and             /       /
                                                           health training and              sam.g www.
Department of Labor        17.603   Brookwood-Sago Grant develop    programs
                                                           To provide          to
                                                                       mine safety          ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                                              and health training and       /       /
                                                              education programs for        sam.g www.
Department of Labor        17.604   Safety and Health         workers
                                                              To      and
                                                                 provide   mine
                                                                         mine  safety       ov/fal/ https:/
                                                                                            https:/ usasp
                                    Grants                    and health training and       /     /
                                                              education to miners,          sam.g www.
Department of Labor        17.700   Women's Bureau            mineWomenâ€™s
                                                              The  operators, and    ov/fal/ usasp
                                                                                     https:/ https:/
                                                            Bureau was created by /          /
                                                            law in 1920 to formulate sam.g www.
Department of Labor        17.701   Women in                standards  andispolicies
                                                            This program             ov/fal/
                                                                                     https:/ usasp
                                                                                             https:/
                                    Apprenticeship and      intended to award        /       /
                                    Nontraditional          grants to community-     sam.g www.
                                    Occupations             based organizations to ov/fal/ usasp
Department of Labor        17.720   Disability Employment The Office of Disability   https:/ https:/
                                    Policy Development      Employment Policy        /       /
                                                            (ODEP) provides          sam.g www.
Department of Labor        17.801   Jobs for Veterans State national
                                                            The Jobsleadership   on
                                                                      for Veterans   ov/fal/
                                                                                     https:/ usasp
                                                                                             https:/
                                    Grants                  State Grants (JVSG)      /       /
                                                            program provides         sam.g www.
Department of Labor        17.805   Homeless                federal
                                                            The     funding through https:/
                                                                 Homeless            ov/fal/ https:/
                                                                                             usasp
                                    Veteransâ€™               Veteransâ€™                   /       /
                                    Reintegration Program     Reintegration Program         sam.g www.
                                                              (HVRP) provides               ov/fal/ usasp
Department of Labor        17.807   Transition Assistance     To provide employment         https:/ https:/
                                    Program                   instruction, information      /       /
                                                              and assistance to             sam.g www.
Department of State        19.009   Academic Exchange         separating  andby
                                                              As authorized     retiring
                                                                                  the       ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    Programs -                Fulbright-Hays Act, the       /       /
                                    Undergraduate             Bureau of Educational         sam.g www.
                                    Programs                  and Cultural Affairs          ov/fal/ usasp
Department of State        19.010   Academic Exchange         As authorized by the          https:/ https:/
                                    Programs - Hubert H.      Fulbright-Hays Act, the       /       /
                                    Humphrey Fellowship       Bureau of Educational         sam.g www.
Department of State        19.011   Program
                                    Academic Exchange         and Cultural Affairs
                                                              As authorized by the          ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    Programs - Special        Fulbright-Hays Act, the       /       /
                                    Academic Exchange         Bureau of Educational         sam.g www.
Department of State        19.012   Programs
                                    Professional and          andauthorized
                                                              As  Cultural Affairs
                                                                            by the          ov/fal/ https:/
                                                                                            https:/ usasp
                                    Cultural Exchange         Fulbright-Hays Act, the       /       /
                                    Programs - Special        Bureau of Educational         sam.g www.
                                    Professional and          and Cultural Affairs          ov/fal/ usasp
Department of State        19.013   Thomas R. Pickering       As authorized by              https:/ https:/
                                    Foreign Affairs           authorizations stated         /       /
                                    Fellowship Program        above. Pickering              sam.g www.
Department of State        19.015   Cultural, Technical and   Program
                                                              To assist offers
                                                                        variousonly         ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    Educational Centers       organizations identified      /       /
                                                              by Congress to achieve        sam.g www.
                                                              objectives specified by       ov/fal/ usasp
Department of State        19.017   Environmental and         To support sustainable        https:/ https:/
                                    Scientific Partnerships   growth across the             /       /
                                    and Programs              globe, the Bureau of          sam.g www.
Department of State        19.018   Resettlement Support      Oceans,  Environment,
                                                              The purpose  of the           ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    Centers (RSCs) for U.S. Resettlement Support            /       /
                                    Refugee Resettlement Centers (RSCs) is to               sam.g www.
Department of State        19.019                           assist
                                    International Programs The     the Bureau
                                                                mission  of theinTIP        ov/fal/ https:/
                                                                                            https:/ usasp
                                    to Combat Human           Office is to combat           /       /
                                    Trafficking               human trafficking (a/k/a      sam.g www.
                                                              modern slavery) by            ov/fal/ usasp
Department of State        19.020   Charles B. Rangel         To increase the number        https:/ https:/
                                    International Affairs     of minorities interested      /       /
                                    Program                   in and prepared for           sam.g www.
Department of State        19.021   Investing in People in    international service,
                                                              To support programs,          ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    The Middle East and       projects and activities to /       /
                                    North Africa              include (but not limited   sam.g www.
Department of State        19.022   Educational and         to) provide
                                                            To  cultural,assistance
                                                                          educational,   ov/fal/ https:/
                                                                                         https:/ usasp
                                    Cultural Exchange       awards by U.S.                  /       /
                                    Programs Appropriation diplomatic missions              sam.g www.
                                    Overseas Grants         abroad made directly to         ov/fal/ usasp
Department of State        19.023   Overseas Schools        The Office of Overseas          https:/ https:/
                                    Program                 Schools promotes                /       /
                                                            quality educational             sam.g www.
Department of State        19.024                           opportunities
                                    Soft Target Program for Improve        at the
                                                                      physical              ov/fal/ https:/
                                                                                            https:/ usasp
                                    Overseas Schools          security of overseas          /       /
                                                              schools to deter or           sam.g www.
                                                              lessen the impact of          ov/fal/ usasp
Department of State        19.025   U.S. Ambassadors          1) Support the                https:/ https:/
                                    Fund for Cultural         preservation of cultural      /       /
                                    Preservation              heritage overseas             sam.g www.
Department of State        19.026   Global Peace              The GPOI program              ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    Operations Initiative     enhances international /           /
                                                              capacity to effectively    sam.g www.
Department of State        19.027   Energy Governance         conduct
                                                              The U.S.UN   and
                                                                        Department    of ov/fal/ usasp
                                                                                         https:/ https:/
                                    and Reform Programs       Stateâ€™s Bureau of        /       /
                                                              Energy Resources           sam.g www.
                                                              (ENR) programs             ov/fal/ usasp
Department of State        19.029   The U.S. President's      The Office of the U.S.     https:/ https:/
                                    Emergency Plan for        Global AIDS                /       /
                                    AIDS Relief Programs      Coordinator is             sam.g www.
Department of State        19.033   Global Threat             responsible
                                                              The          for
                                                                  U.S. Department        ov/fal/ https:/
                                                                                      of https:/ usasp
                                    Reduction               State's Office of               /       /
                                                            Cooperative Threat              sam.g www.
                                                            Reduction (ISN/CTR),            ov/fal/ usasp
Department of State        19.035   Cyber Capacity Building To enhance global               https:/ https:/
                                                            cybersecurity                   /       /
                                                                                            sam.g www.
Department of State        19.036   Cultural Antiquities Task The Cultural Antiquities      ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    Force                     Task Force (CATF)             /       /
                                                              comprises U.S. federal        sam.g www.
Department of State        19.040   Public Diplomacy          agencies
                                                              To supportthat
                                                                          theshare a        ov/fal/ https:/
                                                                                            https:/ usasp
                                    Programs                  achievement of U.S.           /       /
                                                              foreign policy goals and      sam.g www.
                                                              objectives, advance           ov/fal/ usasp
Department of State        19.087   International Fisheries   The commissions and           https:/ https:/
                                    Commissions               organizations funded by       /       /
                                                              this appropriation            sam.g www.
Department of State        19.108   Bureau of South and       enable
                                                              To      the the
                                                                  support United State
                                                                              goals of      ov/fal/ https:/
                                                                                            https:/ usasp
                                    Central Asian Affairs    the U.S. Department of         /       /
                                                             State, Bureau of South         sam.g www.
Department of State        19.121   Conflict and             and
                                                             The Central
                                                                  Bureau Asian
                                                                           of Conflict      ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    Stabilization Operations and Stabilization              /       /
                                                             Operations (CSO) is            sam.g www.
Department of State        19.124   East Asia and Pacific    part of the
                                                             Support   theUnder
                                                                           foreign          ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                    Grants Program            assistance goals and          /     /
                                                              objectives of the             sam.g www.
Department of State        19.204   Fishermen's Guaranty      Department
                                                              To           of State,
                                                                 provide for             ov/fal/ https:/
                                                                                         https:/ usasp
                                    Fund                      reimbursement of           /       /
                                                              losses incurred as a       sam.g www.
                                                              result of the seizure of a ov/fal/ usasp




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                      Case 1:25-cv-00039-JJM-PAS                                                                Document 114-1   Filed 02/13/25   Page 47 of 77 PageID
                                                                                                                       #: 7315
Department of State        19.205   Foreign Affairs IT (FAIT) Develop new               https:/ https:/
                                    Fellowship                Information Technology /          /
                                                              talent for the            sam.g www.
Department of State        19.207   William D. Clarke, Sr.    Department
                                                              Develop   newofDiplomatic ov/fal/
                                                                                        https:/ usasp
                                                                                                https:/
                                    Fellowship                Security talent for the   /       /
                                                              Department of             sam.g www.
Department of State        19.209   Student Programs and Stateâ€™s          Foreign
                                                              Attract and recruit       ov/fal/
                                                                                        https:/ usasp
                                                                                                https:/
                                    Fellowships                highly talented and            /       /
                                                               qualified candidates           sam.g www.
                                                               who inclusively                ov/fal/ usasp
Department of State        19.220   Ambassadors' Special       The U.S. Ambassadors'          https:/ https:/
                                    Self Help Fund             Special Self-Help              /       /
                                                               program is a grass-            sam.g www.
Department of State        19.221   Regional Democracy         roots
                                                               To     assistance
                                                                  support   democracy         ov/fal/ https:/
                                                                                              https:/ usasp
                                    Program                    and human rights in the        /       /
                                                               Near East region.              sam.g www.
Department of State        19.222   Trans-Sahara               The Trans-Sahara               ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    Counterterrorism           Counterterrorism               /       /
                                    Partnership (TSCTP)        Partnership (TSCTP)            sam.g www.
                                                               policy objective is to         ov/fal/ usasp
Department of State        19.223   South Sudan and            The goal of the Sudan          https:/ https:/
                                    Sudan Assistance           and South Sudan                /       /
                                    Program                    Assistance Program is          sam.g www.
Department of State        19.224   Nonproliferation and       to
                                                               Theadvance  U.S.
                                                                    Nonproliferation          ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    Disarmament Fund           and Disarmament Fund           /       /
                                                               (NDF) provides a               sam.g www.
                                                               means for the U.S.             ov/fal/ usasp
Department of State        19.225   Africa Regional            This program supports          https:/ https:/
                                    Democracy Fund             democratic processes           /       /
                                                               and promotes strong            sam.g www.
Department of State        19.300   Program for Study of       democratic
                                                               Develop,   norms and
                                                                        support,              ov/fal/ https:/
                                                                                              https:/ usasp
                                    Eastern Europe and the deepen American                    /       /
                                    Independent States of expertise in the                    sam.g www.
Department of State        19.301   the
                                    TheFormer  Soviet
                                        Secretary's Office countries of Eastern
                                                           Support the  foreign               ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    of the Global              assistance goals and           /       /
                                    Partnership Initiative (S/ objectives of the              sam.g www.
                                    GPI) Grant Programs        Department of State,           ov/fal/ usasp
Department of State        19.303   Decrypting PRC             Funds will support a           https:/ https:/
                                    Industrial and             comprehensive                  /       /
                                    Technology Policy          research plan to               sam.g www.
Department of State        19.322   Economic Statecraft        compile,
                                                               To place categorize,
                                                                        economics and         ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                                           market forces at the               /       /
                                                           center of U.S. foreign             sam.g www.
                                                           policy by both                     ov/fal/ usasp
Department of State        19.334   Office of the Biological
                                                           The Office of The                  https:/ https:/
                                    Policy Staff           Biological Policy Staff            /       /
                                                           (ISN/BPS) works to                 sam.g www.
Department of State        19.345                          impede
                                    International Programs DRL      andtargeted
                                                                 funds  roll back             ov/fal/ https:/
                                                                                              https:/ usasp
                                    to Support Democracy, democracy and human                 /       /
                                    Human Rights and       rights programs to                 sam.g www.
Department of State        19.355   Labor
                                    International Programs address  human
                                                           IRF programs      rights
                                                                          counter             ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    to Support the Freedom government or societal             /       /
                                    of Religion or Belief  constraints on religious           sam.g www.
                                                           freedom, particularly for          ov/fal/ usasp
Department of State        19.400   Academic Exchange      As authorized by the               https:/ https:/
                                    Programs - Graduate    Fulbright-Hays Act, the            /       /
                                    Students               Bureau of Educational              sam.g www.
Department of State        19.401   Academic Exchange      and Cultural Affairs
                                                           As authorized  by the              ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    Programs - Scholars        Fulbright-Hays Act, the        /       /
                                                               Bureau of Educational          sam.g www.
Department of State        19.402   Professional and         andauthorized
                                                             As  Cultural Affairs
                                                                           by the             ov/fal/ https:/
                                                                                              https:/ usasp
                                    Cultural Exchange        Fulbright-Hays Act, the          /       /
                                    Programs - International Bureau of Educational            sam.g www.
Department of State        19.408   Visitor Leadership
                                    Academic   Exchange      andauthorized
                                                             As  Cultural Affairs
                                                                           by the             ov/fal/ https:/
                                                                                              https:/ usasp
                                    Programs - Teachers        Fulbright-Hays Act, the        /       /
                                                               Bureau of Educational          sam.g www.
Department of State        19.415   Professional and           and  Cultural
                                                               Citizen       Affairs
                                                                       Exchange               ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    Cultural Exchange          activities include             /       /
                                    Programs - Citizen         American Film                  sam.g www.
                                    Exchanges                  Showcase, American             ov/fal/ usasp
Department of State        19.421   Academic Exchange          As authorized by the           https:/ https:/
                                    Programs - English         Fulbright-Hays Act, the        /       /
                                    Language Programs          Bureau of Educational          sam.g www.
Department of State        19.432   Academic Exchange          and  Cultural Affairs
                                                               As authorized   by the         ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    Programs - Educational Fulbright-Hays Act, the            /       /
                                    Advising and Student   Bureau of Educational              sam.g www.
Department of State        19.440   Services
                                    ECA  U.S. Speaker      andauthorized
                                                           As  Cultural Affairs
                                                                         by the               ov/fal/ https:/
                                                                                              https:/ usasp
                                    Program                    Fulbright-Hays Act, the        /       /
                                                               Office of the U.S.             sam.g www.
                                                               Speaker Program of the         ov/fal/ usasp
Department of State        19.441   ECA â€“ American           As authorized by the           https:/ https:/
                                    Spaces                     Fulbright-Hays Act,            /       /
                                                               American Spaces are            sam.g www.
Department of State        19.450   ECA Individual Grants      cultural andindividual
                                                               To provide    information      ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                                            assistance awards by              /       /
                                                            the Bureau of                     sam.g www.
                                                            Educational and                   ov/fal/ usasp
Department of State        19.451   Special International   To provide special                https:/ https:/
                                    Exchange Grant          grants for international          /       /
                                    Programs                exchanges and other               sam.g www.
Department of State        19.452   International Exchange activities that support
                                                            As authorized   by the            ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    Alumni Programs         Fulbright-Hays Act, the           /       /
                                                            Bureau of Educational             sam.g www.
Department of State        19.500                           and Cultural
                                    Middle East Partnership The           Affairs
                                                                U.S.-Middle    East           ov/fal/ https:/
                                                                                              https:/ usasp
                                    Initiative                 Partnership Initiative         /       /
                                                               supports organizations         sam.g www.
                                                               and individuals in their       ov/fal/ usasp
Department of State        19.501   Public Diplomacy           The U.S. Government            https:/ https:/
                                    Programs for               (USG) is providing             /       /
                                    Afghanistan and            resources to promote           sam.g www.
Department of State        19.502   Pakistan
                                    Middle East Regional       diplomatic
                                                               The Middlesolutions,
                                                                           East               ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    Cooperation Program        Regional Cooperation           /       /
                                                               (MERC) Program funds           sam.g www.
                                                               peer-reviewed,                 ov/fal/ usasp
Department of State        19.510   U.S. Refugee               Initial reception and          https:/ https:/
                                    Admissions Program         placement program for          /       /
                                                               refugees approved for          sam.g www.
Department of State        19.511   Overseas Refugee           admission
                                                               The Bureauinof the United      ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    Assistance Programs        Population, Refugees,          /       /
                                    for East Asia              and Migration (PRM)            sam.g www.
Department of State        19.515   Contributions to           supports NGO
                                                               Provision of voluntary         ov/fal/ https:/
                                                                                              https:/ usasp
                                    International              and assessed                   /       /
                                    Organizations for          contributions to Public        sam.g www.
                                    Overseas Assistance        International                  ov/fal/ usasp
Department of State        19.517   Overseas Refugee           Assistance will                https:/ https:/
                                    Assistance Programs        contribute to the basic        /       /
                                    for Africa                 needs of refugees and          sam.g www.
Department of State        19.518   Overseas Refugee           conflict
                                                               Bureau victims
                                                                        supportspread
                                                                                saves         ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    Assistance Programs        lives, eases suffering,        /       /
                                    for Western                and promotes human             sam.g www.
Department of State        19.519   Hemisphere
                                    Overseas Refugee           dignity through
                                                               Providing       efficient
                                                                          protection          ov/fal/ https:/
                                                                                              https:/ usasp
                                    Assistance Program for     and assistance to              /       /
                                    Middle East and North      Syrian and Iraqi               sam.g www.
                                    Africa Program             refugees, conflict             ov/fal/ usasp
Department of State        19.520   Overseas Refugee           Funding of                     https:/ https:/
                                    Assistance Programs        organizations that assist      /       /
                                    for Europe                 refugees and internally        sam.g www.
Department of State        19.522   Overseas Refugee           displaced
                                                               Bureau    persons
                                                                       support  under         ov/fal/ https:/
                                                                                              https:/ usasp
                                    Assistance Programs    this program includes              /       /
                                    for Strategic Global   select support to unique           sam.g www.
                                    Priorities             programs of                        ov/fal/ usasp
Department of State        19.523   Overseas Refugee       The Bureau will                    https:/ https:/
                                    Assistance Program for continue support for the           /       /
                                    South Asia             return and reintegration           sam.g www.
Department of State        19.600   Bureau of Near Eastern programs
                                                           Support theforforeign
                                                                          Afghan              ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    Affairs                    assistance goals and           /       /
                                                               objectives of the              sam.g www.
Department of State        19.601   Syria Assistance           Department
                                                               Support      of State,
                                                                        the foreign           ov/fal/ https:/
                                                                                              https:/ usasp
                                    Program                    assistance goals and           /       /
                                                               objectives of the              sam.g www.
                                                               Department of State,           ov/fal/ usasp
Department of State        19.662   Fiscal Transparency        To help governments to         https:/ https:/
                                    Innovation Fund            improve budget                 /       /
                                                               transparency and to            sam.g www.
Department of State        19.663   Global                     support
                                                               â€¢     civil
                                                                    Build    society
                                                                          Connections:        ov/fal/ https:/
                                                                                              https:/ usasp
                                    Telecommunications     Expand and increase                /       /
                                    and Emerging           secure Internet access             sam.g www.
                                    Technology Training    in targeted emerging               ov/fal/ usasp
Department of State        19.665   Cyberspace and Digital Build Connections by               https:/ https:/
                                    Policy                 promoting investments              /       /
                                                           in secure, diverse, and            sam.g www.
Department of State        19.666   EUR/ACE National       resilient
                                                           To advanceICT democracy            ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    Endowment for           in Europe, Eurasia and            /       /
                                    Democracy Small         Central Asia by                   sam.g www.
Department of State        19.701   Grants                  providing
                                    Global Counterterrorism The       support
                                                                 Bureau of    to              ov/fal/ https:/
                                                                                              https:/ usasp
                                    Programs                   Counterterrorism (CT)          /       /
                                                               builds foreign partner         sam.g www.
                                                               law enforcement                ov/fal/ usasp
Department of State        19.703   Criminal Justice           Institutionalize rule of       https:/ https:/
                                    Systems                    law by developing and          /       /
                                                               expanding criminal             sam.g www.
Department of State        19.704   Counter Narcotics          justice systems
                                                               Disrupt           to
                                                                        the overseas          ov/fal/ https:/
                                                                                              https:/ usasp
                                                               production and                 /       /
                                                               trafficking of illicit drugs   sam.g www.
Department of State        19.705   Trans-National Crime       through
                                                               Minimizetargeted
                                                                          the impact of       ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                                               transnational crime and        /       /
                                                               criminal networks on           sam.g www.
Department of State        19.706   Partnership for            the
                                                               TheU.S.  and its
                                                                    objective of allies
                                                                                 this         ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                    Regional East Africa   program is to build the            /       /
                                    Counterterrorism       capacity and resilience            sam.g www.
Department of State        19.707                          of military,
                                    Assessed Contributions To support law
                                                                        the goals of          ov/fal/ https:/
                                                                                              https:/ usasp
                                    for State Department       the U.S. Department of         /       /
                                                               State. This is for             sam.g www.
                                                               Assessed Contributions         ov/fal/ usasp




                                                                                                                         32
                             Case 1:25-cv-00039-JJM-PAS                                                            Document 114-1   Filed 02/13/25   Page 48 of 77 PageID
                                                                                                                          #: 7316
Department of State               19.750   Bureau of Western       Support the foreign           https:/ https:/
                                           Hemisphere Affairs      assistance goals and          /       /
                                           (WHA) Grant Programs objectives of the                sam.g www.
Department of State               19.777   (includingStrong
                                           100,000    Energyin and
                                                               the Department
                                                                   Increase theof State, of
                                                                                number           ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Americas Innovation     grants available to HEIs      /       /
                                           Fund                    throughout the Western        sam.g www.
Department of State               19.790   Contributions to        Hemisphere.
                                                                   US membershipFoster
                                                                                     in          ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           International           organizations to which        /       /
                                           Organizations- CIO      fees are given to             sam.g www.
                                                                   administer joint              ov/fal/ usasp
Department of State               19.791   Voluntary Contributions IO promotes U.S.              https:/ https:/
                                           to International        foreign policy strategic      /       /
                                           Organizations           goals and U.S. interests      sam.g www.
Department of State               19.792                           through
                                           Assessed Contributions IO        multilateral
                                                                      promotes   U.S.            ov/fal/ https:/
                                                                                                 https:/ usasp
                                           to International        foreign policy strategic      /       /
                                           Organizations           goals and U.S. interests      sam.g www.
Department of State               19.793   Bureau of International through
                                                                   Support multilateral
                                                                               the foreign       ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Organization Affairs    assistance goals and          /       /
                                           Grants Program          objectives of the             sam.g www.
                                                                   Department of State,          ov/fal/ usasp
Department of State               19.800   Weapons Removal and To reduce the threats             https:/ https:/
                                           Abatement               posed to civilian             /       /
                                                                   security by at-risk,          sam.g www.
Department of State               19.801   Office of Global        illicitly proliferated, and
                                                                   The Secretaryâ€™s             ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Women's Issues           Office of Global             /       /
                                                                    Womenâ€™s Issues             sam.g www.
                                                                    (S/GWI) promotes the         ov/fal/ usasp
Department of State               19.808   Multilateral and Nuclear To support the goals of      https:/ https:/
                                           Affairs                  the U.S. Department of       /       /
                                                                    State. This is for           sam.g www.
Department of State               19.878   EUR-Other                payments
                                                                    The        only
                                                                         primary  goalby/for
                                                                                        is to    ov/fal/ https:/
                                                                                                 https:/ usasp
                                                                 promote democratic              /       /
                                                                 and free market                 sam.g www.
Department of State               19.888   Global Defense Reform transitions  in the former
                                                                 Enhance security     sector     ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Program               governance and build            /       /
                                                                 the institutional capacity      sam.g www.
                                                                 of select U.S.                  ov/fal/ usasp
Department of State               19.900   AEECA/ESF PD          To provide civil society        https:/ https:/
                                           Programs              and democracy building          /       /
                                                                 public diplomacy                sam.g www.
Department of State               19.901   Export Control and    programs    within
                                                                 The U.S. Department      of     ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Related Border Security Stateâ€™s Bureau of           /       /
                                                                   International Security        sam.g www.
                                                                   and Nonproliferation,         ov/fal/ usasp
Department of State               19.903   Cooperation on          The goal is to support        https:/ https:/
                                           Peaceful Uses of        the Sustained Dialogue        /       /
                                           Nuclear Energy          on Peaceful Uses, to          sam.g www.
Department of State               19.948   Organization of         provideshall
                                                                   Funds    a continuing
                                                                                be for           ov/fal/ https:/
                                                                                                 https:/ usasp
                                           American States        Organization of                /       /
                                           Programs               American States                sam.g www.
Department of State               19.973   Assessed Contributions development    assistance
                                                                  IO promotes U.S.               ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           to International       foreign policy strategic       /       /
                                           Organizations/CIPA     goals and U.S. interests       sam.g www.
                                                                  through multilateral           ov/fal/ usasp
Department of State               19.979   Regional Peace and     The Office of Security         https:/ https:/
                                           Security               Affairs in the                 /       /
                                                                  Department of                  sam.g www.
Department of State               19.980   Partnership for        Stateâ€™s
                                                                  The objective Bureau
                                                                                 of thisof       ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Regional East Africa     program is to build the      /       /
                                           Counterterrorism         capacity and resilience      sam.g www.
Department of State               19.989   (PREACT):                of military,
                                           State/African Regional - This CFDAlaw number will     ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Other Economic            be for projects and         /       /
                                           Support Funds (ESF)       programs funded             sam.g www.
Department of State               19.990   Projects/Programs
                                           International Justice     through thejustice
                                                                     Increased    Africaand      ov/fal/ https:/
                                                                                                 https:/ usasp
                                           and Accountability        accountability              /       /
                                           Programming               worldwide.                  sam.g www.
Department of the Interior        15.011   Experienced Services      The Experienced             ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Program                   Services Program            /       /
                                                                     (ESP) will provide          sam.g www.
                                                                     support to the National     ov/fal/ usasp
Department of the Interior        15.012   Outdoor Schools in        The collaboration           https:/ https:/
                                           National Parks            between the NPS and         /       /
                                                                     Outdoor Schools are         sam.g www.
Department of the Interior        15.013   Alaska Native Science     highly effective
                                                                     The Bureau       in
                                                                                   of Ocean      ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           and Engineering           Energy Management           /       /
                                                                     (BOEM) provides major       sam.g www.
Department of the Interior        15.014   Supporting the Lower      economic
                                                                     The      and energy
                                                                         program                 ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Mississippi Delta         establishes financial       /       /
                                           Initiative                assistance agreements       sam.g www.
                                                                     between the National        ov/fal/ usasp
Department of the Interior        15.015   Good Neighbor             The Good Neighbor           https:/ https:/
                                           Authority                 Authority (GNA) is          /       /
                                                                     intended to expand          sam.g www.
Department of the Interior        15.016   Experienced Services      limited federal capacity
                                                                     The Experienced             ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Program                   Services Program            /       /
                                                                     (ESP) will provide          sam.g www.
                                                                     services to the Bureau      ov/fal/ usasp
Department of the Interior        15.017   Eastern Nevada            This program advances       https:/ https:/
                                           Conservation,             the Department of the       /       /
                                           Recreation and            Interiorâ€™s role as        sam.g www.
Department of the Interior        15.018   Development
                                           Energy Community          stewards
                                                                     To reduceofmethane
                                                                                  the public
                                                                                          and    ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Revitalization Program    other greenhouse gas     /       /
                                           (ECRP)                    emissions, help clean    sam.g www.
Department of the Interior        15.019   Experienced Services      up water
                                                                     The  ESP contamination,
                                                                                program       ov/fal/ usasp
                                                                                              https:/ https:/
                                                                     provide funding that     /       /
                                                                     allows agencies to enter sam.g www.
                                                                     into agreements with     ov/fal/ usasp
Department of the Interior        15.020   Aid To Tribal             To provide funds to      https:/ https:/
                                           Governments               Indian tribal            /       /
                                                                     governments to support sam.g www.
Department of the Interior        15.021   Consolidated Tribal       general  tribal
                                                                     To promote Indian self   ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                           Government             determination and              /       /
                                                                  improve the quality of         sam.g www.
                                                                  life in Tribal                 ov/fal/ usasp
Department of the Interior        15.022   Tribal Self-Governance To further the goals of        https:/ https:/
                                                                  Indian Self-                   /       /
                                                                  Determination by               sam.g www.
Department of the Interior        15.024   Indian Self-           providing
                                                                  To providefunds
                                                                               fundstoto         ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Determination Contract Federally Recognized           /       /
                                           Support                Indian Tribal                  sam.g www.
Department of the Interior        15.025   Services to Indian     Governments
                                                                  To            andtoto
                                                                     provide funds               ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Children, Elderly and     Federally Recognized        /       /
                                           Families                  Indian Tribal               sam.g www.
                                                                     Governments to              ov/fal/ usasp
Department of the Interior        15.026   Indian Adult Education    To improve the              https:/ https:/
                                                                     educational                 /       /
                                                                     opportunities for Indian    sam.g www.
Department of the Interior        15.027   Assistance to Tribally    adults who grants
                                                                     To provide  lack the
                                                                                        for      ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Controlled Community      the operation and           /       /
                                           Colleges and              improvement of Tribal       sam.g www.
Department of the Interior        15.028   Universities
                                           Tribally Controlled       Collegeshas
                                                                     Funding  andnot been        ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Community College         provided for this           /       /
                                           Endowments                program. The listing        sam.g www.
                                                                     remains active in           ov/fal/ usasp
Department of the Interior        15.029   Tribal Courts             To provide funds to         https:/ https:/
                                                                     Federally Recognized        /       /
                                                                     Indian Tribal               sam.g www.
Department of the Interior        15.030   Indian Law                Governments
                                                                     To             to to
                                                                        provide funds            ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Enforcement               Indian Tribal               /       /
                                                                     Governments to              sam.g www.
                                                                     operate police              ov/fal/ usasp
Department of the Interior        15.031   Indian Community Fire     To provide funds to         https:/ https:/
                                           Protection                perform fire protection     /       /
                                                                     services for Indian         sam.g www.
Department of the Interior        15.032   Indian Economic           Tribal Governments
                                                                     To assist Federally that    ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Development               Recognized Indian           /       /
                                                                     Tribal Governments by       sam.g www.
Department of the Interior        15.033   Road Maintenance          providing
                                                                     To providethe  resources
                                                                                 limited         ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Indian Roads              routine and preventive      /       /
                                                                     maintenance on BIA          sam.g www.
                                                                     transportation facilities   ov/fal/ usasp
Department of the Interior        15.034   Agriculture on Indian     To protect and restore      https:/ https:/
                                           Lands                     the agricultural            /       /
                                                                     (cropland and               sam.g www.
Department of the Interior        15.035   Forestry on Indian        rangeland)
                                                                     To maintain,resources
                                                                                   protect,      ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Lands                    enhance, and develop         /       /
                                                                    Indian forest resources      sam.g www.
                                                                    through the execution of     ov/fal/ usasp
Department of the Interior        15.036   Indian Rights Protection To protect Indian rights     https:/ https:/
                                                                    guaranteed through           /       /
                                                                    treaty or statute by         sam.g www.
Department of the Interior        15.037   Water Resources on       obtaining
                                                                    To supportthe  services
                                                                                Indian tribes    ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Indian Lands           in the effective and           /       /
                                                                  efficient management,          sam.g www.
Department of the Interior        15.038                          planning,
                                           Minerals and Mining on The        and use
                                                                        objectives     of
                                                                                   of the        ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Indian Lands           Energy and Mineral             /       /
                                                                  Development Program            sam.g www.
                                                                  are to: (1) provide funds      ov/fal/ usasp
Department of the Interior        15.040   Real Estate Programs To provide real property         https:/ https:/
                                           Indian Lands           management,                    /       /
                                                                  counseling, and land           sam.g www.
Department of the Interior        15.041   Environmental          usedetermine
                                                                  To   planning services to      ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Management Indian       environmental impacts    /       /
                                                                   of Federal projects on   sam.g www.
Department of the Interior        15.042   Indian School           Indian lands;
                                                                   To provide    to conduct
                                                                              funding  for  ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                           Equalization            primary and secondary /          /
                                                                   education.               sam.g www.
Department of the Interior        15.043   Indian Child and Family The Family And Child     ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                           Education              Education (FACE)               /       /
                                                                  program is designed to         sam.g www.
Department of the Interior        15.044                          serve
                                           Indian Schools Student To    families
                                                                     provide     with
                                                                              funds to           ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Transportation         each Bureau of Indian          /       /
                                                                  Education (BIE) funded         sam.g www.
                                                                  school for the round trip      ov/fal/ usasp




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                             Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 49 of 77 PageID
                                                                                                                           #: 7317
Department of the Interior        15.046   Administrative Cost       To provide grants to         https:/ https:/
                                           Grants for Indian         tribes and tribal            /       /
                                           Schools                   organizations operating      sam.g www.
Department of the Interior        15.047   Indian Education          schools
                                                                     To       for funds
                                                                         provide   the purpose
                                                                                         to BIE   ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Facilities, Operations,  funded elementary             /       /
                                           and Maintenance          schools, secondary            sam.g www.
Department of the Interior        15.048   Bureau of Indian Affairs schools  andfunds
                                                                    To provide    peripheral
                                                                                       for        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Facilities Operations    basic operating services      /       /
                                           and Maintenance          to Bureau-owned or            sam.g www.
                                                                    Bureau-operated non-          ov/fal/ usasp
Department of the Interior        15.051   Endangered Species on To comply with the               https:/ https:/
                                           Indian Lands             Endangered Species            /       /
                                                                    Act, the Northern             sam.g www.
Department of the Interior        15.052   Litigation Support for   Spotted
                                                                    To       Owl or
                                                                       establish  Recovery
                                                                                    defend        ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Indian Rights             Indian property or treaty /       /
                                                                     rights through judicial,  sam.g www.
Department of the Interior        15.053   Attorney Fees Indian      administrative, or
                                                                     To assist Federally       ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                           Rights                    Recognized Tribes in      /       /
                                                                     protecting their treaty   sam.g www.
                                                                     rights and other rights   ov/fal/ usasp
Department of the Interior        15.057   Navajo-Hopi Indian        To implement those        https:/ https:/
                                           Settlement                provisions of the         /       /
                                                                     Navajo-Hopi Settlement sam.g www.
Department of the Interior        15.058   Indian Post Secondary     Act of 1974, as
                                                                     To provide                ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                           Schools                   postsecondary                /       /
                                                                     educational                  sam.g www.
                                                                     opportunities for            ov/fal/ usasp
Department of the Interior        15.059   Indian Graduate           To provide financial aid     https:/ https:/
                                           Student Scholarships      to eligible Indian           /       /
                                                                     students to enable them      sam.g www.
Department of the Interior        15.060   Indian Vocational         to obtain
                                                                     To provideadvanced
                                                                                  vocational      ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Training United Tribes    training to individual       /       /
                                           Technical College         American Indians             sam.g www.
Department of the Interior        15.061   Indian Job Placement      through  thejob
                                                                     To provide    United         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           United Sioux Tribes       development,                 /       /
                                           Development               counseling, social           sam.g www.
                                           Corporation               adjustment guidance,         ov/fal/ usasp
Department of the Interior        15.062   Replacement and           Providing safe,              https:/ https:/
                                           Repair of Indian          functional, code-            /       /
                                           Schools                   compliant, economical,       sam.g www.
Department of the Interior        15.063   Improvement and           and energysafe,
                                                                     To provide   efficient       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Repair of Indian          functional, code and         /       /
                                           Detention Facilities      standards compliant,         sam.g www.
                                                                     economical, and              ov/fal/ usasp
Department of the Interior        15.065   Safety of Dams on         To improve the               https:/ https:/
                                           Indian Lands              structural integrity of      /       /
                                                                     dams on Indian lands,        sam.g www.
Department of the Interior        15.066   Tribal Great Lakes        including
                                                                     The       operations
                                                                          BIA Tribal GLRI         ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Restoration Initiative    Program provides             /       /
                                                                     financial assistance to      sam.g www.
Department of the Interior        15.067   Strengthening Tribal      Great Lakes
                                                                     To provide    tribes to
                                                                                 funding  to      ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Nations                   advance nation-to-           /       /
                                                                     nation relationships,        sam.g www.
                                                                     support Indian families      ov/fal/ usasp
Department of the Interior        15.068   Native Hawaiian           The Office of Native         https:/ https:/
                                           Community Guest           Hawaiian                     /       /
                                           Stewardship               Relationsâ€™ (ONHR)          sam.g www.
Department of the Interior        15.069   Zoonotic Disease          Heritage
                                                                     Assistance(Tourism)
                                                                                  will be         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Initiative                available for a range of /         /
                                                                     activities with the focus sam.g www.
Department of the Interior        15.070   Experienced Services      of the
                                                                     The  ESPprogram
                                                                                programbeing on ov/fal/ usasp
                                                                                                https:/ https:/
                                           Program                   provides funding that      /       /
                                                                     allows agencies to enter sam.g www.
Department of the Interior        15.071   Pacific Northwest and     into agreements
                                                                     Provide   enhanced with    ov/fal/ https:/
                                                                                                https:/ usasp
                                           Hawaiian Islands Arts     Pacific Northwest and        /       /
                                                                     Hawaiian Islands art         sam.g www.
Department of the Interior        15.072   USGS Experienced          programs
                                                                     To implementthat legislation
                                                                                       promote ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Services Program          that authorizes              /       /
                                                                     cooperative agreements sam.g www.
                                                                     with eligible nonprofit      ov/fal/ usasp
Department of the Interior        15.073   Earth Mapping             The primary purpose of https:/ https:/
                                           Resources Initiative      the Earth Mapping            /       /
                                                                     Resources Initiative is      sam.g www.
Department of the Interior        15.074   Small Surface Water       to
                                                                     Thefacilitate new
                                                                          Bipartisan              ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           and Groundwater        Infrastructure Law,             /       /
                                           Storage Projects       Public Law 117-58,              sam.g www.
Department of the Interior        15.075                          established
                                           Blackfeet Water Rights In 2016, the the Small
                                                                                Blackfeet         ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Settlement             Water Rights                    /       /
                                                                  Settlement passed (PL           sam.g www.
                                                                  114-322) and the                ov/fal/ usasp
Department of the Interior        15.076   Musselshell-Judith     The purpose of this act         https:/ https:/
                                           Rural Water System     is to ensure a safe and         /       /
                                                                  adequate municipal,             sam.g www.
Department of the Interior        15.077   Rehabilitation,        rural,
                                                                  Sectionand industrial
                                                                           40904(b)  of the       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Reconstruction, or        Bipartisan Infrastructure    /       /
                                           Replacement of Carey      Law, also known as the       sam.g www.
                                           Act Dams                  Infrastructure               ov/fal/ usasp
Department of the Interior        15.078   Snow Water Supply         To fund activities to        https:/ https:/
                                           Forecasting               improve the skill of         /       /
                                                                     water supply forecasts       sam.g www.
Department of the Interior        15.079   Experienced Services      via
                                                                     Theenhancing
                                                                          ESP programsnow         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Program (ESP)             provide funding that       /       /
                                                                     allows agencies to enter sam.g www.
Department of the Interior        15.088   Department of Interior    into agreements
                                                                     Provide  funding towith
                                                                                          local ov/fal/ usasp
                                                                                                https:/ https:/
                                           Wildfire Management -     governments with fire      /       /
                                           Preparedness              protection                 sam.g www.
                                                                     responsibilities to        ov/fal/ usasp
Department of the Interior        15.089   DOI - HQ Experienced      The Experienced            https:/ https:/
                                           Services Program          Services Program           /       /
                                                                     (ESP) will provide         sam.g www.
Department of the Interior        15.098   Native Hawaiian           support  to Department
                                                                     The goal of the Native     ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                           Climate Resilience        Hawaiian Climate             /       /
                                           Program                   Resilience Program is        sam.g www.
                                                                     to enhance the ability of    ov/fal/ usasp
Department of the Interior        15.099   Abandoned Hardrock        The U.S. Department of       https:/ https:/
                                           Mine Reclamation          the Interior has been        /       /
                                           (AHMR/AML) Grants         authorized to establish      sam.g www.
Department of the Interior        15.108   Indian Employment         a
                                                                     ToHardrock   Abandoned
                                                                        provide vocational        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Assistance                training and                 /       /
                                                                     employment                   sam.g www.
Department of the Interior        15.113   Indian Social Services    opportunities to eligible
                                                                     To provide financial         ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Welfare Assistance      assistance for basic           /       /
                                                                   needs for eligible             sam.g www.
                                                                   American Indians who           ov/fal/ usasp
Department of the Interior        15.114   Indian Education Higher To provide financial aid       https:/ https:/
                                           Education Grant         to eligible Indian             /       /
                                                                   students to enable them        sam.g www.
Department of the Interior        15.124   Indian Loans Economic toTo attend
                                                                      provideaccredited
                                                                                assistance to     ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Development               Federally Recognized         /       /
                                                                     Indian Tribal                sam.g www.
Department of the Interior        15.130   Indian Education          Governments,
                                                                     To            Native
                                                                        fund programs that        ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Assistance to Schools    meet the unique and           /       /
                                                                    specialized needs of          sam.g www.
                                                                    eligible Indian students.     ov/fal/ usasp
Department of the Interior        15.133   Native American          Under its Native              https:/ https:/
                                           Business Development American Business                 /       /
                                           Institute                Development Institute         sam.g www.
Department of the Interior        15.141   Indian Housing           (NABDI)
                                                                    To  use theconceived
                                                                                 Housing in       ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Assistance               Improvement Program           /       /
                                                                    (HIP) resources of the        sam.g www.
                                                                    Bureau of Indian Affairs      ov/fal/ usasp
Department of the Interior        15.144   Indian Child Welfare Act To promote the stability      https:/ https:/
                                           Title II Grants          and security of               /       /
                                                                    American Indian tribes        sam.g www.
Department of the Interior        15.146   Ironworker Training      and  familiesironworker
                                                                    To provide     by             ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                                                     vocational training,         /       /
                                                                     apprenticeships, and         sam.g www.
Department of the Interior        15.147   Tribal Courts Trust       jobprovide
                                                                     To  placement   to funds
                                                                                 grant   eligible ov/fal/ usasp
                                                                                                  https:/ https:/
                                           Reform Initiative         to Federally                 /       /
                                                                     Recognized Indian            sam.g www.
                                                                     Tribal Governments that ov/fal/ usasp
Department of the Interior        15.148   Tribal Energy             To provide development https:/ https:/
                                           Development Capacity      grants to Indian tribes      /       /
                                           Grants                    for use in developing        sam.g www.
Department of the Interior        15.149   FOCUS on Student          and sustaining
                                                                     The              the
                                                                          FOCUS program           ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Achievement               targets schools where        /       /
                                                                     student achievement is       sam.g www.
                                                                     close to meeting annual      ov/fal/ usasp
Department of the Interior        15.150   Juvenile Detention        The Juvenile Detention       https:/ https:/
                                           Education                 Education Program was        /       /
                                                                     designed to provide          sam.g www.
Department of the Interior        15.151   Education                 education
                                                                     Education services
                                                                                Programto         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Enhancements              Enhancements provide         /       /
                                                                     resources for special        sam.g www.
Department of the Interior        15.155   Office of the Special     studies,
                                                                     The      projects,
                                                                          objectives of new
                                                                                        these     ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Trustee for American      Office of the Special        /       /
                                           Indians, Field            Trustee (OST) grants         sam.g www.
                                           Operations                will be to support and       ov/fal/ usasp
Department of the Interior        15.156   Tribal Climate            The Cooperative              https:/ https:/
                                           Resilience                Landscape                    /       /
                                                                     Conservation (CLC)           sam.g www.
Department of the Interior        15.159   Cultural Resources        program
                                                                     To  ensureprovides funds
                                                                                 the proper       ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Management                management,                  /       /
                                                                     protection, and              sam.g www.
Department of the Interior        15.160   BIA Wildland Urban        preservation
                                                                     To implementofthe
                                                                                     cultural     ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Interface Community       National Fire Plan and       /       /
                                           Fire Assistance           assist communities at        sam.g www.
Department of the Interior        15.161   Native Language           risk fromcapacity
                                                                     Provide   catastrophic       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Immersion Grant           building grants for          /     /
                                                                     Bureau-funded schools        sam.g www.
Department of the Interior        15.162   Tiwahe Housing            to expand
                                                                     Tiwahe  is aexisting
                                                                                  coordinated ov/fal/ https:/
                                                                                              https:/ usasp
                                                                     service delivery model   /       /
                                                                     that increases access to sam.g www.
                                                                     family and social        ov/fal/ usasp




                                                                                                                             34
                             Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 50 of 77 PageID
                                                                                                                           #: 7318
Department of the Interior        15.163   Tribal Education          Make grants and              https:/ https:/
                                           Departments               provide technical            /       /
                                                                     assistance to tribes for     sam.g www.
Department of the Interior        15.164   Land Acquisition          the development
                                                                     Assist federally and         ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Funding Program           recognized Tribes in         /       /
                                                                     acquiring land               sam.g www.
Department of the Interior        15.165   Tribal Electrification    consistent with
                                                                     Tribal Electrification       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Program                Program through the             /       /
                                                                  Inflation Reduction Act         sam.g www.
                                                                  to provide zero                 ov/fal/ usasp
Department of the Interior        15.214   Non-Sale Disposals of To permit free use of            https:/ https:/
                                           Mineral Material       certain mineral material        /       /
                                                                  from federally owned            sam.g www.
Department of the Interior        15.222                          lands
                                           Cooperative Inspection To      underfor
                                                                      provide    the
                                                                                   the            ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Agreements with States Bureau of Land                  /       /
                                           and Tribes             Management (BLM) to             sam.g www.
Department of the Interior        15.224   Cultural and           enter  into cooperative
                                                                  The purpose     of the          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Paleontological           program is to manage         /       /
                                           Resources                 cultural and                 sam.g www.
                                           Management                paleontological              ov/fal/ usasp
Department of the Interior        15.225   Recreation and Visitor    The BLM makes it a           https:/ https:/
                                           Services                  priority to enhance          /       /
                                                                     access to the outdoors       sam.g www.
Department of the Interior        15.228   BLM Fuels                 and  to promote
                                                                     Wildland   Fire Fuels        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Management and            Management and               /       /
                                           Community Fire            Community Assistance         sam.g www.
                                           Assistance Program        Program activities           ov/fal/ usasp
Department of the Interior        15.229   Wild Horse and Burro      The Bureau of Land           https:/ https:/
                                           Resource Management       Management (BLM)             /       /
                                                                     manages and protects         sam.g www.
Department of the Interior        15.230   Invasive and Noxious      wild horses
                                                                     This programand  burros
                                                                                   continues      ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Plant Management          to advance the               /       /
                                                                     Department of the            sam.g www.
Department of the Interior        15.232   Joint Fire Science        Interiorâ€™s priorities
                                                                     This program continues       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Program               to advance the                   /       /
                                                                 Administrationâ€™s               sam.g www.
                                                                 priorities to to prioritize      ov/fal/ usasp
Department of the Interior        15.233   Forest and Woodlands The Bureau of Land                https:/ https:/
                                           Resource Management Management (BLM)                   /       /
                                                                 Forest and Woodland              sam.g www.
Department of the Interior        15.234   Secure Rural Schools Resource     Management
                                                                 Since its initial passage        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           and Community Self-   in 2000, the Secure              /       /
                                           Determination         Rural Schools (SRS)              sam.g www.
                                                                 and Community Self-              ov/fal/ usasp
Department of the Interior        15.235   Southern Nevada       The Southern Nevada              https:/ https:/
                                           Public Land           Public Land                      /       /
                                           Management            Management Act                   sam.g www.
Department of the Interior        15.236                         (SNPLMA)
                                           Environmental Quality The  Bureauadvances
                                                                                of Land           ov/fal/ https:/
                                                                                                  https:/ usasp
                                           and Protection            Management (BLM)             /       /
                                                                     and its cooperative          sam.g www.
Department of the Interior        15.237   Rangeland Resource        government  and
                                                                     The Bureau of  Land          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Management             Management (BLM)                /       /
                                                                  Rangeland                       sam.g www.
                                                                  Management Program              ov/fal/ usasp
Department of the Interior        15.239   Management Initiatives To provide a variety of         https:/ https:/
                                                                  Bureau of Land                  /       /
                                                                  Management financial            sam.g www.
Department of the Interior        15.241   Indian Self-           assistance awards not
                                                                  To provide maximum              ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Determination Act         Indian participation in      /       /
                                           Contracts, Grants and     the government and           sam.g www.
Department of the Interior        15.243   Cooperative
                                           Youth Conservation      education
                                                                   BLMâ€™sofcontinued
                                                                                the Indian        ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Opportunities on Public commitment to reduce           /     /
                                           Lands                   and streamline its             sam.g www.
Department of the Interior        15.244   Aquatics Resources      processes
                                                                   The Bureauand
                                                                               of Land      ov/fal/ usasp
                                                                                            https:/ https:/
                                           Management             Managementâ€™s            /       /
                                                                  Aquatic Resources         sam.g www.
Department of the Interior        15.245   Plant Conservation and Program
                                                                  The Bureauconserves
                                                                                of Land and ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                           Restoration            Managementâ€™s            /       /
                                           Management             Plant Conservation and sam.g www.
                                                                  Restoration Program       ov/fal/ usasp
Department of the Interior        15.246   Threatened and         The T&E Species           https:/ https:/
                                           Endangered Species     Program has an            /       /
                                                                  important role in         sam.g www.
Department of the Interior        15.247   Wildlife Resource      furthering theProgram
                                                                  The Wildlife              ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                           Management                fulfills the Department      /       /
                                                                     of the Interior visions of   sam.g www.
Department of the Interior        15.248   National Landscape        improving
                                                                     This         the aims to
                                                                            program               ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Conservation System       increase the                 /       /
                                                                     effectiveness of             sam.g www.
                                                                     resource management          ov/fal/ usasp
Department of the Interior        15.250   Regulation of Surface     To assist the States and     https:/ https:/
                                           Coal Mining and           Tribes with active coal      /       /
                                           Surface Effects of        mining in administering      sam.g www.
Department of the Interior        15.252   Underground
                                           Abandoned MineCoalLand    approved   regulatory
                                                                     The objectives  of the       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Reclamation (AMLR)        Abandoned Mine Lands         /       /
                                                                     (AML) Program are            sam.g www.
                                                                     defined in the Surface       ov/fal/ usasp
Department of the Interior        15.253   Not-for-Profit AMD        The Not-for-Profit, Acid     https:/ https:/
                                           Reclamation               Mine Drainage (AMD)          /       /
                                                                     Reclamation -                sam.g www.
Department of the Interior        15.254   OSM/VISTA                 Watershed
                                                                     The purpose Cooperative
                                                                                   of the         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           AmeriCorps                OSMRE Youth Program /            /
                                                                     is to carry out          sam.g www.
Department of the Interior        15.255   Science and               appropriate
                                                                     The goal of the OSMRE ov/fal/    usasp
                                                                                              https:/ https:/
                                           Technology Projects       Applied Science          /       /
                                           Related to Coal Mining    Program is to develop    sam.g www.
                                           and Reclamation           and demonstrate          ov/fal/ usasp
Department of the Interior        15.406   National Park Service     The National Park        https:/ https:/
                                           Centennial Challenge      Centennial Initiative is /       /
                                                                     an effort to prepare     sam.g www.
Department of the Interior        15.407   Keweenaw National         national  parks
                                                                     The Keweenaw NHPfor      ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                           Historical Park (NHP)     Preservation Grant           /       /
                                           Preservation Grants       program is intended to       sam.g www.
                                                                     provide annual ONPS          ov/fal/ usasp
Department of the Interior        15.408   Bureau of Ocean           The Renewable Energy         https:/ https:/
                                           Energy Management         Program oversees the         /       /
                                           Renewable Energy          leasing of areas on the      sam.g www.
Department of the Interior        15.421   Alaska Coastal Marine     outer continental
                                                                     The Bureau        shelf
                                                                                  of Ocean        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Institute                 Energy Management            /       /
                                                                     (BOEM) provides major        sam.g www.
Department of the Interior        15.423   Bureau of Ocean           economic
                                                                     The      and
                                                                         Bureau of energy
                                                                                   Ocean          ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Energy Management         Energy Management            /       /
                                           (BOEM) Environmental      (BOEM) provides major        sam.g www.
                                           Studies (ES)              economic and energy          ov/fal/ usasp
Department of the Interior        15.424   Marine Minerals           BOEM provides                https:/ https:/
                                           Activities                financial assistance to      /       /
                                                                     qualified partners to        sam.g www.
Department of the Interior        15.427   Federal Oil and Gas       identify
                                                                     To ensureandthat
                                                                                   evaluate
                                                                                      all oil,    ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Royalty Management        gas, and solid minerals      /       /
                                           State and Tribal          originated on the public     sam.g www.
Department of the Interior        15.429   Coordination
                                           State Select              lands and
                                                                     ONRR       on the
                                                                             shares 90 Outer      ov/fal/ https:/
                                                                                                  https:/ usasp
                                                                   percent of oil and gas         /       /
                                                                   royalties with the State       sam.g www.
                                                                   to be paid monthly             ov/fal/ usasp
Department of the Interior        15.430   8(g) State Coastal Zone ONRR shares 27                 https:/ https:/
                                                                   percent of mineral             /       /
                                                                   leasing revenue derived        sam.g www.
Department of the Interior        15.431   Alaska Settlement       from any
                                                                   ONRR      lease100
                                                                           shares   issued        ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Agreement               percent with the State         /       /
                                                                   of Alaska to be paid           sam.g www.
                                                                   monthly subject to late        ov/fal/ usasp
Department of the Interior        15.432   California Refuge       ONRR shares 40.87              https:/ https:/
                                           Account                 percent of Oil and Gas         /       /
                                                                   Rents, Royalties, and          sam.g www.
Department of the Interior        15.433   Flood Control Act Lands Bonus
                                                                   ONRR Bids
                                                                          shareswith
                                                                                   75the          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                                                percent of mineral                /       /
                                                                leasing revenue with              sam.g www.
Department of the Interior        15.434                        the State,
                                           Geothermal Resources ONRR       paid 50
                                                                       shares   monthly           ov/fal/ https:/
                                                                                                  https:/ usasp
                                                                percent of mineral                /       /
                                                                leasing revenue with              sam.g www.
                                                                the State, and 25                 ov/fal/ usasp
Department of the Interior        15.435   GoMESA               ONRR shares 37.5                  https:/ https:/
                                                                percent of selected               /       /
                                                                revenue with Gulf                 sam.g www.
Department of the Interior        15.436   Late Disbursement    producing
                                                                ONRR   paysstates
                                                                             late and             ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Interest                  disbursement interest        /       /
                                                                     on subject payments          sam.g www.
                                                                     made to States after the     ov/fal/ usasp
Department of the Interior        15.437   Minerals Leasing Act      As directed by the           https:/ https:/
                                                                     Minerals Leasing Act,        /       /
                                                                     the Office of Natural        sam.g www.
Department of the Interior        15.438   National Forest           Resources
                                                                     ONRR shares Revenue
                                                                                    25            ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Acquired Lands            percent of minerals          /       /
                                                                     leasing revenue with         sam.g www.
Department of the Interior        15.439   National Petroleum        the State
                                                                     ONRR      in which
                                                                            shares  50 such       ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Reserve - Alaska          percent of NPR-A oil         /       /
                                                                     and gas mineral leasing      sam.g www.
                                                                     revenue with the State       ov/fal/ usasp
Department of the Interior        15.440   South Half of the Red     ONRR shares 37.5             https:/ https:/
                                           River                     percent of mineral           /       /
                                                                     leasing revenue with         sam.g www.
Department of the Interior        15.441   Safety and                the State
                                                                     The       of Oklahoma
                                                                          Bureau  of Safety       ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Environmental             and Environmental            /     /
                                           Research and Data         Enforcement (BSEE)           sam.g www.
Department of the Interior        15.442   Collection for Offshore
                                           Alaska Native  Science    provides major
                                                                     The Bureau of Safety    ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                           and Engineering           and Environmental       /       /
                                                                     Enforcement (BSEE)      sam.g www.
Department of the Interior        15.443   Not For Profit            program provides
                                                                     The Bureau        major ov/fal/
                                                                                 of Ocean    https:/ usasp
                                                                                                     https:/
                                                                     Energy Management       /       /
                                                                     (BOEM) provides major sam.g www.
Department of the Interior        15.444   Take Pride                economic
                                                                     The Bureauand
                                                                                 of energy
                                                                                    Ocean    ov/fal/ https:/
                                                                                             https:/ usasp
                                                                     Energy Management            /       /
                                                                     (BOEM) provides major        sam.g www.
                                                                     economic and energy          ov/fal/ usasp




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                             Case 1:25-cv-00039-JJM-PAS                                                              Document 114-1   Filed 02/13/25   Page 51 of 77 PageID
                                                                                                                            #: 7319
Department of the Interior        15.504   Water Recycling and   To make funding             https:/ https:/
                                           Desalination          available for water         /       /
                                           Construction Programs recycling and               sam.g www.
Department of the Interior        15.506   Water Desalination    desalination
                                                                 There         projects.
                                                                        are three   goals To ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                           Research and          for the program: (1)        /       /
                                           Development           augment the supply of       sam.g www.
Department of the Interior        15.507   WaterSMART (Sustain usable    water
                                                                 To provide     in the
                                                                             cost-shared     ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                           and Manage                  funding for various         /       /
                                           Americaâ€™s                 types of water              sam.g www.
                                           Resources for               management                  ov/fal/ usasp
Department of the Interior        15.508   Providing Water to At-      All funding has been        https:/ https:/
                                           Risk Natural Desert         obligated; no new           /       /
                                           Terminal Lakes              projects expected           sam.g www.
Department of the Interior        15.509   Title II, Colorado River    before
                                                                       To      the Desert
                                                                           provide financial and   ov/fal/ https:/
                                                                                                   https:/ usasp
                                           Basin Salinity Control      technical assistance to: /         /
                                                                       (1) identify salt source   sam.g www.
Department of the Interior        15.510   Colorado Ute Indian         areas; (2) municipal
                                                                       To supply   develop and ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Water Rights                industrial water supply    /       /
                                           Settlement Act              to the Ute Mountain        sam.g www.
                                                                       Ute, Southern Ute          ov/fal/ usasp
Department of the Interior        15.511   Cultural Resources          To manage and protect https:/ https:/
                                           Management                  cultural resources on      /       /
                                                                       Reclamation land;          sam.g www.
Department of the Interior        15.512   Central Valley              provide  for theof
                                                                       The purposes      curation
                                                                                           the    ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Improvement Act, Title      Central Valley Project      /       /
                                           XXXIV                       Improvement Act             sam.g www.
                                                                       (CVPIA) are (1) to          ov/fal/ usasp
Department of the Interior        15.514   Reclamation States          Funding under the           https:/ https:/
                                           Emergency Drought           Drought Response            /       /
                                           Relief                      Program will be             sam.g www.
Department of the Interior        15.516   Fort Peck Reservation       provided
                                                                       To ensureto: (1) develop
                                                                                  a safe and       ov/fal/ https:/
                                                                                                   https:/ usasp
                                           Rural Water System          adequate municipal,         /       /
                                                                       rural and industrial        sam.g www.
Department of the Interior        15.517   Fish and Wildlife           water  supply
                                                                       To provide     for the
                                                                                   financial       ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                           Coordination Act        assistance, through             /       /
                                                                   grants or cooperative           sam.g www.
                                                                   agreements, to public or        ov/fal/ usasp
Department of the Interior        15.518   Garrison Diversion Unit To meet the water               https:/ https:/
                                                                   needs within the State          /       /
                                                                   of North Dakota by              sam.g www.
Department of the Interior        15.519   Indian Tribal Water     providing
                                                                   To increasefunds on a           ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                           Resources               opportunities for Indian        /       /
                                           Development,            tribes to develop,              sam.g www.
                                           Management, and         manage, and protect             ov/fal/ usasp
Department of the Interior        15.520   Lewis and Clark Rural To provide safe and               https:/ https:/
                                           Water System            adequate municipal,             /       /
                                                                   rural, and industrial           sam.g www.
Department of the Interior        15.521   Lower Rio Grande        water supplies,
                                                                   Awards   will be made to        ov/fal/ https:/
                                                                                                   https:/ usasp
                                           Valley Water Resources investigate and identify /       /
                                           Conservation and       opportunities to improve sam.g www.
Department of the Interior        15.522   Improvement
                                           Mni Wiconi Rural Water the supply aofsafe
                                                                  To ensure      water
                                                                                     andin ov/fal/
                                                                                           https:/ usasp
                                                                                                   https:/
                                           Supply Project         adequate municipal,      /       /
                                                                  rural, and industrial    sam.g www.
                                                                  water supply for the     ov/fal/ usasp
Department of the Interior        15.524   Recreation Resources To provide cost-share      https:/ https:/
                                           Management             opportunities with non- /        /
                                                                  Federal recreation       sam.g www.
Department of the Interior        15.525   Rocky Boy's/North      partners
                                                                  To ensure(e.g., state,
                                                                              a safe and   ov/fal/
                                                                                           https:/ usasp
                                                                                                   https:/
                                           Central Montana       adequate rural,           /       /
                                           Regional Water System municipal, and industrial sam.g www.
Department of the Interior        15.526   San Gabriel Basin     water
                                                                 To     supply
                                                                    design,     for the
                                                                             construct,    ov/fal/ usasp
                                                                                           https:/ https:/
                                           Restoration           operate, and maintain     /       /
                                                                 water quality projects    sam.g www.
Department of the Interior        15.529   Upper Colorado and    within
                                                                 To     the San
                                                                    authorize  theGabriel  ov/fal/ https:/
                                                                                    Bureau https:/ usasp
                                           San Juan River Basins of Reclamation to                 /       /
                                           Endangered Fish         provide cost sharing for        sam.g www.
Department of the Interior        15.530   Recovery
                                           Water Conservation      the
                                                                   Theendangered      fish
                                                                        goal of the Water          ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                           Field Services (WCFS) Conservation Field                /       /
                                                                   Services Program                sam.g www.
                                                                   (WCFSP) is to                   ov/fal/ usasp
Department of the Interior        15.531   Yakima River Basin      Within the Yakima River         https:/ https:/
                                           Water Enhancement       Basin: (1) to protect,          /       /
                                           (YRBWE)                 mitigate, and enhance           sam.g www.
Department of the Interior        15.532   Central Valley, Trinity fish and wildlife
                                                                   To address        through
                                                                                impacts    of      ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                           River Division, Trinity     the Central Valley          /       /
                                           River Fish and Wildlife     Project (CVP) on fish,      sam.g www.
Department of the Interior        15.533   Management
                                           California Water            wildlife,
                                                                       The       and associated
                                                                            purpose   of the       ov/fal/ https:/
                                                                                                   https:/ usasp
                                           Security and                CALFED Bay-Delta            /       /
                                           Environmental               Authorization Act           sam.g www.
                                           Enhancement                 authorizes the              ov/fal/ usasp
Department of the Interior        15.535   Upper Colorado River        Assistance is provided      https:/ https:/
                                           Basin Fish and Wildlife     to recipients to protect,   /       /
                                           Mitigation                  restore and enhance         sam.g www.
Department of the Interior        15.537   Middle Rio Grande           wetland  andRio
                                                                       The Middle    upland
                                                                                        Grande     ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                           Endangered Species          Endangered Species          /       /
                                           Collaborative               Collaborative Program       sam.g www.
                                                                       (Program) is a              ov/fal/ usasp
Department of the Interior        15.538   Lower Colorado River        The MSCPâ€™s                https:/ https:/
                                           Multi-Species               purposes are: (1)           /       /
                                           Conservation                Protect the lower           sam.g www.
Department of the Interior        15.539   Equus Beds Division         Colorado
                                                                       To design River
                                                                                  and construct    ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                           Acquifer Storage            the City of                 /       /
                                           Recharge                    Wichitaâ€™s Aquifer         sam.g www.
Department of the Interior        15.540   Lake Mead/Las Vegas         Storage
                                                                       The      and Recovery
                                                                           objective of this       ov/fal/ https:/
                                                                                                   https:/ usasp
                                           Wash                        program is to develop       /       /
                                                                       and implement               sam.g www.
                                                                       management strategies       ov/fal/ usasp
Department of the Interior        15.541   Colorado River Basin        The Colorado River          https:/ https:/
                                           Act of 1968                 Basin Project Act of        /       /
                                                                       1968, authorized the        sam.g www.
Department of the Interior        15.542   Arizona Water               Secretary ofthe
                                                                       Pursuant to  theArizona
                                                                                       Interior    ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                           Settlement Act of 2004Water Settlements Act             /       /
                                                                 of 2004, the Secretary            sam.g www.
                                                                 of the Interior was               ov/fal/ usasp
Department of the Interior        15.543   Lake Tahoe Regional   To assist in addressing           https:/ https:/
                                           Wetlands Development the past degradation of            /       /
                                                                 Lake Tahoe and its                sam.g www.
Department of the Interior        15.544   Platte River Recovery watershed   by of the
                                                                 Implementation                    ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                           Implementation              Platte River Recovery       /       /
                                                                       Program Cooperative         sam.g www.
Department of the Interior        15.546   Youth Conservation          Agreement
                                                                       Promote     which
                                                                                 and stimulate     ov/fal/ https:/
                                                                                                   https:/ usasp
                                                                       public purposes such as     /       /
                                                                       education, job training,    sam.g www.
                                                                       development of              ov/fal/ usasp
Department of the Interior        15.550   FISH-ABLE Fun with          To provide opportunities    https:/ https:/
                                           Reclamation                 for disabled and            /       /
                                                                       disadvantaged children      sam.g www.
Department of the Interior        15.552   Navajo-Gallup Water         to
                                                                       To use  and financial
                                                                           provide enjoy public    ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                           Supply                      assistance to design        /       /
                                                                       and construct portions      sam.g www.
Department of the Interior        15.553   Eastern New Mexico          of the Navajo-Gallup
                                                                       Provide potable surface     ov/fal/ https:/
                                                                                                   https:/ usasp
                                           Rural Water System          water to communities in     /       /
                                                                       Eastern New Mexico.         sam.g www.
                                                                                                   ov/fal/ usasp
Department of the Interior        15.554   Cooperative Watershed Reclamationâ€™s                   https:/ https:/
                                           Management            WaterSMART                        /       /
                                                                 Cooperative Watershed             sam.g www.
Department of the Interior        15.555   San Joaquin River     Management
                                                                 The objective Program
                                                                               of the              ov/fal/ https:/
                                                                                                   https:/ usasp
                                           Restoration            San Joaquin River                /       /
                                                                  Restoration Program              sam.g www.
                                                                  (SJRRP) is to                    ov/fal/ usasp
Department of the Interior        15.557   Applied Science Grants The objective of the             https:/ https:/
                                                                  Applied Science Grants           /       /
                                                                  is to improve access to          sam.g www.
Department of the Interior        15.558   White Mountain Apache and   use oftohydrologic
                                                                  Pursuant      the White          ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                           Tribe Rural Water           Mountain Apache Tribe       /       /
                                           System                      Water Rights                sam.g www.
Department of the Interior        15.559   New Mexico Rio              Quantification
                                                                       Rehabilitate   Actrepair
                                                                                    and   of       ov/fal/ https:/
                                                                                                   https:/ usasp
                                           Grande Basin Pueblos irrigation infrastructure          /       /
                                           Irrigation Infrastructure
                                                                of the Rio Grande                  sam.g www.
                                                                Pueblos to conserve                ov/fal/ usasp
Department of the Interior        15.560   SECURE Water Act â€“ To fund research                   https:/ https:/
                                           Research Agreements activities that are                 /       /
                                                                designed to conserve               sam.g www.
Department of the Interior        15.563   Suisun Marsh         water resources,
                                                                Execute   and implement            ov/fal/ https:/
                                                                                                   https:/ usasp
                                           Preservation Agreement the agreement between            /       /
                                                                  the Department of the            sam.g www.
                                                                  Interior, the State of           ov/fal/ usasp
Department of the Interior        15.564   Central Valley Project Provide financial                https:/ https:/
                                           Conservation           support for activities to        /       /
                                                                  benefit federally listed         sam.g www.
Department of the Interior        15.565   Implementation of the endangered      and
                                                                  The Claims Resolution            ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                           Taos Pueblo Indian     Act of 2010 was signed           /       /
                                           water rights settlementinto law on December             sam.g www.
Department of the Interior        15.566   Upper Klamath Basin    8, 2010,
                                                                  To         authorizing and
                                                                      plan, implement,   the       ov/fal/ https:/
                                                                                                   https:/ usasp
                                           Water Supply Alignment administer programs to           /       /
                                                                  align water supplies and         sam.g www.
                                                                  demand for irrigation            ov/fal/ usasp
Department of the Interior        15.567   Colorado River System This program supports             https:/ https:/
                                           Conservation Pilot     conservation projects            /       /
                                                                  that create â€œsystem            sam.g www.
Department of the Interior        15.569                          waterâ€
                                           Educational Outreach The     Water Education            ov/fal/ https:/
                                                                                                   https:/ usasp
                                                                       Foundation has              /     /
                                                                       developed several           sam.g www.
Department of the Interior        15.570   Bay-Delta Restoration       programs and Water
                                                                       The CALFED              ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                           Program                     Use Efficiency Grant    /       /
                                                                       program promotes        sam.g www.
Department of the Interior        15.571   Salton Sea Program          projects that
                                                                       Objectives  ofemphasize
                                                                                      this     ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                                                       program are to develop /        /
                                                                       and implement           sam.g www.
Department of the Interior        15.572   Agricultural Water Use      restoration
                                                                       The         andof the
                                                                            objective          ov/fal/ https:/
                                                                                               https:/ usasp
                                           Efficiency Program          Agricultural Water          /       /
                                                                       Conservation Efficiency     sam.g www.
                                                                       Program is to invite        ov/fal/ usasp




                                                                                                                              36
                             Case 1:25-cv-00039-JJM-PAS                                                            Document 114-1   Filed 02/13/25   Page 52 of 77 PageID
                                                                                                                          #: 7320
Department of the Interior        15.574   Water Storage            Section 4007 of Public       https:/ https:/
                                           Enhancement              Law 114-322, also            /       /
                                                                    known as The Water           sam.g www.
Department of the Interior        15.576   Yakima River Basin      Infrastructure
                                                                   To  fund grants or            ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Water Enhancement       cooperative agreements        /       /
                                           Phase III (Yakima Basin for the purpose of land       sam.g www.
Department of the Interior        15.577   Integrated Plan) Supply and
                                           Domestic Water                water transfers,
                                                                   To provide   funding for      ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Projects                 planning, design, or         /       /
                                                                    construction of water        sam.g www.
                                                                    projects with the            ov/fal/ usasp
Department of the Interior        15.580   Aquatic Ecosystem        The objective of the         https:/ https:/
                                           Restoration Program      Aquatic Ecosystem            /       /
                                                                    Restoration Program is       sam.g www.
Department of the Interior        15.605   Sport Fish Restoration   to work
                                                                    Sport   cooperatively
                                                                          Fish Restoration       ov/fal/ https:/
                                                                                                 https:/ usasp
                                                                    funds support activities     /       /
                                                                    designed to restore,         sam.g www.
Department of the Interior        15.608   Fish and Aquatic         conserve,  manage,
                                                                    Details vary by      or      ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Conservation - Aquatic   subprogram. Brief            /       /
                                           Invasive Species         summaries provided           sam.g www.
                                                                    here. See the                ov/fal/ usasp
Department of the Interior        15.611   Wildlife Restoration and The Pittman-Robertson        https:/ https:/
                                           Basic Hunter Education Wildlife Restoration Act       /       /
                                           and Safety               provides grants to           sam.g www.
Department of the Interior        15.614   Coastal Wetlands         State, Commonwealth,
                                                                    To provide competitive       ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Planning, Protection     matching grants to           /       /
                                           and Restoration          coastal States for           sam.g www.
                                                                    coastal wetlands             ov/fal/ usasp
Department of the Interior        15.615   Cooperative              Cooperative                  https:/ https:/
                                           Endangered Species       Endangered Species           /       /
                                           Conservation Fund        Conservation Fund            sam.g www.
Department of the Interior        15.616   Clean Vessel Act         grants
                                                                    This   provideprovides
                                                                         program   Federal       ov/fal/ https:/
                                                                                                 https:/ usasp
                                                                    funding to States, the       /       /
                                                                    District of Columbia,        sam.g www.
Department of the Interior        15.619   Rhinoceros and Tiger     Commonwealths,     and
                                                                    To provide financial         ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Conservation Fund        assistance for projects      /       /
                                                                    for the effective long-      sam.g www.
                                                                    term conservation of         ov/fal/ usasp
Department of the Interior        15.620   African Elephant         To provide financial         https:/ https:/
                                           Conservation Fund        assistance to support        /       /
                                                                    projects that will           sam.g www.
Department of the Interior        15.621   Asian Elephant           enhance
                                                                    To providesustainable
                                                                                financial        ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Conservation Fund        assistance to support        /       /
                                                                    the effective long-term      sam.g www.
                                                                    conservation of Asian        ov/fal/ usasp
Department of the Interior        15.622   Sportfishing and         This program provides        https:/ https:/
                                           Boating Safety Act       funding to States, the       /       /
                                                                    District of Columbia,        sam.g www.
Department of the Interior        15.623   North American           Commonwealths,
                                                                    To                 and
                                                                       provide grant funds       ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Wetlands Conservation for wetlands                    /       /
                                           Fund                  conservation projects in        sam.g www.
Department of the Interior        15.626   Enhanced Hunter       the
                                                                 ThisUnited States,
                                                                      program  provides          ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Education and Safety    funds for the                 /       /
                                                                   enhancement of hunter         sam.g www.
                                                                   and archery education         ov/fal/ usasp
Department of the Interior        15.628   Multistate Conservation This program provides         https:/ https:/
                                           Grant                   funding for sport fish        /       /
                                                                   and wildlife restoration      sam.g www.
Department of the Interior        15.629   Great Ape Conservation projects  and
                                                                   To provide  financial         ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Fund - Africa            assistance for projects      /     /
                                                                    for the effective long-      sam.g www.
Department of the Interior        15.630   Coastal                  term
                                                                    To    conservation
                                                                        provide technicalof  ov/fal/ usasp
                                                                                             https:/ https:/
                                                                    and financial assistance /       /
                                                                    to partners to           sam.g www.
Department of the Interior        15.631   Partners for Fish and    implement
                                                                    Deliver     voluntaryof
                                                                             Department      ov/fal/ usasp
                                                                                             https:/ https:/
                                           Wildlife                 the Interior priorities  /       /
                                                                    and US Fish and          sam.g www.
Department of the Interior        15.634   State Wildlife Grants    Wildlife
                                                                    The primary purpose of https:/ usasp
                                                                             Service         ov/fal/ https:/
                                                                    the State Wildlife Grant     /       /
                                                                    (SWG) Program is to          sam.g www.
                                                                    help State, Territory,       ov/fal/ usasp
Department of the Interior        15.635   Neotropical Migratory    To assist in the             https:/ https:/
                                           Bird Conservation        conservation of              /       /
                                                                    neotropical migratory        sam.g www.
Department of the Interior        15.636   Alaska Subsistence       birds by providing
                                                                    To identify and provide      ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Management               information needed to        /       /
                                                                    sustain subsistence          sam.g www.
Department of the Interior        15.637   Migratory Bird Joint     fisheries
                                                                    The       and wildlife
                                                                         objectives of this      ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Ventures                 program are to support       /       /
                                                                    projects that protect,       sam.g www.
                                                                    restore, and enhance         ov/fal/ usasp
Department of the Interior        15.639   Tribal Wildlife Grants   Support the                  https:/ https:/
                                                                    development and              /       /
                                                                    implementation of            sam.g www.
Department of the Interior        15.640   Latin America and        programs
                                                                    The missionforof
                                                                                  the  benefit
                                                                                     the Latin   ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Caribbean Regional       America Regional             /       /
                                                                    Program is to provide        sam.g www.
                                                                    technical and financial      ov/fal/ usasp
Department of the Interior        15.643   Alaska Migratory Bird    To facilitate and            https:/ https:/
                                           Co-Management            administer regional          /       /
                                           Council                  programs to involve          sam.g www.
Department of the Interior        15.645   Marine Turtle            subsistence
                                                                    This programhunters
                                                                                    funds of     ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Conservation Fund       Marine Turtle and        /       /
                                                                   Tortoise and Freshwater sam.g www.
Department of the Interior        15.647   Migratory Bird          Turtle
                                                                   To     (TFT) and
                                                                       maintain  projects.  ov/fal/ usasp
                                                                                            https:/ https:/
                                           Conservation            enhance populations      /       /
                                                                   and habitats of          sam.g www.
                                                                   migratory bird species   ov/fal/ usasp
Department of the Interior        15.648   Central Valley Project  To protect, restore, and https:/ https:/
                                           Improvement Act         enhance fish, wildlife,  /       /
                                           (CVPIA)                 and associated habitats sam.g www.
Department of the Interior        15.651                           in the Central Valley
                                           Central Africa Regional The Central Africa       ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                                                   Regional Program         /       /
                                                                   supports projects in     sam.g www.
                                                                   Central Africa that      ov/fal/ usasp
Department of the Interior        15.652   Invasive Species        To encourage             https:/ https:/
                                                                   coordination and         /       /
                                                                   integration of efforts   sam.g www.
Department of the Interior        15.653   National Outreach and between
                                                                   To improvethe U.S. Fish  ov/fal/
                                                                                            https:/ usasp
                                                                                                    https:/
                                           Communication            communications with          /       /
                                                                    anglers, boaters, and        sam.g www.
Department of the Interior        15.654                            theprovide
                                           National Wildlife Refuge To   generaltechnical
                                                                                  public         ov/fal/ https:/
                                                                                                 https:/ usasp
                                           System Enhancements and financial assistance          /       /
                                                                    to identify, conserve,       sam.g www.
                                                                    manage, and enhance          ov/fal/ usasp
Department of the Interior        15.655   Migratory Bird           Working with others to       https:/ https:/
                                           Monitoring, Assessment conserve, enhance, and         /       /
                                           and Conservation         better understand the        sam.g www.
Department of the Interior        15.657   Endangered Species       ecology
                                                                    Recoveryand habitats of      ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Recovery                 Implementation: To        /       /
                                           Implementation           provide federal financial sam.g www.
Department of the Interior        15.658   Natural Resource         assistance
                                                                    The  purposeto of
                                                                                   secure
                                                                                      the     ov/fal/ usasp
                                                                                              https:/ https:/
                                           Damage Assessment        Natural Resource          /       /
                                           and Restoration          Damage Assessment         sam.g www.
                                                                    and Restoration           ov/fal/ usasp
Department of the Interior        15.660   Candidate Species        The objective is to       https:/ https:/
                                           Conservation             secure candidate and      /       /
                                                                    other at-risk species     sam.g www.
Department of the Interior        15.661   Lower Snake River        information
                                                                    To           or the
                                                                       mitigate for           ov/fal/ https:/
                                                                                              https:/ usasp
                                           Compensation Plan        losses of fish and           /       /
                                                                    wildlife caused by the       sam.g www.
                                                                    construction of four         ov/fal/ usasp
Department of the Interior        15.662   Great Lakes              To provide technical         https:/ https:/
                                           Restoration              and financial assistance     /       /
                                                                    to implement the             sam.g www.
Department of the Interior        15.663   NFWF-USFWS               highest  priority
                                                                    Partnering   with actions    ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Conservation             individuals, government      /       /
                                           Partnership              agencies, nonprofit          sam.g www.
Department of the Interior        15.664   Fish and Wildlife        organizations
                                                                    The            and
                                                                         FWS established         ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Coordination and         this assistance listing to   /       /
                                           Assistance               be used: 1) temporarily      sam.g www.
                                                                    by new financial             ov/fal/ usasp
Department of the Interior        15.665   National Wetlands        Emergency Wetlands           https:/ https:/
                                           Inventory                Resources Act -              /       /
                                                                    National Wetlands            sam.g www.
Department of the Interior        15.666   Endangered Species       Inventory,
                                                                    To  provide16 U.S.C.
                                                                                federal          ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Conservation-Wolf      financial assistance to        /       /
                                           Livestock Loss         livestock producers            sam.g www.
                                           Compensation and       undertaking proactive,         ov/fal/ usasp
Department of the Interior        15.667   Highlands Conservation To conserve priority           https:/ https:/
                                                                  lands and natural              /       /
                                                                  resources and                  sam.g www.
Department of the Interior        15.668   Coastal Impact         recognize
                                                                  The USFWS  theis no            ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Assistance               longer making awards    /       /
                                                                    under this program. The sam.g www.
Department of the Interior        15.669                         Assistance
                                           Cooperative Landscape The         Listing
                                                                     Collaborative          ov/fal/ https:/
                                                                                            https:/ usasp
                                           Conservation          Landscape                       /       /
                                                                 Conservation program            sam.g www.
                                                                 promotes an inclusive           ov/fal/ usasp
Department of the Interior        15.670   Adaptive Science      The U.S. Fish and               https:/ https:/
                                                                 Wildlife Service                /       /
                                                                 (USFWS) uses a                  sam.g www.
Department of the Interior        15.671   Yukon River Salmon    science-based,
                                                                 The U.S. Fish and               ov/fal/ https:/
                                                                                                 https:/ usasp
                                           Research and             Wildlife Service         /       /
                                           Management               (Service) receives funds sam.g www.
Department of the Interior        15.674   Assistance
                                           National Fire Plan-      for implementation
                                                                    To implement   the of    ov/fal/
                                                                                             https:/ usasp
                                                                                                     https:/
                                           Wildland Urban           National Cohesive        /       /
                                           Interface Community      Wildland Fire            sam.g www.
Department of the Interior        15.676   Fire
                                           YouthAssistance
                                                  Engagement,       Management
                                                                    To provide experiential, https:/ usasp
                                                                                   Strategy  ov/fal/ https:/
                                           Education, and           education, and               /     /
                                           Employment               employment                   sam.g www.
Department of the Interior        15.677   Hurricane Sandy          opportunities
                                                                    To            for youth
                                                                       provide technical     ov/fal/ https:/
                                                                                             https:/ usasp
                                           Disaster Relief          and financial assistance /       /
                                           Activities-FWS           to identify, protect,    sam.g www.
                                                                    conserve, manage,        ov/fal/ usasp




                                                                                                                            37
                             Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 53 of 77 PageID
                                                                                                                           #: 7321
Department of the Interior        15.678   Cooperative Ecosystem The Cooperative                  https:/ https:/
                                           Studies Units         Ecosystem Studies                /       /
                                                                 Units (CESU) Network             sam.g www.
Department of the Interior        15.679   Combating Wildlife    is a national,
                                                                 The  goal of this grant          ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Trafficking           program is to provide            /       /
                                                                 financial assistance to          sam.g www.
Department of the Interior        15.680   Mexican Wolf Recovery innovative
                                                                 To provide projects
                                                                             federal that         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                                                   financial assistance to        /       /
                                                                   secure Mexican Wolf            sam.g www.
                                                                   information, undertake         ov/fal/ usasp
Department of the Interior        15.681   Cooperative Agriculture The objectives for the         https:/ https:/
                                                                   use of cooperative             /       /
                                                                   agriculture in the             sam.g www.
Department of the Interior        15.682   Experienced Services To National
                                                                       enableWildlife  Refuge
                                                                                the agency   to   ov/fal/ https:/
                                                                                                  https:/ usasp
                                                                   work with select NGOs          /       /
                                                                   to fill a wide variety of      sam.g www.
Department of the Interior        15.683   Prescott Marine         temporary
                                                                   To provide human
                                                                                 financial        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Mammal Rescue             assistance to eligible       /       /
                                           Assistance                entities for: response,      sam.g www.
                                                                     recovery, rescue,            ov/fal/ usasp
Department of the Interior        15.684   White-nose Syndrome       To conserve and              https:/ https:/
                                           National Response         recover bat species          /       /
                                           Implementation            affected by the fungal       sam.g www.
Department of the Interior        15.685   National Fish Passage     disease
                                                                     To restorewhite-nose
                                                                                 native fish      ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                                                     and other aquatic            /       /
                                                                     species to self-             sam.g www.
                                                                     sustaining levels by         ov/fal/ usasp
Department of the Interior        15.686   National Fish Habitat     To comprehensively           https:/ https:/
                                           Partnership               address the causes of        /       /
                                                                     fish habitat decline by      sam.g www.
Department of the Interior        15.687   Great Lakes Sea           working
                                                                     To       together
                                                                         work with      with to
                                                                                   partners       ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Lamprey Control          assess sea lamprey            /       /
                                                                    abundance in the Great        sam.g www.
Department of the Interior        15.688   Great Lakes Fish and     Lakes   by monitoring
                                                                    To provide   assistancethe
                                                                                             to   ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Wildlife Restoration Act States, Indian Tribes,        /       /
                                                                    and other interested          sam.g www.
                                                                    entities to encourage         ov/fal/ usasp
Department of the Interior        15.689   Great Ape Conservation To provide financial            https:/ https:/
                                           Fund-Asia                assistance for projects       /       /
                                                                    for the effective long-       sam.g www.
Department of the Interior        15.690   Rhinoceros               term  conservation
                                                                    Provide   financial of the    ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Conservation Fund-        assistance for projects      /       /
                                           Africa                    for the effective, long-     sam.g www.
                                                                     term conservation of         ov/fal/ usasp
Department of the Interior        15.785   Nicodemus National        The town of                  https:/ https:/
                                           Historic Site             Nicodemus, in Kansas,        /       /
                                                                     has national                 sam.g www.
Department of the Interior        15.805   Assistance to State       significance
                                                                     To            as the only
                                                                         provide financial        ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Water Resources           support to Water             /       /
                                           Research Institutes       Resources Research           sam.g www.
Department of the Interior        15.807   Earthquake Hazards        Institutes
                                                                     To supportlocated at
                                                                                 earthquake       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Program Assistance     hazards research and            /       /
                                                                  monitoring in order to          sam.g www.
                                                                  develop information,            ov/fal/ usasp
Department of the Interior        15.808   U.S. Geological Survey To support research             https:/ https:/
                                           Research and Data      complementary to                /       /
                                           Collection             USGS program efforts            sam.g www.
Department of the Interior        15.810   National Cooperative   in
                                                                  Toclassification  of the
                                                                     produce geologic             ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Geologic Mapping       maps of areas in which          /     /
                                                                  knowledge of geology is         sam.g www.
Department of the Interior        15.812   Cooperative Research Toimportant
                                                                     work into  the
                                                                             partnership      ov/fal/ usasp
                                                                                              https:/ https:/
                                           Units                   with States and            /       /
                                                                   universities to address    sam.g www.
Department of the Interior        15.814                           thepreserve
                                           National Geological and To  information
                                                                                 andneeds  of ov/fal/
                                                                                     provide          usasp
                                                                                              https:/ https:/
                                           Geophysical Data        access to geological,      /       /
                                           Preservation            geophysical, and           sam.g www.
Department of the Interior        15.815   National Land Remote To promote the uses of https:/ usasp
                                                                   engineering   samples      ov/fal/ https:/
                                           Sensing Education     space-based land                 /       /
                                           Outreach and Research remote sensing data              sam.g www.
                                                                 and technologies                 ov/fal/ usasp
Department of the Interior        15.817   National Geospatial   To promote the uses of           https:/ https:/
                                           Program: Building The space-based land                 /       /
                                           National Map          remote sensing data              sam.g www.
Department of the Interior        15.818   Volcano Hazards       and technologies
                                                                 To advance the                   ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Program Research and scientific understanding          /       /
                                           Monitoring            of volcanic processes            sam.g www.
Department of the Interior        15.820                         andenable
                                           National and Regional To   to lessen
                                                                             the the
                                                                                 National         ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Climate Adaptation        and Regional Climate         /       /
                                           Science Centers           Adaptation Science           sam.g www.
                                                                     Centers (NRCASC) to          ov/fal/ usasp
Department of the Interior        15.821   USGS Cooperative          To support risk              https:/ https:/
                                           Landslide Hazard          communication,               /       /
                                           Mapping and               planning and                 sam.g www.
Department of the Interior        15.875   Assessment  Program
                                           Economic, Social, and     coordination, mapping
                                                                     The Office of Insular        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Political Development of Affairs will pursue the       /       /
                                           the Territories          Departmentâ€™s                sam.g www.
                                                                    mission of Fulfilling Our     ov/fal/ usasp
Department of the Interior        15.904   Historic Preservation    To provide                    https:/ https:/
                                           Fund Grants-In-Aid       congressionally               /       /
                                                                    mandated grants to            sam.g www.
Department of the Interior        15.912   National Historic        States, Tribes, of the
                                                                    The Secretary                 ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Landmark                  Interior, through the        /       /
                                                                     National Park Service,       sam.g www.
Department of the Interior        15.916   Outdoor Recreation        for provide
                                                                     To  the purpose   of
                                                                                  financial       ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Acquisition,              assistance to the States     /       /
                                           Development and           and their political          sam.g www.
                                           Planning                  subdivisions projects        ov/fal/ usasp
Department of the Interior        15.921   Rivers, Trails and        The Rivers, Trails and       https:/ https:/
                                           Conservation              Conservation                 /       /
                                           Assistance                Assistance Program           sam.g www.
Department of the Interior        15.922   Native American           implements  the natural
                                                                     To provide grants   to       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Graves Protection and     museums to assist in         /       /
                                           Repatriation Act          the consultation on and      sam.g www.
                                                                     documentation of             ov/fal/ usasp
Department of the Interior        15.923   National Center for       The purposes of the          https:/ https:/
                                           Preservation              Center shall be toâ€”        /       /
                                           Technology and                                         sam.g www.
Department of the Interior        15.925   Training
                                           National Maritime         To provide matching          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Heritage Grants           grants for preservation      /       /
                                                                     or education projects        sam.g www.
Department of the Interior        15.926   American Battlefield      thatprovide
                                                                     To   foster aFederal
                                                                                   greater        ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Protection                financial assistance to      /       /
                                                                     State, local and tribal      sam.g www.
                                                                     governments, other           ov/fal/ usasp
Department of the Interior        15.928   Battlefield Land          To assist States and         https:/ https:/
                                           Acquisition Grants        local communities            /       /
                                                                     acquire and preserve         sam.g www.
Department of the Interior        15.929   Save America's            threatened  battlefield
                                                                     To provide matching          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Treasures                grants for preservation    /       /
                                                                    or conservation work on sam.g www.
Department of the Interior        15.930   Chesapeake Bay           nationally
                                                                    The         significant
                                                                          National  Park       ov/fal/ usasp
                                                                                               https:/ https:/
                                           Gateways Network         Service â€                 /       /
                                                                    “ Chesapeake Bay           sam.g www.
                                                                    Office connects people ov/fal/ usasp
Department of the Interior        15.931   Youth and Veteran        This program seeks to      https:/ https:/
                                           Organizations            utilize qualified non-     /       /
                                           Conservation Activities profit youth and veteran sam.g www.
Department of the Interior        15.932                            serving
                                           Preservation of Historic In 1988,organizations
                                                                              the National to https:/
                                                                                               ov/fal/ https:/
                                                                                                       usasp
                                           Structures on the        Park Service               /       /
                                           Campuses of              established the            sam.g www.
                                           Historically Black       Historically Black         ov/fal/ usasp
Department of the Interior        15.933   Preservation of          To provide for the         https:/ https:/
                                           Japanese American        preservation and           /       /
                                           Confinement Sites        interpretation of historic sam.g www.
Department of the Interior        15.935                            confinement     sites
                                           National Trails System To preserve, protect,        ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                           Projects                  and develop the              /       /
                                                                     components of the            sam.g www.
Department of the Interior        15.938   Boston African-           National
                                                                     As       Trails
                                                                        set forth in System,      ov/fal/ https:/
                                                                                                  https:/ usasp
                                           American National         authorizing legislation,     /       /
                                           Historic Site             this programâ€™s             sam.g www.
                                                                     objective is to enter into   ov/fal/ usasp
Department of the Interior        15.939   Heritage Partnership      The purpose of the           https:/ https:/
                                                                     Heritage Partnership         /       /
                                                                     Program funding is to        sam.g www.
Department of the Interior        15.941   Mississippi National      carryMississippi
                                                                     The   out programs and       ov/fal/ https:/
                                                                                                  https:/ usasp
                                           River and Recreation      National River and           /       /
                                           Area State and Local      Recreation Area is rich      sam.g www.
                                           Assistance                with historical and          ov/fal/ usasp
Department of the Interior        15.942   Environmental             Provide field-based          https:/ https:/
                                           Outreach and              environmental outreach       /       /
                                           Conservation - North      (focusing on natural and     sam.g www.
Department of the Interior        15.943   Cascades
                                           Challenge Cost Share      cultural history),
                                                                     This program    does not     ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                                                     award grants or              /       /
                                                                     cooperative                  sam.g www.
Department of the Interior        15.944   Natural Resource          agreements.
                                                                     The         The
                                                                         Natural Resource         ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Stewardship           Stewardship program is           /       /
                                                                 the principle means              sam.g www.
                                                                 through which the                ov/fal/ usasp
Department of the Interior        15.945   Cooperative Research To establish and                  https:/ https:/
                                           and Training Programs maintain cooperative             /       /
                                           â€“ Resources of the  study units, in                  sam.g www.
Department of the Interior        15.946   National Resources
                                           Cultural Park System The
                                                                 partnership
                                                                      Nationalwith federal,
                                                                                Park              ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Management            Service (NPS) conducts           /     /
                                                                 cultural resource                sam.g www.
Department of the Interior        15.948   National Fire Plan-   stewardship   largely at
                                                                 To assist communities           ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Wildland Urban            at risk from catastrophic /         /
                                           Interface Community       wildland fires by           sam.g www.
Department of the Interior        15.954   Fire Assistance
                                           National Park Service     providing
                                                                     This programassistance
                                                                                      supportsin ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                           Conservation,             projects complementary /            /
                                           Protection, Outreach,     to National Park Service sam.g www.
Department of the Interior        15.955   and Education
                                           Martin Luther King        program
                                                                     The        efforts
                                                                           Martin       in King, https:/
                                                                                   Luther        ov/fal/ https:/
                                                                                                         usasp
                                           Junior National Historic Junior, National Historic     /       /
                                           Site and Preservation    Site and Preservation         sam.g www.
                                           District                 District was established      ov/fal/ usasp




                                                                                                                             38
                             Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 54 of 77 PageID
                                                                                                                           #: 7322
Department of the Interior        15.956   Cooperative           Objectives of this listing       https:/ https:/
                                           Management of Ebey's include:                          /       /
                                           Landing National                                       sam.g www.
Department of the Interior        15.957   Historical Reserve.
                                           Emergency             â€¢
                                                                 EmergencyManagement              ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Supplemental Historic supplemental Historic            /       /
                                           Preservation Fund     Preservation Fund                sam.g www.
Department of the Interior        15.958   Route 66 Corridor     funding is intended
                                                                 To preserve           to
                                                                               the cultural       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Preservation              resources of the Route       /       /
                                                                     66 corridor and to           sam.g www.
                                                                     authorize the Secretary      ov/fal/ usasp
Department of the Interior        15.959   Education Program         To improve the               https:/ https:/
                                           Management                administration and           /       /
                                                                     management of                sam.g www.
Department of the Interior        15.961   Federal Historic          education programs
                                                                     Commonly    known as         ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Preservation Tax          the Rehabilitation Tax       /       /
                                           Incentive                 Credit or the Historic       sam.g www.
Department of the Interior        15.962   National Wild and         Tax
                                                                     The Credit, the of
                                                                         Secretary   program
                                                                                        the       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Scenic Rivers System    Interior shall assist,         /       /
                                                                   advise, and cooperate          sam.g www.
                                                                   with States or their           ov/fal/ usasp
Department of the Interior        15.963   Southwest Border        Provide financial              https:/ https:/
                                           Resource Protection     assistance to                  /       /
                                           Program                 educational institutions,      sam.g www.
Department of the Interior        15.964   9/11 Memorial Act Grant nonprofit  organizations,
                                                                   The 9/11 Memorial     Act      ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Program                   Grant Program provides       /       /
                                                                     competitive grants for       sam.g www.
                                                                     the continued operation,     ov/fal/ usasp
Department of the Interior        15.965   Groundwork -              Groundwork furthers          https:/ https:/
                                           Brownfield to             the mission of the           /       /
                                           Greenspace                National Park Service        sam.g www.
Department of the Interior        15.966   Historic Preservation     by extending
                                                                     The  objectivesthe
                                                                                      of the      ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Fund Grants-in-Aid for    competitive grant            /       /
                                           Competitive Grants        programs under this          sam.g www.
Department of the Interior        15.969   National Wildland Fire Assistance
                                                                   The goal of Listing   are is
                                                                                this listing      ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Management and          to provide financial           /       /
                                           Natural Resource        assistance to reduce           sam.g www.
                                           Training and Workforce and mitigate the risk of        ov/fal/ usasp
Department of the Interior        15.978   Upper Mississippi River To provide decision            https:/ https:/
                                           Restoration Long Term makers with information          /       /
                                           Resource Monitoring     needed to maintain the         sam.g www.
Department of the Interior        15.980   National Ground-Water Upper    Mississippi
                                                                   To support  data River         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Monitoring Network        providers for the            /       /
                                                                     National Ground-Water        sam.g www.
                                                                     Monitoring Network.          ov/fal/ usasp
Department of the Interior        15.981   Water Use and Data        To support State water       https:/ https:/
                                           Research                  resource agencies in         /       /
                                                                     developing water use         sam.g www.
Department of the Interior        15.984   NPS Alaska                and availability
                                                                     Through  a       datasets    ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Subsistence            multidisciplinary               /       /
                                           Management             collaborative program,          sam.g www.
Department of the Interior        15.991   September 11 National identify  andsupports
                                                                  This listing  provide the       ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Memorial Trail         designation of the              /       /
                                                                  â€˜â€˜September 11th            sam.g www.
                                                                  National Memorial Trail         ov/fal/ usasp
Department of the Treasury        21.004   Exchange of Federal    To increase state tax           https:/ https:/
                                           Tax Information With   revenues and taxpayer           /       /
                                           State Tax Agencies     compliance, and to              sam.g www.
Department of the Treasury        21.006   Tax Counseling for the reduce
                                                                  Authorizeduplicate
                                                                              the Internal        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Elderly                   Revenue Service to        /       /
                                                                     enter into an agreement sam.g www.
Department of the Treasury        21.008   Low Income Taxpayer       with private
                                                                     This         or public
                                                                          assistance           ov/fal/ usasp
                                                                                               https:/ https:/
                                           Clinics                   opportunity provides a    /       /
                                                                     matching grant of up to sam.g www.
Department of the Treasury        21.009   Volunteer Income Tax      $200,000
                                                                     This grantper  grant year https:/
                                                                                authorizes     ov/fal/ https:/
                                                                                                       usasp
                                           Assistance (VITA)         the Internal Revenue         /       /
                                           Matching Grant            Service to provide a         sam.g www.
Department of the Treasury        21.011   Program
                                           Capital Magnet Fund       matching  grant
                                                                     The Capital     to
                                                                                  Magnet          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                                                     Fund helps to create         /       /
                                                                     and preserve affordable      sam.g www.
                                                                     housing for low-income       ov/fal/ usasp
Department of the Treasury        21.012   Native Initiatives        To promote economic          https:/ https:/
                                                                     revitalization and           /       /
                                                                     community                    sam.g www.
Department of the Treasury        21.014   Community                 development    through
                                                                     To support community         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Development Financial development lending              /       /
                                           Institutions Bond       and investment by              sam.g www.
Department of the Treasury        21.015   Guarantee Program
                                           Resources    and        providing a source of
                                                                   Treasury administers           ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Ecosystems              the Direct Component           /       /
                                           Sustainability, Tourist program and Centers of         sam.g www.
                                           Opportunities, and      Excellence Research            ov/fal/ usasp
Department of the Treasury        21.016   Equitable Sharing       The Department of the          https:/ https:/
                                                                   Treasury Asset                 /       /
                                                                   Forfeiture Program is a        sam.g www.
Department of the Treasury        21.017   Social Impact           nationwide
                                                                   The purposeslawof this         ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Partnerships to Pay for program are the                /       /
                                           Results Act (SIPPRA) following:                        sam.g www.
                                                                   (1) To improve the lives       ov/fal/ usasp
Department of the Treasury        21.018   Coronavirus Relief -    The Payroll Support            https:/ https:/
                                           Pandemic Relief for     Program (PSP1),                /       /
                                           Aviation Workers        Payroll Support                sam.g www.
Department of the Treasury        21.019   Coronavirus Relief      Program  Extension
                                                                   Section 5001  of the           ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Fund                  Coronavirus Aid, Relief,         /       /
                                                                 and Economic Security            sam.g www.
Department of the Treasury        21.020   Community             Actpromote
                                                                 To  ("CARES     Act")
                                                                               economic           ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Development Financial revitalization and               /       /
                                           Institutions Program  community                        sam.g www.
                                                                 development through              ov/fal/ usasp
Department of the Treasury        21.021   Bank Enterprise Award The Bank Enterprise              https:/ https:/
                                           Program               Award Program (BEA               /       /
                                                                 Program) provides                sam.g www.
Department of the Treasury        21.023   Emergency Rental      monetary
                                                                 The funding awards  to by
                                                                                provided          ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Assistance Program        Emergency Rental             /       /
                                                                     Assistance (ERA) will        sam.g www.
                                                                     among other things,          ov/fal/ usasp
Department of the Treasury        21.024   Community                 To support the ability of    https:/ https:/
                                           Development Financial     Community                    /       /
                                           Institutions Rapid        Development Financial        sam.g www.
Department of the Treasury        21.025   Response
                                           Small DollarProgram
                                                         Loan        Institutions
                                                                     Through the(CDFIs)
                                                                                  Small to        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Program                   Dollar Loan Program,   /       /
                                                                     the CDFI Fund provides sam.g www.
Department of the Treasury        21.026                        (1) grants
                                           Homeowner Assistance Section     to enable
                                                                         3206   of the a    ov/fal/ https:/
                                                                                            https:/ usasp
                                           Fund                 American Rescue Plan              /       /
                                                                Act of 2021, (the                 sam.g www.
                                                                â€œActâ€                          ov/fal/ usasp
Department of the Treasury        21.027   CORONAVIRUS STATE Sections 602 and 603                 https:/ https:/
                                           AND LOCAL FISCAL     of the Social Security            /       /
                                           RECOVERY FUNDS       Act as added by section           sam.g www.
Department of the Treasury        21.028   Coronavirus Economic 9901  of the
                                                                Division     American
                                                                          N, Title IV,            ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Relief for Transportation Section 421 of the           /       /
                                           Services Act              Consolidated                 sam.g www.
Department of the Treasury        21.029   Coronavirus Capital       Appropriations
                                                                     Section 604 of Act,
                                                                                    the           ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Projects Fund             Social Security Act, as      /       /
                                                                     added by section 9901        sam.g www.
                                                                     of the American Rescue       ov/fal/ usasp
Department of the Treasury        21.030   Emergency Capital         Under the ECIP,              https:/ https:/
                                           Investment Program        Treasury invested            /       /
                                                                     $8,570,109,000 in            sam.g www.
Department of the Treasury        21.031   State Small Business      capital directly
                                                                     Section  3301 ofinthe
                                                                                        175       ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Credit Initiative       American Rescue Plan           /       /
                                           Technical Assistance    Act of 2021 (ARPA),            sam.g www.
                                           Grant Program           Public Law No. 117-2           ov/fal/ usasp
Department of the Treasury        21.032   Local Assistance and    Section 605 of the             https:/ https:/
                                           Tribal Consistency Fund Social Security Act (the       /       /
                                                                   Act), as added by              sam.g www.
Department of the Treasury        21.033   Community               section 9901
                                                                   To provide   of the
                                                                              grants to           ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                           Development Financial Community                        /       /
                                           Institutions Fund      Development Financial           sam.g www.
Department of the Treasury        21.034   Equitable
                                           State  SmallRecovery
                                                         Business Institutions
                                                                  Through the(CDFIs)
                                                                                  State for       ov/fal/ https:/
                                                                                                  https:/ usasp
                                           Credit Initiative      Small Business Credit           /       /
                                           Competitive Technical Initiative (SSBCI)               sam.g www.
                                           Assistance Program     Investing in America            ov/fal/ usasp
Department of the Treasury        IN.001   Interest on the Public The federal government
                                           Debt                   is charged interest for
                                                                  the use of lendersâ€™
Department of the Treasury        TC.001   Exclusion of benefits  money,the
                                                                  Under     in the sametax
                                                                               baseline way
                                           and allowances to      system, all
                                           armed forces personnel compensation, including
                                                                  dedicated payments
Department of the Treasury        TC.002   Exclusion of income    Under the baseline tax
                                           earned abroad by U.S. system, all
                                           citizens               compensation received
Department of the Treasury        TC.003   Exclusion of certain   by U.S. citizens
                                                                  In general, all and
                                           allowances for Federal    compensation received
                                           employees abroad          by U.S. citizens and
Department of the Treasury        TC.004   Reduced tax rate on      residents
                                                                    Under  theisbaseline
                                                                                 properlytax
                                           active income of         system, worldwide
                                           controlled foreign       income forms the tax
                                           corporations (normal     base of U.S.
Department of the Treasury        TC.005   Deduction for foreign- Under the baseline tax
                                           derived intangible       system, the United
                                           income derived from      States taxes income
Department of the Treasury        TC.006   trade or Charge
                                           Interest business within Under
                                                                    earnedthe
                                                                            by baseline
                                                                                U.S.     tax
                                           Domestic International system, taxpayer
                                           Sales Corporations (IC- earnings are subject to
Department of the Treasury        TC.007   DISCs)
                                           Expensing of research tax
                                                                   Theusing the regular
                                                                       baseline tax     tax
                                           and experimentation       system allows a
                                           expenditures (normal      deduction for the cost of
Department of the Treasury        TC.008   tax method)
                                           Credit for increasing     producing income.
                                                                     The baseline  tax It
                                           research activities       system would uniformly
                                                                     tax all returns to
Department of the Treasury        TC.009   Expensing of              investments
                                                                     Under         and nottax
                                                                             the baseline
                                           exploration and           system, the costs of
                                           development costs, oil    exploring and
                                           and gas                   developing oil and gas




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                                                             Case 1:25-cv-00039-JJM-PAS                                            Document 114-1   Filed 02/13/25   Page 55 of 77 PageID
                                                                                                                                          #: 7323
                                Department of the Treasury        TC.010   Expensing of            This is similar to the
                                                                           exploration and         above provision but
                                                                           development costs, coal limited to coal. Current
                                Department of the Treasury        TC.011   Excess of percentage Thelaw allows  immediate
                                                                                                        baseline  tax
                                                                           over cost depletion, oil   system would allow
                                                                           and gas                    recovery of the costs of
                                Department of the Treasury        TC.012   Excess of percentage       developing   certain
                                                                                                      This is similar to theoil
                                                                           over cost depletion,       above provision but
                                                                           coal                       limited to coal.
                                Department of the Treasury        TC.013   Exception from passive The baseline tax
                                                                           loss limitation for       system accepts current
                                                                           working interests in oil lawâ€™s general rule
                                Department of the Treasury        TC.014   and gas properties
                                                                           Enhanced     oil recovery limiting
                                                                                                     A credit taxpayersâ€™
                                                                                                               is provided
                                                                           credit                    equal to 15 percent of
                                                                                                     the taxpayerâ€™s
                                Department of the Treasury        TC.015   Marginal wells credit     costs
                                                                                                     A      forisenhanced
                                                                                                        credit             oil
                                                                                                                  provided for
                                                                                                      crude oil and natural
                                                                                                      gas produced from a
                                                                                                      quali ed marginal well.
                                Department of the Treasury        TC.016   Amortize all geological    The baseline tax
                                                                           and geophysical            system allows
                                                                           expenditures over 2        taxpayers to deduct the
                                Department of the Treasury        TC.017   years
                                                                           Capital gains treatment    decline in the tax
                                                                                                      The baseline    economic
                                                                           of royalties on coal     system generally would
                                                                                                    tax all income under the
                                                                                                    regular tax rate
                                Department of the Treasury        TC.018   Exclusion of interest on The baseline tax
                                                                           energy facility bonds    system generally would
                                                                                                    tax all income under the
                                Department of the Treasury        TC.019   Quali ed energy          regular
                                                                                                    The       tax rate
                                                                                                         baseline   tax
                                                                           conservation bonds       system would uniformly
                                                                                                    tax all returns to
                                Department of the Treasury        TC.020   Exclusion of utility     investments
                                                                                                    The  baselineand
                                                                                                                   tax not
                                                                           conservation subsidies system generally takes
                                                                                                    a comprehensive view
                                                                                                    of taxable income that
                                Department of the Treasury        TC.021   Credit for holding clean The baseline tax
                                                                           renewable energy         system would uniformly
                                                                           bonds                    tax all returns to
                                Department of the Treasury        TC.022   Energy production        investments
                                                                                                    The baselineandtax not
                                                                           credit                     system would not allow
                                                                                                      credits for particular
                                                                                                      activities, investments,
                                Department of the Treasury        TC.023   Energy investment          The baseline tax
                                                                           credit                     system would not allow
                                                                                                      credits for particular
                                Department of the Treasury        TC.024   Advanced nuclear           activities,
                                                                                                      The         investments,
                                                                                                           baseline   tax
                                                                           power production credit system would not allow
                                                                                                   credits or deductions for
                                Department of the Treasury        TC.025                           particular
                                                                           Zero-emission nuclear The          activities,
                                                                                                        baseline  tax
                                                                           power production credit system would not allow
                                                                                                   credits or deductions for
                                                                                                   particular activities,
                                Department of the Treasury        TC.026   Reduced tax rate for    The baseline tax
                                                                           nuclear                 system would uniformly
                                                                           decommissioning funds tax all returns to
                                Department of the Treasury        TC.027   Alcohol fuel credits    investments
                                                                                                   The baselineandtax not
                                                                                                   system would not allow
                                                                                                   credits for particular
                                Department of the Treasury        TC.028   Bio-Diesel and small    activities,
                                                                                                   The         investments,
                                                                                                        baseline   tax
                                                                           agri-biodiesel producer system would not allow
                                                                           tax credits             credits for particular
                                Department of the Treasury        TC.029   Clean fuel production   activities,
                                                                                                   The         investments,
                                                                                                        baseline   tax
                                                                           credit                     system would not allow
                                                                                                      credits for particular
                                Department of the Treasury        TC.030   Clean hydrogen             activities,
                                                                                                      The         investments
                                                                                                           baseline   tax
                                                                           production credit         system would not allow
                                                                                                     credits for particular
                                                                                                     activities, investments,
                                Department of the Treasury        TC.031   Tax credit for clean      The baseline tax
                                                                           vehicles                  system would not allow
                                                                                                     credits for particular
                                Department of the Treasury        TC.032   Tax credits for refueling activities,
                                                                                                     The baselineinvestments,
                                                                                                                     tax
                                                                           property                  system would not allow
                                                                                                     credits for particular
                                Department of the Treasury        TC.033   Tax credits for clean-    activities,
                                                                                                     The         investments,
                                                                                                          baseline   tax
                                                                           fuel burning vehicles   system would not allow
                                                                           and refueling property  credits for particular
                                                                                                   activities, investments,
                                Department of the Treasury        TC.034   Allowance of deduction The baseline tax
                                                                           for certain energy      system would not allow
                                                                           ef cient commercial     deductions in lieu of
                                Department of the Treasury        TC.035   building
                                                                           Credit forproperty
                                                                                      construction normal   depreciation
                                                                                                   The baseline    tax
                                                                           of new energy ef cient system would not allow
                                                                           homes                   credits for particular
                                                                                                   activities, investments,
                                Department of the Treasury        TC.036   Credit for energy       The baseline tax
                                                                           ef ciency improvements system would not allow
                                                                           to existing homes       credits for particular
                                Department of the Treasury        TC.037   Credit for residential  activities,
                                                                                                   The baselineinvestments,
                                                                                                                   tax
                                                                           energy ef cient property system would uniformly
                                                                                                    tax all returns to
                                Department of the Treasury        TC.038   Advanced energy          investments
                                                                                                    The  baselineand
                                                                                                                   tax not
                                                                           property credit            system would not allow
                                                                                                      credits for particular
                                                                                                      activities, investments,
                                Department of the Treasury        TC.039   Advanced                   The baseline tax
                                                                           manufacturing              system would not allow
                                                                           production credit          credits for particular
                                Department of the Treasury        TC.040   Expensing of               activities,
                                                                                                      The         investments,
                                                                                                           baseline   tax
                                                                           exploration and          system allows the
                                                                           development costs,       taxpayer to deduct the
                                                                           nonfuel minerals         depreciation of an asset
                                Department of the Treasury        TC.041   Excess of percentage     The baseline tax
                                                                           over cost depletion,     system allows the
                                                                           nonfuel minerals         taxpayer to deduct the
                                Department of the Treasury        TC.042   Exclusion of interest on decline in the tax
                                                                                                    The baseline    economic
                                                                           bonds for water,         system generally would
                                                                           sewage, and hazardous tax all income under the
                                Department of the Treasury        TC.043   waste facilities
                                                                           Capital                  regular
                                                                                   gains treatment The      tax rate
                                                                                                         baseline  tax
                                                                           of certain timber income system generally would
                                                                                                    tax all income under the
                                                                                                    regular tax rate
                                Department of the Treasury        TC.044   Expensing of             The baseline tax
                                                                           multiperiod timber       system requires the
                                                                           growing costs            taxpayer to capitalize
                                Department of the Treasury        TC.045   Tax incentives for       costsbaseline
                                                                                                    The    associated
                                                                                                                  tax with
                                                                           preservation of historic   system would not allow
                                                                           structures                 credits for particular
                                Department of the Treasury        TC.046   Carbon oxide               activities,
                                                                                                      The         investments,
                                                                                                           baseline   tax
                                                                           sequestration credit       system would uniformly
                                                                                                      tax all returns to
                                                                                                      investments and not
                                Department of the Treasury        TC.047   Deduction for              The baseline tax
                                                                           endangered species         system would not allow
                                                                           recovery expenditures      deductions in addition
                                Department of the Treasury        TC.048   Expensing of certain       to normal
                                                                                                      The         depreciation
                                                                                                           baseline  tax
                                                                           capital outlays            system requires the
                                                                                                      taxpayer to capitalize
                                                                                                      costs associated with
                                Department of the Treasury        TC.049   Expensing of certain       The baseline tax
                                                                           multiperiod production     system requires the
                                                                           costs                      taxpayer to capitalize
                                Department of the Treasury        TC.050   Treatment of loans         costs associated
                                                                                                      Because  loan     with
                                                                           forgiven for solvent     forgiveness increases a
                                                                           farmers                  debtors net worth the
                                Department of the Treasury        TC.051                            baseline
                                                                           Capital gains treatment The         tax system
                                                                                                         baseline   tax
                                                                           of certain agriculture   system generally would
                                                                           income                   tax all income under the
                                                                                                    regular tax rate
                                Department of the Treasury        TC.052   Income averaging for     The baseline tax
                                                                           farmers                  system generally taxes
                                                                                                    all earned income each
                                Department of the Treasury        TC.053                            year baseline
                                                                           Deferral of gain on sale The   at the rate
                                                                                                                    tax
                                                                           of farm re ners            system generally
                                                                                                      subjects capital gains to
                                                                                                      taxes the year that they
                                Department of the Treasury        TC.054   Expensing of               The baseline tax
                                                                           reforestation              system requires the
                                                                           expenditures               taxpayer to capitalize
                                Department of the Treasury        TC.055   Exemption of credit        costs associated
                                                                                                      Under             with
                                                                                                             the baseline  tax
                                                                           union income               system, corporations
                                                                                                      pay taxes on their
                                Department of the Treasury        TC.056   Exclusion of life          pro ts under
                                                                                                      Under        the regular
                                                                                                             the baseline tax
                                                                           insurance death           system, individuals and
                                                                           bene ts                   corporations would pay
                                                                                                     taxes on their income
                                Department of the Treasury        TC.057   Exemption or special      The baseline tax
                                                                           alternative tax for small system would require
                                                                           property and casualty     corporations to pay
                                Department of the Treasury        TC.058   insurance
                                                                           Tax        companies
                                                                                exemption   of       taxes
                                                                                                     Underonthetheir  pro tstax
                                                                                                                 baseline
                                                                           insurance income          system, corporations
                                                                           earned by tax-exempt pay taxes on their
                                Department of the Treasury        TC.059   organizations
                                                                           Exclusion of interest     pro
                                                                                                     The ts under the
                                                                                                         baseline    tax regular
                                                                           spread of nancial        system generally would
                                                                           institutions             tax all income under the
                                Department of the Treasury        TC.060   Exclusion of interest on regular   tax rate
                                                                                                    The baseline    tax
                                                                           owner-occupied           system generally would
                                                                           mortgage subsidy         tax all income under the
                                Department of the Treasury        TC.061   bonds                    regular
                                                                           Exclusion of interest on The       tax rate
                                                                                                         baseline   tax
                                                                           rental housing bonds     system generally would
                                                                                                    tax all income under the
                                                                                                    regular tax rate




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                                                                                                                                    #: 7324
                         Department of the Treasury        TC.062   Deductibility of       Under the baseline tax
                                                                    mortgage interest on   system, expenses
                                                                    owner-occupied homes incurred in earning
                         Department of the Treasury        TC.063   Deductibility of State incomethe
                                                                                           Under  would be tax
                                                                                                     baseline
                                                                    and local property tax  system, expenses
                                                                    on owner-occupied       incurred in earning
                         Department of the Treasury        TC.064   homes
                                                                    Deferral of income from income  wouldtax
                                                                                            The baseline   be
                                                                    installment sales       system generally would
                                                                                            tax all income under the
                                                                                            regular tax rate
                         Department of the Treasury        TC.065   Capital gains exclusion The baseline tax
                                                                    on home sales           system would not allow
                                                                                            deductions and
                         Department of the Treasury        TC.066   Exclusion of net        exemptions
                                                                                            Under         for certain
                                                                                                     the baseline tax
                                                                    imputed rental income     system, the taxable
                                                                                              income of a taxpayer
                         Department of the Treasury        TC.067   Exception from passive Thewho baseline
                                                                                                    is an owner-
                                                                                                             tax
                                                                    loss rules for $25,000 of system accepts current
                                                                    rental loss               lawâ€™s general rule
                                                                                              limiting taxpayersâ€™
                         Department of the Treasury        TC.068   Credit for low-income     The baseline tax
                                                                    housing investments       system would uniformly
                                                                                              tax all returns to
                         Department of the Treasury        TC.069   Accelerated               investments   and not
                                                                                              Under a comprehensive
                                                                    depreciation on rentaleconomic income tax,
                                                                    housing (normal tax   the costs of acquiring a
                                                                    method)               building are capitalized
                         Department of the Treasury        TC.070   Discharge of mortgage Under the baseline tax
                                                                    indebtedness          system, all income
                                                                                          would generally be
                         Department of the Treasury        TC.071                         taxed under
                                                                    Premiums for mortgage Under         the regular
                                                                                                 the baseline  tax
                                                                    insurance deductible as system, expenses
                                                                    interest                incurred in earning
                         Department of the Treasury        TC.072                           incomethe
                                                                    Discharge of business Under     would  be tax
                                                                                                       baseline
                                                                    indebtedness                 system, all income
                                                                                                 would generally be
                                                                                                 taxed under the regular
                         Department of the Treasury        TC.073   Exceptions from              Under the baseline tax
                                                                    imputed interest rules       system, holders
                                                                                                 (issuers) of debt
                         Department of the Treasury        TC.074   Treatment of quali ed        instruments
                                                                                                 The baselineare
                                                                                                               tax
                                                                    dividends                 system generally would
                                                                                              tax all income under the
                                                                                              regular tax rate
                         Department of the Treasury        TC.075   Capital gains (except     The baseline tax
                                                                    agriculture, timber, iron system generally would
                                                                    ore, and coal)            tax all income under the
                         Department of the Treasury        TC.076                             regular
                                                                    Capital gains exclusion The         tax rate
                                                                                                   baseline   tax
                                                                    of small corporation     system would not allow
                                                                    stock                    deductions and
                         Department of the Treasury        TC.077   Step-up basis of capital exemptions   or provide
                                                                                             Under the baseline   tax
                                                                    gains at death           system, unrealized
                                                                                             capital gains would be
                                                                                             taxed when assets are
                         Department of the Treasury        TC.078   Carryover basis of       Under the baseline tax
                                                                    capital gains on gifts   system, unrealized
                                                                                             capital gains would be
                         Department of the Treasury        TC.079   Ordinary income          taxed when assets
                                                                                             The baseline  tax are
                                                                    treatment of loss from system limits to $3,000
                                                                    small business            the write-off of losses
                         Department of the Treasury        TC.080   corporation
                                                                    Deferral     stock sale
                                                                             of capital       frombaseline
                                                                                        gains The  capital assets,
                                                                                                             tax    with
                                                                    from like-kind               system generally would
                                                                    exchanges                    tax all income under the
                         Department of the Treasury        TC.081   Depreciation of              regularatax
                                                                                                 Under       rate
                                                                                                           comprehensive
                                                                    buildings other than         economic income tax,
                                                                    rental housing (normal       the costs of acquiring a
                         Department of the Treasury        TC.082   tax method)
                                                                    Accelerated                  buildinga are
                                                                                                 Under         capitalized
                                                                                                           comprehensive
                                                                    depreciation of           economic income tax,
                                                                    machinery and             the costs of acquiring
                                                                    equipment (normal tax     machinery and
                         Department of the Treasury        TC.083   Expensing of certain      Under the reference tax
                                                                    small investments         law baseline, the costs
                                                                    (normal tax method)       of acquiring tangible
                         Department of the Treasury        TC.084   Exclusion of interest on property    and computer
                                                                                              The baseline    tax
                                                                    small issue bonds         system generally would
                                                                                              tax all income under the
                         Department of the Treasury        TC.085                             regular
                                                                    Special rules for certain The       tax rate
                                                                                                   baseline   tax
                                                                     lm and TV production        system generally would
                                                                                                 tax all income under the
                                                                                                 regular tax rate
                         Department of the Treasury        TC.086   Allow 20-percent             The baseline tax
                                                                    deduction to certain         system generally would
                                                                    pass-through income          tax all income under the
                         Department of the Treasury        TC.087   Advanced                     regular
                                                                                                 The       tax rate
                                                                                                      baseline   tax
                                                                    manufacturing                system would not allow
                                                                    investment credit            credits for particular
                                                                                                 activities, investments,
                         Department of the Treasury        TC.088   Tonnage tax                  The baseline tax
                                                                                                 system generally would
                                                                                                 tax all pro ts and
                         Department of the Treasury        TC.089   Deferral of tax on           income   undertax
                                                                                                 The baseline    the
                                                                    shipping companies           system generally would
                                                                                                 tax all pro ts and
                         Department of the Treasury        TC.090                           incomethe
                                                                    Exclusion of reimbursed Under  under   the tax
                                                                                                       baseline
                                                                    employee parking        system, all
                                                                    expenses                compensation, including
                                                                                            dedicated payments
                         Department of the Treasury        TC.091   Exclusion for employer- Under the baseline tax
                                                                    provided transit passes system, all
                                                                                            compensation, including
                         Department of the Treasury        TC.092   Tax credit for certain  dedicated
                                                                                            The        payments
                                                                                                baseline  tax
                                                                    expenditures for             system would not allow
                                                                    maintaining railroad         credits for particular
                                                                    tracks                       activities, investments,
                         Department of the Treasury        TC.093   Exclusion of interest on     The baseline tax
                                                                    bonds for Highway            system generally would
                                                                    Projects and rail-truck      tax all income under the
                         Department of the Treasury        TC.094   transfer
                                                                    Exclusionfacilities
                                                                               of interest for   regular   tax rate
                                                                                                 The baseline    tax
                                                                    airport, dock, and           system generally would
                                                                    similar bonds                tax all income under the
                         Department of the Treasury        TC.095   Exemption of certain         regularthe
                                                                                                 Under     taxbaseline
                                                                                                               rate    tax
                                                                    mutuals' and              system, corporations
                                                                    cooperatives' income      pay taxes on their
                                                                                              pro ts under the regular
                         Department of the Treasury        TC.096   Empowerment zones         The baseline tax
                                                                                              system generally would
                                                                                              tax all income under the
                         Department of the Treasury        TC.097   New markets tax credit Theregular   tax rate
                                                                                                   baseline   tax
                                                                                              system would not allow
                                                                                              credits for particular
                         Department of the Treasury        TC.098                             activities,
                                                                    Credit to holders of Gulf The         investments,
                                                                                                   baseline   tax
                                                                    and Midwest Tax Credit system would not allow
                                                                    Bonds .                credits for particular
                                                                                           activities, investments,
                         Department of the Treasury        TC.099   Recovery Zone Bonds The baseline tax
                                                                                           system would not allow
                                                                                           credits for particular
                         Department of the Treasury        TC.100   Tribal Economic        activities,
                                                                                           The         investments,
                                                                                                baseline   tax
                                                                    Development Bonds            system generally would
                                                                                                 tax all income under the
                                                                                                 regular tax rate
                         Department of the Treasury        TC.101   Opportunity Zones            The baseline tax
                                                                                                 system generally would
                                                                                                 tax all income under the
                         Department of the Treasury        TC.102   Disaster employee            regular
                                                                                                 The       tax rate
                                                                                                      baseline   tax
                                                                    retention credit             system would not allow
                                                                                                 credits for particular
                         Department of the Treasury        TC.103                             activities, investments,
                                                                    Exclusion of scholarship Scholarships     and
                                                                    and fellowship income fellowships are
                                                                    (normal tax method)       excluded from taxable
                                                                                              income to the extent
                         Department of the Treasury        TC.104   Tax credits for post-     The baseline tax
                                                                    secondary education       system would not allow
                                                                    expenses                  credits for particular
                         Department of the Treasury        TC.105                             activities,
                                                                    Deductibility of student- The         investments,
                                                                                                   baseline   tax
                                                                    loan interest            system accepts current
                                                                                             lawâ€™s general rule
                                                                                             limiting taxpayersâ€™
                         Department of the Treasury        TC.106   Quali ed tuition         The baseline tax
                                                                    programs (includes       system generally would
                                                                    Education IRA)           tax all income under the
                         Department of the Treasury        TC.107                            regular
                                                                    Exclusion of interest on The       tax rate
                                                                                                   baseline  tax
                                                                    student-loan bonds       system generally would
                                                                                             tax all income under the
                         Department of the Treasury        TC.108                            regular
                                                                    Exclusion of interest on The       tax rate
                                                                                                   baseline  tax
                                                                    bonds for private        system generally would
                                                                    nonpro t educational     tax all income under the
                                                                    facilities               regular tax rate
                         Department of the Treasury        TC.109   Credit for holders of    The baseline tax
                                                                    zone academy bonds       system would not allow
                                                                                             credits for particular
                         Department of the Treasury        TC.110                            activities,
                                                                    Exclusion of interest on The         investments,
                                                                                                  baseline   tax
                                                                    savings bonds            system generally would
                                                                    redeemed to nance        tax all income under the
                         Department of the Treasury        TC.111   educational expenses
                                                                    Parental personal        regular
                                                                                             Under the taxbaseline
                                                                                                           rate    tax
                                                                    exemption for students system, a personal
                                                                    age 19 or over         exemption would be
                         Department of the Treasury        TC.112   Deductibility of       allowed
                                                                                           The     for thetax
                                                                                                baseline
                                                                    charitable contributions system would not allow
                                                                    to educational           a deduction for personal
                         Department of the Treasury        TC.113   institutionsof employer- expenditures.
                                                                    Exclusion                              In
                                                                                             Under the baseline  tax
                                                                    provided educational     system, all
                                                                    assistance               compensation, including
                                                                                             dedicated payments




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                                                                                                                                   #: 7325
                Department of the Treasury                  TC.114   Special deduction for      The baseline tax
                                                                     teacher expenses           system would not allow
                                                                                                a deduction for personal
                Department of the Treasury                  TC.115   Discharge of student       expenditures.
                                                                                                Under         In
                                                                                                      the baseline  tax
                                                                     loan indebtedness          system, all
                                                                                                compensation, including
                Department of the Treasury                  TC.116   Quali ed school            dedicated  payments
                                                                                                The baseline  tax
                                                                     construction bonds      system would not allow
                                                                                             credits for particular
                                                                                             activities, investments,
                Department of the Treasury                  TC.117   Work opportunity tax    The baseline tax
                                                                     credit                  system would not allow
                                                                                             credits for particular
                Department of the Treasury                  TC.118                           activities,
                                                                     Employer provided child Under   theinvestments,
                                                                                                          baseline tax
                                                                     care exclusion             system, all
                                                                                                compensation, including
                Department of the Treasury                  TC.119                           dedicated
                                                                     Employer-provided child The  baselinepayments
                                                                                                             tax
                                                                     care credit             system would not allow
                                                                                             credits for particular
                                                                                             activities, investments,
                Department of the Treasury                  TC.120   Assistance for adopted Under the baseline tax
                                                                     foster children         system, all
                                                                                             compensation, including
                Department of the Treasury                  TC.121   Adoption credit and     dedicated
                                                                                             The baseline payments
                                                                                                             tax
                                                                     exclusion                  system would not allow
                                                                                                credits for particular
                                                                                                activities. In contrast,
                Department of the Treasury                  TC.122   Exclusion of employee      Under the baseline tax
                                                                     meals and lodging          system, all
                                                                     (other than military)      compensation, including
                Department of the Treasury                  TC.123   Credit for child and       dedicated
                                                                                                The  baselinepayments
                                                                                                                tax
                                                                     dependent care             system would not allow
                                                                     expenses                   credits for particular
                Department of the Treasury                  TC.124   Credit for disabled        activities
                                                                                                The        or targeted
                                                                                                     baseline   tax    at
                                                                     access expenditures       system would not allow
                                                                                               credits for particular
                                                                                               activities, investments,
                Department of the Treasury                  TC.125   Deductibility of          The baseline tax
                                                                     charitable contributions, system would not allow
                                                                     other than education      a deduction for personal
                Department of the Treasury                  TC.126   and health
                                                                     Exclusion of certain      expenditures
                                                                                               The baseline including
                                                                                                               tax
                                                                     foster care payments   system generally would
                                                                                            tax all income under the
                                                                                            regular tax rate
                Department of the Treasury                  TC.127   Exclusion of parsonage Under the baseline tax
                                                                     allowances             system, all
                                                                                            compensation, including
                Department of the Treasury                  TC.128   Indian employment      dedicated
                                                                                            The         payments
                                                                                                 baseline  tax
                                                                     credit                     system would not allow
                                                                                                credits for particular
                Department of the Treasury                  TC.129                           activities,
                                                                     Employer-provided paid The          investments,
                                                                                                  baseline   tax
                                                                     family and medical      system would not allow
                                                                     leave credit            credits for particular
                                                                                             activities, investments,
                Department of the Treasury                  TC.130   Exclusion of employer Under the baseline tax
                                                                     contributions for       system, all
                                                                     medical insurance       compensation, including
                Department of the Treasury                  TC.131   premiums   and medical
                                                                     Self-employed   medical dedicated
                                                                                             Under the payments
                                                                                                          baseline tax
                                                                     insurance premiums         system, all
                                                                                                compensation and
                Department of the Treasury                  TC.132   Medical Savings            remuneration,
                                                                                                Under         including
                                                                                                      the baseline tax
                                                                     Accounts / Health        system, all
                                                                     Savings Accounts         compensation, including
                Department of the Treasury                  TC.133                            dedicated
                                                                     Deductibility of medical The        payments
                                                                                                  baseline  tax
                                                                     expenses                 system would not allow
                                                                                              a deduction for personal
                Department of the Treasury                  TC.134                            expenditures.
                                                                     Exclusion of interest on The            In
                                                                                                  baseline tax
                                                                     hospital construction      system generally would
                                                                     bonds                      tax all income under the
                                                                                                regular tax rate
                Department of the Treasury                  TC.135   Refundable Premium         The baseline tax
                                                                     Assistance Tax Credit      system would not allow
                                                                                                credits for particular
                Department of the Treasury                  TC.136   Credit for employee        activities or targeted
                                                                                                The baseline    tax    at
                                                                     health insurance           system would not allow
                                                                     expenses of small          credits for particular
                Department of the Treasury                  TC.137   business
                                                                     Deductibility of         activities or targeted
                                                                                              The baseline    tax    at
                                                                     charitable contributions system would not allow
                                                                     to health institutions   a deduction for personal
                                                                                              expenditures including
                Department of the Treasury                  TC.138   Tax credit for orphan    The baseline tax
                                                                     drug research            system would not allow
                                                                                              credits for particular
                Department of the Treasury                  TC.139                            activities,
                                                                     Special Blue Cross/Blue The          investments,
                                                                                                   baseline   tax
                                                                     Shield tax bene ts         system generally would
                                                                                                tax all pro ts under the
                                                                                                regular tax rate
                Department of the Treasury                  TC.140   Distributions from         Under the baseline tax
                                                                     retirement plans for       system, all
                                                                     premiums for health        compensation, including
                Department of the Treasury                  TC.141   and  long-term
                                                                     Credit          care
                                                                            for family and      dedicated
                                                                                                The baselineandtax
                                                                                                                 deferred
                                                                     sick leave taken by self- system would not allow
                                                                     employed individuals      credits for particular
                Department of the Treasury                  TC.142   Child credit              activities
                                                                                               The        or targeted
                                                                                                    baseline   tax    as
                                                                                                system would not allow
                                                                                                credits for particular
                                                                                                activities or targeted at
                Department of the Treasury                  TC.143   Other Dependent Tax        The baseline tax
                                                                     Credit                     system would not allow
                                                                                                credits for particular
                Department of the Treasury                  TC.144   Exclusion of railroad      activities
                                                                                                Under   theorbaseline
                                                                                                              targetedtax
                                                                                                                       at
                                                                     retirement (Social         system, all
                                                                     Security equivalent)       compensation, including
                                                                     bene ts                    dedicated and deferred
                Department of the Treasury                  TC.145   Exclusion of workers'      Under the baseline tax
                                                                     compensation bene ts       system, all
                                                                                                compensation, including
                Department of the Treasury                  TC.146   Exclusion of public        dedicated
                                                                                                Under the payments
                                                                                                           reference tax
                                                                     assistance bene ts         law baseline, gifts and
                                                                     (normal tax method)        transfers are not treated
                Department of the Treasury                  TC.147   Exclusion of special       as income
                                                                                                Under      to the tax
                                                                                                       the baseline
                                                                     bene ts for disabled       system, all
                                                                     coal miners                compensation, including
                                                                                                dedicated payments
                Department of the Treasury                  TC.148   Exclusion of military      Under the baseline tax
                                                                     disability pensions        system, all
                                                                                                compensation, including
                Department of the Treasury                  TC.149   Net exclusion of           dedicated
                                                                                                Under the payments
                                                                                                           baseline tax
                                                                     pension contributions      system, all
                                                                     and earnings: De ned       compensation, including
                Department of the Treasury                  TC.150   beneexclusion
                                                                     Net   t employer
                                                                                   of plans   deferred
                                                                                              Under theand dedicated
                                                                                                         baseline tax
                                                                     pension contributions    system, all
                                                                     and earnings: De ned compensation, including
                                                                     contribution employer    deferred and dedicated
                Department of the Treasury                  TC.151   Net exclusion of         Under the baseline tax
                                                                     pension contributions    system, all
                                                                     and earnings: Individual compensation, including
                Department of the Treasury                  TC.152   Retirement
                                                                     Net         Accounts
                                                                         exclusion of         deferred
                                                                                              The      and dedicated
                                                                                                  baseline tax
                                                                     pension contributions   system would not allow
                                                                     and earnings: Low and credits for particular
                                                                     moderate income         activities or targeted at
                Department of the Treasury                  TC.153   Net exclusion of        Under the baseline tax
                                                                     pension contributions   system, all
                                                                     and earnings: Self-     compensation, including
                Department of the Treasury                  TC.154   Employed
                                                                     Small     plans pension The
                                                                           employer          deferred   and dedicated
                                                                                                  baseline   tax
                                                                     plan startup credit        system would not allow
                                                                                                credits for particular
                Department of the Treasury                  TC.155   Exclusion of other         activities
                                                                                                Under   theorbaseline
                                                                                                              targetedtax
                                                                                                                       at
                                                                     employee bene ts:          system, all
                                                                     Premiums on group          compensation, including
                                                                     term life insurance        deferred and dedicated
                Department of the Treasury                  TC.156   Exclusion of other         Under the baseline tax
                                                                     employee bene ts:          system, all
                                                                     Premiums on accident       compensation, including
                Department of the Treasury                  TC.157   and disability
                                                                     Income         insurance
                                                                              of trusts to      dedicated
                                                                                                Under  the payments
                                                                                                           baseline tax
                                                                      nance supplementary system, all
                                                                     unemployment bene ts compensation, including
                                                                                          dedicated payments
                Department of the Treasury                  TC.158   Income of trusts to  Under the baseline tax
                                                                      nance voluntary     system, all
                                                                     employee bene ts     compensation, including
                Department of the Treasury                  TC.159   associations
                                                                     Special Employee     dedicated
                                                                                          Under the payments
                                                                                                     baseline tax
                                                                     Stock Ownership Plan       system, all
                                                                     (ESOP) rules               compensation, including
                Department of the Treasury                  TC.160                             dedicated
                                                                     Additional deduction for Under   the payments
                                                                                                          baseline tax
                                                                     the blind                 system, the standard
                                                                                               deduction is allowed. An
                                                                                               additional standard
                Department of the Treasury                  TC.161   Additional deduction for Under the baseline tax
                                                                     the elderly               system, the standard
                                                                                               deduction is allowed. An
                Department of the Treasury                  TC.162                             additional
                                                                     Deductibility of casualty Under  the standard
                                                                                                          baseline tax
                                                                     losses                     system, neither the
                                                                                                purchase of property
                Department of the Treasury                  TC.163   Earned income tax          nor
                                                                                                Theinsurance  premiums
                                                                                                    baseline tax
                                                                     credit                     system would not allow
                                                                                                credits for particular
                Department of the Treasury                  TC.164                           activities
                                                                     Recovery rebate credits The        or targeted
                                                                                                  baseline   tax    at
                                                                                             system would not allow
                                                                                             credits for particular
                Department of the Treasury                  TC.165   Exclusion of social     activities
                                                                                             The        or targeted
                                                                                                  baseline   tax    at
                                                                     security bene ts: Social system would tax Social
                                                                     Security bene ts for     Security bene ts to the
                                                                     retired and disabled     extent that contributions




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                                                                                                                              #: 7326
Department of the Treasury          TC.166   Exclusion of social       Under the baseline tax
                                             security benefits: Credit system, employer
                                             for certain employer      contributions to Social
Department of the Treasury          TC.167   contributions
                                             Exclusion      to social Under
                                                        of veterans    Security represent
                                                                              the baselinelabor
                                                                                           tax
                                             death benefits and      system, all
                                             disability compensation compensation, including
Department of the Treasury          TC.168   Exclusion of veterans   dedicated
                                                                     Under the payments
                                                                                baseline tax
                                             pensions                 system, all
                                                                      compensation, including
                                                                      dedicated payments
Department of the Treasury          TC.169   Exclusion of GI bill     Under the baseline tax
                                             benefits                 system, all
                                                                      compensation, including
Department of the Treasury          TC.170                            dedicated
                                             Exclusion of interest on The  baselinepayments
                                                                                      tax
                                             veterans housing bonds system generally would
                                                                      tax all income under the
Department of the Treasury          TC.171   Exclusion of interest on regular   tax rate
                                                                      The baseline    tax
                                             public purpose State      system generally would
                                             and local bonds           tax all income under the
                                                                       regular tax rate
Department of the Treasury          TC.172   Build America Bonds       The baseline tax
                                                                       system would not allow
                                                                       credits for particular
Department of the Treasury          TC.173   Deductibility of          activities
                                                                       Under theorbaseline
                                                                                    targetingtax
                                             nonbusiness State and     system, a deduction for
                                             local taxes other than    personal consumption
                                             on owner-occupied         expenditures would not
Department of the Treasury          TC.174   Deferral of interest on   The baseline tax
                                             U.S. savings bonds        system would uniformly
                                                                       tax all returns to
Department of Transportation        20.106   Airport Improvement       investments
                                                                       The  Federal and   not
                                                                                     Aviation        https:/ https:/
                                             Program, Infrastructure Administration (FAA)            /       /
                                             Investment and Jobs       has several strategic         sam.g www.
Department of Transportation        20.108   Act Programs,
                                             Aviation        and
                                                       Research        goals: Safety, People,
                                                                       To encourage   and            ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                             Grants                    support innovative,           /       /
                                                                       advanced, and applied         sam.g www.
                                                                       research and                  ov/fal/ usasp
Department of Transportation        20.109   Air Transportation        Conduct long term             https:/ https:/
                                             Centers of Excellence research in critical and          /       /
                                                                       specific areas of             sam.g www.
Department of Transportation        20.111   Aircraft Pilots Workforce aviation
                                                                       The goalrelated
                                                                                 of the Aircraft     ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                             Development Grant         Pilots Workforce              /       /
                                             Program                   Development Program           sam.g www.
                                                                       is to support the             ov/fal/ usasp
Department of Transportation        20.112   Aviation Maintenance      The goal of the Aviation      https:/ https:/
                                             Technical Workforce       Maintenance Technical         /       /
                                             Grant Program             Workforce Grant               sam.g www.
Department of Transportation        20.115   Fueling Aviationâ€™s      Program
                                                                       The       is to support
                                                                             objective is to         ov/fal/ https:/
                                                                                                     https:/ usasp
                                             Sustainable Transition make investments            /       /
                                             via Sustainable Aviation through a new FAST        sam.g www.
Department of Transportation        20.200   Fuels (FAST-SAF)
                                             Highway  Researchandand Grant  Programistoto carry ov/fal/
                                                                      The objective             https:/ usasp
                                                                                                        https:/
                                             Development Program out the highway                /       /
                                                                      research and              sam.g www.
                                                                      development program       ov/fal/ usasp
Department of Transportation        20.205   Highway Planning and This Assistance Listing https:/ https:/
                                             Construction             encompasses several       /       /
                                                                      transportation            sam.g www.
Department of Transportation        20.215   Highway Training and programs:
                                                                      This Assistance Listing ov/fal/
                                                                                                https:/ usasp
                                                                                                        https:/
                                             Education                 encompasses several           /       /
                                                                       transportation training       sam.g www.
Department of Transportation        20.218   Motor Carrier Safety      and education
                                                                       The  Motor Carrier            ov/fal/ https:/
                                                                                                     https:/ usasp
                                             Assistance                Safety Assistance             /       /
                                                                       Program (MCSAP) is a          sam.g www.
Department of Transportation        20.219   Recreational Trails       Federal
                                                                       The     formula
                                                                           purpose      grant
                                                                                    of this          ov/fal/ https:/
                                                                                                     https:/ usasp
                                             Program                   program is to provide         /       /
                                                                       funds to the States to        sam.g www.
Department of Transportation        20.223   Transportation            develop  and
                                                                       To finance   maintain
                                                                                  projects of        ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                             Infrastructure Finance    national or regional          /       /
                                             and Innovation Act        significance by filling       sam.g www.
                                             (TIFIA) Program           market gaps and               ov/fal/ usasp
Department of Transportation        20.224   Federal Lands Access      The goal of the Federal       https:/ https:/
                                             Program                   Lands Access Program          /       /
                                                                       is to improve                 sam.g www.
Department of Transportation        20.231   Performance and           transportation facilities
                                                                       This program links            ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                             Registration Information Federal Motor Carrier          /       /
                                             Systems Management Safety information                   sam.g www.
Department of Transportation        20.232   Commercial Driver's      systems
                                                                      Assist   with State
                                                                             States in               ov/fal/ https:/
                                                                                                     https:/ usasp
                                             License Program           complying with CDL            /       /
                                             Implementation Grant      requirements and              sam.g www.
                                                                       dedicate funding to           ov/fal/ usasp
Department of Transportation        20.233   Border Enforcement        The Federal Motor             https:/ https:/
                                             Grants                    Carrier Safety                /       /
                                                                       Administrationâ€™s            sam.g www.
Department of Transportation        20.234   Safety Data               objective is to ensure
                                                                        050 Objectives:              ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                             Improvement Program                                     /       /
                                                                     The Federal Motor               sam.g www.
                                                                     Carrier Safety                  ov/fal/ usasp
Department of Transportation        20.235   Commercial Motor        Expand the number of            https:/ https:/
                                             Vehicle Operator Safety commercial driverâ€™s           /       /
                                             Training Grants         license (CDL) holders           sam.g www.
Department of Transportation        20.237   Motor Carrier Safety    possessing  enhanced
                                                                     Support, enrich, and            ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                             Assistance High Priority augment Commercial             /       /
                                             Activities Grants and    Motor Vehicle (CMV)            sam.g www.
Department of Transportation        20.240   Cooperative
                                             Fuel Tax Evasion-        safety
                                                                      The    programs
                                                                          purpose  of this           ov/fal/ https:/
                                                                                                     https:/ usasp
                                             Intergovernmental         program is to increase        /       /
                                             Enforcement Effort        intergovernmental             sam.g www.
                                                                       activities and                ov/fal/ usasp
Department of Transportation        20.243   Commercial Motor          The objective of the HP-      https:/ https:/
                                             Vehicle Enforcement       ETS grant program is to       /       /
                                             Training and Support      train non-federal             sam.g www.
Department of Transportation        20.301   Railroad Safety           employees
                                                                       To improve who     conduct
                                                                                    railroad         ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                                                   safety and reduce                 /       /
                                                                   railroad-related                  sam.g www.
                                                                   casualties and                    ov/fal/ usasp
Department of Transportation        20.313   Railroad Research and To foster long-range              https:/ https:/
                                             Development           enhancement of the                /       /
                                                                   Federal Railroad                  sam.g www.
Department of Transportation        20.314   Railroad Development Administration's
                                                                   To provide financial              ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                                                     assistance for: planning        /       /
                                                                     and developing railroad         sam.g www.
Department of Transportation        20.315   National Railroad       corridors
                                                                     To provide(including
                                                                                 financial           ov/fal/ https:/
                                                                                                     https:/ usasp
                                             Passenger Corporation assistance to support             /       /
                                             Grants                  the operation of and            sam.g www.
                                                                     capital investment in           ov/fal/ usasp
Department of Transportation        20.316   Railroad Rehabilitation The Railroad                    https:/ https:/
                                             and Improvement         Rehabilitation and              /       /
                                             Financing Program       Improvement Financing           sam.g www.
Department of Transportation        20.317   Capital Assistance to   (RRIF)  program
                                                                     To provide  financial           ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                             States - Intercity     assistance to fund               /       /
                                             Passenger Rail Service capital improvements             sam.g www.
Department of Transportation        20.318   Maglev Project         (and
                                                                    To   relatedfinancial
                                                                       provide    planning           ov/fal/ https:/
                                                                                                     https:/ usasp
                                             Selection Program -     assistance for a                /       /
                                             SAFETEA-LU              demonstration magnetic          sam.g www.
                                                                     levitation transportation       ov/fal/ usasp
Department of Transportation        20.319   High-Speed Rail         To assist in financing          https:/ https:/
                                             Corridors and Intercity the capital costs of            /       /
                                             Passenger Rail Service facilities, infrastructure,      sam.g www.
Department of Transportation        20.320   â€“ Capital
                                             Rail        Assistance To
                                                  Line Relocation    andprovide
                                                                           equipment
                                                                                  financial          ov/fal/ https:/
                                                                                                     https:/ usasp
                                             and Improvement         assistance for rail line        /       /
                                                                     relocation and                  sam.g www.
                                                                     improvement projects.           ov/fal/ usasp
Department of Transportation        20.321   Railroad Safety         To facilitate the               https:/ https:/
                                             Technology Grants       deployment of train             /       /
                                                                     control technologies,           sam.g www.
Department of Transportation        20.323   Fiscal Year 2013        train control component
                                                                     To provide                      ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                             Hurricane Sandy         supplemental                    /       /
                                             Disaster Relief Grants assistance to the                sam.g www.
Department of Transportation        20.324   to the National
                                             Restoration andRailroad This
                                                                     National Railroad
                                                                          program  provides          ov/fal/ https:/
                                                                                                     https:/ usasp
                                             Enhancement               operating assistance          /       /
                                                                       grants for initiating,        sam.g www.
                                                                       restoring, or enhancing       ov/fal/ usasp
Department of Transportation        20.325   Consolidated Rail         To fund projects that         https:/ https:/
                                             Infrastructure and        improve the safety,           /       /
                                             Safety Improvements       efficiency, and/or            sam.g www.
Department of Transportation        20.326   Federal-State             reliability
                                                                       To          of intercity
                                                                           fund capital   projects   ov/fal/ https:/
                                                                                                     https:/ usasp
                                             Partnership for Intercity that repair, replace, or      /       /
                                             Passenger Rail            rehabilitate publicly-        sam.g www.
                                                                       owned or controlled           ov/fal/ usasp
Department of Transportation        20.327   Railroad Crossing         The goals of the              https:/ https:/
                                             Elimination               Program are (1) to            /       /
                                                                       eliminate highway-rail        sam.g www.
Department of Transportation        20.328   Interstate Rail           grade  crossings
                                                                       The purpose        thatIRC
                                                                                      of the   are   ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                             Compacts                  program is to provide a       /       /
                                                                       Federal funding               sam.g www.
Department of Transportation        20.500   Federal Transit Capital   opportunity
                                                                       The Capital to entities
                                                                                    Investment       ov/fal/ https:/
                                                                                                     https:/ usasp
                                             Investment Grants       Grant Program is the            /       /
                                                                     Federal                         sam.g www.
                                                                     Governmentâ€™s                  ov/fal/ usasp
Department of Transportation        20.505   Metropolitan            The purpose of the              https:/ https:/
                                             Transportation Planning Metropolitan                    /       /
                                             and State and Non-      Transportation Planning         sam.g www.
Department of Transportation        20.507   Metropolitan
                                             Federal      Planning
                                                     Transit         and State
                                                             Formula The       and Non-
                                                                         Urbanized  Area             ov/fal/ https:/
                                                                                                     https:/ usasp
                                             Grants                    Formula Funding               /     /
                                                                       Program (49 U.S.C.            sam.g www.
Department of Transportation        20.509   Formula Grants for        5307) makes
                                                                       Pursuant to 49federal
                                                                                       U.S.C. ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                             Rural Areas and Tribal  5311, FTA apportions or /        /
                                             Transit Program         awards funds for         sam.g www.
Department of Transportation        20.513   Enhanced Mobility of    planning,
                                                                     To providepublic
                                                                                 financial    ov/fal/
                                                                                              https:/ usasp
                                                                                                      https:/
                                             Seniors and Individuals assistance in meeting    /       /
                                             with Disabilities       the transportation       sam.g www.
Department of Transportation        20.516   Job Access and          needs
                                                                     This    of seniors
                                                                           program      and
                                                                                    continues ov/fal/ https:/
                                                                                              https:/ usasp
                                             Reverse Commute         to be repealed. On       /       /
                                             Program                 October 1, 2013, the     sam.g www.
                                                                     Job Access and           ov/fal/ usasp




                                                                                                                                43
                               Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 59 of 77 PageID
                                                                                                                             #: 7327
Department of Transportation        20.519   Clean Fuels               To assist in financing       https:/ https:/
                                                                       the acquisition of clean     /       /
                                                                       fuel vehicles and            sam.g www.
Department of Transportation        20.520   Paul S. Sarbanes          related
                                                                       The     facilities
                                                                            Paul          for
                                                                                  S. Sarbanes       ov/fal/ https:/
                                                                                                    https:/ usasp
                                             Transit in the Parks    Transit in Parks               /       /
                                                                     Program was                    sam.g www.
Department of Transportation        20.521   New Freedom Program established      to address
                                                                     The New Freedom                ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                                                     program (Section 5317)         /       /
                                                                     provided grants for new        sam.g www.
                                                                     capital and operating          ov/fal/ usasp
Department of Transportation        20.524   Passenger Rail          To assist in financing         https:/ https:/
                                             Investment and          part of the capital and        /       /
                                             Improvement (PRIIA)     preventive maintenance         sam.g www.
Department of Transportation        20.525   Projects
                                             State    for Washington
                                                   of Good Repair    projects
                                                                     The      included
                                                                          State of Goodin the       ov/fal/ https:/
                                                                                                    https:/ usasp
                                             Grants Program            Repair Program (49         /       /
                                                                       U.S.C. 5337) provides      sam.g www.
Department of Transportation        20.526   Buses and Bus             formula
                                                                       Providesfunding
                                                                                 capital to
                                                                                          funding ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                             Facilities Formula,       to replace, rehabilitate, /        /
                                             Competitive, and Low      purchase, or lease         sam.g www.
                                             or No Emissions           buses and bus related      ov/fal/ usasp
Department of Transportation        20.527   Public Transportation     The Emergency Relief       https:/ https:/
                                             Emergency Relief          Program is intended to /           /
                                             Program                   provide operating          sam.g www.
Department of Transportation        20.528   Rail Fixed Guideway       assistance
                                                                       To improve and   capital
                                                                                    public        ov/fal/
                                                                                                  https:/ usasp
                                                                                                          https:/
                                             Public Transportation     transportation safety by     /       /
                                             System State Safety       assisting States with the    sam.g www.
                                             Oversight Formula         financing of safety          ov/fal/ usasp
Department of Transportation        20.529   Bus Testing               The purpose of the           https:/ https:/
                                                                       program is to provide        /       /
                                                                       assistance for testing       sam.g www.
Department of Transportation        20.530   Public Transportation     new goals
                                                                       The  transitand
                                                                                    bus models      ov/fal/ https:/
                                                                                                    https:/ usasp
                                             Innovation                 objectives of Public       /       /
                                                                        Transportation             sam.g www.
Department of Transportation        20.531   Technical Assistance       Innovation
                                                                        The goals andprojects vary ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                             and Workforce              objectives for Technical /         /
                                             Development                Assistance and             sam.g www.
                                                                        Workforce Development ov/fal/ usasp
Department of Transportation        20.532   Passenger Ferry Grant The Passenger Ferry             https:/ https:/
                                             Program, Electric or       Grant Program provides /           /
                                             Low-Emitting Ferry Pilot funding for passenger        sam.g www.
Department of Transportation        20.533   Program,   and
                                             All Stations   Ferry
                                                          Accessibility ferries through
                                                                        To assist         a
                                                                                   in financing    ov/fal/
                                                                                                   https:/ usasp
                                                                                                           https:/
                                             Program                   capital and planning         /       /
                                                                       projects to upgrade the      sam.g www.
                                                                       accessibility of legacy      ov/fal/ usasp
Department of Transportation        20.534   Community Project         Community Project            https:/ https:/
                                             Funding                   Funding is made              /       /
                                             Congressionally           available in amounts         sam.g www.
Department of Transportation        20.600   Directed
                                             State andSpending
                                                       Community       specified
                                                                       The  Stateby
                                                                                  andCongress       ov/fal/ https:/
                                                                                                    https:/ usasp
                                             Highway Safety           Community Highway             /       /
                                                                      Safety funding program        sam.g www.
Department of Transportation        20.606   National Driver Register is
                                                                      Theadministered by the
                                                                           NDR maintains   the      ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                                                      computerized database         /       /
                                                                      known as the Problem          sam.g www.
                                                                      Driver Pointer System         ov/fal/ usasp
Department of Transportation        20.607   Alcohol Open Container To encourage States to          https:/ https:/
                                             Requirements             enact and enforce a           /       /
                                                                      compliant alcohol open        sam.g www.
Department of Transportation        20.608   Minimum Penalties for container    law. States
                                                                      To encourage   Under to       ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                             Repeat Offenders for      enact and enforce            /     /
                                             Driving While             Repeat Intoxicated           sam.g www.
Department of Transportation        20.611   Intoxicated
                                             Incentive Grant           Offender laws.
                                                                       Encourage      Under
                                                                                  States to      ov/fal/ usasp
                                                                                                 https:/ https:/
                                             Program to Prohibit      enact and enforce laws /           /
                                             Racial Profiling         and programs that          sam.g www.
Department of Transportation        20.614   National Highway         prohibit the
                                                                      Provide      use ofand
                                                                               technical  racial ov/fal/ usasp
                                                                                                 https:/ https:/
                                             Traffic Safety           financial assistance to    /       /
                                             Administration (NHTSA) State and local              sam.g www.
Department of Transportation        20.616   Discretionary  Safety    government    agencies,
                                             National Priority Safety The formula grant          ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                             Programs                 program is designed to        /       /
                                                                      encourage States to           sam.g www.
                                                                      address national              ov/fal/ usasp
Department of Transportation        20.617   State Electronic Data    To objective of this          https:/ https:/
                                             Collection (SEDC)        program is to support         /       /
                                             Program Grant            States to upgrade and         sam.g www.
Department of Transportation        20.618   Driver Alcohol Detection standardize  state
                                                                      The goal of the    motor
                                                                                       DADSS        ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                             System for Safety         collaborative research       /       /
                                                                       program is to research       sam.g www.
Department of Transportation        20.619   Motor Vehicle Safety      and develop
                                                                       This         alcohol
                                                                            assistance  listing     ov/fal/ https:/
                                                                                                    https:/ usasp
                                             Research                  encompasses: (1)             /       /
                                                                       motor vehicle safety         sam.g www.
                                                                       research, development,       ov/fal/ usasp
Department of Transportation        20.620   Behavioral Traffic        The objective is to carry    https:/ https:/
                                             Safety Cooperative        out a cooperative            /       /
                                             Research                  research and evaluation      sam.g www.
Department of Transportation        20.621   State Process for         program  to research
                                                                       The objective is to          ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                             Informing Consumers of support States in               /       /
                                             Recalls                developing a                    sam.g www.
                                                                    methodology for                 ov/fal/ usasp
Department of Transportation        20.700   Pipeline Safety        To develop, support and         https:/ https:/
                                             Program State Base     maintain inspection and         /       /
                                             Grant                  enforcement activities          sam.g www.
Department of Transportation        20.701   University             for
                                                                    TheState gas and
                                                                        program  awards             ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                             Transportation Centers grants to nonprofit        /       /
                                             Program                 institutions of higher    sam.g www.
Department of Transportation        20.703                           learning for Materials
                                             Interagency Hazardous Hazardous       the purpose ov/fal/ usasp
                                                                                               https:/ https:/
                                             Materials Public Sector Emergency                 /       /
                                             Training and Planning Preparedness Grant          sam.g www.
                                             Grants                  (HMEP): To increase       ov/fal/ usasp
Department of Transportation        20.706   Pipeline Emergency      Advance the abilities of https:/ https:/
                                             Response Grant          emergency responders /            /
                                             (PERG)                  to manage pipeline        sam.g www.
Department of Transportation        20.707   Hazardous Materials     emergencies
                                                                     The HM State    through   ov/fal/
                                                                                               https:/ usasp
                                                                                                       https:/
                                             State Inspection (HMSI) Inspection Grant               /       /
                                             Grant                    provides training and         sam.g www.
                                                                      financial support for         ov/fal/ usasp
Department of Transportation        20.708   Natural Gas Distribution Grant funds will be           https:/ https:/
                                             Infrastructure Safety    made available to             /       /
                                             and Modernization        municipality or               sam.g www.
Department of Transportation        20.710   Grant  Program
                                             Technical Assistance     community
                                                                      Advancement owned
                                                                                      of            ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                             Grants                    pipeline safety through      /       /
                                                                       the funding of local         sam.g www.
Department of Transportation        20.720   State Damage              communities
                                                                       The           and
                                                                            PHMSA State             ov/fal/ https:/
                                                                                                    https:/ usasp
                                             Prevention Program    Damage Prevention                /       /
                                             Grants                Program fosters                  sam.g www.
                                                                   improved damage                  ov/fal/ usasp
Department of Transportation        20.721   PHMSA Pipeline Safety To provide funding to            https:/ https:/
                                             Program One Call      State agencies in                /       /
                                             Grant                 promoting damage                 sam.g www.
Department of Transportation        20.723   PHMSA Pipeline Safety prevention, including
                                                                   To sponsor research              ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                             Research and           and development (R&D)           /       /
                                             Development            projects that focus on          sam.g www.
Department of Transportation        20.724   â€œOther
                                             Pipeline   Transaction The
                                                      Safety        providing
                                                                          CAAPnear-term
                                                                                 initiative is      ov/fal/ https:/
                                                                                                    https:/ usasp
                                             Research Competitive intended to spur                  /       /
                                             Academic Agreement     innovation by enabling          sam.g www.
                                             Program (CAAP)         an academic research            ov/fal/ usasp
Department of Transportation        20.725   PHMSA Pipeline Safety Participating state              https:/ https:/
                                             Underground Natural    entities, through annual        /       /
                                             Gas Storage Grant      Certification/                  sam.g www.
Department of Transportation        20.802                          Agreements
                                             Federal Ship Financing To             with
                                                                       finance eligible             ov/fal/ https:/
                                                                                                    https:/ usasp
                                             Guarantees             vessels and shipyards           /       /
                                                                    to promote the growth           sam.g www.
                                                                    and modernization of            ov/fal/ usasp
Department of Transportation        20.803   Maritime War Risk      To provide war risk             https:/ https:/
                                             Insurance              insurance to U.S.-flag          /       /
                                                                    and foreign vessels             sam.g www.
Department of Transportation        20.806   State Maritime Schools whenever
                                                                    To educateit and
                                                                                  appears
                                                                                      train to      ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                                                    future merchant marine          /       /
                                                                    officers at the State           sam.g www.
Department of Transportation        20.807                          Maritime
                                             U.S. Merchant Marine The    USMMAAcademies
                                                                                   is a             ov/fal/ https:/
                                                                                                    https:/ usasp
                                             Academy                   Federal Service              /       /
                                                                       Academy and an               sam.g www.
                                                                       accredited institution of    ov/fal/ usasp
Department of Transportation        20.808   Capital Construction      To provide for               https:/ https:/
                                             Fund                      replacement vessels,         /       /
                                                                       additional vessels or        sam.g www.
Department of Transportation        20.812   Construction Reserve      reconstructed
                                                                       To promote thevessels,       ov/fal/ https:/
                                                                                                    https:/ usasp
                                             Fund                    construction,                  /       /
                                                                     reconstruction,                sam.g www.
                                                                     reconditioning, or             ov/fal/ usasp
Department of Transportation        20.813   Maritime Security Fleet The MSP helps sustain          https:/ https:/
                                             Program or Ship         a fleet of 60 active,          /       /
                                             Operations Cooperation commercially viable,            sam.g www.
Department of Transportation        20.814   Program
                                             Assistance to Small     militarily
                                                                     To awarduseful,
                                                                                grants for          ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                             Shipyards                 capital improvements         /       /
                                                                       and related                  sam.g www.
Department of Transportation        20.816   United States Marine      infrastructure
                                                                       Mitigate landside            ov/fal/ https:/
                                                                                                    https:/ usasp
                                             Highway Grants          congestion, expand             /       /
                                                                     transportation options,        sam.g www.
                                                                     and realize public             ov/fal/ usasp
Department of Transportation        20.817   Air Emissions and       MARAD will use                 https:/ https:/
                                             Energy Initiative       projects results and           /       /
                                                                     data for a variety of          sam.g www.
Department of Transportation        20.819                           purposeswill
                                             Ballast Water Treatment MARAD      including
                                                                                   use the          ov/fal/ https:/
                                                                                                    https:/ usasp
                                             Technologies              projects results and         /       /
                                                                       data for a variety of        sam.g www.
Department of Transportation        20.820   Maritime Studies and      purposes
                                                                       The purposeincluding
                                                                                      of this to    ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                             Innovations               program is to provide        /       /
                                                                       assistance for projects      sam.g www.
Department of Transportation        20.821   Women on the Water        involving studies
                                                                       The purpose        and
                                                                                     of the         ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                             (WOW)                     WOW program is to            /       /
                                                                       promote diversity in the     sam.g www.
Department of Transportation        20.823   Port Infrastructure       maritime
                                                                       The      industry.
                                                                           program  makes The       ov/fal/ https:/
                                                                                                    https:/ usasp
                                             Development Program       discretionary grants to      /       /
                                                                       improve port facilities at   sam.g www.
                                                                       coastal seaports, inland     ov/fal/ usasp




                                                                                                                               44
                                 Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 60 of 77 PageID
                                                                                                                               #: 7328
Department of Transportation          20.824   Cable Security Fleet      The CSF helps sustain        https:/ https:/
                                               Program                   a fleet of cable vessels     /       /
                                                                         active, commercially         sam.g www.
Department of Transportation          20.825   Tanker Security           viable,
                                                                         The     privately-owned
                                                                              Tanker  Security        ov/fal/ https:/
                                                                                                      https:/ usasp
                                               Program                  Program (TSP) will            /       /
                                                                        ensure that a core fleet      sam.g www.
Department of Transportation          20.901   Payments for Essential ofTheU.S.-based   product
                                                                             program provides         ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               Air Services             subsidies to air carriers     /       /
                                                                        to serve eligible             sam.g www.
                                                                        communities as                ov/fal/ usasp
Department of Transportation          20.909   Transportation           The USDOT seeks               https:/ https:/
                                               Research and             competitively selected        /       /
                                               Technology               cooperative agreements        sam.g www.
Department of Transportation          20.910   Advancement
                                               Assistance               or grant
                                                           to Small and To enter recipients from
                                                                                  into successful     ov/fal/ https:/
                                                                                                      https:/ usasp
                                               Disadvantaged           partnerships between           /       /
                                               Businesses              OSDBU and chambers             sam.g www.
Department of Transportation          20.930   Payments for Small      of
                                                                       Thecommerce,
                                                                            SCASDP program            ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               Community Air Service is designed to provide           /       /
                                               Development             financial assistance to        sam.g www.
                                                                       small communities, on a        ov/fal/ usasp
Department of Transportation          20.931   Transportation          To provide funds to            https:/ https:/
                                               Planning, Research and conduct research and            /       /
                                               Education               development on                 sam.g www.
Department of Transportation          20.933   National Infrastructure innovative
                                                                       RAISE (formerly                ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               Investments               BUILD) grants are for        /       /
                                                                         capital investments in       sam.g www.
                                                                         surface transportation       ov/fal/ usasp
Department of Transportation          20.934   Nationally Significant    The Nationally               https:/ https:/
                                               Freight and Highway       Significant Multimodal       /       /
                                               Projects                  Freight and Highway          sam.g www.
Department of Transportation          20.936   Transportation            Projects (NSMFHP)
                                                                         Transportation               ov/fal/ https:/
                                                                                                      https:/ usasp
                                               Demonstration Program Demonstration grants           /       /
                                                                       are for infrastructure       sam.g www.
Department of Transportation          20.937   National Infrastructure projects
                                                                       The goalthat    expand
                                                                                   of the  National ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                               Project Assistance      Infrastructure Project       /       /
                                               (Mega Projects)         Assistance (Mega             sam.g www.
                                                                       Projects) program is to ov/fal/ usasp
Department of Transportation          20.938   Rural Surface           The Rural Surface            https:/ https:/
                                               Transportation Grant    Transportation Grant         /       /
                                               Program                 Program will provide         sam.g www.
Department of Transportation          20.939   Safe Streets and Roads Federal    financial
                                                                       The purpose      of SS4A     ov/fal/
                                                                                                    https:/ usasp
                                                                                                            https:/
                                               for All                   grants is to improve         /       /
                                                                         roadway safety by            sam.g www.
                                                                         significantly reducing or    ov/fal/ usasp
Department of Transportation          20.940   Reconnecting              The Reconnecting             https:/ https:/
                                               Communities Pilot         Communities Pilot            /       /
                                               (RCP) Discretionary       Program provides             sam.g www.
Department of Transportation          20.941   Grant ProgramMobility
                                               Strengthening             technical assistance
                                                                         Strengthening   Mobility     ov/fal/ https:/
                                                                                                      https:/ usasp
                                               and Revolutionizing       and Revolutionizing          /       /
                                               Transportation            Transportation               sam.g www.
Department of Transportation          20.942   (SMART)   Grants
                                               Thriving Communities      (SMART)
                                                                         4 Capacityfunds  for
                                                                                     Builders         ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               Program Capacity          were selected for FY22       /       /
                                               Builders Cooperative      and 9 Capacity Builders      sam.g www.
                                               Agreements                (6 Regional and 3            ov/fal/ usasp
Department of Transportation          20.943   Rural and Tribal          The intent of this           https:/ https:/
                                               Assistance Pilot          Program is to advance        /       /
                                               Program                   transportation               sam.g www.
Department of Transportation          20.944   Autonomous Vehicle        infrastructure
                                                                         The Autonomous projects in   ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               Research in Rural     Vehicle Research in         /       /
                                               Communities Program   Rural Communities           sam.g www.
Department of Transportation          20.945                         Program,
                                               Asset Concessions and The        alsoof
                                                                          objective    known
                                                                                         this as ov/fal/ usasp
                                                                                                 https:/ https:/
                                               Innovative Finance    program is to facilitate    /       /
                                               Assistance            access to expert            sam.g www.
Department of Transportation          20.946                         services
                                               Research Partnership The        for, and
                                                                          climate   and to       ov/fal/
                                                                                                 https:/ usasp
                                                                                                         https:/
                                               on Climate Change and transportation research /           /
                                               Transportation        center shall advance        sam.g www.
Department of Transportation          20.947   Advanced Bridge       the
                                                                     Rutgers University has https:/ usasp
                                                                         following   research    ov/fal/ https:/
                                               Technology                been awarded a               /       /
                                               Clearinghouse (ABTC)      cooperative agreement        sam.g www.
                                               Development               to develop and               ov/fal/ usasp
Department of Transportation          20.948   MOBILITY EQUITY           The Mobility Equity          https:/ https:/
                                               RESEARCH                  Research Initiative shall    /       /
                                               INITIATIVE                advance research and         sam.g www.
Department of Transportation          20.949   RESEARCH                  technology to study
                                                                         The research  expand will    ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               INITIATIVE ON THE         advance the                  /       /
                                               USE OF STEEL SLAG         Decarbonization              sam.g www.
Department of Transportation          20.950   IN CONCRETE
                                               Bridge         AND
                                                      and Other        Research   Priority
                                                                       As stated in  the and          ov/fal/ https:/
                                                                                                      https:/ usasp
                                               Transportation          Consolidated                   /       /
                                               Infrastructure Research Appropriations Act,            sam.g www.
                                               Program                 2024, ARPA-I may fund          ov/fal/ usasp
Department of Veterans Affairs        64.005   Grants to States for    To assist States to            https:/ https:/
                                               Construction of State   acquire or construct           /       /
                                               Home Facilities         State home facilities for      sam.g www.
Department of Veterans Affairs        64.014   Veterans State          furnishing
                                                                       To providedomiciliary
                                                                                   financial or       ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               Domiciliary Care       assistance to States            /       /
                                                                      furnishing domiciliary          sam.g www.
                                                                      care to eligible veterans       ov/fal/ usasp
Department of Veterans Affairs        64.015   Veterans State Nursing To provide financial            https:/ https:/
                                               Home Care              assistance to States            /       /
                                                                      furnishing nursing home         sam.g www.
Department of Veterans Affairs        64.024   VA Homeless Providers care
                                                                      The VAto eligible
                                                                               Homeless veterans      ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               Grant and Per Diem        Providers Grant and          /       /
                                               Program                   Per Diem (GPD)               sam.g www.
Department of Veterans Affairs        64.026   Veterans State Adult      Program
                                                                         To       is aVAâ€™s
                                                                            provide                   ov/fal/ https:/
                                                                                                      https:/ usasp
                                               Day Health Care        community-based                 /       /
                                                                      program designed to             sam.g www.
                                                                      meet the needs of               ov/fal/ usasp
Department of Veterans Affairs        64.028   Post-9/11 Veterans     To assist beneficiaries         https:/ https:/
                                               Educational Assistance in receiving educational        /       /
                                                                      benefits and training           sam.g www.
Department of Veterans Affairs        64.031   Life Insurance for     and  to helpdirect
                                                                      To provide   service            ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               Veterans - Direct      insurance payments,             /       /
                                               Payments for Insurance including advance               sam.g www.
                                                                      payments disbursed as           ov/fal/ usasp
Department of Veterans Affairs        64.032   Montgomery GI Bill     To encourage                    https:/ https:/
                                               Selected Reserve       membership in units of          /       /
                                                                      the Selected Reserve of         sam.g www.
Department of Veterans Affairs        64.033   VA Supportive Services the  Ready Reserve
                                                                      To provide           and
                                                                                  supportive          ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               for Veteran Families      services grants to           /       /
                                               Program                   private non-profit           sam.g www.
Department of Veterans Affairs        64.034                           organizations
                                               VA Grants for Adaptive To               and to
                                                                           provide grants             ov/fal/ https:/
                                                                                                      https:/ usasp
                                               Sports Programs for     eligible adaptive sports       /       /
                                               Disabled Veterans and entities to plan,                sam.g www.
                                               Disabled Members of     develop, manage, and           ov/fal/ usasp
Department of Veterans Affairs        64.035   Veterans Transportation This program furthers          https:/ https:/
                                               Program                 the Departmentâ€™s             /       /
                                                                       mission by establishing        sam.g www.
Department of Veterans Affairs        64.037   VA U.S. Paralympics     a
                                                                       Toprogram
                                                                           promotetothe
                                                                                      provide
                                                                                        lifelong      ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               Monthly Assistance        health and to motivate,      /       /
                                               Allowance Program         encourage and sustain        sam.g www.
Department of Veterans Affairs        64.039   CHAMPVA                   participationisand
                                                                         CHAMPVA         health       ov/fal/ https:/
                                                                                                      https:/ usasp
                                                                      care program that               /       /
                                                                      shares the cost of              sam.g www.
                                                                      health care services            ov/fal/ usasp
Department of Veterans Affairs        64.051   Specially Adapted      Pursuant to the                 https:/ https:/
                                               Housing Assistive      Veteransâ€™ Benefit             /       /
                                               Technology Grant       Act of 2010, the                sam.g www.
Department of Veterans Affairs        64.053   Program to States for In
                                               Payments               Secretary   of Veterans
                                                                         accordance    with the       ov/fal/ https:/
                                                                                                      https:/ usasp
                                               Programs to Promote    provisions of 38 U.S.C.         /       /
                                               the Hiring and         1744, this part sets forth      sam.g www.
                                               Retention of Nurses at the mechanism for a             ov/fal/ usasp
Department of Veterans Affairs        64.054   Research and           In accordance with the          https:/ https:/
                                               Development            provisions of Title 38          /       /
                                                                      U.S.C. 7303, this part          sam.g www.
Department of Veterans Affairs        64.055   Staff Sergeant Parker  sets forth the
                                                                      To provide   resources          ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               Gordon Fox Suicide        toward community-            /       /
                                               Prevention Grant          based suicide                sam.g www.
Department of Veterans Affairs        64.056   Program
                                               Legal Services for        prevention
                                                                         To         efforts to
                                                                            provide legal             ov/fal/ https:/
                                                                                                      https:/ usasp
                                               Veterans Grants           services grants to public    /       /
                                                                         and non-profit private       sam.g www.
                                                                         entities who will provide    ov/fal/ usasp
Department of Veterans Affairs        64.057   Suicide Mortality         This funding supports        https:/ https:/
                                               Review Cooperative        States, territories, and     /       /
                                               Agreements                Tribal entities in           sam.g www.
Department of Veterans Affairs        64.058   Veteran and Spouse        establishing,
                                                                         The Secretary of             ov/fal/ https:/
                                                                                                      https:/ usasp
                                               Transitional Assistance   Veterans Affairs will        /       /
                                               Grant Program             make grants available        sam.g www.
                                               (VSTAGP)                  to eligible organizations    ov/fal/ usasp
Department of Veterans Affairs        64.100   Automobiles and           Provide financial            https:/ https:/
                                               Adaptive Equipment for    assistance to certain        /       /
                                               Certain Disabled          disabled servicepersons      sam.g www.
Department of Veterans Affairs        64.101   Veterans  and Members
                                               Burial Expenses           and
                                                                         If theVeterans
                                                                                Veteran toward
                                                                                         died on or   ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               Allowance for Veterans after October 1, 2024,     /       /
                                                                       VA will provide a         sam.g www.
Department of Veterans Affairs        64.104   Pension for Non-        monetary
                                                                       To          allowance not ov/fal/
                                                                          assist wartime                 usasp
                                                                                                 https:/ https:/
                                               Service-Connected       veterans in need whose /          /
                                               Disability for Veterans non-service- connected sam.g www.
                                                                       disabilities are          ov/fal/ usasp
Department of Veterans Affairs        64.105   Pension to Veterans     To assist needy           https:/ https:/
                                               Surviving Spouses, and surviving spouses, and /           /
                                               Children                children of deceased      sam.g www.
Department of Veterans Affairs        64.106   Specially Adapted       war-time
                                                                       To         veterans
                                                                          help certain           ov/fal/ https:/
                                                                                        severely https:/ usasp
                                               Housing for Disabled  disabled veterans                /       /
                                               Veterans              acquire a home which is          sam.g www.
Department of Veterans Affairs        64.109   Veterans Compensation suitably adapted
                                                                     Compensate          to
                                                                                     Veterans         ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               for Service-Connected for disabilities incurred        /       /
                                               Disability            in or aggravated during          sam.g www.
Department of Veterans Affairs        64.110   Veterans Dependency military   service
                                                                     To compensate                    ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                               and Indemnity             surviving spouses,           /       /
                                               Compensation for          children and parents for     sam.g www.
Department of Veterans Affairs        64.114   Service-Connected
                                               Veterans Housing          theassist
                                                                         To  deathveterans,
                                                                                   of any             ov/fal/ https:/
                                                                                                      https:/ usasp
                                               Guaranteed and            certain service              /       /
                                               Insured Loans             personnel, and certain       sam.g www.
                                                                         unmarried surviving          ov/fal/ usasp




                                                                                                                                 45
                                  Case 1:25-cv-00039-JJM-PAS                                                            Document 114-1   Filed 02/13/25   Page 61 of 77 PageID
                                                                                                                               #: 7329
Department of Veterans Affairs         64.116   Veteran Readiness and To provide all services         https:/ https:/
                                                Employment            and assistance                  /       /
                                                                      necessary to enable             sam.g www.
Department of Veterans Affairs         64.117   Survivors and         Veterans
                                                                      To providewith service-
                                                                                 educational          ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Dependents             opportunities to the           /       /
                                                Educational Assistance dependents of certain          sam.g www.
Department of Veterans Affairs         64.118   Veterans Housing       disabled and
                                                                       To provide    deceased
                                                                                  veterans            ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                Direct Loans for Certain who are eligible for a       /       /
                                                Disabled Veterans        Specially Adapted            sam.g www.
                                                                         Housing grant with a         ov/fal/ usasp
Department of Veterans Affairs         64.120   Post-Vietnam Era         To provide educational       https:/ https:/
                                                Veterans' Educational assistance to persons           /       /
                                                Assistance               entering the Armed           sam.g www.
Department of Veterans Affairs         64.124   All-Volunteer Force      Forces
                                                                         To help after December
                                                                                 servicepersons       ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Educational Assistance readjust to civilian life      /       /
                                                                       after their separation         sam.g www.
Department of Veterans Affairs         64.125   Vocational and         from  military
                                                                       To offer       service.
                                                                                vocational   and      ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                Educational Counseling educational counseling         /       /
                                                for Servicemembers     to service members             sam.g www.
                                                and Veterans           within 180 days of their       ov/fal/ usasp
Department of Veterans Affairs         64.126   Native American        To provide direct loans        https:/ https:/
                                                Veteran Direct Loan    to certain veterans who        /       /
                                                Program                are, or whose spouses          sam.g www.
Department of Veterans Affairs         64.127   Monthly Allowance for are,  Native financial
                                                                       To provide   Americans         ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                Children of Vietnam       assistance to certain       /       /
                                                Veterans Born with        children born with spina    sam.g www.
                                                Spina Bifida              bifida who are children     ov/fal/ usasp
Department of Veterans Affairs         64.128   Vocational Training and   To provide services to      https:/ https:/
                                                Rehabilitation Benefits   children of Vietnam         /       /
                                                for Children of Vietnam   Veterans born with          sam.g www.
Department of Veterans Affairs         64.130   VeteransRapid
                                                Veteran   and Certain     spinaVeteran
                                                                          The    bifida (except
                                                                                         Rapid for    ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Retraining Assistance     Retraining Assistance      /       /
                                                Program                   Program (VRRAP) was sam.g www.
Department of Veterans Affairs         64.201   National Cemeteries       enacted
                                                                          To verify on  March
                                                                                    military   11,
                                                                                             service ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                                                          and determine eligibility /        /
                                                                          for burial in a VA         sam.g www.
                                                                          national cemetery. To      ov/fal/ usasp
Department of Veterans Affairs         64.202   Procurement of            Provide Government-        https:/ https:/
                                                Headstones and            furnished headstones       /       /
                                                Markers and/or            and markers to mark        sam.g www.
Department of Veterans Affairs         64.203   Presidential Memorial
                                                Veterans Cemetery         the graves
                                                                          To assist    of andand
                                                                                     States          ov/fal/
                                                                                                     https:/ usasp
                                                                                                             https:/
                                                Grants Program         federally recognized           /       /
                                                                       tribal governments in          sam.g www.
                                                                       the establishment,             ov/fal/ usasp
Department of Veterans Affairs         64.204   Veterans Legacy Grants Veterans Legacy Grants         https:/ https:/
                                                Program                Program will provide           /       /
                                                                       grants to eligible entities    sam.g www.
Department of Veterans Affairs         64.205   VA Casket or Urn       for provide
                                                                       To  the purpose   of
                                                                                   a monetary         ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Allowance Program         allowance for the           /       /
                                                                          purchase of a casket or     sam.g www.
Department of Veterans Affairs         64.206   VA Outer Burial           urn used to
                                                                          Monetary    inter
                                                                                    allowance for     ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                Receptacle Allowance    an outer burial               /       /
                                                Program                 receptacle (OBR) for          sam.g www.
                                                                        any casketed burial in a      ov/fal/ usasp
Environmental Protection Agency        66.001   Air Pollution Control   The objectives of the         https:/ https:/
                                                Program Support         Â§105 program are to          /       /
                                                                        assist state, tribal,         sam.g www.
Environmental Protection Agency        66.032   State and Tribal Indoor municipal,
                                                                        EPA assists states and        ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                Radon Grants            federally recognized          /       /
                                                                        tribes to provide radon       sam.g www.
Environmental Protection Agency        66.033   Ozone Transport         risk reduction
                                                                        The             through
                                                                              overall goal of the     ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Commission                Ozone Transport             /       /
                                                                          Commission (OTC)            sam.g www.
Environmental Protection Agency        66.034   Surveys, Studies,         grantobjectives
                                                                          The   is to facilitate
                                                                                            of this   ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Research,                 assistance listing are to   /       /
                                                Investigations,           fund surveys, research,     sam.g www.
Environmental Protection Agency        66.037   Demonstrations,   and
                                                Internships, Training     investigations,
                                                                          To provide, Internships,    ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                and Workshops for the Training, Workshops,            /       /
                                                Office of Air and         and Technical               sam.g www.
                                                Radiation                 Monitoring in support of    ov/fal/ usasp
Environmental Protection Agency        66.038   Training, Investigations, To support Federally-       https:/ https:/
                                                and Special Purpose       recognized Indian           /       /
                                                Activities of Federally- Tribes' efforts to           sam.g www.
Environmental Protection Agency        66.039   Recognized    Indian
                                                Diesel Emission           understand,  assess and
                                                                          The Diesel Emissions        ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                Reduction Act (DERA)  Reduction Act, 42        /       /
                                                National Grants       U.S.C. 16132 et seq.,    sam.g www.
Environmental Protection Agency        66.040   Diesel Emissions      as amended,
                                                                      The           authorizes ov/fal/
                                                                           Diesel Emissions            usasp
                                                                                               https:/ https:/
                                                Reduction Act (DERA)  Reduction Act, 42        /       /
                                                State Grants          U.S.C. 16131 et seq.,    sam.g www.
                                                                      as amended, authorizes ov/fal/ usasp
Environmental Protection Agency        66.042   Temporally Integrated EPA will award           https:/ https:/
                                                Monitoring of         interagency and          /       /
                                                Ecosystems (TIME) and cooperative agreements sam.g www.
Environmental Protection Agency        66.044   Long-Term  Monitoring
                                                Wildfire Smoke        to
                                                                      EPA is providing grants https:/ usasp
                                                                         study the chemical    ov/fal/ https:/
                                                Preparedness in           to States, federally        /       /
                                                Community Buildings       recognized Tribes,          sam.g www.
                                                Grant Program             public pre-schools, local   ov/fal/ usasp
Environmental Protection Agency        66.045   Clean School Bus          Title XI, Section 71101     https:/ https:/
                                                Program                   of the Infrastructure       /       /
                                                                          Investment and Jobs         sam.g www.
Environmental Protection Agency        66.046   Climate Pollution         Act
                                                                          EPA(or   The Bipartisan
                                                                                is providing grants   ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                Reduction Grants       to States, Locals,             /       /
                                                                       Federally Recognized           sam.g www.
Environmental Protection Agency        66.047   Hydrofluorocarbon      Indian Tribal
                                                                       Section  60109(a)(3) of        ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Reclaim and Innovative the Inflation Reduction        /       /
                                                Destruction Grants     Act provided EPA with          sam.g www.
                                                                       $15 million for                ov/fal/ usasp
Environmental Protection Agency        66.048   Greenhouse Gas and     EPA is providing grants        https:/ https:/
                                                Zero Emission On-road to support state                /       /
                                                Mobile Source          governments that are           sam.g www.
Environmental Protection Agency        66.049   Standards
                                                Clean Heavy-Duty       interested  in adopting
                                                                       Section 60101    of the        ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                Vehicles Program          Inflation Reduction Act     /       /
                                                                          of 2022 (or IRA)            sam.g www.
                                                                          amended the Clean Air       ov/fal/ usasp
Environmental Protection Agency        66.051   Clean Ports Program       Section 60102 of the        https:/ https:/
                                                                          Inflation Reduction Act     /       /
                                                                          of 2022 (or IRA)            sam.g www.
Environmental Protection Agency        66.110   Healthy Communities       amended
                                                                          The Healthythe Clean Air    ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                Grant Program           Communities Grant             /       /
                                                                        Program is a                  sam.g www.
Environmental Protection Agency        66.121                           competitive
                                                Geographic Programs - Puget    Soundgrant
                                                                                      has been        ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Puget Sound Protection designated as one of 28        /       /
                                                and Restoration: Tribal estuaries of National         sam.g www.
                                                Implementation          Significance under            ov/fal/ usasp
Environmental Protection Agency        66.123   Geographic Programs - Puget Sound has been            https:/ https:/
                                                Puget Sound Action      designated as one of 28       /       /
                                                Agenda: Technical       estuaries of National         sam.g www.
Environmental Protection Agency        66.124   Investigations and
                                                Geographic Programs     Significance under
                                                                        The EPA Region    6           ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                â€“ Coastal Wetlands Coastal Wetlands                 /       /
                                                Planning Protection and Planning, Protection          sam.g www.
Environmental Protection Agency        66.125   Restoration Act
                                                Geographic              and Restoration
                                                            Programs - The              Act
                                                                            purpose of the            ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Lake Pontchartrain        Clean Water Act             /       /
                                                Basic Restoration         Section 121 (33 U.S.C.      sam.g www.
                                                Program (PRP)             1273) Lake                  ov/fal/ usasp
Environmental Protection Agency        66.126   Geographic Programs -     The goals of the SF Bay     https:/ https:/
                                                San Francisco Bay         Restoration Program         /       /
                                                Water Quality             (formally SF Bay Grant      sam.g www.
Environmental Protection Agency        66.129   ImprovementPrograms
                                                Geographic    Fund  -     Program)
                                                                          To  developare
                                                                                      andto support   ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Southeast New England the Southeast New               /       /
                                                Coastal Watershed     England Program                 sam.g www.
                                                Restoration Program   (SNEP) for coastal              ov/fal/ usasp
Environmental Protection Agency        66.130   Geographic Programs - The primary objective of        https:/ https:/
                                                Gulf Coast Ecosystem this program is to               /       /
                                                Restoration Council   disburse funds to               sam.g www.
Environmental Protection Agency        66.202   Comprehensive
                                                Congressionally Plan  eligible entitiesspecial
                                                                      To implement                    ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                Mandated Projects      Congressionally                /       /
                                                                       mandated spending for          sam.g www.
Environmental Protection Agency        66.203                          projects
                                                Environmental Finance The        or programs
                                                                            Environmental             ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Center Grants          Finance Center Grant           /       /
                                                                       Program provides               sam.g www.
                                                                       funding to support             ov/fal/ usasp
Environmental Protection Agency        66.204   Multipurpose Grants to Multipurpose Grants            https:/ https:/
                                                States and Tribes      (MPGs) are intended to         /       /
                                                                       be used at state and           sam.g www.
Environmental Protection Agency        66.305                          tribal discretion,
                                                Compliance Assistance Since    1996, in for           ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Support for Services to   partnership with            /       /
                                                the Regulated             industry associations,      sam.g www.
                                                Community and Other       universities and other      ov/fal/ usasp
Environmental Protection Agency        66.306   Environmental Justice     The Environmental           https:/ https:/
                                                Collaborative Problem-    Justice Collaborative       /       /
                                                Solving Cooperative       Problem-Solving             sam.g www.
Environmental Protection Agency        66.309   Agreement   Program
                                                Surveys, Studies,         (EJCPS)   Cooperative
                                                                          The program's   objective   ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                Investigations, Training is to provide funding in     /       /
                                                and Special Purpose      support of surveys,          sam.g www.
Environmental Protection Agency        66.312   Activities Relating
                                                Environmental       to
                                                                 Justice studies  and of this
                                                                         The purpose                  ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Government-to-           cooperative agreement        /       /
                                                Government (EJG2G) program is to support              sam.g www.
                                                Program                  and/or create model          ov/fal/ usasp
Environmental Protection Agency        66.313   International            The primary purpose of       https:/ https:/
                                                Compliance and           this program is to           /       /
                                                Enforcement Projects     support projects that        sam.g www.
Environmental Protection Agency        66.418                            protect
                                                Construction Grants for To        human
                                                                             assist      health
                                                                                    and serve as      ov/fal/ https:/
                                                                                                      https:/ usasp
                                                Wastewater Treatment    an incentive in               /       /
                                                Works                   construction of               sam.g www.
Environmental Protection Agency        66.419   Water Pollution Control municipal  wastewater
                                                                        To assist States              ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                State, Interstate, and  (including territories and    /       /
                                                Tribal Program Support the District of                sam.g www.
Environmental Protection Agency        66.424   Surveys, Studies,       Columbia),  Indian
                                                                        To support developing,        ov/fal/
                                                                                                      https:/ usasp
                                                                                                              https:/
                                                Investigations,           expanding, planning,        /       /
                                                Demonstrations, and       implementing, and           sam.g www.
Environmental Protection Agency        66.432   Training
                                                State    Grants
                                                      Public    -
                                                             Water        improving
                                                                          The objective of these      ov/fal/ https:/
                                                                                                      https:/ usasp
                                                System Supervision        grants is to provide        /       /
                                                                          financial assistance to     sam.g www.
                                                                          eligible States and         ov/fal/ usasp




                                                                                                                                 46
                                  Case 1:25-cv-00039-JJM-PAS                                                              Document 114-1   Filed 02/13/25   Page 62 of 77 PageID
                                                                                                                                 #: 7330
Environmental Protection Agency        66.433   State Underground          To foster development        https:/ https:/
                                                Water Source               and implementation of        /       /
                                                Protection                 underground injection        sam.g www.
Environmental Protection Agency        66.436   Surveys, Studies,          control
                                                                           To      (UIC)
                                                                              support  theprograms      ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Investigations,            coordination and             /       /
                                                Demonstrations, and        acceleration of              sam.g www.
Environmental Protection Agency        66.437   Training Grants
                                                Geographic      and
                                                             Programs      research,
                                                                           The Long Island Sound        ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                â€“ Long Island Sound Program: (1)                      /       /
                                                Program               implements the Long               sam.g www.
                                                                      Island Sound Study                ov/fal/ usasp
Environmental Protection Agency        66.441   Healthy Watersheds    To support strategically          https:/ https:/
                                                Consortium Grant      protecting healthy                /       /
                                                Program               watersheds across the             sam.g www.
Environmental Protection Agency        66.442   Water Infrastructure  country.
                                                                      The      The focus
                                                                           objective is to of           ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Improvements for the       assist small and             /       /
                                                Nation Small and           underserved                  sam.g www.
Environmental Protection Agency        66.443   Underserved
                                                Reducing Lead in        communities    to comply
                                                                        The grant program               ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Drinking Water (SDWA funds activities to                /       /
                                                1459B)                  reduce lead in drinking         sam.g www.
                                                                        water in disadvantaged          ov/fal/ usasp
Environmental Protection Agency        66.444   Voluntary School and    Funding is awarded to           https:/ https:/
                                                Child Care Lead Testing states, territories, and        /       /
                                                and Reduction Grant     Tribal Consortia to             sam.g www.
Environmental Protection Agency        66.445   Program
                                                Innovative(SDWA
                                                            Water       assist local
                                                                        To inform  theeducational
                                                                                        public          ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Infrastructure Workforce about the role of water        /       /
                                                Development Program and wastewater                      sam.g www.
                                                (SDWA 1459E)             systems in their               ov/fal/ usasp
Environmental Protection Agency        66.446   Technical Assistance for The objective is to            https:/ https:/
                                                Treatment Works          provide technical              /       /
                                                (Clean Water Act [CWA] assistance and training          sam.g www.
Environmental Protection Agency        66.447   SectionOverflow
                                                Sewer    104(b)(8))
                                                                 and     to rural,
                                                                         The       small,of
                                                                              objective   and
                                                                                            thetribal   ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Stormwater Reuse       OSG Program is to                /       /
                                                Municipal Grant        award grants to the              sam.g www.
Environmental Protection Agency        66.448   Program
                                                Drinking Water System states,   the District
                                                                       The purpose    of thisof         ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Infrastructure         grant program is to              /       /
                                                Resilience and         increase drinking water          sam.g www.
                                                Sustainability Program system resilience to             ov/fal/ usasp
Environmental Protection Agency        66.454   Water Quality          This program assists             https:/ https:/
                                                Management Planning States (including                   /       /
                                                                       territories and the              sam.g www.
Environmental Protection Agency        66.456   National Estuary       District of Columbia),
                                                                       The National   Estuary           ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Program                    Program (NEP) goal is        /       /
                                                                           to protect and restore       sam.g www.
                                                                           the water quality and        ov/fal/ usasp
Environmental Protection Agency        66.458   Clean Water State          To create State              https:/ https:/
                                                Revolving Fund             Revolving Funds              /       /
                                                                           (SRFs) through a             sam.g www.
Environmental Protection Agency        66.460   Nonpoint Source            program
                                                                           To assist of
                                                                                     States, the        ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Implementation Grants District of Columbia,             /       /
                                                                      American Samoa,                   sam.g www.
Environmental Protection Agency        66.461   Regional Wetland      Guam,
                                                                      To assistNorthern
                                                                                 state, territory,      ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Program Development   tribal, and/or local              /       /
                                                Grants                government agencies               sam.g www.
                                                                      in building programs              ov/fal/ usasp
Environmental Protection Agency        66.462   National Wetland      To assist state, Tribal,          https:/ https:/
                                                Program Development territory and/or local              /       /
                                                Grants and Five-Star  government agencies               sam.g www.
Environmental Protection Agency        66.466   Restoration
                                                Geographic Programs - in
                                                            Training  Thebuilding programs
                                                                           Chesapeake      Bay is       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Chesapeake Bay        a national treasure and           /       /
                                                Program               unique as North                   sam.g www.
Environmental Protection Agency        66.468   Drinking Water State  America's
                                                                      To  providelargest   and
                                                                                  a low-cost,           ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Revolving Fund         long-term source of              /       /
                                                                       drinking water                   sam.g www.
Environmental Protection Agency        66.469                          infrastructure
                                                Geographic Programs - The             financing,
                                                                            Great Lakes                 ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Great Lakes            Restoration Initiative           /       /
                                                Restoration Initiative (GLRI) was launched in           sam.g www.
Environmental Protection Agency        66.472   Beach Monitoring and 2010    as aCoastal and
                                                                       To assist                        ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Notification Program  Great Lakes States,               /       /
                                                Implementation Grants Territories, and Tribes           sam.g www.
                                                                      eligible under Section            ov/fal/ usasp
Environmental Protection Agency        66.473   Direct Implementation Direct Implementation             https:/ https:/
                                                Tribal Cooperative    Tribal Cooperative                /       /
                                                Agreements            Agreements (DITCAs)               sam.g www.
Environmental Protection Agency        66.475   Geographic Programs enable     EPA to award
                                                                      The objectives  of the            ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                â€“ Gulf of Mexico         Gulf of Mexico               /       /
                                                Program                    Program, housed within       sam.g www.
Environmental Protection Agency        66.481   Geographic Programs        the Gulf
                                                                           The  goalofofMexico
                                                                                        this            ov/fal/ https:/
                                                                                                        https:/ usasp
                                                â€“ Lake Champlain     program is to implement          /       /
                                                Basin Program          the Lake Champlain               sam.g www.
                                                                       Basin Management                 ov/fal/ usasp
Environmental Protection Agency        66.484   Geographic Programs - The EPA South Florida             https:/ https:/
                                                South Florida          Program provides                 /       /
                                                Geographic Initiatives competitive grants to            sam.g www.
Environmental Protection Agency        66.485   Program
                                                Support for the Gulf   address  the immediate
                                                                       The Infrastructure               ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Hypoxia Action Plan    Investment and Jobs              /       /
                                                                       Act (Public Law 117-58)          sam.g www.
                                                                       which is generally               ov/fal/ usasp
Environmental Protection Agency        66.486   Underground Injection The Infrastructure                https:/ https:/
                                                Control Program        Investment and Jobs              /       /
                                                Grants: Class VI       Act (Public Law 117-58,          sam.g www.
Environmental Protection Agency        66.487   Carbon  Sequestration
                                                Non-State  Member      Nov. 15, 2021), also
                                                                       The Infrastructure               ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Support for the Gulf       Investment and Jobs          /       /
                                                Hypoxia Action Plan        Act (Public Law 117-58)      sam.g www.
Environmental Protection Agency        66.489   Response to            which
                                                                       To     is generally
                                                                           assist in responding         ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Emergency Situations to and alleviating                 /       /
                                                Affecting Public Water emergency situations             sam.g www.
                                                Systems (SDWA 1442b) affecting public water             ov/fal/ usasp
Environmental Protection Agency        66.490   Centers of Excellence To improve the                    https:/ https:/
                                                for Stormwater Control effectiveness, cost              /       /
                                                Infrastructure         efficiency, and                  sam.g www.
Environmental Protection Agency        66.508   Technologies   Grant
                                                Senior Environmental   protection
                                                                       To use the of  publicof
                                                                                    talents             ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Employment Program         Americans 55 years of        /       /
                                                                           age or older to provide      sam.g www.
                                                                           technical assistance to      ov/fal/ usasp
Environmental Protection Agency        66.509   Science To Achieve         The Science to Achieve       https:/ https:/
                                                Results (STAR)             Results (STAR)               /       /
                                                Research Program           Program's goal is to         sam.g www.
Environmental Protection Agency        66.510   Surveys, Studies,          stimulate
                                                                           The Officeand  support
                                                                                      of Research       ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Investigations and       and Development                /       /
                                                Special Purpose Grants (ORD) supports                   sam.g www.
Environmental Protection Agency        66.511   within the
                                                Office     Office of and The
                                                       of Research       surveys, studies,
                                                                             Office        and
                                                                                    of Research         ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Development            and Developmentâ€™s              /       /
                                                Consolidated Research/ (ORD) Consolidated               sam.g www.
                                                Training/Fellowships   Research/Training/               ov/fal/ usasp
Environmental Protection Agency        66.516   P3 Award: National     The P3 program                   https:/ https:/
                                                Student Design         supports research,               /       /
                                                Competition for        development, and                 sam.g www.
Environmental Protection Agency        66.518   Sustainability
                                                State Senior           design of innovative
                                                                       To use the  talents of           ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Environmental              Americans 55 years of        /       /
                                                Employment Program         age or older to provide      sam.g www.
Environmental Protection Agency        66.521   Innovative Water           technical
                                                                           The       assistance
                                                                               purpose   of this to     ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Technology Grant        program is to accelerate        /       /
                                                Program                 the development and             sam.g www.
                                                                        deployment of                   ov/fal/ usasp
Environmental Protection Agency        66.522   Enhanced Aquifer Use The purpose of this                https:/ https:/
                                                and Recharge Program program is to carry out            /       /
                                                                        groundwater research            sam.g www.
Environmental Protection Agency        66.600   Environmental           on enhanced
                                                                        The  Omnibus aquifer
                                                                                       Territories      ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Protection Consolidated Act (OTA) allows the            /       /
                                                Grants for the Insular  Insular Areas to                sam.g www.
                                                Areas - Program         consolidate their               ov/fal/ usasp
Environmental Protection Agency        66.604   Environmental Justice The Environmental                 https:/ https:/
                                                Small Grant Program     Justice Small Grants            /       /
                                                                        (EJSG) Program                  sam.g www.
Environmental Protection Agency        66.605   Performance             provides
                                                                        Fosteringfunding
                                                                                  EPAâ€™s               ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Partnership Grants         partnership with the         /       /
                                                                           states and Tribes is         sam.g www.
Environmental Protection Agency        66.608   Environmental          critical
                                                                       The      to accelerating
                                                                             National                   ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Information Exchange Environmental                      /       /
                                                Network Grant Program Information Exchange              sam.g www.
                                                and Related Assistance Network (EN) is an               ov/fal/ usasp
Environmental Protection Agency        66.609   Protection of Children To support efforts by            https:/ https:/
                                                from Environmental     organizations;                   /       /
                                                Health Risks           educational institutions;        sam.g www.
Environmental Protection Agency        66.610   Surveys, Studies,      and/or
                                                                       The      State,
                                                                             goals      local, and
                                                                                    of these            ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Investigations and       assistance programs            /       /
                                                Special Purpose Grants are to: (1) support              sam.g www.
                                                within the Office of the surveys, studies,              ov/fal/ usasp
Environmental Protection Agency        66.611   Environmental Policy     The goals of this              https:/ https:/
                                                and Innovation Grants assistance program are            /       /
                                                                         to (1) support analyses,       sam.g www.
Environmental Protection Agency        66.614   Financial Assistance     studies, evaluations,
                                                                         The objective  of this         ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                For Community Support program is to provide             /       /
                                                Activities To Address   financial assistance to         sam.g www.
Environmental Protection Agency        66.615   Environmental Justice
                                                Environmental   Justice The
                                                                        eligible entities
                                                                             goals        to
                                                                                    of this             ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Thriving Communities       program are to make          /       /
                                                Grantmaking Program        awards for the design        sam.g www.
                                                (EJ TCGM)                  and management of a          ov/fal/ usasp
Environmental Protection Agency        66.616   Environmental and          The objective of this        https:/ https:/
                                                Climate Justice            program is to provide        /       /
                                                Community Change           financial assistance to      sam.g www.
Environmental Protection Agency        66.700   Grants Program
                                                Consolidated  Pesticide    eligibleterritorial,
                                                                           State,   entities toand      ov/fal/ https:/
                                                                                                        https:/ usasp
                                                Enforcement                tribal agencies              /       /
                                                Cooperative                participating in this        sam.g www.
Environmental Protection Agency        66.701   Agreements
                                                Toxic Substances       cooperative  agreement
                                                                       The objectives  of this          ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Compliance Monitoring program are to: 1)                /       /
                                                Cooperative            assist Grantees,                 sam.g www.
Environmental Protection Agency        66.707   Agreements
                                                TSCA Title IV State    including States,
                                                                       The goal of  EPA'sthe
                                                                                           lead-        ov/fal/
                                                                                                        https:/ usasp
                                                                                                                https:/
                                                Lead Grants            based paint program is           /     /
                                                Certification of Lead- to eliminate childhood           sam.g www.
Environmental Protection Agency        66.708   Based Paint
                                                Pollution  Prevention  lead P2
                                                                       The   poisoning. The
                                                                                grant program       ov/fal/ https:/
                                                                                                    https:/ usasp
                                                Grants Program             was enacted under the /          /
                                                                           Pollution Prevention Act sam.g www.
                                                                           of 1990 to: 1) Provide   ov/fal/ usasp




                                                                                                                                   47
                                            Case 1:25-cv-00039-JJM-PAS                                                           Document 114-1   Filed 02/13/25   Page 63 of 77 PageID
                                                                                                                                        #: 7331
Environmental Protection Agency                  66.714   Pesticide Environmental The objective of this        https:/ https:/
                                                          Stewardship Program program is to                    /       /
                                                          (PESP) Grants           encourage smart,             sam.g www.
Environmental Protection Agency                  66.716   Research,               sensibleare
                                                                                  Grants   andawarded to       ov/fal/ https:/
                                                                                                               https:/ usasp
                                                          Development,             support research,           /       /
                                                          Monitoring, Public       development,                sam.g www.
Environmental Protection Agency                  66.717   Education, Outreach,
                                                          Source Reduction         monitoring,
                                                                                   The goal of public
                                                                                               the Source      ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          Assistance               Reduction Assistance        /       /
                                                                                   (SRA) program is to         sam.g www.
                                                                                   award grants that           ov/fal/ usasp
Environmental Protection Agency                  66.720   PRIA 5: Farm Worker      Grants are awarded to       https:/ https:/
                                                          and Health Care          support education,          /       /
                                                          Provider Training and    outreach, training, and     sam.g www.
Environmental Protection Agency                  66.721   Education Embodied
                                                          Reducing   Grants        technical
                                                                                   The       assistance
                                                                                       goal of the       to    ov/fal/ https:/
                                                                                                               https:/ usasp
                                                          Greenhouse Gas           Reducing Embodied           /       /
                                                          Emissions for            Greenhouse Gas              sam.g www.
Environmental Protection Agency                  66.722   Construction Materials
                                                          Pesticide Registration   Emissions  for of this
                                                                                   The objective               ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          Improvement Act          program, required by        /       /
                                                          Employee Training        TITLE VIâ€”                 sam.g www.
                                                                                   PESTICIDES, Subtitle        ov/fal/ usasp
Environmental Protection Agency                  66.801   Hazardous Waste          To assist State             https:/ https:/
                                                          Management State         governments in the          /       /
                                                          Program Support          development and             sam.g www.
Environmental Protection Agency                  66.802   Superfund State,         implementation
                                                                                   The goals of thisof an      ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          Political Subdivision,   assistance listing are to   /       /
                                                          and Indian Tribe Site-   (1) conduct site            sam.g www.
                                                          Specific Cooperative     characterization            ov/fal/ usasp
Environmental Protection Agency                  66.804   Underground Storage      To assist states,           https:/ https:/
                                                          Tank (UST) Prevention,   territories, tribes, or     /       /
                                                          Detection, and           intertribal consortia       sam.g www.
Environmental Protection Agency                  66.805   Compliance
                                                          Leaking      Program
                                                                    Underground    (leaking
                                                                                   To        underground
                                                                                       support   state         ov/fal/ https:/
                                                                                                               https:/ usasp
                                                          Storage Tank Trust     (including territories that   /       /
                                                          Fund Corrective Action are included in the           sam.g www.
Environmental Protection Agency                  66.806   Program
                                                          Superfund Technical    definition  of state
                                                                                 The statutory        in the
                                                                                                  authority    ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          Assistance Grants      for this project is           /       /
                                                          (TAG) for Community    CERCLA 117(e) as              sam.g www.
                                                          Groups at National     amended by 42 USC             ov/fal/ usasp
Environmental Protection Agency                  66.808   Solid Waste            To promote use of             https:/ https:/
                                                          Management             integrated solid waste        /       /
                                                          Assistance Grants      management systems            sam.g www.
Environmental Protection Agency                  66.809   Superfund State and    to
                                                                                 To solve  solid implement
                                                                                     effectively  waste        ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          Indian Tribe Core         the statutory              /       /
                                                          Program Cooperative       requirements of            sam.g www.
                                                          Agreements                CERCLA Section 121(f)      ov/fal/ usasp
Environmental Protection Agency                  66.812   Hazardous Waste           The Hazardous Waste        https:/ https:/
                                                          Management Grant          Management Grant           /       /
                                                          Program for Tribes        Program for Tribes         sam.g www.
Environmental Protection Agency                  66.813                             provides
                                                          Alternative or Innovative To supportassistance for
                                                                                                grants and     ov/fal/ https:/
                                                                                                               https:/ usasp
                                                          Treatment Technology     cooperative agreements /       /
                                                          Research,                for (1) a program of   sam.g www.
Environmental Protection Agency                  66.814   Demonstration,
                                                          Brownfields Training,  research,
                                                                                 Brownfieldevaluation,    ov/fal/
                                                                                                          https:/ usasp
                                                                                             sites are real       https:/
                                                          Research, and          property, the expansion,      /       /
                                                          Technical Assistance   redevelopment, or             sam.g www.
                                                          Grants and Cooperative reuse of which may be         ov/fal/ usasp
Environmental Protection Agency                  66.815   Brownfields Job        Brownfield sites are real     https:/ https:/
                                                          Training Cooperative   property, the expansion,      /       /
                                                          Agreements             redevelopment, or             sam.g www.
Environmental Protection Agency                  66.816   Headquarters and       reuse of which
                                                                                 This grant      may be
                                                                                             program           ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          Regional Underground funds activities in both    /       /
                                                          Storage Tanks Program the LUST prevention        sam.g www.
Environmental Protection Agency                  66.817   State and Tribal      and cleanup
                                                                                Brownfield    programs.
                                                                                            sites are real ov/fal/ usasp
                                                                                                           https:/ https:/
                                                          Response Program      property, the expansion, /         /
                                                          Grants                redevelopment, or          sam.g www.
Environmental Protection Agency                  66.818   Brownfields           reuse of which
                                                                                Brownfield  sitesmay
                                                                                                  are be   ov/fal/ https:/
                                                                                                      real https:/ usasp
                                                          Multipurpose,            property, the expansion,    /       /
                                                          Assessment, Revolving redevelopment, or              sam.g www.
Environmental Protection Agency                  66.820   Loan
                                                          STATE Fund,  and
                                                                  PROGRAMS         reuse  of which
                                                                                   The overall  goalmay   be
                                                                                                      of the   ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          FOR CONTROL OF           CCR Grant program is        /       /
                                                          COAL COMBUSTION to provide grants to                 sam.g www.
                                                          RESIDUALS                assist states in the        ov/fal/ usasp
Environmental Protection Agency                  66.920   Solid Waste              The objectives of the       https:/ https:/
                                                          Infrastructure for       Post-Consumer               /       /
                                                          Recycling Infrastructure Materials Management        sam.g www.
Environmental Protection Agency                  66.921   Grants
                                                          Reduce, Reuse,           Infrastructure
                                                                                   The objective Grant
                                                                                                  of the       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          Recycling Education      grant program is to         /       /
                                                          and Outreach Grants      improve the                 sam.g www.
Environmental Protection Agency                  66.926   Indian Environmental     effectiveness
                                                                                   EPA  provides of
                                                                                                 Indian        ov/fal/ https:/
                                                                                                               https:/ usasp
                                                          General Assistance      Environmental General        /       /
                                                          Program (GAP)           Assistance Program           sam.g www.
                                                                                  (GAP) financial and          ov/fal/ usasp
Environmental Protection Agency                  66.931   International Financial The Office of                https:/ https:/
                                                          Assistance Projects     International and Tribal     /       /
                                                          Sponsored by the Office Affairs (OITA) engages       sam.g www.
Environmental Protection Agency                  66.950   of
                                                          National Environmental both
                                                             International and          bilaterally
                                                                                  The purpose     ofand
                                                                                                     the       ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          Education Training     teacher training              /       /
                                                          Program                program is to train           sam.g www.
                                                                                 education professionals       ov/fal/ usasp
Environmental Protection Agency                  66.951   Environmental          The Environmental             https:/ https:/
                                                          Education Grants       Education Grants              /       /
                                                          Program                Program supports              sam.g www.
Environmental Protection Agency                  66.956   Targeted Airshed Grant projects  to design,
                                                                                 The overall    goal of the    ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          Program                Targeted Airshed Grant        /       /
                                                                                 program is to reduce air      sam.g www.
Environmental Protection Agency                  66.957   Greenhouse Gas         pollution
                                                                                 The        in the
                                                                                      Inflation  Reduction     ov/fal/ https:/
                                                                                                               https:/ usasp
                                                          Reduction Fund:          Act (IRA) amends the        /       /
                                                          National Clean           Clean Air Act to include    sam.g www.
                                                          Investment Fund          Section 134 (42 USC         ov/fal/ usasp
Environmental Protection Agency                  66.958   Water Infrastructure     To accelerate               https:/ https:/
                                                          Finance and Innovation   investment in our           /       /
                                                          (WIFIA)                  nation's water and          sam.g www.
Environmental Protection Agency                  66.959   Greenhouse Gas           wastewater
                                                                                   The Inflation Reduction     ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          Reduction Fund: Solar    Act amends the Clean        /       /
                                                          for All                  Air Act to include          sam.g www.
                                                                                   Section 134 (42 USC         ov/fal/ usasp
Environmental Protection Agency                  66.960   Greenhouse Gas           The Inflation Reduction     https:/ https:/
                                                          Reduction Fund: Clean    Act amends the Clean        /       /
                                                          Communities              Air Act to include          sam.g www.
Environmental Protection Agency                  66.961   Investment Accelerator
                                                          Superfund State and      Section  134 (42
                                                                                   To effectively    USC
                                                                                                  implement    ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          Indian Tribe Combined the statutory                  /       /
                                                          Cooperative            requirements of               sam.g www.
Environmental Protection Agency                  66.962   Agreements Programs
                                                          Geographic   (Site-  - CERCLA
                                                                                 To supportforthe
                                                                                                state or       ov/fal/ https:/
                                                                                                               https:/ usasp
                                                          Columbia River Basin protection and                  /       /
                                                          Restoration (CRBR)     restoration of the            sam.g www.
                                                          Program                Columbia River Basin          ov/fal/ usasp
Environmental Protection Agency                  66.964   Geographic Programs - The Chesapeake Bay is          https:/ https:/
                                                          Chesapeake Bay         a national treasure and       /       /
                                                          Program                unique as North               sam.g www.
Environmental Protection Agency                  66.965   Implementation,
                                                          CONTAMINATED           America's  largest and
                                                                                 Congress appropriated         ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          ALASKA NATIVE     funding starting in fiscal         /       /
                                                          CLAIMS SETTLEMENT year 2023 for EPA to               sam.g www.
Equal Employment Opportunity Commission          30.005   ACT LANDS
                                                          Employment        establish
                                                                            a)        and
                                                                               To assist individuals           ov/fal/ https:/
                                                                                                               https:/ usasp
                                                          Discrimination Private   who have filed a charge     /       /
                                                          Bar Program              with the Commission, or     sam.g www.
                                                                                   on whose behalf a           ov/fal/ usasp
Executive Office of the President                95.001   High Intensity Drug      To reduce drug              https:/ https:/
                                                          Trafficking Areas        trafficking and drug        /       /
                                                          Program                  production in the United    sam.g www.
Executive Office of the President                95.003   DFC NATIONAL             States
                                                                                   Per   theby-- (A)
                                                                                             authorizing       ov/fal/ https:/
                                                                                                               https:/ usasp
                                                          COMMUNITY               legislation, for the Drug-   /       /
                                                          ANTIDRUG                Free Communities             sam.g www.
                                                          COALITION               (DFC) Support                ov/fal/ usasp
Executive Office of the President                95.004   Anti-Doping Activities  The Office of National       https:/ https:/
                                                                                  Drug Control Policy          /       /
                                                                                  (ONDCP), Executive           sam.g www.
Executive Office of the President                95.005   Drug Court Training and Office of the President,
                                                                                  The Administration           ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          Technical Assistance     supports a combined         /       /
                                                                                   public health and public    sam.g www.
Executive Office of the President                95.006   Model Acts Program       safety
                                                                                   The    approach
                                                                                       purpose       to
                                                                                                 of the        ov/fal/ https:/
                                                                                                               https:/ usasp
                                                                                   Model Acts Program          /       /
                                                                                   includes: A) advising       sam.g www.
                                                                                   states on establishing      ov/fal/ usasp
Executive Office of the President                95.007   Research and Data        The purpose of              https:/ https:/
                                                          Analysis                 research and data           /       /
                                                                                   analysis is to inform       sam.g www.
Executive Office of the President                95.010   Congressional            policy
                                                                                   To     formulation
                                                                                      implement        and
                                                                                                   special     ov/fal/ https:/
                                                                                                               https:/ usasp
                                                          Directives        Congressionally                    /       /
                                                                            directed projects or               sam.g www.
                                                                            programs identified in             ov/fal/ usasp
Export - Import Bank of the United States        31.007   Export - Loan     The Export-Import Bank             https:/ https:/
                                                          Guarantee/Insured of the United States               /       /
                                                          Loans             (Ex-Im Bank or the                 sam.g www.
Federal Communications Commission                32.002   UNIVERSAL SERVICE Bank)  is an
                                                                            Universal  service has             ov/fal/
                                                                                                               https:/ usasp
                                                                                                                       https:/
                                                          FUND - HIGH COST  been defined by                    /       /
                                                                            Congress as â€œan                  sam.g www.
Federal Communications Commission                32.003                     evolving level
                                                          UNIVERSAL SERVICE Universal      of has
                                                                                       service                 ov/fal/ https:/
                                                                                                               https:/ usasp
                                                          FUND - LIFELINE    been defined by                   /       /
                                                                             Congress as â€œan                 sam.g www.
                                                                             evolving level of                 ov/fal/ usasp
Federal Communications Commission                32.004   UNIVERSAL SERVICE The schools and                    https:/ https:/
                                                          FUND - SCHOOLS and libraries universal               /       /
                                                          LIBRARIES          service support                   sam.g www.
Federal Communications Commission                32.005                      program,
                                                          UNIVERSAL SERVICE The   Ruralcommonly
                                                                                         Health Care           ov/fal/ https:/
                                                                                                               https:/ usasp
                                                          FUND - RURAL             Program, one of the     /       /
                                                          HEALTH CARE              FCCâ€™s Universal       sam.g www.
Federal Communications Commission                32.006   COVID-19 Telehealth      Service Fundtoprograms,
                                                                                   In response    the      ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                          Program                  coronavirus disease     /       /
                                                                                   2019 (COVID-19)         sam.g www.
Federal Communications Commission                32.007   Connected Care Pilot     pandemic,  communities
                                                                                   Telehealth has          ov/fal/
                                                                                                           https:/ usasp
                                                                                                                   https:/
                                                          Program                 assumed a critical role      /       /
                                                                                  in health care delivery      sam.g www.
Federal Communications Commission                32.008   Affordable Connectivity as
                                                                                  Ontechnology
                                                                                      December and
                                                                                                 27, 2020,     ov/fal/ https:/
                                                                                                               https:/ usasp
                                                          Program                 the Consolidated             /       /
                                                                                  Appropriations Act,          sam.g www.
                                                                                  2021 (Consolidated           ov/fal/ usasp




                                                                                                                                          48
                                                                                         Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 64 of 77 PageID
                                                                                                                                                                                       #: 7332
Federal Communications Commission                                                             32.009   Emergency                 In section 7402 of the       https:/ https:/
                                                                                                       Connectivity Fund         American Rescue Plan         /       /
                                                                                                       Program                   Act (Act), Congress          sam.g www.
Federal Communications Commission                                                             32.010   Supply Chain              established
                                                                                                                                 On          a $7.171
                                                                                                                                     March 12, 2020, the      ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                       Reimbursement           Secure and Trusted             /       /
                                                                                                       Program                 Communications                 sam.g www.
Federal Communications Commission                                                             32.011   Affordable Connectivity Networks
                                                                                                                               Millions ofAct  of 2019
                                                                                                                                            low-income        ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                       Outreach Grant          households experience          /       /
                                                                                                       Program                 difficulty paying for          sam.g www.
                                                                                                                               broadband service              ov/fal/ usasp
Federal Communications Commission                                                             32.012   Cybersecurity Pilot     As broadband                   https:/ https:/
                                                                                                       Program                 connectivity and               /       /
                                                                                                                               Internet access have           sam.g www.
Federal Financial Institutions Examination Council Appraisal Subcommittee                     38.006                           become
                                                                                                       State Appraiser Agency To   provideessential
                                                                                                                                             State for        ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                       Support Grants            Appraiser Regulatory         /       /
                                                                                                                                 Agencies with funds to       sam.g www.
Federal Financial Institutions Examination Council Appraisal Subcommittee                     38.008   Training and Technical    advance the appraiser
                                                                                                                                 The objectives of this       ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                       Assistance for State      federal assistance are       /       /
                                                                                                       Appraiser Regulatory      to expand and provide        sam.g www.
                                                                                                       Agencies                  training and technical       ov/fal/ usasp
Federal Financial Institutions Examination Council Appraisal Subcommittee                     38.009   Board Support and         The Appraisal                https:/ https:/
                                                                                                       Innovation Grant          Subcommittee is              /       /
                                                                                                                                 making funds available       sam.g www.
Federal Permitting Improvement Steering Council                                               90.800   Federal Permitting        to the Appraisal
                                                                                                                                 Providing  financial         ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                       Improvement Steering      assistance to Tribal         /       /
                                                                                                       Council Environmental     governments to               sam.g www.
                                                                                                       Review Improvement        facilitate timely and        ov/fal/ usasp
General Services Administration                                                               39.002   Disposal of Federal       To assist State and          https:/ https:/
                                                                                                       Surplus Real Property     local governments, and       /       /
                                                                                                                                 certain eligible (501(c)     sam.g www.
General Services Administration                                                               39.003   Donation of Federal       (3) donate
                                                                                                                                 To  tax-exempt    status)
                                                                                                                                              Federal         ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                       Surplus Personal        personal property no           /       /
                                                                                                       Property                longer required for            sam.g www.
General Services Administration                                                               39.007   Sale of Federal Surplus Federal  use to eligible
                                                                                                                               To sell personal               ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                       Personal Property       property no longer             /       /
                                                                                                                               needed by the                  sam.g www.
                                                                                                                               Government in an               ov/fal/ usasp
Gulf Coast Ecosystem Restoration Council                                                      87.051   Gulf Coast Ecosystem The primary objective of          https:/ https:/
                                                                                                       Restoration Council     this program is to             /       /
                                                                                                       Comprehensive Plan      disburse funds to              sam.g www.
Gulf Coast Ecosystem Restoration Council                                                      87.052   Component   Program
                                                                                                       Gulf Coast Ecosystem    eligible entities
                                                                                                                               The primary       for the of
                                                                                                                                              objective       ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                       Restoration Council Oil this program is to             /       /
                                                                                                       Spill Impact Program    disburse funds to              sam.g www.
                                                                                                                               eligible entities for the      ov/fal/ usasp
Inter-American Foundation                                                                     85.750   IAF Assistance for      The primary objectives         https:/ https:/
                                                                                                       Overseas Programs       of the IAF Assistance          /       /
                                                                                                                               for Programs Overseas          sam.g www.
Inter-American Foundation                                                                     85.751   IAF Assistance for      in Latin
                                                                                                                               The      America
                                                                                                                                    primary        and the
                                                                                                                                              objectives      ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                       Overseas Programs         of the IAF Assistance       /       /
                                                                                                                                 for Programs Overseas sam.g www.
Japan-U.S. Friendship Commission                                                              90.300   Japan-U.S. Friendship     in
                                                                                                                                 to Latin America
                                                                                                                                    promote          and the ov/fal/
                                                                                                                                              educational,   https:/ usasp
                                                                                                                                                                     https:/
                                                                                                       Commission Grants         intellectual, artistic and /        /
                                                                                                                                 cultural exchange and       sam.g www.
                                                                                                                                 research between            ov/fal/ usasp
Library of Congress                                                                           42.010   Teaching with Primary     Teaching with Primary       https:/ https:/
                                                                                                       Sources                   Sources (TPS) grants        /       /
                                                                                                                                 seek to fulfill the         sam.g www.
Library of Congress                                                                           42.011   Library of Congress       mission  of the
                                                                                                                                 To provide        Library
                                                                                                                                              grants   to of ov/fal/
                                                                                                                                                             https:/ usasp
                                                                                                                                                                     https:/
                                                                                                       Grants                    individuals and            /       /
                                                                                                                                 organizations.             sam.g www.
Library of Congress                                                                           42.012   Connecting                The Connecting             ov/fal/ usasp
                                                                                                                                                            https:/ https:/
                                                                                                       Communities Digital       Communities Digital        /       /
                                                                                                       Initiative                Initiative (CCDI)          sam.g www.
Library of Congress                                                                           42.013   Of the People:            encourages
                                                                                                                                 The           creators
                                                                                                                                       Library of        in ov/fal/
                                                                                                                                                  Congress  https:/ usasp
                                                                                                                                                                    https:/
                                                                                                       Community Collections seeks to award grants          /       /
                                                                                                       Grants                    to support                 sam.g www.
Library of Congress                                                                           42.014   Affiliate Centers for the Through a gift from the https:/ usasp
                                                                                                                                 contemporary     cultural  ov/fal/ https:/
                                                                                                       Book Programming          John Y. Cole and Nancy /           /
                                                                                                       Grants                    E. Gwinn Trust Fund,       sam.g www.
                                                                                                                                 the Library will support   ov/fal/ usasp
Library of Congress                                                                           42.015   Lewis-Houghton Civics With this notice, the          https:/ https:/
                                                                                                       and Democracy             Library of Congress        /       /
                                                                                                       Initiative                invites education-         sam.g www.
Millennium Challenge Corporation                                                              85.002   MCC Foreign               focused
                                                                                                                                 To provideorganizations
                                                                                                                                              United        ov/fal/
                                                                                                                                                            https:/ usasp
                                                                                                                                                                    https:/
                                                                                                       Assistance for            States assistance for        /       /
                                                                                                       Overseas Programs         global development           sam.g www.
Morris K. Udall Scholarship and Excellence in National Environmental Policy Foundation        85.400   Morris K. Udall           through
                                                                                                                                 The     the Millennium
                                                                                                                                     Udall                    ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                       Scholarship Program       Undergraduate                /       /
                                                                                                                                 Scholarship identifies       sam.g www.
                                                                                                                                 future leaders in            ov/fal/ usasp
Morris K. Udall Scholarship and Excellence in National Environmental Policy Foundation        85.401   Morris K. Udall           The Native American          https:/ https:/
                                                                                                       Fellowship Program        Graduate Fellowship          /       /
                                                                                                                                 Program supports             sam.g www.
Morris K. Udall Scholarship and Excellence in National Environmental Policy Foundation        85.402   Morris K. Udall Native    outstanding  Native
                                                                                                                                 The Native American          ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                       American                  Congressional                /       /
                                                                                                       Congressional             Internship Program           sam.g www.
                                                                                                       Internship Program        identifies future leaders    ov/fal/ usasp
National Aeronautics and Space Administration                                                 43.001   Science                   The Science Mission          https:/ https:/
                                                                                                                                 Directorate (SMD)            /       /
                                                                                                                                 pursues NASA's               sam.g www.
National Aeronautics and Space Administration                                                 43.002   Aeronautics               strategic
                                                                                                                                 The NASA  objectives,
                                                                                                                                              Mission         ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                                                 draws support from           /       /
                                                                                                                                 NASAâ€™s world-              sam.g www.
National Aeronautics and Space Administration                                                 43.003   Exploration               classExploration
                                                                                                                                 The   capability for         ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                                                 Systems Development          /       /
                                                                                                                                 Mission Directorate          sam.g www.
                                                                                                                                 (ESDMD) defines and          ov/fal/ usasp
National Aeronautics and Space Administration                                                 43.007   Space Operations          NASAâ€™s Space               https:/ https:/
                                                                                                                                 Operations Mission           /       /
                                                                                                                                 Directorate is the heart     sam.g www.
National Aeronautics and Space Administration                                                 43.008   Office of Stem            of the agencyâ€™s
                                                                                                                                 NASAâ€™s      journeys       ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                       Engagement (OSTEM) have propelled                      /       /
                                                                                                                          technological                       sam.g www.
                                                                                                                          breakthroughs, pushed               ov/fal/ usasp
National Aeronautics and Space Administration                                                 43.009   Mission Support    Provides effective and              https:/ https:/
                                                                                                                          efficient institutional             /       /
                                                                                                                          support to enable                   sam.g www.
National Aeronautics and Space Administration                                                 43.012   Space Technology   successful
                                                                                                                          NASAâ€™s Space                      ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                                                 Technology Mission           /       /
                                                                                                                                 Directorate (STMD)           sam.g www.
National Aeronautics and Space Administration                                                 43.014   Congressionally           leads the
                                                                                                                                 NASA      development,
                                                                                                                                        Community             ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                       Directed Programs         Projects/NASA Special        /       /
                                                                                                                                 Projects are provided        sam.g www.
                                                                                                                                 by Congress for specific     ov/fal/ usasp
National Archives and Records Administration                                                  89.001   National Archives         Objectives: To provide       https:/ https:/
                                                                                                       Reference Services        professional reference       /       /
                                                                                                       Historical Research       service to members of        sam.g www.
National Archives and Records Administration                                                  89.003   National Historical       the general public
                                                                                                                                 To undertake       and
                                                                                                                                               a wide-        ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                       Publications and          range of activities          /       /
                                                                                                       Records Grants            related to the               sam.g www.
National Council on Disability                                                                92.002   National Council on       preservation,
                                                                                                                                 NCD is an independent        ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                       Disability             federal agency charged          /       /
                                                                                                                              with advising the               sam.g www.
                                                                                                                              President, Congress,            ov/fal/ usasp
National Credit Union Administration                                                          44.002   Community              The purpose of the              https:/ https:/
                                                                                                       Development Revolving Community                        /       /
                                                                                                       Loan Fund Program for Development Revolving            sam.g www.
National Endowment for the Arts                                                               45.024   Credit Unions
                                                                                                       Promotion  of the Arts Loan
                                                                                                                              To    Fund opportunities
                                                                                                                                 support  (CDRLF) is          ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                       Grants to Organizations for all people to              /       /
                                                                                                       and Individuals         participate in the arts        sam.g www.
                                                                                                                               and arts education,            ov/fal/ usasp
National Endowment for the Arts                                                               45.025   Promotion of the Arts   To develop and                 https:/ https:/
                                                                                                       Partnership Agreements maintain partnerships           /       /
                                                                                                                               with the state and             sam.g www.
National Endowment for the Arts                                                               45.201   Arts and Artifacts      jurisdictional
                                                                                                                               To provide forarts             ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                       Indemnity                 indemnification against      /       /
                                                                                                                                 loss or damage for           sam.g www.
National Endowment for the Humanities                                                         45.129   Promotion of the          eligible art works,
                                                                                                                                 Federal/State                ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                       Humanities Federal/       Partnerships promote         /       /
                                                                                                       State Partnership         local, statewide, and        sam.g www.
                                                                                                                                 regional humanities          ov/fal/ usasp
National Endowment for the Humanities                                                         45.130   Promotion of the          To strengthen                https:/ https:/
                                                                                                       Humanities Challenge      institutional base and       /       /
                                                                                                       Grants                    organizational capacity      sam.g www.
National Endowment for the Humanities                                                         45.149   Promotion of the          for work in theand
                                                                                                                                 Preservation                 ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                       Humanities Division of Access grants ensure            /       /
                                                                                                       Preservation and       the long-term and wide          sam.g www.
                                                                                                       Access                 availability of primary         ov/fal/ usasp
National Endowment for the Humanities                                                         45.160   Promotion of the       Fellowships and                 https:/ https:/
                                                                                                       Humanities Fellowships Stipends provide                /       /
                                                                                                       and Stipends           support for individual          sam.g www.
National Endowment for the Humanities                                                         45.161   Promotion of the       scholars
                                                                                                                              Humanities to produce
                                                                                                                                            Research          ov/fal/
                                                                                                                                                              https:/ usasp
                                                                                                                                                                      https:/
                                                                                                       Humanities Research       awards advance               /       /
                                                                                                                                 knowledge and                sam.g www.
National Endowment for the Humanities                                                         45.162   Promotion of the          understanding
                                                                                                                                 Teaching      of the
                                                                                                                                          and Learning        ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                       Humanities Teaching       Resources and                /       /
                                                                                                       and Learning              Curriculum                   sam.g www.
                                                                                                       Resources and             Development programs         ov/fal/ usasp
National Endowment for the Humanities                                                         45.163   Promotion of the          The Institutes program       https:/ https:/
                                                                                                       Humanities                promotes better              /       /
                                                                                                       Professional              teaching and research        sam.g www.
National Endowment for the Humanities                                                         45.164   Development
                                                                                                       Promotion of the          in the humanities
                                                                                                                                 Public            for
                                                                                                                                        Programs grants       ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                       Humanities Public         provide opportunities for /       /
                                                                                                       Programs                  the American public to    sam.g www.
National Endowment for the Humanities                                                         45.169   Promotion of the          explore  human
                                                                                                                                 The Office        history
                                                                                                                                             of Digital    ov/fal/
                                                                                                                                                           https:/ usasp
                                                                                                                                                                   https:/
                                                                                                       Humanities Office of      Humanities supports       /       /
                                                                                                       Digital Humanities        innovative humanities     sam.g www.
National Science Foundation                                                                   47.041   Engineering               projects that utilize
                                                                                                                                 "The NSF Directorate  or  ov/fal/
                                                                                                                                                           https:/ usasp
                                                                                                                                                                   https:/
                                                                                                                                 for Engineering (ENG)        /       /
                                                                                                                                 seeks to improve the         sam.g www.
National Science Foundation                                                                   47.049   Mathematical and          quality
                                                                                                                                 To      of lifethe
                                                                                                                                     promote      and the     ov/fal/ https:/
                                                                                                                                                              https:/ usasp
                                                                                                       Physical Sciences         progress of the              /       /
                                                                                                                                 mathematical and             sam.g www.
                                                                                                                                 physical sciences and        ov/fal/ usasp




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                                                  Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 65 of 77 PageID
                                                                                                                                                #: 7333
National Science Foundation                            47.050   Geosciences               To strengthen and            https:/ https:/
                                                                                          enhance the national         /       /
                                                                                          scientific enterprise        sam.g www.
National Science Foundation                            47.070   Computer and              through
                                                                                          To supporttheinvestigator-
                                                                                                        expansion ov/fal/ usasp
                                                                                                                  https:/ https:/
                                                                Information Science     initiated research and    /       /
                                                                and Engineering         education in all areas of sam.g www.
National Science Foundation                            47.074   Biological Sciences     computing,
                                                                                        To promote the            ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                                                        progress of the           /       /
                                                                                        biological sciences and sam.g www.
                                                                                        thereby strengthen the    ov/fal/ usasp
National Science Foundation                            47.075   Social, Behavioral, and To contribute to the      https:/ https:/
                                                                Economic Sciences       scientific strength and   /       /
                                                                                        welfare of the Nation     sam.g www.
National Science Foundation                            47.076   STEM Education          through
                                                                                        To        theleadership
                                                                                            provide   promotion   ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                                (formerly Education and and ensure the vitality        /       /
                                                                Human Resources)        of the Nation's science,       sam.g www.
National Science Foundation                            47.078   Polar Programs          technology, engineering
                                                                                        To strengthen  and             ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                                          enhance the national         /       /
                                                                                          scientific enterprise        sam.g www.
                                                                                          through the expansion        ov/fal/ usasp
National Science Foundation                            47.079   Office of International   To enable the U.S. to        https:/ https:/
                                                                Science and               maintain its leadership      /       /
                                                                Engineering               within the global            sam.g www.
National Science Foundation                            47.083   Integrative Activities    scientific
                                                                                          Enhance community
                                                                                                     the        by     ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                                          competitiveness of the       /       /
                                                                                          Nationâ€™s research          sam.g www.
                                                                                          through activities that      ov/fal/ usasp
National Science Foundation                            47.084   NSF Technology,           The Directorate for          https:/ https:/
                                                                Innovation, and           Technology, Innovation,      /       /
                                                                Partnerships              and Partnerships (TIP)       sam.g www.
Northern Border Regional Commission                    90.601   Northern Border           seeks
                                                                                          The   to (i) advance
                                                                                               Northern  Border        ov/fal/ https:/
                                                                                                                       https:/ usasp
                                                                Regional Development Regional Commission is /       /
                                                                                      a Federal-State       sam.g www.
Nuclear Regulatory Commission                          77.007   U.S. Nuclear          governmental   agency
                                                                                      The Minority Serving  ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                                Regulatory Commission Institutions Grants   /       /
                                                                Minority Serving      Program (MSIGP) funds sam.g www.
                                                                Institutions Program  nuclear and/or STEM-  ov/fal/ usasp
Nuclear Regulatory Commission                          77.008   U.S. Nuclear          This Scholarship and  https:/ https:/
                                                                Regulatory Commission Fellowship program    /       /
                                                                Scholarship and       provides funding for  sam.g www.
Nuclear Regulatory Commission                          77.009   Fellowship
                                                                U.S. Nuclear Program  undergraduate
                                                                                      The Office of Nuclear ov/fal/
                                                                                                            https:/ usasp
                                                                                                                    https:/
                                                                Regulatory Commission Regulatory Research              /       /
                                                                Office of Research     (RES) furthers the              sam.g www.
                                                                Financial Assistance   regulatory mission of           ov/fal/ usasp
Office of the Director Of National Intelligence        54.001   Intelligence Community The Intelligence                https:/ https:/
                                                                Centers for Academic   Community Centers for           /       /
                                                                Excellence             Academic Excellence             sam.g www.
Pension Benefit Guaranty Corporation                   86.001   Pension Plan           (ICencourage
                                                                                       To CAE) Programthe is           ov/fal/ https:/
                                                                                                                       https:/ usasp
                                                                Termination Insurance     continuation and           /       /
                                                                                          maintenance of             sam.g www.
Railroad Retirement Board                              57.001   Social Insurance for      voluntary  privatesecurity ov/fal/
                                                                                          Provide income             https:/ usasp
                                                                                                                             https:/
                                                                Railroad Workers          for retired and disabled /         /
                                                                                          railroad workers, their    sam.g www.
                                                                                          family members, and        ov/fal/ usasp
Railroad Retirement Board                              57.006   Social Insurance for      Provide income security https:/ https:/
                                                                Railroad Workers          for retired and disabled /         /
                                                                                          railroad workers, their    sam.g www.
Small Business Administration                          59.006   8(a) Business             family  members,
                                                                                          To foster  businessand     ov/fal/
                                                                                                                     https:/ usasp
                                                                                                                             https:/
                                                                Development Program       ownership by             /       /
                                                                                          individuals who are both sam.g www.
Small Business Administration                          59.007   7(j) Technical            socially
                                                                                          The      and of the
                                                                                               purpose             ov/fal/ usasp
                                                                                                                   https:/ https:/
                                                                Assistance                program is to provide    /       /
                                                                                          Business Development sam.g www.
Small Business Administration                          59.008   Disaster Assistance       Assistance
                                                                                          To          for Small
                                                                                             provide loans         ov/fal/ https:/
                                                                                                           to the https:/  usasp
                                                                Loans                survivors of declared             /       /
                                                                                     disasters for uninsured           sam.g www.
Small Business Administration                          59.011   Small Business       or
                                                                                     To otherwise
                                                                                         establish privately           ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                Investment Companies owned and managed                 /       /
                                                                                     Small Business                    sam.g www.
                                                                                     Investment Companies              ov/fal/ usasp
Small Business Administration                          59.012   7(a) Loan Guarantees To provide guaranteed             https:/ https:/
                                                                                     loans from lenders to             /       /
                                                                                     eligible for profit small         sam.g www.
Small Business Administration                          59.016   Surety Bond          businesses
                                                                                     To guarantee  which  are
                                                                                                     surety            ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                Guarantees                bonds issued by              /       /
                                                                                          Treasury listed surety       sam.g www.
Small Business Administration                          59.026   SCORE                     companies
                                                                                          To          for small
                                                                                             provide mentoring         ov/fal/ https:/
                                                                                                                       https:/ usasp
                                                                                          and workshops to             /       /
                                                                                          potential and existing       sam.g www.
                                                                                          small business owners        ov/fal/ usasp
Small Business Administration                          59.037   Small Business            To provide management        https:/ https:/
                                                                Development Centers       counseling, training,        /       /
                                                                                          and technical                sam.g www.
Small Business Administration                          59.041   504 Certified             assistance  to the
                                                                                          To assist small    small
                                                                                                           business    ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                Development Loans         concerns by providing        /       /
                                                                                          long-term, fixed-rate        sam.g www.
                                                                                          financing for fixed          ov/fal/ usasp
Small Business Administration                          59.043   Women's Business          To fund private,             https:/ https:/
                                                                Ownership Assistance      nonprofit organizations      /       /
                                                                                          to assist, through           sam.g www.
Small Business Administration                          59.044   Veterans Outreach         training and counseling,
                                                                                          In accordance    with        ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                Program                   Public Law 110-186, the /         /
                                                                                          organizations will        sam.g www.
Small Business Administration                          59.046   Microloan Program         provide
                                                                                          To assistinformation on
                                                                                                     women, low-    ov/fal/ usasp
                                                                                                                    https:/ https:/
                                                                                          income, and minority      /       /
                                                                                          entrepreneurs, business sam.g www.
                                                                                          owners, and other         ov/fal/ usasp
Small Business Administration                          59.050   Prime Technical           To increase the number https:/ https:/
                                                                Assistance                of microenterprises and /         /
                                                                                          to enhance the            sam.g www.
Small Business Administration                          59.052   Native American           management     capability
                                                                                          To fund economic          ov/fal/
                                                                                                                    https:/ usasp
                                                                                                                            https:/
                                                                Outreach                  development projects         /       /
                                                                                          that will provide small      sam.g www.
                                                                                          business opportunities       ov/fal/ usasp
Small Business Administration                          59.053   Ombudsman and             To assure equity and         https:/ https:/
                                                                Regulatory Fairness       fairness in federal          /       /
                                                                Boards                    regulation of small          sam.g www.
Small Business Administration                          59.054   7(a)Export Loan           business   by receiving
                                                                                          Provides aid   and           ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                Guarantees                assistance to small-         /       /
                                                                                          businesses to increase       sam.g www.
Small Business Administration                          59.055   HUBZone Program           their purpose
                                                                                          The   ability toof
                                                                                                          compete
                                                                                                             the       ov/fal/ https:/
                                                                                                                       https:/ usasp
                                                                                       HUBZone program is to           /       /
                                                                                       provide federal                 sam.g www.
                                                                                       contracting assistance          ov/fal/ usasp
Small Business Administration                          59.058   Federal and State      The purpose of the              https:/ https:/
                                                                Technology Partnership FAST program is to              /       /
                                                                Program                strengthen the                  sam.g www.
Small Business Administration                          59.059   Congressional Grants technological
                                                                                       Provide funding for             ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                                      small business                   /       /
                                                                                      development and                  sam.g www.
Small Business Administration                          59.061                         entrepreneurship
                                                                State Trade Expansion Grants made to state             ov/fal/ https:/
                                                                                                                       https:/ usasp
                                                                                      governments to                   /       /
                                                                                      increase the number of           sam.g www.
                                                                                      small businesses that            ov/fal/ usasp
Small Business Administration                          59.062   Intermediary Loan     Three year pilot                 https:/ https:/
                                                                Program               program in which SBA             /       /
                                                                                      made direct loans of up          sam.g www.
Small Business Administration                          59.065   Growth Accelerator    to $1 million
                                                                                      Growth        at an
                                                                                              Accelerators             ov/fal/ https:/
                                                                                                                       https:/ usasp
                                                                Fund Competition          provide focused              /       /
                                                                                          assistance to STEM/          sam.g www.
                                                                                          R&D entrepreneurs to         ov/fal/ usasp
Small Business Administration                          59.066   Transition Assistance     Boots to Business            https:/ https:/
                                                                â€“ Entrepreneurship      (B2B) grant/                 /       /
                                                                Track (Boots to           cooperative agreement        sam.g www.
Small Business Administration                          59.067   Business)
                                                                Regional Innovation       funding enables
                                                                                          The purpose      eligible
                                                                                                       of this         ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                Clusters             program is to connect             /       /
                                                                                     and expand regional               sam.g www.
Small Business Administration                          59.069                        innovationLeaders
                                                                SBA Emerging Leaders Emerging   clusters is
                                                                                                          to a         ov/fal/ https:/
                                                                                                                       https:/ usasp
                                                                initiative           free educational series           /       /
                                                                                     that provides executives          sam.g www.
                                                                                     with the organizational           ov/fal/ usasp
Small Business Administration                          59.072   Economic Injury      In response to the                https:/ https:/
                                                                Disaster Loan        Coronavirus                       /       /
                                                                Emergency Advance    (COVID-19) pandemic,              sam.g www.
Small Business Administration                          59.073   Paycheck Protection  smallPaycheck
                                                                                     The   business owners             ov/fal/ https:/
                                                                                                                       https:/ usasp
                                                                Loan Program (PPP)        Protection Program           /       /
                                                                                          established by the           sam.g www.
                                                                                          CARES Act is                 ov/fal/ usasp
Small Business Administration                          59.075   Shuttered Venue           The SVOG Program             https:/ https:/
                                                                Operators Grant           provided funds to            /       /
                                                                Program                   support the ongoing          sam.g www.
Small Business Administration                          59.076   Lab-to-Market             operations  of eligible
                                                                                          Highlight successful         ov/fal/
                                                                                                                       https:/ usasp
                                                                                                                               https:/
                                                                                        examples of innovation /           /
                                                                                        ecosystems, particularly sam.g www.
Small Business Administration                          59.077   Community Navigator     existing
                                                                                        Per       resources that
                                                                                             the American          ov/fal/ usasp
                                                                                                                   https:/ https:/
                                                                Pilot Program           Rescue Plan, the SBA       /       /
                                                                                        is authorized to create    sam.g www.
                                                                                        and administer a $100      ov/fal/ usasp
Small Business Administration                          59.078   Restaurant              This program provided      https:/ https:/
                                                                Revitalization Fund     emergency assistance       /       /
                                                                                        for eligible restaurants, sam.g www.
Small Business Administration                          59.079                           bars, andopportunity
                                                                Cybersecurity for Small Funding     other          ov/fal/ https:/
                                                                                                               for https:/ usasp
                                                                Business Pilot Program state governments to        /       /
                                                                                        assist small business      sam.g www.
Social Security Administration                         96.001   Social Security         concerns    address
                                                                                        Social Security   pays     ov/fal/
                                                                                                                   https:/ usasp
                                                                                                                           https:/
                                                                Disability Insurance      benefits to people who  /       /
                                                                                          canâ€™t work because sam.g www.
Social Security Administration                         96.002   Social Security           they have aSecurity
                                                                                          The Social   medical    ov/fal/
                                                                                                                  https:/ usasp
                                                                                                                          https:/
                                                                Retirement Insurance      Retirement benefit is a /       /
                                                                                          monthly payment that    sam.g www.
Social Security Administration                         96.004   Social Security           replaces
                                                                                          Social    part ofhelps
                                                                                                 Security   your  ov/fal/ https:/
                                                                                                                  https:/ usasp
                                                                Survivors Insurance       survivors by providing       /       /
                                                                                          income for the families      sam.g www.
                                                                                          of workers who die.          ov/fal/ usasp




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                                                              Case 1:25-cv-00039-JJM-PAS                                                             Document 114-1   Filed 02/13/25   Page 66 of 77 PageID
                                                                                                                                                            #: 7334
Social Security Administration                                     96.006   Supplemental Security     To ensure a minimum          https:/ https:/
                                                                            Income                    level of income to           /       /
                                                                                                      persons who have             sam.g www.
Social Security Administration                                     96.007   Social Security           attained
                                                                                                      (1)       age 65social,
                                                                                                          To conduct   or are      ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                            Research and              economic, and                /       /
                                                                            Demonstration             demographic research         sam.g www.
Social Security Administration                                     96.008   Social Security - Work    on topics important
                                                                                                      To comply  with the to       ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                            Incentives Planning and Ticket-to-Work and             /       /
                                                                            Assistance Program       Work Incentives               sam.g www.
                                                                                                     Improvement Act               ov/fal/ usasp
Social Security Administration                                     96.009   Social Security State    Support State                 https:/ https:/
                                                                            Grants for Work          designated Protection         /       /
                                                                            Incentives Assistance to and Advocacy (P&A)            sam.g www.
Social Security Administration                                     96.011   Disabled Beneficiaries
                                                                            Analyzing                systems.
                                                                                       Relationships The      The Protection
                                                                                                         objective of the          ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                            between Disability,       program is to foster new /       /
                                                                            Rehabilitation, and       analysis of work,        sam.g www.
Social Security Administration                                     96.012   Work
                                                                            Interventional         rehabilitation,
                                                                                                   (1) To conductand
                                                                                                                   social,     ov/fal/
                                                                                                                               https:/ usasp
                                                                                                                                       https:/
                                                                            Cooperative Agreement economic, and                    /       /
                                                                            Program                demographic research            sam.g www.
                                                                                                   on topics important to          ov/fal/ usasp
Social Security Administration                                     96.013   Strengthening          Support State                   https:/ https:/
                                                                            Protections for Social designated Protection           /       /
                                                                            Security Beneficiaries and Advocacy (P&A)              sam.g www.
Social Security Administration                                     96.020   Special Benefits for   systems.   The
                                                                                                   To pay a special  benefit       ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                            Certain World War II  to certain World War II          /       /
                                                                            Veterans              veterans, who are                sam.g www.
                                                                                                  eligible for                     ov/fal/ usasp
Southeast Crescent Regional Commission                             90.705   Southeast Crescent    The mission of the               https:/ https:/
                                                                            Regional Commission - Commission is to help            /       /
                                                                            Economic and          build sustainable                sam.g www.
The Institute of Museum and Library Services                       45.031   Infrastructure
                                                                            American   Latino     communities
                                                                                                  This  initiative and
                                                                                                                   is              ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                            Museum Internship and designed to provide              /       /
                                                                            Fellowship Initiative opportunities for                sam.g www.
The Institute of Museum and Library Services                       45.032   21st Century Museum internships   and
                                                                                                  The 21st Century                 ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                            Professional Program    Museum Professional            /       /
                                                                                                    (21MP) program has             sam.g www.
                                                                                                    two goals with two or          ov/fal/ usasp
The Institute of Museum and Library Services                       45.033   Museum Grants for       This program supports          https:/ https:/
                                                                            American Latino History projects that build the        /       /
                                                                            and Culture             capacity of American           sam.g www.
The Institute of Museum and Library Services                       45.301   Museums for America Latino
                                                                                                    Museumshistory and
                                                                                                               for America         ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                                                   (MFA) is designed to            /       /
                                                                                                   strengthen the ability of       sam.g www.
                                                                                                   individual museums to           ov/fal/ usasp
The Institute of Museum and Library Services                       45.308   Native American/Native The Native American/            https:/ https:/
                                                                            Hawaiian Museum        Native Hawaiian                 /       /
                                                                            Services Program       Museum Services                 sam.g www.
The Institute of Museum and Library Services                       45.309   Museum Grants for      program (NANH)
                                                                                                   Museum    Grants for            ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                            African American          African American             /       /
                                                                            History and Culture       History and Culture          sam.g www.
The Institute of Museum and Library Services                       45.310   Grants to States          (AAHC)   is designed
                                                                                                      The Grants   to Statesto     ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                                                    program supports               /       /
                                                                                                    efforts across the nation      sam.g www.
                                                                                                    to provide access to           ov/fal/ usasp
The Institute of Museum and Library Services                       45.311   Native American and     The Native American            https:/ https:/
                                                                            Native Hawaiian Library and Native Hawaiian            /       /
                                                                            Services                Library Services               sam.g www.
The Institute of Museum and Library Services                       45.312   National Leadership     programs   (NANH-L)
                                                                                                    NLG supports          are
                                                                                                                    projects       ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                            Grants                    that address critical        /       /
                                                                                                      needs of the museum          sam.g www.
The Institute of Museum and Library Services                       45.313   Laura Bush 21st           and library
                                                                                                      The         fields 21st
                                                                                                           Laura Bush    and       ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                            Century Librarian         Century Librarian            /       /
                                                                            Program                   (LB21) grant progam          sam.g www.
U.S. Agency for Global Media                                       90.500   International             supports
                                                                                                      To       thefreedom
                                                                                                         promote                   ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                            Broadcasting              and democracy and            /       /
                                                                            Independent Grantee       enhance understanding        sam.g www.
U.S. Election Assistance Commission                                90.400   Organizations
                                                                            Help America Vote         through multimedia
                                                                                                      The purpose  of this         ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                            College Program        program is: (1) to              /       /
                                                                                                   encourage students              sam.g www.
                                                                                                   enrolled at institutions        ov/fal/ usasp
U.S. Election Assistance Commission                                90.401   Help America Vote Act HAVA Section 251                 https:/ https:/
                                                                            Requirements           authorizes requirements         /       /
                                                                            Payments               payments to assist              sam.g www.
U.S. Election Assistance Commission                                90.404   HAVA Election Security States (including
                                                                                                   As authorized      the
                                                                                                                   under           ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                            Grants                 Section 101 of the Help         /       /
                                                                                                   America Vote Act of             sam.g www.
United States Institute of Peace                                   91.005   Priority Grant         2002 (Public
                                                                                                   USIP          107-252)
                                                                                                         grants increase           ov/fal/ https:/
                                                                                                                                   https:/ usasp
                                                                            Competition               the breadth and depth        /       /
                                                                                                      of the Instituteâ€™s         sam.g www.
                                                                                                      work by supporting           ov/fal/ usasp
United States International Development Finance Corporation        87.004   Equity Investments        The U.S. International       https:/ https:/
                                                                                                      Development Finance          /       /
                                                                                                      Corporation (DFC)            sam.g www.
United States International Development Finance Corporation        87.005   Debt Financing            partners
                                                                                                      The U.S.with   the private
                                                                                                                International      ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                                                     Development Finance           /       /
                                                                                                     Corporation (DFC)             sam.g www.
                                                                                                     partners with the private     ov/fal/ usasp
United States International Development Finance Corporation        87.006   Political Risk Insurance The U.S. International        https:/ https:/
                                                                                                     Development Finance           /       /
                                                                                                     Corporation (DFC)             sam.g www.
United States International Development Finance Corporation        87.101   Technical Assistance     partners
                                                                                                     The U.S.with  the private
                                                                                                              International        ov/fal/
                                                                                                                                   https:/ usasp
                                                                                                                                           https:/
                                                                            and Feasibility Studies   Development Finance       /       /
                                                                                                      Corporation (DFC)         sam.g www.
                                                                                                      partners with the private ov/fal/ usasp




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Case 1:25-cv-00039-JJM-PAS   Document 114-1   Filed 02/13/25   Page 67 of 77 PageID
                                    #: 7335




                Exhibit F
Case 1:25-cv-00039-JJM-PAS       Document 114-1      Filed 02/13/25   Page 68 of 77 PageID
                                        #: 7336




                       EXECUTIVE OFFICE OF THE PRESIDENT
                           OFFICE OF MANAGEMENT AND BUDGET
                                    WASHINGTON, D.C. 20503


THE DIRECTOR




                                      January 29, 2025

  M-25-14

  MEMORANDUM FOR HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES

  FROM: Matthew J. Vaeth, Acting Director, Office of Management and Budget

  SUBJECT: Rescission of M-25-13


         OMB Memorandum M-25-13 is rescinded. If you have questions about implementing the
  President’s Executive Orders, please contact your agency General Counsel.
Case 1:25-cv-00039-JJM-PAS   Document 114-1   Filed 02/13/25   Page 69 of 77 PageID
                                    #: 7337




               Exhibit G
Case 1:25-cv-00039-JJM-PAS            Document 114-1           Filed 02/13/25   Page 70 of 77 PageID
                                             #: 7338




                                 THE CHIEF FINANCIAL OFFICER
                                       WAS HI NGTON , D.C. 20460

                                            February 4, 2025



MEMORANDUM

SUBJECT:       Update on Inflation Reduction Act and Infrastructure Investment and Jobs Act Pause
                                                                                Digitally signed by
                                                                 GREGG
FROM:          Gregg Treml, Chief Financial Officer (Acting)
                                                                                GREGG TREML
                                                                                Date: 2025.02.04
                                                                 TREML          12:53:31 -05'00'


TO:            Deputy Assistant Administrators
               Deputy Associate Administrators
               Deputy Regional Administrators

Distribute as appropriate to those needed to carry out this direction.

This message provides an update pursuant to the recent Court directive addressing financial assistance.
The Court directs that federal financial assistance shall not be paused based on the Office of
Management and Budget’s direction in the rescinded OMB memorandum or the President’s Executive
Orders, while ongoing litigation proceeds or until otherwise directed by a Court.

Consistent with the Order, the agency’s financial system will now enable the obligation of financial
assistance. This includes programs within the Infrastructure Investment and Jobs Act and the Inflation
Reduction Act, including federal financial assistance in the State and Tribal Assistance Grants,
Brownfields, and Superfund. The Office of Budget will follow-up with a detailed list. Additionally, the
disbursement of funds connected to this notice will continue.

OCFO, working closely with the Office of General Counsel and Office of Mission Support, will continue
to keep the community updated on this matter.


cc: Lek Kadeli
    Meshell Jones-Peeler
    Paige Hanson
    OCFO Senior Managers
    Vonda Jennette
    Greg Luebbering
    Senior Resource Officials
    Senior Budget Officers
Case 1:25-cv-00039-JJM-PAS   Document 114-1   Filed 02/13/25   Page 71 of 77 PageID
                                    #: 7339

  Regional Comptrollers
  Funds Control Officers




                                       2
Case 1:25-cv-00039-JJM-PAS   Document 114-1   Filed 02/13/25   Page 72 of 77 PageID
                                    #: 7340




               Exhibit H
      Case 1:25-cv-00039-JJM-PAS   Document 114-1 Filed 02/13/25   Page 73 of 77 PageID
                                     CUI//SP-BUDG
                                          #: 7341     #




                                            IIJA
Addressing Emerging Contaminant Grants
Battery Recycling Best Practices
Brownfields
Chesapeake Bay
Clean Water State Revolving Loan Funds
Clean Water State Revolving Loan Funds - Emerging Contaminants
Columbia River Basin
Drinking Water Programs - Class VI Wells
Drinking Water State Revolving Loan Funds
Drinking Water State Revolving Loan Funds - Emerging Contaminants
Drinking Water State Revolving Loan Funds - Lead Service Line Replacement
Great Lakes Restoration Initiative
Gulf Hypoxia Action Plan
Gulf of Mexico (America)
Lake Champlain
Lake Pontchartrain
Long Island Sound
National Estuary Program Grants
Pacific Northwest
Pollution Prevention Grants
Puget Sound
Recycling Grants
San Francisco Bay
Solid Waste Infrastructure Financing - Save Our Seas Act Grants
South Florida
Southern New England Estuaries
Superfund Remedial
UIC Grants


              #   Controlled by U.S. Environmental Protection Agency
      Case 1:25-cv-00039-JJM-PAS   Document 114-1 Filed 02/13/25   Page 74 of 77 PageID
                                     CUI//SP-BUDG
                                          #: 7342     #




Voluntary Battery Labeling Guidelines
                                            IRA
Consumer Education (OAR)




              #   Controlled by U.S. Environmental Protection Agency
Case 1:25-cv-00039-JJM-PAS   Document 114-1   Filed 02/13/25   Page 75 of 77 PageID
                                    #: 7343




                 Exhibit I
Case 1:25-cv-00039-JJM-PAS                                       Document 114-1                 Filed 02/13/25              Page 76 of 77 PageID
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 f                ~            tJ-z.          UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
 <C               ~
 ~ ~ Wl'/7 ~                                                         WASHINGTON , D.C. 20460
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       MEMORANDUM                                                                                                                     DEPUTY ADMINISTRATOR



       SUBJECT:                        Review of Financial Assistance Programs

       FROM:                           Chad McIntosh, Acting Deputy Administrator~i(J:,·tf;;l,(

       TO:                             Gregg Treml, Acting Chief Financial Officer
                                       Kimberly Y. Patrick, Principal Deputy Assistant Administrator, OMS
                                       Deputy Assistant Administrators
                                       Deputy Associate Administrators
                                       Deputy Regional Administrators


       Distribute as appropriate to those needed to carry out this direction.

      Upon confirmation, EPA Administrator Lee Zeldin pledged to enthusiastically uphold the EPA's
      mission and our moral responsibility to be good stewards of our environment for generations to
      come. With that commitment is the promise to be accountable for the Agency's use of hard-
      earned American taxpayer dollars.

      Congress has been clear on the need for oversight of funds provided to the Agency in the
      Inflation Reduction Act (IRA) (Pub. Law 117-169, Aug. 16, 2021 , 136 Stat 1818) and other
      funding programs that may be improperly utilized. However, over the course of the prior
      Adminstration, several reports and investigations have raised serious concerns with the
      implementation of certain grant programs and subsequent grant awards.

      Problems with implementation of these funding programs were egregiously confirmed from
      documented statements by Biden-Harris Administration political appointee staff at EPA
      describing the Agency's then funding push as "throwing gold bars off the Titanic."

      In one example of the potential problematic implementation of programs, to expend, the Biden-
      Harris Adminstration utilized an external financial agent to hold funding, which is the first time
      the Agency has ever operated a grant funding program in that manner which could limit Agency
      oversight.

      Not only have these instances been well documented, but during his confirmation hearing before
      the U.S. Senate Committee on Environment and Public Works and through additional
      Congressional requests, Administrator Zeldin has been specifically asked to ensure
      accountability of Agency funding. These documented accounts of potential waste, fraud, and
      abuse of hard-earned American taxpayer dollars warrant further attention and oversight.



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Case 1:25-cv-00039-JJM-PAS           Document 114-1         Filed 02/13/25      Page 77 of 77 PageID
                                            #: 7345


  For these reasons, I am directing our leadership team and all Agency personnel as follows:

  Agency personnel shall immediately initiate and conduct an internal review of all relevant grant
  programs, grant awards, grants that have not yet been awarded and obligated to specific
  individuals or entities (e.g., notices of funding opportunities), and issued grants. This includes a
  review of payments on all grant programs and awards where Agency personnel suspect that the
  grant is unlawful or contrary to Agency policy priorities, or suspect that the grant program
  implementation or payment might be fraudulent, abusive, duplicative, or implemented in a way
  that failed to safeguard Agency dollars.

  This directive shall be implemented by personnel in the Office of the Chief Financial Officer, the
  Office of Mission Support, and all relevant program and regional offices responsible for the
  execution of the Agency's programs, consistent with all notice and procedural requirements in
  each affected award, agreement, or other instrument. Whenever a program or award has been
  identified, Agency personnel shall utilize all available means to ensure necessary review for any
  administrative and criminal violations.

  If any program, award, or action is deemed inconsistent with necessary financial and oversight
  procedural requirements or grant conditions, the Agency shall, where permitted by applicable
  law, take immediate action to ensure compliance. This includes coordination and further referral
  to the Office of the Inspector General and other entities to ensure full accountability and
  prosecution where applicable.

  Notwithstanding this directive, any disbursements on open grant awards that were paused due to
  Office of Management and Budget Memorandum M-25-13 or any Executive Order underlying
  that Memorandum shall continue to be immediately released, as the Agency initiated on
  February 3, 2025.

  Thank you for your continued service to ensure the effective implementation and use of taxpayer
  dollars .
